     Case 16-3945, Document 109, 09/25/2017, 2133027, Page1 of 202




16-3945-cv(L)
17-1625 (CON), 17-1722 (CON)
     United States Court of Appeals
                              for the
                     Second Circuit
                       VIRGINIA L. GIUFFRE,
                                                         Plaintiff-Appellee,
                             – v. –
                      GHISLAINE MAXWELL,
                                                                Defendant,
                          – v. –
             SHARON CHURCHER, JEFFREY EPSTEIN,
                                                              Respondents,
                ALAN M. DERSHOWITZ, and
        MICHAEL CERNOVICH, dba CERNOVICH MEDIA,
                                        Intervenors-Appellants.

    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF NEW YORK

    APPENDIX OF INTERVENOR-APPELLANT
 MICHAEL CERNOVICH D/B/A CERNOVICH MEDIA

                                   RANDAZZA LEGAL GROUP, PLLC
                                   100 Pearl Street, 14th Floor
                                   Hartford, Connecticut 06103
                                   Tel: (702) 420-2001
                                   Attorneys for Intervenor-Appellant,
                                   Michael Cernovich dba Cernovich Media
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                                                                                  CLOSED,APPEAL,ECF
                                 U.S. District Court
                    Southern District of New York (Foley Square)
                  CIVIL DOCKET FOR CASE #: 1:15−cv−07433−RWS

Giuffre v. Maxwell                                              Date Filed: 09/21/2015
Assigned to: Judge Robert W. Sweet                              Date Terminated: 05/25/2017
Related Case: 1:17−mc−00025−RWS                                 Jury Demand: Both
Case in other court: U.S. Court of Appeals, Second Circuit,     Nature of Suit: 320 Assault Libel &
                     17−01625                                   Slander
Cause: 28:1332ct Diversity−(Citizenship)                        Jurisdiction: Diversity
Plaintiff
Virginia L. Giuffre                              represented by Bradley James Edwards
                                                                Farmer, Jaffe, Weissing. Edwards, Fistos,
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V.
      Case 16-3945, Document 109, 09/25/2017, 2133027, Page6 of 202
                                CMA-002
       Case: 1:15-cv-07433-RWS As of: 09/12/2017 04:57 PM EDT 2 of 80
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V.
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       Case: 1:15-cv-07433-RWS As of: 09/12/2017 04:57 PM EDT 3 of 80
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Applicant
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Interested Party
NYP Holdings, Inc.,

Interested Party
      Case 16-3945, Document 109, 09/25/2017, 2133027, Page8 of 202
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       Case: 1:15-cv-07433-RWS As of: 09/12/2017 04:57 PM EDT 4 of 80
Daily News, L.P.


V.
Material Witness
Sarah Ransome                                  represented by Paul G Cassell
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V.
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 Date Filed    #      Docket Text
 09/21/2015        1 COMPLAINT against MAXWELL GHISLAINE. (Filing Fee $ 400.00, Receipt
                     Number 0208−11409928)Document filed by VIRGINIA L. GIUFFRE.(McCawley,
                     Sigrid) (Entered: 09/21/2015)
 09/21/2015        2 FILING ERROR − DEFICIENT PLEADING − SIGNATURE ERROR − CIVIL
                     COVER SHEET filed. (McCawley, Sigrid) Modified on 9/22/2015 (dgo). (Entered:
                     09/21/2015)
 09/21/2015        3 REQUEST FOR ISSUANCE OF SUMMONS as to Ghislaine Maxwell, re: 1
                     Complaint. Document filed by VIRGINIA L. GIUFFRE. (McCawley, Sigrid)
                     (Entered: 09/21/2015)
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09/21/2015    4 FILING ERROR − DEFICIENT DOCKET ENTRY − MOTION for Sigrid S.
                McCawley to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                0208−11410210. Motion and supporting papers to be reviewed by Clerk's Office
                staff. Document filed by VIRGINIA L. GIUFFRE. (Attachments: # 1 Text of
                Proposed Order)(McCawley, Sigrid) Modified on 9/21/2015 (sdi). (Entered:
                09/21/2015)
09/21/2015       >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                 VICE. Notice to RE−FILE Document No. 4 MOTION for Sigrid S. McCawley to
                 Appear Pro Hac Vice . Filing fee $ 200.00, receipt number 0208−11410210.
                 Motion and supporting papers to be reviewed by Clerk's Office staff... The filing
                 is deficient for the following reason(s): missing Certificate of Good Standing from
                 Supreme Court of Florida; Missing case number on the Motion and Proposed
                 Order;. Re−file the motion as a Corrected Motion to Appear Pro Hac Vice −
                 attach the correct signed PDF − select the correct named filer/filers − attach valid
                 Certificates of Good Standing issued within the past 30 days − attach Proposed
                 Order.. (sdi) (Entered: 09/21/2015)
09/22/2015       ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice
                 to attorney Sigrid S. McCawley. The party information for the following
                 party/parties has been modified: VIRGINIA L. GIUFFRE, MAXWELL
                 GHISLAINE. The information for the party/parties has been modified for the
                 following reason/reasons: party name contained a typographical error; party
                 name was entered in all caps;. (dgo) (Entered: 09/22/2015)
09/22/2015       CASE OPENING INITIAL ASSIGNMENT NOTICE: The above−entitled action is
                 assigned to Judge Robert W. Sweet. Please download and review the Individual
                 Practices of the assigned District Judge, located at
                 http://nysd.uscourts.gov/judges/District. Attorneys are responsible for providing
                 courtesy copies to judges where their Individual Practices require such. Please
                 download and review the ECF Rules and Instructions, located at
                 http://nysd.uscourts.gov/ecf_filing.php. (dgo) (Entered: 09/22/2015)
09/22/2015       Magistrate Judge Ronald L. Ellis is so designated. (dgo) (Entered: 09/22/2015)
09/22/2015       Case Designated ECF. (dgo) (Entered: 09/22/2015)
09/22/2015    5 ELECTRONIC SUMMONS ISSUED as to Ghislaine Maxwell. (dgo) (Entered:
                09/22/2015)
09/25/2015    6 MOTION to Amend/Correct Notice Regarding Deficient Motion to Appear Pro Hac
                vice,,, Corrected Pro Hac Vice Motion (S. McCawley). Document filed by Virginia L.
                Giuffre. (Attachments: # 1 Text of Proposed Order Proposed Order for Corrected Pro
                Hac Vice Motion (S. McCawley))(McCawley, Sigrid) (Entered: 09/25/2015)
09/25/2015    7 CIVIL COVER SHEET filed. (McCawley, Sigrid) (Entered: 09/25/2015)
09/25/2015    8 SUMMONS RETURNED EXECUTED Summons and Complaint served. Ghislaine
                Maxwell served on 9/22/2015, answer due 10/13/2015. Service was accepted by
                Ghislaine Maxwell, Defendant. Document filed by Virginia L. Giuffre. (McCawley,
                Sigrid) (Entered: 09/25/2015)
09/29/2015    9 ORDER FOR ADMISSION PRO HAC VICE granting 6 Motion to Amend/Correct.
                The motion of Sigrid S. McCawley for admission to practice Pro Hac Vice in the
                above captioned action is granted. (Signed by Judge Robert W. Sweet on 9/28/2015)
                (ajs) (Entered: 09/29/2015)
10/08/2015   10 PRETRIAL ORDER: Pretrial Conference set for 10/28/2015 at 04:00 PM in
                Courtroom 18C, 500 Pearl Street, New York, NY 10007 before Judge Robert W.
                Sweet. (See Order.) (Signed by Judge Robert W. Sweet on 10/8/2015) (ajs) (Entered:
                10/08/2015)
10/13/2015   11 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                dated 10/9/2015 re: I write pursuant to Section 1.E. of Your Honor's Individual
                Practice Rules to request an extension of Defendant's time to answer, move or
                otherwise respond to Plaintiff's Complaint from October 13, 2015 up to and including
                November 30. 2015. ENDORSEMENT: So ordered. Ghislaine Maxwell answer due
                11/30/2015. (Signed by Judge Robert W. Sweet on 10/12/2015) (rjm) (Entered:
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                 10/13/2015)
10/13/2015   12 NOTICE OF APPEARANCE by Laura A. Menninger on behalf of Ghislaine Maxwell.
                (Menninger, Laura) (Entered: 10/13/2015)
10/28/2015       Minute Entry for proceedings held before Judge Robert W. Sweet: Initial Pretrial
                 Conference held on 10/28/2015. (Chan, Tsz) (Entered: 10/30/2015)
10/30/2015   13 ORDER: IT IS HEREBY ORDERED that: 1. All motions are to be made returnable at
                12:00 noon on Wednesday and in compliance with the rules of this Court. Fact
                Discovery due by 7/1/2016. Expert Discovery due by 8/3/2016. Motions due by
                9/7/2016. Final Pretrial Conference set for 9/7/2016 at 04:30 PM before Judge Robert
                W. Sweet. (Signed by Judge Robert W. Sweet on 10/28/2015) (spo) (Entered:
                10/30/2015)
12/01/2015   14 MOTION to Dismiss . Document filed by Ghislaine Maxwell. Responses due by
                12/17/2015 Return Date set for 1/7/2016 at 12:00 PM.(Menninger, Laura) (Entered:
                12/01/2015)
12/01/2015   15 MEMORANDUM OF LAW in Support re: 14 MOTION to Dismiss . . Document filed
                by Ghislaine Maxwell. (Menninger, Laura) (Entered: 12/01/2015)
12/01/2015   16 DECLARATION of Laura A. Menninger in Support re: 14 MOTION to Dismiss ..
                Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit)(Menninger, Laura)
                (Entered: 12/01/2015)
12/01/2015   17 MOTION to Stay Discovery Pending Decision on Defendant's Motion to Dismiss.
                Document filed by Ghislaine Maxwell. Return Date set for 1/7/2016 at 12:00 PM.
                (Attachments: # 1 Exhibit)(Menninger, Laura) (Entered: 12/01/2015)
12/01/2015   18 MEMORANDUM OF LAW in Support re: 17 MOTION to Stay Discovery Pending
                Decision on Defendant's Motion to Dismiss. . Document filed by Ghislaine Maxwell.
                (Menninger, Laura) (Entered: 12/01/2015)
12/02/2015   19 ORDER: Defendant's motions to dismiss and for a stay of discovery shall be heard at
                noon on January 14, 2016 in Courtroom 18C, United States Courthouse, 500 Pearl
                Street. All papers shall be served in accordance with Local Civil Rule 6.1. Set
                Deadlines/Hearing as to 17 MOTION to Stay Discovery Pending Decision on
                Defendant's Motion to Dismiss. 14 MOTION to Dismiss. : Motion Hearing set for
                1/14/2016 at 12:00 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007
                before Judge Robert W. Sweet. (Signed by Judge Robert W. Sweet on 12/2/2015)
                (spo) (Entered: 12/02/2015)
12/10/2015   20 RESPONSE in Opposition to Motion re: 17 MOTION to Stay Discovery Pending
                Decision on Defendant's Motion to Dismiss. . Document filed by Virginia L. Giuffre.
                (McCawley, Sigrid) (Entered: 12/10/2015)
12/10/2015   21 DECLARATION of Sigrid S. McCawley in Opposition re: 17 MOTION to Stay
                Discovery Pending Decision on Defendant's Motion to Dismiss.. Document filed by
                Virginia L. Giuffre. (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Composite
                Exhibit 2 Part 1, # 3 Exhibit Composite Exhibit 2 Part 2, # 4 Exhibit Exhibit 3, # 5
                Exhibit Exhibit 4, # 6 Exhibit Composite Exhibit 5 Part 1, # 7 Exhibit Composite
                Exhibit 5 Part 2, # 8 Exhibit Exhibit 6, # 9 Exhibit Exhibit 7, # 10 Exhibit Exhibit 8, #
                11 Exhibit Exhibit 9)(McCawley, Sigrid) (Entered: 12/10/2015)
12/15/2015   22 REPLY MEMORANDUM OF LAW in Support re: 17 MOTION to Stay Discovery
                Pending Decision on Defendant's Motion to Dismiss. . Document filed by Ghislaine
                Maxwell. (Menninger, Laura) (Entered: 12/15/2015)
12/17/2015   23 MEMORANDUM OF LAW in Opposition re: 14 MOTION to Dismiss . . Document
                filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 12/17/2015)
12/17/2015   24 DECLARATION of Sigrid McCawley in Opposition re: 14 MOTION to Dismiss ..
                Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                Exhibit)(McCawley, Sigrid) (Entered: 12/17/2015)
12/28/2015   25 REPLY MEMORANDUM OF LAW in Support re: 14 MOTION to Dismiss . .
                Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 12/28/2015)
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01/08/2016   26 NOTICE of Supplemental Authority. Document filed by Virginia L. Giuffre.
                (Attachments: # 1 Exhibit)(McCawley, Sigrid) (Entered: 01/08/2016)
01/11/2016   27 MOTION for Leave to Bring Personal Electronic Device and General Purpose
                Computing Device . Document filed by Virginia L. Giuffre. (Attachments: # 1
                Exhibit)(McCawley, Sigrid) (Entered: 01/11/2016)
01/14/2016       Minute Entry for proceedings held before Judge Robert W. Sweet: Oral Argument held
                 on 1/14/2016 re: 19 Order, Set Motion and R&R Deadlines/Hearings. Motion to
                 dismiss and for stay held.Decision is reserved. (Court Reporter Michael McDaniel)
                 (Chan, Tsz) (Entered: 01/21/2016)
01/20/2016   28 OPINION #106149 re: 17 MOTION to Stay Discovery Pending Decision on
                Defendant's Motion to Dismiss, filed by Ghislaine Maxwell. Defendant is directed to
                respond or object to Plaintiff's First Request for Production within fourteen days of the
                date of this opinion. For the foregoing reasons and as set forth above, Defendant's
                motion to stay is denied, the motion to extend is granted, and discovery shall proceed
                as set forth above. (As further set forth in this Order.) (Signed by Judge Robert W.
                Sweet on 1/19/2016) (spo) Modified on 1/21/2016 (ca). (Entered: 01/20/2016)
01/22/2016   29 NOTICE of Supplemental Authority re: 15 Memorandum of Law in Support of
                Motion. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit
                A)(Menninger, Laura) (Entered: 01/22/2016)
01/25/2016   30 NOTICE of Response to Defendant's Notice of Supplemental Authority re: 29 Notice
                (Other). Document filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered:
                01/25/2016)
01/28/2016   31 TRANSCRIPT of Proceedings re: ARGUMENT held on 1/14/2016 before Judge
                Robert W. Sweet. Court Reporter/Transcriber: Michael McDaniel, (212) 805−0300.
                Transcript may be viewed at the court public terminal or purchased through the Court
                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                that date it may be obtained through PACER. Redaction Request due 2/22/2016.
                Redacted Transcript Deadline set for 3/3/2016. Release of Transcript Restriction set
                for 5/2/2016.(McGuirk, Kelly) (Entered: 01/28/2016)
01/28/2016   32 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                official transcript of a ARGUMENT proceeding held on 1/14/16 has been filed by the
                court reporter/transcriber in the above−captioned matter. The parties have seven (7)
                calendar days to file with the court a Notice of Intent to Request Redaction of this
                transcript. If no such Notice is filed, the transcript may be made remotely
                electronically available to the public without redaction after 90 calendar
                days...(McGuirk, Kelly) (Entered: 01/28/2016)
02/26/2016   33 MOTION to Compel Defendant Ghislaine Maxwell to Produce Documents Subject to
                Improper Claim of Privilege . Document filed by Virginia L. Giuffre.(McCawley,
                Sigrid) (Entered: 02/26/2016)
02/26/2016   34 DECLARATION of Sigrid McCawley in Support re: 33 MOTION to Compel
                Defendant Ghislaine Maxwell to Produce Documents Subject to Improper Claim of
                Privilege .. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit, # 2
                Exhibit)(McCawley, Sigrid) (Entered: 02/26/2016)
02/26/2016   35 MOTION to Compel Ghislaine Maxwell to Produce Documents Subject To Improper
                Objections . Document filed by Virginia L. Giuffre. (Attachments: # 1
                Appendix)(McCawley, Sigrid) (Entered: 02/26/2016)
02/26/2016   36 DECLARATION of Sigrid McCawley in Support re: 35 MOTION to Compel
                Ghislaine Maxwell to Produce Documents Subject To Improper Objections ..
                Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Exhibit 1, # 2
                Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4 Exhibit Exhibit 4 Part 1, # 5 Exhibit
                Exhibit 4 Part 2, # 6 Exhibit Exhibit 5, # 7 Exhibit Exhibit 6, # 8 Exhibit Exhibit 7, # 9
                Exhibit Exhibit 8, # 10 Exhibit Exhibit 9, # 11 Exhibit Exhibit 10 Part 1, # 12 Exhibit
                Exhibit 10 Part 2, # 13 Exhibit Exhibit 11)(McCawley, Sigrid) (Entered: 02/26/2016)
02/29/2016   37 OPINION #106248 re: 14 MOTION to Dismiss, filed by Ghislaine Maxwell. For the
                foregoing reasons and as set forth above, Defendant's motion to dismiss is denied. (As
                further set forth in this Order.) (Signed by Judge Robert W. Sweet on 2/26/2016) (spo)
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                 Modified on 3/2/2016 (ca). (Entered: 02/29/2016)
03/02/2016   38 MOTION for Protective Order . Document filed by Ghislaine Maxwell.(Menninger,
                Laura) (Entered: 03/02/2016)
03/02/2016   39 DECLARATION of Laura A. Menninger in Support re: 38 MOTION for Protective
                Order .. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit
                A)(Menninger, Laura) (Entered: 03/02/2016)
03/04/2016   40 RESPONSE to Motion re: 38 MOTION for Protective Order . . Document filed by
                Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 03/04/2016)
03/04/2016   41 DECLARATION of Sigrid McCawley in Opposition re: 38 MOTION for Protective
                Order .. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit,
                # 3 Exhibit, # 4 Exhibit, # 5 Exhibit)(McCawley, Sigrid) (Entered: 03/04/2016)
03/04/2016   42 MEMORANDUM OF LAW in Opposition re: 35 MOTION to Compel Ghislaine
                Maxwell to Produce Documents Subject To Improper Objections ., 33 MOTION to
                Compel Defendant Ghislaine Maxwell to Produce Documents Subject to Improper
                Claim of Privilege . . Document filed by Ghislaine Maxwell. (Menninger, Laura)
                (Entered: 03/04/2016)
03/07/2016   43 REPLY MEMORANDUM OF LAW in Support re: 35 MOTION to Compel Ghislaine
                Maxwell to Produce Documents Subject To Improper Objections ., 33 MOTION to
                Compel Defendant Ghislaine Maxwell to Produce Documents Subject to Improper
                Claim of Privilege . . Document filed by Virginia L. Giuffre. (McCawley, Sigrid)
                (Entered: 03/07/2016)
03/07/2016   44 DECLARATION of Sigrid McCawley in Support re: 35 MOTION to Compel
                Ghislaine Maxwell to Produce Documents Subject To Improper Objections ., 33
                MOTION to Compel Defendant Ghislaine Maxwell to Produce Documents Subject to
                Improper Claim of Privilege .. Document filed by Virginia L. Giuffre. (Attachments: #
                1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3)(McCawley, Sigrid)
                (Entered: 03/07/2016)
03/07/2016   45 SUPPLEMENTAL MEMORANDUM OF LAW in Opposition re: 35 MOTION to
                Compel Ghislaine Maxwell to Produce Documents Subject To Improper Objections . .
                Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 03/07/2016)
03/07/2016   46 SUPPLEMENTAL MEMORANDUM OF LAW in Opposition re: 33 MOTION to
                Compel Defendant Ghislaine Maxwell to Produce Documents Subject to Improper
                Claim of Privilege . . Document filed by Ghislaine Maxwell. (Menninger, Laura)
                (Entered: 03/07/2016)
03/07/2016   47 DECLARATION of Laura A. Menninger in Opposition re: 33 MOTION to Compel
                Defendant Ghislaine Maxwell to Produce Documents Subject to Improper Claim of
                Privilege .. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Menninger, Laura) (Entered:
                03/07/2016)
03/08/2016   48 ORDER: Plaintiff's motions to compel, filed February 26, and Defendant's motion for
                a protective order, filed March 2, 2016, shall be heard at noon on March 17, 2016 in
                Courtroom 18C, United States Courthouse, 500 Pearl Street. (Motion Hearing set for
                3/17/2016 at 12:00 PM before Judge Robert W. Sweet in Courtroom 18C, United
                States Courthouse, 500 Pearl Street.) (Signed by Judge Robert W. Sweet on 3/6/2016)
                (spo) Modified on 3/10/2016 (spo). (Entered: 03/09/2016)
03/09/2016   49 REPLY to Response to Motion re: 38 MOTION for Protective Order . . Document
                filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 03/09/2016)
03/10/2016   50 INTERNET CITATION NOTE: Material from decision with Internet citation re: 37
                Memorandum & Opinion. (Attachments: # 1 Internet Citation, # 2 Internet Citation)
                (vf) (Entered: 03/10/2016)
03/14/2016   51 ORDER ON PLAINTIFF'S MOTION FOR LEAVE TO BRING PERSONAL
                ELECTRONIC DEVICES AND GENERAL PURPOSE COMPUTING DEVICES
                INTO THE COURTHOUSE FOR JANUARY 14, 2016 HEARING granting 27
                Motion for Leave to Bring Personal Electronic Devices. It is ORDERED AND
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                 ADJUDGED that the motion is hereby GRANTED. Plaintiffs counsel Sigrid S.
                 Mccawley shall be permitted, to bring and to use Personal Electronic Device(s) and/or
                 the General Purpose Computing Device(s) (collectively, "Devices") listed below into
                 the Courthouse for use in this action. Attorney: Sigrid McCawley. Device(s): Personal
                 Electronic Device; and General Purpose Computing Device. (Signed by Judge Robert
                 W. Sweet on 1/13/2016) Copies Sent By Chambers. (spo) Modified on 3/14/2016
                 (spo). (Entered: 03/14/2016)
03/14/2016   52 MOTION for Jeffrey S. Pagliuca to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                number 0208−12065065. Motion and supporting papers to be reviewed by Clerk's
                Office staff. Document filed by Ghislaine Maxwell. (Attachments: # 1 Proposed
                Order, # 2 Certificate of Good Standing)(Pagliuca, Jeffrey) (Entered: 03/14/2016)
03/14/2016       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 52 MOTION for Jeffrey S. Pagliuca to Appear Pro Hac Vice . Filing fee $
                 200.00, receipt number 0208−12065065. Motion and supporting papers to be
                 reviewed by Clerk's Office staff.. The document has been reviewed and there are
                 no deficiencies. (bcu) (Entered: 03/14/2016)
03/14/2016   53 REPLY to Response to Motion re: 35 MOTION to Compel Ghislaine Maxwell to
                Produce Documents Subject To Improper Objections . . Document filed by Virginia L.
                Giuffre. (McCawley, Sigrid) (Entered: 03/14/2016)
03/14/2016   54 ANSWER to 1 Complaint with JURY DEMAND. Document filed by Ghislaine
                Maxwell.(Menninger, Laura) (Entered: 03/14/2016)
03/14/2016   55 DECLARATION of Sigrid McCawley in Support re: 35 MOTION to Compel
                Ghislaine Maxwell to Produce Documents Subject To Improper Objections ..
                Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Exhibit 1 Part 1, # 2
                Exhibit Exhibit 1 Part 2, # 3 Exhibit Exhibit 2 Part 1, # 4 Exhibit Exhibit 2 Part 2, # 5
                Exhibit Exhibit 3 Part 1, # 6 Exhibit Exhibit 3 Part 2, # 7 Exhibit Exhibit 3 Part 3, # 8
                Exhibit Exhibit 3 Part 4, # 9 Exhibit Exhibit 4, # 10 Exhibit Exhibit 5, # 11 Exhibit
                Exhibit 6, # 12 Exhibit Exhibit 7 Part 1, # 13 Exhibit Exhibit 7 Part 2, # 14 Exhibit
                Exhibit 7 Part 3, # 15 Exhibit Exhibit 8, # 16 Exhibit Exhibit 9, # 17 Exhibit Exhibit
                10, # 18 Exhibit Exhibit 11 Part 1, # 19 Exhibit Exhibit 11 Part 2, # 20 Exhibit Exhibit
                12, # 21 Exhibit Exhibit 13 Part 1, # 22 Exhibit Exhibit 13 Part 2, # 23 Exhibit Exhibit
                13 Part 3)(McCawley, Sigrid) (Entered: 03/14/2016)
03/14/2016   56 REPLY to Response to Motion re: 33 MOTION to Compel Defendant Ghislaine
                Maxwell to Produce Documents Subject to Improper Claim of Privilege . . Document
                filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 03/14/2016)
03/14/2016   57 DECLARATION of Sigrid McCawley in Support re: 33 MOTION to Compel
                Defendant Ghislaine Maxwell to Produce Documents Subject to Improper Claim of
                Privilege .. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Exhibit
                1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3)(McCawley, Sigrid) (Entered:
                03/14/2016)
03/15/2016   58 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                NOTICE of Motion for Leave to Serve Rolling Production and Privilege Log.
                Document filed by Virginia L. Giuffre. (McCawley, Sigrid) Modified on 3/17/2016
                (ldi). (Entered: 03/15/2016)
03/15/2016   59 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                MOTION for Leave to Serve Rolling Production and Privilege Log re: 58 Notice
                (Other) And Incorporated Memorandum of Law. Document filed by Virginia L.
                Giuffre.(McCawley, Sigrid) Modified on 3/17/2016 (ldi). (Entered: 03/15/2016)
03/16/2016   60 ORDER FOR ADMISSION PRO HAC VICE granting 52 Motion for Jeffrey S.
                Pagliuca to Appear Pro Hac Vice. (Signed by Judge Robert W. Sweet on 3/15/2016)
                (rjm) (Entered: 03/16/2016)
03/16/2016   61 ORDER: Plaintiff's motions for leave to serve rolling production and privilege log,
                filed March 16, 2016, shall be heard at noon on March 17, 2016 in Courtroom 18C,
                United States Courthouse, 500 Pearl Street. Motion Hearing set for 3/17/2016 at 12:00
                PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007 before Judge Robert
                W. Sweet. (Signed by Judge Robert W. Sweet on 3/16/2016) (cf) (Entered:
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                 03/16/2016)
03/17/2016       ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                 ERROR. Notice to Attorney Sigrid S. McCawley to RE−FILE Document 58
                 Notice (Other). Use the event type Miscellaneous Relief found under the event list
                 Motions. (ldi) (Entered: 03/17/2016)
03/17/2016       ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                 ERROR. Notice to Attorney Sigrid S. McCawley to RE−FILE Document 59
                 MOTION for Leave to Serve Rolling Production and Privilege Log re: 58 Notice
                 (Other) And Incorporated Memorandum of Law. Use the event type Memorandum
                 of Law in Support of Motion found under the event list Replies, Opposition and
                 Supporting Documents. (ldi) (Entered: 03/17/2016)
03/17/2016       Minute Entry for proceedings held before Judge Robert W. Sweet: Oral Argument held
                 on 3/17/2016 re: 58 Notice (Other) filed by Virginia L. Giuffre. Motion Pending.
                 (Court Reporter Vincent Bologna) (Chan, Tsz) (Entered: 03/21/2016)
03/18/2016   62 PROTECTIVE ORDER...regarding procedures to be followed that shall govern the
                handling of confidential material... (Signed by Judge Robert W. Sweet on 3/17/2016)
                (mro) (Entered: 03/18/2016)
03/22/2016   63 MOTION for Protective Order Regarding Deposition of Defendant. Document filed by
                Ghislaine Maxwell.(Menninger, Laura) (Entered: 03/22/2016)
03/22/2016   64 MOTION to Compel Plaintiff to Disclose Pursuant to Fed. R. Civ. P. Rule 26.
                Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered: 03/22/2016)
03/22/2016   65 DECLARATION of Laura A. Menninger in Support re: 63 MOTION for Protective
                Order Regarding Deposition of Defendant.. Document filed by Ghislaine Maxwell.
                (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I)(Menninger, Laura)
                (Entered: 03/22/2016)
03/23/2016   66 TRANSCRIPT of Proceedings re: MOTION held on 3/17/2016 before Judge Robert
                W. Sweet. Court Reporter/Transcriber: Vincent Bologna, (212) 805−0300. Transcript
                may be viewed at the court public terminal or purchased through the Court
                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                that date it may be obtained through PACER. Redaction Request due 4/18/2016.
                Redacted Transcript Deadline set for 4/28/2016. Release of Transcript Restriction set
                for 6/24/2016.(McGuirk, Kelly) (Entered: 03/23/2016)
03/23/2016   67 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                official transcript of a MOTION proceeding held on 3/17/16 has been filed by the
                court reporter/transcriber in the above−captioned matter. The parties have seven (7)
                calendar days to file with the court a Notice of Intent to Request Redaction of this
                transcript. If no such Notice is filed, the transcript may be made remotely
                electronically available to the public without redaction after 90 calendar
                days...(McGuirk, Kelly) (Entered: 03/23/2016)
03/23/2016   68 RESPONSE in Opposition to Motion re: 64 MOTION to Compel Plaintiff to Disclose
                Pursuant to Fed. R. Civ. P. Rule 26. . Document filed by Virginia L. Giuffre.
                (McCawley, Sigrid) (Entered: 03/23/2016)
03/23/2016   69 DECLARATION of Sigrid S. McCawley in Opposition re: 64 MOTION to Compel
                Plaintiff to Disclose Pursuant to Fed. R. Civ. P. Rule 26.. Document filed by Virginia
                L. Giuffre. (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit
                Exhibit 3)(McCawley, Sigrid) (Entered: 03/23/2016)
03/23/2016   70 RESPONSE in Opposition to Motion re: 63 MOTION for Protective Order Regarding
                Deposition of Defendant. . Document filed by Virginia L. Giuffre. (McCawley, Sigrid)
                (Entered: 03/23/2016)
03/23/2016   71 DECLARATION of Sigrid S. McCawley in Opposition re: 63 MOTION for Protective
                Order Regarding Deposition of Defendant.. Document filed by Virginia L. Giuffre.
                (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4
                Exhibit Exhibit 4, # 5 Exhibit Exhibit 5, # 6 Exhibit Exhibit 6)(McCawley, Sigrid)
                (Entered: 03/23/2016)
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03/24/2016   72 MOTION for Meredith L. Schultz to Appear Pro Hac Vice . Filing fee $ 200.00,
                receipt number 0208−12103899. Motion and supporting papers to be reviewed by
                Clerk's Office staff. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                Certificate of Good Standing, # 2 Text of Proposed Order Proposed Order)(Schultz,
                Meredith) (Entered: 03/24/2016)
03/24/2016       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 72 MOTION for Meredith L. Schultz to Appear Pro Hac Vice . Filing fee $
                 200.00, receipt number 0208−12103899. Motion and supporting papers to be
                 reviewed by Clerk's Office staff.. The document has been reviewed and there are
                 no deficiencies. (sdi) (Entered: 03/24/2016)
03/24/2016       Minute Entry The motion to compel on March 24, 2016 is agreed upon by counsel and
                 the Court that it will be heard telephonically in Chambers at 4:00 p.m. (Chan, Tsz)
                 (Entered: 03/24/2016)
03/24/2016   73 ORDER: Plaintiff's motion to compel Defendant to produce documents subject to
                improper objections, docket no. 35, is resolved as set forth in the official transcript of
                proceedings held March 17, 2016, docket no. 66. With respect to Plaintiff's motion to
                compel Defendant to produce documents subject to improper objections, docket no.
                33, the parties are directed to submit further briefing as set forth in the transcript.
                Defendant's motion for a protective order, docket no. 63, and motion to compel, docket
                no. 64, shall be heard at noon on Thursday, March 24, 2016 as stipulated, in
                Courtroom 18C, United States Courthouse, 500 Pearl Street. (Motion Hearing set for
                3/24/2016 at 12:00 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007
                before Judge Robert W. Sweet.) (Signed by Judge Robert W. Sweet on 3/23/2016)
                (spo) (Entered: 03/24/2016)
03/28/2016   74 ORDER FOR ADMISSION PRO HAC VICE granting 72 Motion for Meredith L.
                Schultz to Appear Pro Hac Vice. (Signed by Judge Robert W. Sweet on 3/24/2016)
                (spo) (Entered: 03/28/2016)
03/31/2016   75 MOTION to Compel Responses to Defendant's First Set of Discovery Requests to
                Plaintiff. Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered:
                03/31/2016)
03/31/2016   76 DECLARATION of Laura A. Menninger in Support re: 75 MOTION to Compel
                Responses to Defendant's First Set of Discovery Requests to Plaintiff.. Document filed
                by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                C)(Menninger, Laura) (Entered: 03/31/2016)
03/31/2016   77 NOTICE of Submission of Declaration in Support of Defendant's In Camera
                Submission in Opposition to Plaintiff's Motion to Compel the Production of
                Documents Subject to Improper Claim of Privilege. Document filed by Ghislaine
                Maxwell. (Menninger, Laura) (Entered: 03/31/2016)
04/04/2016   78 RESPONSE in Opposition to Motion re: 75 MOTION to Compel Responses to
                Defendant's First Set of Discovery Requests to Plaintiff. . Document filed by Virginia
                L. Giuffre. (McCawley, Sigrid) (Entered: 04/04/2016)
04/04/2016   79 DECLARATION of Sigrid S. McCawley in Opposition re: 75 MOTION to Compel
                Responses to Defendant's First Set of Discovery Requests to Plaintiff.. Document filed
                by Virginia L. Giuffre. (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3
                Exhibit Exhibit 3, # 4 Exhibit Exhibit 4, # 5 Exhibit Exhibit 5, # 6 Exhibit Exhibit
                6)(McCawley, Sigrid) (Entered: 04/04/2016)
04/05/2016   80 MOTION for Paul G. Cassell to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                number 0208−12149795. Motion and supporting papers to be reviewed by Clerk's
                Office staff. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                Certificate of Good Standing, # 2 Text of Proposed Order)(Cassell, Paul) (Entered:
                04/05/2016)
04/05/2016       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 80 MOTION for Paul G. Cassell to Appear Pro Hac Vice . Filing fee $ 200.00,
                 receipt number 0208−12149795. Motion and supporting papers to be reviewed by
                 Clerk's Office staff.. The document has been reviewed and there are no
                 deficiencies. (wb) (Entered: 04/05/2016)
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04/06/2016   81 ENDORSED LETTER addressed to Judge Robert W. Sweet from Sigrid S. McCawley
                dated 4/5/2016 re: Request for temporary seal of docket no. 79. ENDORSEMENT: So
                ordered. (Signed by Judge Robert W. Sweet on 4/6/2016) (spo) (Entered: 04/06/2016)
04/07/2016   82 TRANSCRIPT of Proceedings re: Argument held on 3/24/2016 before Judge Robert
                W. Sweet. Court Reporter/Transcriber: Pamela Utter, (212) 805−0300. Transcript may
                be viewed at the court public terminal or purchased through the Court
                Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                that date it may be obtained through PACER. Redaction Request due 5/2/2016.
                Redacted Transcript Deadline set for 5/12/2016. Release of Transcript Restriction set
                for 7/11/2016.(Grant, Patricia) (Entered: 04/07/2016)
04/07/2016   83 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                official transcript of a Conference proceeding held on 03/24/2016 has been filed by the
                court reporter/transcriber in the above−captioned matter. The parties have seven (7)
                calendar days to file with the court a Notice of Intent to Request Redaction of this
                transcript. If no such Notice is filed, the transcript may be made remotely
                electronically available to the public without redaction after 90 calendar days...(Grant,
                Patricia) (Entered: 04/07/2016)
04/07/2016   84 ORDER: Defendant's letter objection to pro hac vice admission of Paul G. Cassell,
                submitted April 6, 2015, will be treated as a motion and heard at 10:00am on
                Wednesday April 13, 2016. Plaintiff's reply to Defendant's letter, if any, shall be
                submitted on or before Monday, April 11, 2016. (Motion Hearing set for 4/13/2016 at
                10:00 AM before Judge Robert W. Sweet.) (Signed by Judge Robert W. Sweet on
                4/6/2016) (spo) (Entered: 04/07/2016)
04/07/2016   85 ORDER: Defendant' s motion to compel, filed March 31, 2016, shall be heard at noon
                on April 21, 2016 in Courtroom 18C, United States Courthouse, 500 Pearl Street.
                Motion Hearing set for 4/21/2016 at 12:00 PM in Courtroom 18C, 500 Pearl Street,
                New York, NY 10007 before Judge Robert W. Sweet. (Signed by Judge Robert W.
                Sweet on 4/7/2016) (cf) (Entered: 04/07/2016)
04/07/2016   86 MOTION for Bradley James Edwards to Appear Pro Hac Vice . Filing fee $ 200.00,
                receipt number 0208−12160815. Motion and supporting papers to be reviewed by
                Clerk's Office staff. Document filed by Virginia L. Giuffre. (Attachments: # 1
                Certificate Good Standing_Edwards, # 2 Text of Proposed Order)(Edwards, Bradley)
                (Entered: 04/07/2016)
04/07/2016       >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                 No. 86 MOTION for Bradley James Edwards to Appear Pro Hac Vice . Filing fee
                 $ 200.00, receipt number 0208−12160815. Motion and supporting papers to be
                 reviewed by Clerk's Office staff.. The document has been reviewed and there are
                 no deficiencies. (wb) (Entered: 04/07/2016)
04/07/2016   87 MOTION for Adjournment of Hearing on April 13, 2016 . Document filed by
                Ghislaine Maxwell.(Menninger, Laura) (Entered: 04/07/2016)
04/08/2016   88 RESPONSE in Opposition to Motion re: 86 MOTION for Bradley James Edwards to
                Appear Pro Hac Vice . Filing fee $ 200.00, receipt number 0208−12160815. Motion
                and supporting papers to be reviewed by Clerk's Office staff. . Document filed by
                Ghislaine Maxwell. (Menninger, Laura) (Entered: 04/08/2016)
04/08/2016   90 ORDER granting in part and denying in part 87 Motion for Adjournment of
                Conference. Defendant's motion to adjourn, filed April 7, 2016, is granted in part and
                denied in part. Any objection to the pro hac vice admission of Paul G. Cassell and
                Bradley James Edwards will be treated as motions and heard at 11:00am on Thursday
                April 21, 2016 in Courtroom 18C, United States Courthouse, 500 Pearl Street.
                Defendant's motion to compel is similarly adjourned to 11:00am on Thursday April
                21, 2016. Plaintiff's reply to Defendant's letter with respect to Mr. Cassell, if any,
                remains returnable on or before Monday, April 11, 2016. Defendant's objection to the
                admission of Mr. Edwards, if any, shall be submitted on or before April 13, 2016.
                Plaintiff's reply to Defendant's objection with respect to Mr. Edwards shall be
                submitted on or before April 19, 2016. (Signed by Judge Robert W. Sweet on
                4/8/2016) (mro) (Entered: 04/11/2016)
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04/08/2016        Set/Reset Deadlines Responses due by 4/13/2016 Replies due by 4/19/2016. Motion
                  Hearing set for 4/21/2016 at 11:00 AM in Courtroom 18C, 500 Pearl Street, New
                  York, NY 10007 before Judge Robert W. Sweet. (mro) (Entered: 04/11/2016)
04/10/2016    89 REPLY to Response to Motion re: 80 MOTION for Paul G. Cassell to Appear Pro Hac
                 Vice . Filing fee $ 200.00, receipt number 0208−12149795. Motion and supporting
                 papers to be reviewed by Clerk's Office staff., 86 MOTION for Bradley James
                 Edwards to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                 0208−12160815. Motion and supporting papers to be reviewed by Clerk's Office
                 staff. . Document filed by Virginia L. Giuffre. (Schultz, Meredith) (Entered:
                 04/10/2016)
04/11/2016    91 MOTION for Leave to File Excess Pages For Reply In Support Of Defendants Motion
                 To Compel. Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered:
                 04/11/2016)
04/11/2016    92 REPLY to Response to Motion re: 75 MOTION to Compel Responses to Defendant's
                 First Set of Discovery Requests to Plaintiff. . Document filed by Ghislaine Maxwell.
                 (Menninger, Laura) (Entered: 04/11/2016)
04/11/2016    93 FILING ERROR − DEFICIENT DOCKET ENTRY (SEE 94 Declaration) −
                 AFFIDAVIT of Laura A. Menninger in Support re: 75 MOTION to Compel Responses
                 to Defendant's First Set of Discovery Requests to Plaintiff.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit D)(Menninger, Laura) Modified on
                 4/12/2016 (db). (Entered: 04/11/2016)
04/11/2016    94 DECLARATION of Laura A. Menninger in Support re: 75 MOTION to Compel
                 Responses to Defendant's First Set of Discovery Requests to Plaintiff.. Document filed
                 by Ghislaine Maxwell. (Attachments: # 1 Exhibit D)(Menninger, Laura) (Entered:
                 04/11/2016)
04/12/2016    95 MEMO ENDORSEMENT on 91 granting Motion for Leave to File Excess Pages.
                 ENDORSEMENT: So ordered. (Signed by Judge Robert W. Sweet on 4/12/2016)
                 (spo) (Entered: 04/12/2016)
04/13/2016    96 MOTION for Clarification of Court's Order and For Forensic Examination . Document
                 filed by Virginia L. Giuffre.(McCawley, Sigrid) Modified on 4/21/2016 (spo).
                 (Entered: 04/13/2016)
04/13/2016    97 DECLARATION of Sigrid McCawley in Support re: 96 MOTION for Clarification of
                 Court's Order and For Forensic Examination .. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                 Exhibit, # 7 Exhibit, # 8 Exhibit)(McCawley, Sigrid) (Entered: 04/13/2016)
04/15/2016    98 ORDER denying in part 96 Motion for Clarification of the Court's order and Forensic
                 examination. Plaintiff's motion for clarification of the Court's March 17, 2016 ruling is
                 denied on the grounds that the following matters were resolved by the Court at the
                 March 17, 2016 hearing as further set forth in this Order. Plaintiff's motion for a
                 forensic examination shall be heard on Thursday, April 28, 2016 in Courtroom 18C,
                 United States Courthouse, 500 Pearl Street. Opposition, if any, shall be served on or
                 before April 21, 2016. Plaintiff's reply, if any, shall be served on or before April 25,
                 2016. (Signed by Judge Robert W. Sweet on 4/15/2016) (spo) (Entered: 04/15/2016)
04/15/2016    99 REPLY to Response to Motion re: 75 MOTION to Compel Responses to Defendant's
                 First Set of Discovery Requests to Plaintiff. Resubmitted. Document filed by Ghislaine
                 Maxwell. (Menninger, Laura) (Entered: 04/15/2016)
04/15/2016   100 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 4/15/2016 re: Defendants' requesting that the Reply be placed under seal and that
                 we substitute for public filing a Reply which omits words from page 9 about which
                 Plaintiff complains. ENDORSEMENT: So ordered. (Signed by Judge Robert W.
                 Sweet on 4/15/2016) (cf) (Entered: 04/15/2016)
04/15/2016        Transmission to Sealed Records Clerk. Transmitted re: 100 Endorsed Letter to the
                  Sealed Records Clerk for the sealing or unsealing of document or case. (cf) (Entered:
                  04/15/2016)
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04/18/2016   101 MOTION to Compel Plaintiff to Disclose Alleged "On−going Criminal Investigations
                 by Law Enforcement [sic]" or, In the Alternative, to Stay Proceedings. Document filed
                 by Ghislaine Maxwell.(Menninger, Laura) (Entered: 04/18/2016)
04/19/2016   102 RESPONSE in Opposition to Motion re: 101 MOTION to Compel Plaintiff to
                 Disclose Alleged "On−going Criminal Investigations by Law Enforcement [sic]" or, In
                 the Alternative, to Stay Proceedings. . Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) (Entered: 04/19/2016)
04/19/2016   103 DECLARATION of Sigrid McCawley in Opposition re: 101 MOTION to Compel
                 Plaintiff to Disclose Alleged "On−going Criminal Investigations by Law Enforcement
                 [sic]" or, In the Alternative, to Stay Proceedings.. Document filed by Virginia L.
                 Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(McCawley, Sigrid)
                 (Entered: 04/19/2016)
04/19/2016   104 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 SUPPLEMENTAL MOTION to Defendant Ghislaine Maxwell's Objection to Motions
                 for Admission Pro Hac Vice by Paul G. Cassell, and Bradley J Edwards. Document
                 filed by Ghislaine Maxwell.(Menninger, Laura) Modified on 4/20/2016 (db). (Entered:
                 04/19/2016)
04/19/2016   105 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 DECLARATION of Jeffrey S. Pagliuca in Support re: 104 SUPPLEMENTAL
                 MOTION to Defendant Ghislaine Maxwell's Objection to Motions for Admission Pro
                 Hac Vice by Paul G. Cassell, and Bradley J Edwards.. Document filed by Ghislaine
                 Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Menninger, Laura) Modified on
                 4/20/2016 (db). (Entered: 04/19/2016)
04/19/2016   106 ORDER granting in part and denying in part 35 Motion to Compel; granting in part
                 and denying in part 63 Motion for Protective Order; denying 64 Motion to Compel.
                 Plaintiff's motion to compel Defendant to Produce Documents Subject to Improper
                 Objections, filed February 26, 2016, ECF No. 35, was granted in part and denied in
                 part as set forth in open court on March 17, 2016. See ECF Nos. 66, 98. Defendant's
                 motion for a protective order regarding deposition of Defendant, filed March 22, 2016,
                 ECF No. 63, was granted in part and denied in part as set forth in open court on March
                 24, 2016. Tr. 4:7−7:16, ECF No. 82. Defendant's motion to compel Plaintiff to
                 disclose pursuant to Federal Rule of Civil Procedure 26, filed March 22, 2016, ECF
                 No. 64, was denied with leave granted to refile as set forth in open court on March 24,
                 2016. Tr. 3:19 4:6. (Signed by Judge Robert W. Sweet on 4/19/2016) (mro) (Entered:
                 04/20/2016)
04/20/2016         ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                   ERROR. Notice to Attorney Laura A. Menninger to RE−FILE Document 105
                   Declaration in Support of Motion. Use the event type Declaration in Support
                   (non−motion) found under the event list Other Answers. (db) (Entered:
                   04/20/2016)
04/20/2016         ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                   ERROR. Notice to Attorney Laura A. Menninger to RE−FILE Document 104
                   SUPPLEMENTAL MOTION to Defendant Ghislaine Maxwell's Objection to
                   Motions for Admission Pro Hac Vice by Paul G. Cassell, and Bradley J Edwards..
                   Use the event type Response to Motion found under the event list Replies,
                   Opposition and Supporting Documents, then link to 80 and 86 Motions. (db)
                   (Entered: 04/20/2016)
04/20/2016   107 Objection re: 80 MOTION for Paul G. Cassell to Appear Pro Hac Vice . Filing fee $
                 200.00, receipt number 0208−12149795. Motion and supporting papers to be
                 reviewed by Clerk's Office staff., 86 MOTION for Bradley James Edwards to
                 Appear Pro Hac Vice . Filing fee $ 200.00, receipt number 0208−12160815. Motion
                 and supporting papers to be reviewed by Clerk's Office staff. . Document filed by
                 Ghislaine Maxwell. (Menninger, Laura) (Entered: 04/20/2016)
04/20/2016   108 DECLARATION of Jeffrey S. Pagliuca in Support re: 107 Objection (non−motion),,.
                 Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit
                 B)(Menninger, Laura) (Entered: 04/20/2016)
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04/20/2016   109 SEALED DOCUMENT placed in vault.(mps) (Entered: 04/20/2016)
04/21/2016   110 RESPONSE in Opposition to Motion re: 96 MOTION for Clarification of Court's
                 Order and For Forensic Examination . . Document filed by Ghislaine Maxwell.
                 (Menninger, Laura) (Entered: 04/21/2016)
04/21/2016   111 DECLARATION of Laura A. Menninger in Opposition re: 96 MOTION for
                 Clarification of Court's Order and For Forensic Examination .. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Menninger, Laura)
                 (Entered: 04/21/2016)
04/21/2016         Minute Entry for proceedings held before Judge Robert W. Sweet: Oral Argument held
                   on 4/21/2016 re: [10 MOTION to Compel Plaintiff to Disclose Alleged "On−going
                   Criminal Investigations by Law Enforcement [sic]" or, In the Alternative, to Stay
                   Proceedings. filed by Ghislaine Maxwell, 80 MOTION for Paul G. Cassell to Appear
                   Pro Hac Vic Filing fee $ 200.00, receipt number 0208−12149795.Motion and
                   supporting papers to be reviewed by Clerk's Office staff filed by Virginia L. Giuffre,
                   86 MOTION for Bradley James Edwards to Appear Pro Hac Vice Filing fee $ 200.00,
                   receipt number 0208−12160815. Motion and supporting papers to be reviewed by
                   Clerk's Office staff filed by Virginia L. Giuffre, 75 MOTION to Compel Responses to
                   Defendant's First Set of Discovery Requests to Plaintiff filed by Ghislaine Maxwell.
                   (Court Reporter Steven Greenblum)As set forth in open court, Defendant's motin to
                   compel ECF No. 75 is granted in part and denied in part, the pro hace vice motions of
                   Paul G. Cassell ECF No. 80 and Bradley James Edward ECF No. 86 are denied with
                   leave to renew, and Defndant's motion to compel ECF No. 101 is granted in part and
                   denied in part.(Chan, Tsz) (Entered: 04/21/2016)
04/21/2016         Minute Entry for proceedings held before Judge Robert W. Sweet: Motion(s)
                   terminated: 80 MOTION for Paul G. Cassell to Appear Pro Hac Vice Filing fee $
                   200.00, receipt number 0208−12149795 Motion and supporting papers to be reviewed
                   by Clerk's Office staff filed by Virginia L. Giuffre, 75 MOTION to Compel Responses
                   to Defendant's First Set of Discovery Requests to Plaintiff filed by Ghislaine Maxwell,
                   86 MOTION for Bradley James Edwards to Appear Pro Hac Vice Filing fee $ 200.00,
                   receipt number 0208−12160815 and supporting papers to be reviewed by Clerk's
                   Office staff filed by Virginia L. Giuffre, 101 MOTION to Compel Plaintiff to Disclose
                   Alleged "On−going Criminal Investigations by Law Enforcement [sic]" or, In the
                   Alternative, to Stay Proceedings filed by Ghislaine Maxwell. (Court Reporter Steven
                   Greenblum) (Chan, Tsz) (Entered: 04/21/2016)
04/21/2016   112 MOTION for Paul G. Cassell to Appear Pro Hac Vice . Motion and supporting
                 papers to be reviewed by Clerk's Office staff. Document filed by Virginia L.
                 Giuffre. (Attachments: # 1 Exhibit Certificate of Good Standing, # 2 Text of Proposed
                 Order)(McCawley, Sigrid) Modified on 4/22/2016 (sdi). Modified on 4/22/2016 (bcu).
                 (Entered: 04/21/2016)
04/21/2016   113 LETTER RESPONSE to Motion addressed to Judge Robert W. Sweet from Sigrid
                 McCawley dated April 21, 2016 re: 86 MOTION for Bradley James Edwards to
                 Appear Pro Hac Vice . Filing fee $ 200.00, receipt number 0208−12160815. Motion
                 and supporting papers to be reviewed by Clerk's Office staff. . Document filed by
                 Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 04/21/2016)
04/21/2016   114 DECLARATION of Bradley Edwards in Support re: 86 MOTION for Bradley James
                 Edwards to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                 0208−12160815. Motion and supporting papers to be reviewed by Clerk's Office
                 staff.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit, #
                 3 Exhibit)(McCawley, Sigrid) (Entered: 04/21/2016)
04/21/2016   115 MOTION for Bradley J. Edwards to Appear Pro Hac Vice . Motion and supporting
                 papers to be reviewed by Clerk's Office staff. Document filed by Virginia L.
                 Giuffre. (Attachments: # 1 Exhibit Certificate of Good Standing, # 2 Text of Proposed
                 Order)(McCawley, Sigrid) (Entered: 04/21/2016)
04/21/2016   116 MEMORANDUM OF LAW in Opposition re: 112 MOTION for Paul G. Cassell to
                 Appear Pro Hac Vice . Motion and supporting papers to be reviewed by Clerk's
                 Office staff., 115 MOTION for Bradley J. Edwards to Appear Pro Hac Vice . Motion
                 and supporting papers to be reviewed by Clerk's Office staff. . Document filed by
                 Ghislaine Maxwell. (Menninger, Laura) (Entered: 04/21/2016)
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04/21/2016   117 DECLARATION of Menninger in Opposition re: 112 MOTION for Paul G. Cassell to
                 Appear Pro Hac Vice . Motion and supporting papers to be reviewed by Clerk's
                 Office staff., 115 MOTION for Bradley J. Edwards to Appear Pro Hac Vice . Motion
                 and supporting papers to be reviewed by Clerk's Office staff.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Menninger, Laura)
                 (Entered: 04/21/2016)
04/22/2016         >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                   No. 115 MOTION for Bradley J. Edwards to Appear Pro Hac Vice . Motion and
                   supporting papers to be reviewed by Clerk's Office staff.. The document has been
                   reviewed and there are no deficiencies. (sdi) (Entered: 04/22/2016)
04/22/2016         >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                   No. 112 MOTION for Paul G. Cassell to Appear Pro Hac Vice . Motion and
                   supporting papers to be reviewed by Clerk's Office staff.. The document has been
                   reviewed and there are no deficiencies. (bcu) (Entered: 04/22/2016)
04/22/2016   118 ORDER FOR ADMISSION PRO HAC VICE granting 115 Motion for Bradley J.
                 Edwards to Appear Pro Hac Vice. (Signed by Judge Robert W. Sweet on 4/22/2016)
                 (mro) (Entered: 04/22/2016)
04/22/2016   119 ORDER FOR ADMISSION PRO HAC VICE: The motion of Paul G. Cassell, for
                 admission to practice Pro Hac Vice in the above captioned action is granted. (Signed
                 by Judge Robert W. Sweet on 4/22/2016)(mro) (Entered: 04/22/2016)
04/25/2016   120 LETTER MOTION to Seal Document addressed to Judge Robert W. Sweet from
                 Sigrid McCawley dated April 25, 2016. Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 04/25/2016)
04/25/2016   121 REPLY MEMORANDUM OF LAW in Support re: 96 MOTION for Clarification of
                 Court's Order and For Forensic Examination . REDACTED. Document filed by
                 Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 04/25/2016)
04/25/2016   122 DECLARATION of Sigrid McCawley in Support re: 96 MOTION for Clarification of
                 Court's Order and For Forensic Examination .. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit REDACTED, # 5
                 Exhibit, # 6 Exhibit, # 7 Exhibit REDACTED, # 8 Exhibit REDACTED)(McCawley,
                 Sigrid) (Entered: 04/25/2016)
04/26/2016   123 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 AFFIDAVIT of Erika Perez in Support re: 96 MOTION for Clarification of Court's
                 Order and For Forensic Examination .. Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) Modified on 4/27/2016 (ldi). (Entered: 04/26/2016)
04/27/2016   124 MOTION Unopposed for Adjournment of Hearing on Plaintiff's Motion for Forensic
                 Examination. Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered:
                 04/27/2016)
04/27/2016   125 ORDER granting 120 Motion to Seal Document. So ordered. (Signed by Judge Robert
                 W. Sweet on 4/26/2016) (spo) (Entered: 04/27/2016)
04/27/2016         Transmission to Sealed Records Clerk. Transmitted re: 125 Order on Motion to Seal
                   Document to the Sealed Records Clerk for the sealing or unsealing of document or
                   case. (spo) (Entered: 04/27/2016)
04/27/2016         ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                   ERROR. Notice to Attorney Sigrid S. McCawley to RE−FILE Document 123
                   Affidavit in Support of Motion. Use the event type Affidavit of Service Other
                   found under the event list Service of Process. (ldi) (Entered: 04/27/2016)
04/28/2016   126 AFFIDAVIT OF SERVICE of Plaintiff's Non−Redacted Reply in Support of Motion
                 for Forensic Examination Filed Under Seal served on Laura Menninger and Jeffrey
                 Pagliuca on April 26, 2016. Service was made by E−MAIL. Document filed by
                 Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 04/28/2016)
04/28/2016   127 ORDER granting 124 Motion to adjourn conference. With respect to Defendant's
                 motion for an adjournment of the April 28, 2016 hearing, filed April 27, 2016,
                 Plaintiff's motion for a forensic examination is adjourned and shall instead be heard at
                 noon on May 12, 2016 in Courtroom 18C, United States Courthouse, 500 Pearl Street.
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                   In the event the matter is resolved prior to the hearing, Plaintiff may accordingly
                   withdraw her motion with leave granted to refile, and the parties are directed to jointly
                   notify the Court by letter. This Order resolves ECF No. 124. (Signed by Judge Robert
                   W. Sweet on 4/28/2016) (spo) (Entered: 04/28/2016)
04/28/2016         Set/Reset Deadlines as to Motion Hearing set for 5/12/2016 at 12:00 PM in Courtroom
                   18C, 500 Pearl Street, New York, NY 10007 before Judge Robert W. Sweet. (spo)
                   (Entered: 04/28/2016)
04/28/2016   128 NOTICE of Submission of Law Enforcement Materials for In Camera Review.
                 Document filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 04/28/2016)
04/29/2016   129 NOTICE of Filing Under Seal Joint Proposed Redacted Order Regarding Privilege.
                 Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 04/29/2016)
04/29/2016   130 Objection re: 128 Notice (Other) to Submission of Law Enforcement Materials for In
                 Camera Review. Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered:
                 04/29/2016)
05/01/2016   131 RESPONSE re: 130 Objection (non−motion) . Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) (Entered: 05/01/2016)
05/01/2016   132 DECLARATION of Sigrid McCawley in Opposition re: 130 Objection (non−motion).
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit)(McCawley, Sigrid)
                 (Entered: 05/01/2016)
05/02/2016   133 SEALED DOCUMENT placed in vault.(mps) (Entered: 05/02/2016)
05/02/2016   134 ORDER: With respect to Plaintiff's April 28, 2016 in camera submissions, the Plaintiff
                 is directed to submit a log in camera on or before April 4, 2016, identifying the
                 documents at issue, the applicable page range and category of grouped documents (that
                 is, documents spanning more than one page in their original form), the dates of any
                 submission, the law enforcement agency to which provided, any individuals, agencies,
                 or organizations to whom it has been released or made available, and a statement
                 identifying the privilege claimed and any authorities relied upon. The statement
                 concerning privilege and authorities will be provided to the Defendant. (Signed by
                 Judge Robert W. Sweet on 5/2/2016) (spo) (Entered: 05/02/2016)
05/02/2016   135 OPINION #106433 re: 33 MOTION to Compel Defendant Ghislaine Maxwell to
                 Produce Documents Subject to Improper Claim of Privilege, filed by Virginia L.
                 Giuffre. For the foregoing reasons and as set forth above, Plaintiff's motion to compel
                 is granted in part and denied in part. Defendant is directed to produce documents as set
                 forth above on or before April 18, 2016. This matter being subject to a Protective
                 Order dated March 17, 2016, the parties are directed to meet and confer regarding
                 redactions to this Opini6n consistent with that Order. The parties are further directed to
                 jointly file a proposed redacted version of this Opinion or notify the Court that none
                 are necessary within two weeks of the date of receipt of this Opinion. (As further set
                 forth in this Order.) (Signed by Judge Robert W. Sweet on 4/15/2016) (spo) Modified
                 on 5/4/2016 (ca). (Entered: 05/02/2016)
05/03/2016   136 TRANSCRIPT of Proceedings re: conference held on 4/21/2016 before Judge Robert
                 W. Sweet. Court Reporter/Transcriber: Steven Greenblum, (212) 805−0300. Transcript
                 may be viewed at the court public terminal or purchased through the Court
                 Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                 that date it may be obtained through PACER. Redaction Request due 5/27/2016.
                 Redacted Transcript Deadline set for 6/6/2016. Release of Transcript Restriction set
                 for 8/4/2016.(McGuirk, Kelly) (Entered: 05/03/2016)
05/03/2016   137 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                 official transcript of a conference proceeding held on 4/21/16 has been filed by the
                 court reporter/transcriber in the above−captioned matter. The parties have seven (7)
                 calendar days to file with the court a Notice of Intent to Request Redaction of this
                 transcript. If no such Notice is filed, the transcript may be made remotely
                 electronically available to the public without redaction after 90 calendar
                 days...(McGuirk, Kelly) (Entered: 05/03/2016)
05/04/2016   138 LETTER MOTION to Seal Document Brief in Support of the Privilege Claimed for In
                 Camera Submission addressed to Judge Robert W. Sweet from Sigrid McCawley dated
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                  May 4, 2016. Document filed by Virginia L. Giuffre.(McCawley, Sigrid) (Entered:
                  05/04/2016)
05/04/2016   139 RESPONSE re: 134 Order,, Redacted. Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) (Entered: 05/04/2016)
05/04/2016   140 DECLARATION of Sigrid McCawley re: 139 Response ., DECLARATION of Sigrid
                 McCawley in Support. Document filed by Virginia L. Giuffre. (Attachments: # 1
                 Exhibit Redacted, # 2 Exhibit, # 3 Exhibit)(McCawley, Sigrid) (Entered: 05/04/2016)
05/04/2016   141 NOTICE of In Camera Submission re: 134 Order,,. Document filed by Virginia L.
                 Giuffre. (McCawley, Sigrid) (Entered: 05/04/2016)
05/05/2016   142 LETTER MOTION to Seal Document Plaintiff's Motion to Compel Defendant to
                 Answer Deposition Questions addressed to Judge Robert W. Sweet from Sigrid
                 McCawley dated May 5, 2016. Document filed by Virginia L. Giuffre.(McCawley,
                 Sigrid) (Entered: 05/05/2016)
05/05/2016   143 MOTION to Compel Defendant Ghislaine Maxwell to Answer Deposition Questions
                 Redacted. Document filed by Virginia L. Giuffre.(McCawley, Sigrid) (Entered:
                 05/05/2016)
05/05/2016   144 DECLARATION of Sigrid McCawley in Support re: 143 MOTION to Compel
                 Defendant Ghislaine Maxwell to Answer Deposition Questions Redacted.. Document
                 filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Redacted, # 2 Exhibit
                 Redacted, # 3 Exhibit, # 4 Exhibit Redacted, # 5 Exhibit Redacted, # 6 Exhibit
                 Redacted, # 7 Exhibit Redacted)(McCawley, Sigrid) (Entered: 05/05/2016)
05/06/2016   145 ORDER granting 142 Motion to Seal Document. So ordered. (Signed by Judge Robert
                 W. Sweet on 5/6/2016) (spo) (Entered: 05/06/2016)
05/06/2016        Transmission to Sealed Records Clerk. Transmitted re: 145 Order on Motion to Seal
                  Document to the Sealed Records Clerk for the sealing or unsealing of document or
                  case. (spo) (Entered: 05/06/2016)
05/06/2016   146 ORDER granting 138 Motion to Seal Document. So ordered. (Signed by Judge Robert
                 W. Sweet on 5/6/2016) (spo) (Entered: 05/06/2016)
05/06/2016        Transmission to Sealed Records Clerk. Transmitted re: 146 Order on Motion to Seal
                  Document 145 Order on Motion to Seal Document to the Sealed Records Clerk for the
                  sealing or unsealing of document or case. (spo) (Entered: 05/06/2016)
05/06/2016   147 ORDER: Plaintiff's motion to compel, filed May 5, 2016, shall be heard at noon on
                 Thursday May 12, 2016 in Courtroom 18C, United States Courthouse, 500 Pearl
                 Street. (Motion Hearing set for 5/12/2016 at 12:00 PM in Courtroom 18C, 500 Pearl
                 Street, New York, NY 10007 before Judge Robert W. Sweet.) (Signed by Judge
                 Robert W. Sweet on 5/6/2016) (spo) (Entered: 05/06/2016)
05/09/2016   148 REPLY In Opposition to In Camera Submission. Document filed by Ghislaine
                 Maxwell. (Menninger, Laura) (Entered: 05/09/2016)
05/10/2016   149 RESPONSE to Motion re: 143 MOTION to Compel Defendant Ghislaine Maxwell to
                 Answer Deposition Questions Redacted. . Document filed by Ghislaine Maxwell.
                 (Menninger, Laura) (Entered: 05/10/2016)
05/10/2016   150 DECLARATION of Jeffrey S. Pagliuca in Opposition re: 143 MOTION to Compel
                 Defendant Ghislaine Maxwell to Answer Deposition Questions Redacted.. Document
                 filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A)(Menninger, Laura)
                 (Entered: 05/10/2016)
05/11/2016   151 LETTER MOTION to Seal Document Plaintiff's Reply In Support of her Motion to
                 Compel addressed to Judge Robert W. Sweet from Sigrid McCawley dated May 11,
                 2016. Document filed by Virginia L. Giuffre.(McCawley, Sigrid) (Entered:
                 05/11/2016)
05/11/2016   152 REPLY MEMORANDUM OF LAW in Support re: 143 MOTION to Compel
                 Defendant Ghislaine Maxwell to Answer Deposition Questions Redacted. . Document
                 filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 05/11/2016)
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05/11/2016   153 DECLARATION of Sigrid McCawley in Support re: 143 MOTION to Compel
                 Defendant Ghislaine Maxwell to Answer Deposition Questions Redacted.. Document
                 filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Exhibit 1 Redacted, # 2 Exhibit
                 Exhibit 2 Part 1, # 3 Exhibit Exhibit 2 Part 2, # 4 Exhibit Exhibit 2 Part 3, # 5 Exhibit
                 Exhibit 3 Part 1, # 6 Exhibit Exhibit 3 Part 2, # 7 Exhibit Exhibit 4, # 8 Exhibit Exhibit
                 5, # 9 Exhibit Exhibit 6, # 10 Exhibit Exhibit 7)(McCawley, Sigrid) (Entered:
                 05/11/2016)
05/12/2016   154 SEALED DOCUMENT placed in vault.(rz) (Entered: 05/12/2016)
05/12/2016         Minute Entry for proceedings held before Judge Robert W. Sweet: Oral Argument held
                   on 5/12/2016 re: 143 MOTION to Compel Defendant Ghislaine Maxwell to Answer
                   Deposition Questions filed by Virginia L. Giuffre. Decision Reserved.The proceeding
                   was filed under seal.The transcript are seal by the Court. (Court Reporter Tom Murray)
                   (Chan, Tsz) (Entered: 05/13/2016)
05/20/2016   155 MOTION to Compel Non−Privileged Documents. Document filed by Ghislaine
                 Maxwell.(Menninger, Laura) (Entered: 05/20/2016)
05/20/2016   156 DECLARATION of Laura A. Menninger in Support re: 155 MOTION to Compel
                 Non−Privileged Documents.. Document filed by Ghislaine Maxwell. (Attachments: #
                 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, #
                 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J)(Menninger, Laura) (Entered:
                 05/20/2016)
05/23/2016   157 ORDER: Defendant's motion to compel, filed May 20, 2016, shall be heard at noon on
                 Thursday June 2, 2016 in Courtroom 18C, United States Courthouse, 500 Pearl Street.
                 All papers shall be served in accordance with Local Civil Rule 6.1. Motion Hearing set
                 for 6/2/2016 at 12:00 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007
                 before Judge Robert W. Sweet. (Signed by Judge Robert W. Sweet on 5/23/2016) (cf)
                 (Entered: 05/23/2016)
05/23/2016   158 ENDORSED LETTER addressed to Judge Robert W. Sweet from LAura A.
                 Menninger dated 5/20/2016 re: Request to file Confidential information Under Seal.
                 ENDORSEMENT: So ordered. (Signed by Judge Robert W. Sweet on 5/23/2016)
                 (spo) Modified on 6/13/2016 (tro). (Entered: 05/23/2016)
05/25/2016   159 LETTER MOTION to Seal Document Plaintiff's Motion for Leave to Serve Three
                 Deposition Subpoenas by Means Other than Personal Service addressed to Judge
                 Robert W. Sweet from Sigrid McCawley dated May 25, 2016. Document filed by
                 Virginia L. Giuffre.(McCawley, Sigrid) (Entered: 05/25/2016)
05/25/2016   160 MOTION for Leave to Serve Three Deposition Subpoenas by Means Other Than
                 Personal Service Redacted. Document filed by Virginia L. Giuffre.(McCawley, Sigrid)
                 (Entered: 05/25/2016)
05/25/2016   161 DECLARATION of Sigrid McCawley in Support re: 160 MOTION for Leave to
                 Serve Three Deposition Subpoenas by Means Other Than Personal Service Redacted..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Composite Exhibit
                 1, # 2 Exhibit Exhibit 2 Redacted, # 3 Exhibit Composite Exhibit 3, # 4 Exhibit
                 Exhibit 4, # 5 Exhibit Exhibit 5, # 6 Exhibit Exhibit 6, # 7 Exhibit Exhibit 7, # 8
                 Exhibit Exhibit 8, # 9 Exhibit Composite Exhibit 9)(McCawley, Sigrid) (Entered:
                 05/25/2016)
05/25/2016   162 MOTION for John Stanley Pottinger to Appear Pro Hac Vice . Filing fee $ 200.00,
                 receipt number 0208−12345610. Motion and supporting papers to be reviewed by
                 Clerk's Office staff. Document filed by Virginia L. Giuffre. (Attachments: # 1
                 Appendix Certificate of Good Standing, # 2 Appendix Proposed Order)(Pottinger,
                 John) (Entered: 05/25/2016)
05/26/2016         >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                   No. 162 MOTION for John Stanley Pottinger to Appear Pro Hac Vice . Filing fee
                   $ 200.00, receipt number 0208−12345610. Motion and supporting papers to be
                   reviewed by Clerk's Office staff.. The document has been reviewed and there are
                   no deficiencies. (sdi) (Entered: 05/26/2016)
05/26/2016   163 ORDER granting 151 Motion to Seal Document. So ordered. (Signed by Judge Robert
                 W. Sweet on 5/26/2016) (spo) (Entered: 05/26/2016)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page24 of 202
                                        CMA-020
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05/26/2016   164 MOTION to Compel all Attorney−Client Communications and Work Product Put At
                 Issue by Plaintiff and Her Attorneys. Document filed by Ghislaine
                 Maxwell.(Menninger, Laura) (Entered: 05/26/2016)
05/26/2016   165 DECLARATION of Laura A. Menninger in Support re: 164 MOTION to Compel all
                 Attorney−Client Communications and Work Product Put At Issue by Plaintiff and Her
                 Attorneys.. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit
                 M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q)(Menninger, Laura)
                 (Entered: 05/26/2016)
05/27/2016   166 ORDER: Plaintiff's motion for leave to serve, filed May 25, 2016, shall be heard at
                 noon on Thursday June 2, 2016 in Courtroom 18C, United States Courthouse, 500
                 Pearl Street. (Motion Hearing set for 6/2/2016 at 12:00 PM in Courtroom 18C, 500
                 Pearl Street, New York, NY 10007 before Judge Robert W. Sweet.) (Signed by Judge
                 Robert W. Sweet on 5/26/2016) (spo) Modified on 6/13/2016 (tro). (Entered:
                 05/27/2016)
05/27/2016   167 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 5/26/2016 re: Request to file under seal. ENDORSEMENT: So ordered. (Signed
                 by Judge Robert W. Sweet on 5/27/2016) (spo) (Entered: 05/27/2016)
05/27/2016   168 ORDER granting 159 Motion to Seal Document. So ordered. (Signed by Judge Robert
                 W. Sweet on 5/27/2016) (spo) (Entered: 05/27/2016)
05/27/2016   169 ORDER. Defendant's motion to compel, filed May 26, 2016, shall be heard at noon on
                 Thursday June 2, 2016 in Courtroom 18C, United States Courthouse, 500 Pearl Street.
                 It is so ordered. (Oral Argument set for 6/2/2016 at 12:00 PM in Courtroom 18C, 500
                 Pearl Street, New York, NY 10007 before Judge Robert W. Sweet.) (Signed by Judge
                 Robert W. Sweet on 5/27/2016) (rjm) (Entered: 05/27/2016)
05/27/2016   170 ORDER FOR ADMISSION PRO HAC VICE granting 162 Motion for J. Stanley
                 Pottinger to Appear Pro Hac Vice. (Signed by Judge Robert W. Sweet on 5/26/2016)
                 (kgo) (Entered: 05/27/2016)
05/27/2016   171 LETTER MOTION to Seal Document Plaintiff's Motion to Exceed Presumptive Ten
                 Deposition Limit addressed to Judge Robert W. Sweet from Sigrid McCawley dated
                 May 27, 2016. Document filed by Virginia L. Giuffre.(McCawley, Sigrid) (Entered:
                 05/27/2016)
05/27/2016   172 MOTION To Exceed Presumptive Ten Deposition Limit Redacted. Document filed by
                 Virginia L. Giuffre.(McCawley, Sigrid) (Entered: 05/27/2016)
05/27/2016   173 DECLARATION of Sigrid McCawley in Support re: 172 MOTION To Exceed
                 Presumptive Ten Deposition Limit Redacted.. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4
                 Exhibit Exhibit 4, # 5 Exhibit Exhibit 5 Redacted, # 6 Exhibit Exhibit 6 Redacted, # 7
                 Exhibit Exhibit 7 Part 1, # 8 Exhibit Exhibit 7 Part 2, # 9 Exhibit Exhibit 8, # 10
                 Exhibit Exhibit 9)(McCawley, Sigrid) (Entered: 05/27/2016)
05/27/2016   174 ORDER: All pending motions scheduled to be heard at noon on Thursday June 2, 2016
                 in Courtroom 18C, United States Courthouse, 500 Pearl Street are advanced to 10:00
                 am. Motion Hearing set for 6/2/2016 at 10:00 AM in Courtroom 18C, 500 Pearl Street,
                 New York, NY 10007 before Judge Robert W. Sweet. (Signed by Judge Robert W.
                 Sweet on 5/27/2016) (kgo) (Entered: 05/27/2016)
05/27/2016   175 NOTICE of of Acceptance of Service re: 160 MOTION for Leave to Serve Three
                 Deposition Subpoenas by Means Other Than Personal Service Redacted.. Document
                 filed by Virginia L. Giuffre. (Schultz, Meredith) (Entered: 05/27/2016)
05/27/2016   176 MOTION for Extension of Time to Respond to 24−Page Motion on Attorney−Client
                 Waiver Issues. Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered:
                 05/27/2016)
05/31/2016   177 LETTER MOTION to Seal Document Response in Opposition to Defendant's Motion
                 to Compel Non−Privileged Documents addressed to Judge Robert W. Sweet from
                 Meredith Schultz dated May 31, 2016. Document filed by Virginia L. Giuffre.(Schultz,
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                                         CMA-021
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                   Meredith) (Entered: 05/31/2016)
05/31/2016   178 ORDER granting 171 Motion to Seal Document Plaintiff's Motion to Exceed
                 Presumptive Ten Deposition Limit. So ordered. (Signed by Judge Robert W. Sweet on
                 5/31/2016) (kko) (Entered: 05/31/2016)
05/31/2016         Transmission to Sealed Records Clerk. Transmitted re: 178 Order on Motion to Seal
                   Document to the Sealed Records Clerk for the sealing or unsealing of document or
                   case. (kko) (Entered: 05/31/2016)
05/31/2016   179 RESPONSE in Opposition to Motion re: 155 MOTION to Compel Non−Privileged
                 Documents. . Document filed by Virginia L. Giuffre. (Schultz, Meredith) (Entered:
                 05/31/2016)
05/31/2016   180 DECLARATION of Meredith L. Schultz in Opposition re: 155 MOTION to Compel
                 Non−Privileged Documents.. Document filed by Virginia L. Giuffre. (Attachments: #
                 1 Exhibit Redacted, # 2 Exhibit Redacted, # 3 Exhibit Redacted, # 4 Exhibit, # 5
                 Redacted, # 6 Redacted, # 7 Exhibit)(Schultz, Meredith) (Entered: 05/31/2016)
06/01/2016   181 LETTER MOTION to Seal Document 164 MOTION to Compel all Attorney−Client
                 Communications and Work Product Put At Issue by Plaintiff and Her Attorneys.
                 addressed to Judge Robert W. Sweet from Meredith Schultz dated 06/01/16. Document
                 filed by Virginia L. Giuffre.(McCawley, Sigrid) (Entered: 06/01/2016)
06/01/2016   182 FIRST MOTION for Leave to File Excess Pages . Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 06/01/2016)
06/01/2016   183 ORDER granting 177 Motion to Seal Document. So ordered. (Signed by Judge Robert
                 W. Sweet on 5/31/2016) (cf) (Entered: 06/01/2016)
06/01/2016         Transmission to Sealed Records Clerk. Transmitted re: 183 Order to the Sealed
                   Records Clerk for the sealing or unsealing of document or case. (cf) (Entered:
                   06/01/2016)
06/01/2016   184 RESPONSE in Opposition to Motion re: 164 MOTION to Compel all Attorney−Client
                 Communications and Work Product Put At Issue by Plaintiff and Her Attorneys. .
                 Document filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 06/01/2016)
06/01/2016   185 DECLARATION of Sigrid S. McCawley in Opposition re: 181 LETTER MOTION to
                 Seal Document 164 MOTION to Compel all Attorney−Client Communications and
                 Work Product Put At Issue by Plaintiff and Her Attorneys. addressed to Judge Robert
                 W. Sweet from Meredith Schultz dated 06/01/16.. Document filed by Virginia L.
                 Giuffre. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2 Sealed, # 3 Exhibit 3 Sealed, # 4
                 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10
                 Exhibit 10, # 11 Exhibit 11 Sealed, # 12 Exhibit 12, # 13 Exhibit 13 Sealed, # 14
                 Exhibit 14 Sealed, # 15 Exhibit 15 Sealed, # 16 Exhibit 16 Sealed)(McCawley, Sigrid)
                 (Entered: 06/01/2016)
06/02/2016         Minute Entry The motions on June 2, 2016 was taken on submission. (Chan, Tsz)
                   (Entered: 06/07/2016)
06/03/2016   186 ORDER granting 181 Motion to Seal Document. So ordered. (Signed by Judge Robert
                 W. Sweet on 6/3/2016) (kl) (Entered: 06/03/2016)
06/03/2016         Transmission to Sealed Records Clerk. Transmitted re: 186 Order on Motion to Seal
                   Document, to the Sealed Records Clerk for the sealing or unsealing of document or
                   case. (kl) (Entered: 06/03/2016)
06/06/2016   187 ORDER: Plaintiff's motion to exceed the ten deposition limit shall be returnable on
                 submission on June 16, 2016. All papers shall be served in accordance with Local
                 Civil Rule 6.1. (Signed by Judge Robert W. Sweet on 6/6/2016) (cf) (Entered:
                 06/06/2016)
06/06/2016   188 MEMO ENDORSEMENT granting 176 Motion for Extension of Time to respond to
                 motion. ENDORSEMENT: So ordered. (Signed by Judge Robert W. Sweet on
                 5/31/2016) (spo) (Entered: 06/06/2016)
06/06/2016   189 RESPONSE in Opposition to Motion re: 172 MOTION To Exceed Presumptive Ten
                 Deposition Limit Redacted. . Document filed by Ghislaine Maxwell. (Menninger,
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page26 of 202
                                        CMA-022
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                   Laura) (Entered: 06/06/2016)
06/06/2016   190 DECLARATION of Laura A. Menninger in Opposition re: 172 MOTION To Exceed
                 Presumptive Ten Deposition Limit Redacted.. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit A)(Menninger, Laura) (Entered: 06/06/2016)
06/06/2016   191 REPLY to Response to Motion re: 155 MOTION to Compel Non−Privileged
                 Documents. . Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered:
                 06/06/2016)
06/06/2016   192 DECLARATION of Laura A. Menninger in Support re: 155 MOTION to Compel
                 Non−Privileged Documents.. Document filed by Ghislaine Maxwell. (Attachments: #
                 1 Exhibit K, # 2 Exhibit L, # 3 Exhibit M)(Menninger, Laura) (Entered: 06/06/2016)
06/06/2016   193 REPLY to Response to Motion re: 164 MOTION to Compel all Attorney−Client
                 Communications and Work Product Put At Issue by Plaintiff and Her Attorneys. .
                 Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 06/06/2016)
06/06/2016   194 DECLARATION of Laura A. Menninger in Support re: 164 MOTION to Compel all
                 Attorney−Client Communications and Work Product Put At Issue by Plaintiff and Her
                 Attorneys.. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit Q, # 2
                 Exhibit R, # 3 Exhibit S)(Menninger, Laura) (Entered: 06/06/2016)
06/07/2016   195 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 6/6/2016 re: Letter motion for file exhibits. ENDORSEMENT: So ordered.
                 (Signed by Judge Robert W. Sweet on 6/7/2016) (spo) (Entered: 06/07/2016)
06/07/2016   196 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 6/6/2016 re: Request to file exhibit S. ENDORSEMENT: So ordered. (Signed by
                 Judge Robert W. Sweet on 6/7/2016) (spo) (Entered: 06/07/2016)
06/07/2016   197 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 6/6/2016 re: Request to file exhibit A. ENDORSEMENT: So ordered. (Signed
                 by Judge Robert W. Sweet on 6/7/2016) (spo) (Entered: 06/07/2016)
06/08/2016   198 SEALED DOCUMENT placed in vault.(mps) (Entered: 06/08/2016)
06/10/2016   199 MOTION for Extension of Time to Complete Depositions. Document filed by Virginia
                 L. Giuffre.(Schultz, Meredith) (Entered: 06/10/2016)
06/10/2016   200 DECLARATION of Sigrid S. McCawley in Support re: 199 MOTION for Extension
                 of Time to Complete Depositions.. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit, # 2 Exhibit)(Schultz, Meredith) (Entered: 06/10/2016)
06/13/2016   201 MOTION to Maintain Confidentiality Designation . Document filed by Virginia L.
                 Giuffre.(Schultz, Meredith) (Entered: 06/13/2016)
06/13/2016   202 LETTER MOTION to Seal Document re Reply addressed to Judge Robert W. Sweet
                 from Meredith Schultz dated 06/13/2016. Document filed by Virginia L.
                 Giuffre.(Schultz, Meredith) (Entered: 06/13/2016)
06/13/2016   203 RESPONSE in Support of Motion re: 202 LETTER MOTION to Seal Document re
                 Reply addressed to Judge Robert W. Sweet from Meredith Schultz dated 06/13/2016.,
                 172 MOTION To Exceed Presumptive Ten Deposition Limit Redacted. . Document
                 filed by Virginia L. Giuffre. (Schultz, Meredith) (Entered: 06/13/2016)
06/13/2016   204 DECLARATION of Sigrid S. McCawley in Support re: 202 LETTER MOTION to
                 Seal Document re Reply addressed to Judge Robert W. Sweet from Meredith Schultz
                 dated 06/13/2016., 172 MOTION To Exceed Presumptive Ten Deposition Limit
                 Redacted.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit 1
                 (Sealed), # 2 Exhibit 2 (Sealed), # 3 Exhibit 3 (Sealed))(Schultz, Meredith) (Entered:
                 06/13/2016)
06/13/2016   205 MOTION for Protective Order re Subpoena to Apple, Inc. Seeking Production of All of
                 Ms. Giuffre's Sent and Received Emails and Relevant Data. Document filed by
                 Virginia L. Giuffre.(Schultz, Meredith) (Entered: 06/13/2016)
06/13/2016   206 DECLARATION of Meredith L. Schultz in Support re: 205 MOTION for Protective
                 Order re Subpoena to Apple, Inc. Seeking Production of All of Ms. Giuffre's Sent and
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                  Received Emails and Relevant Data.. Document filed by Virginia L. Giuffre.
                  (Attachments: # 1 Exhibit, # 2 Exhibit)(Schultz, Meredith) (Entered: 06/13/2016)
06/13/2016   207 MOTION for Protective Order re the Subpoena to Microsoft Corporation Seeking
                 Production of All of Ms. Giuffre's Sent and Received Emails and Related Data.
                 Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered: 06/13/2016)
06/13/2016   208 DECLARATION of Meredith L Schultz in Support re: 207 MOTION for Protective
                 Order re the Subpoena to Microsoft Corporation Seeking Production of All of Ms.
                 Giuffre's Sent and Received Emails and Related Data.. Document filed by Virginia L.
                 Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit)(Schultz, Meredith) (Entered:
                 06/13/2016)
06/14/2016   209 ORDER granting 202 LETTER MOTION to Seal Document re Reply addressed to
                 Judge Robert W. Sweet from Meredith Schultz dated 06/13/2016. Document filed by
                 Virginia L. Giuffre. So ordered. (Signed by Judge Robert W. Sweet on 6/14/2016)
                 (rjm) (Entered: 06/14/2016)
06/14/2016        Transmission to Sealed Records Clerk. Transmitted re: 209 Order on Motion to Seal
                  Document to the Sealed Records Clerk for the sealing or unsealing of document or
                  case. (rjm) (Entered: 06/14/2016)
06/14/2016   210 ORDER. Plaintiff's motions for a protective order, to maintain the confidentiality
                 designations, and for an extension of time shall be heard at noon on Thursday June 23,
                 2016 in Courtroom 18C, United States Courthouse, 500 Pearl Street. It is so ordered.
                 (Oral Argument set for 6/23/2016 at 12:00 PM in Courtroom 18C, 500 Pearl Street,
                 New York, NY 10007 before Judge Robert W. Sweet.) (Signed by Judge Robert W.
                 Sweet on 6/14/2016) (rjm) (Entered: 06/14/2016)
06/14/2016   211 REPLY to Response to Motion re: 172 MOTION To Exceed Presumptive Ten
                 Deposition Limit Redacted. CORRECTED. Document filed by Virginia L. Giuffre.
                 (Schultz, Meredith) (Entered: 06/14/2016)
06/14/2016   212 DECLARATION of Meredith L Schultz in Support re: 172 MOTION To Exceed
                 Presumptive Ten Deposition Limit Redacted.. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit SEALED, # 2 Exhibit SEALED, # 3 Exhibit
                 SEALED)(Schultz, Meredith) (Entered: 06/14/2016)
06/15/2016   213 NOTICE OF APPEARANCE by Eric Joel Feder on behalf of Sharon Churcher.
                 (Feder, Eric) (Entered: 06/15/2016)
06/15/2016   214 NOTICE OF APPEARANCE by Laura R. Handman on behalf of Sharon Churcher.
                 (Handman, Laura) (Entered: 06/15/2016)
06/15/2016   215 MOTION to Quash subpoena of Sharon Churcher . Document filed by Sharon
                 Churcher.(Handman, Laura) (Entered: 06/15/2016)
06/15/2016   216 DECLARATION of Sharon Churcher in Support re: 215 MOTION to Quash subpoena
                 of Sharon Churcher .. Document filed by Sharon Churcher. (Attachments: # 1 Exhibit
                 1 to Churcher Decl., # 2 Exhibit 2 to Churcher Decl., # 3 Exhibit 3 to Churcher Decl.,
                 # 4 Exhibit 4 to Churcher Decl., # 5 Exhibit 5 to Churcher Decl., # 6 Exhibit 6 to
                 Churcher Decl., # 7 Exhibit 7 to Churcher Decl., # 8 Exhibit 8 to Churcher
                 Decl.)(Feder, Eric) (Entered: 06/15/2016)
06/15/2016   217 DECLARATION of Laura R. Handman in Support re: 215 MOTION to Quash
                 subpoena of Sharon Churcher .. Document filed by Sharon Churcher. (Attachments: #
                 1 Exhibit A to Handman Decl.)(Feder, Eric) (Entered: 06/15/2016)
06/15/2016   218 MEMORANDUM OF LAW in Support re: 215 MOTION to Quash subpoena of
                 Sharon Churcher . . Document filed by Sharon Churcher. (Feder, Eric) (Entered:
                 06/15/2016)
06/16/2016   219 MOTION for Gregory Lawrence Poe to Appear Pro Hac Vice . Filing fee $ 200.00,
                 receipt number 0208−12430113. Motion and supporting papers to be reviewed by
                 Clerk's Office staff. Document filed by Jeffrey Epstein. (Attachments: # 1 Appendix
                 Certificate of Good Standing, # 2 Text of Proposed Order Proposed Order)(Poe,
                 Gregory) (Entered: 06/16/2016)
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06/16/2016   220 NOTICE OF APPEARANCE by Rachel S Li Wai Suen on behalf of Jeffrey Epstein.
                 (Li Wai Suen, Rachel) (Entered: 06/16/2016)
06/16/2016   221 MOTION to Quash Subpoena of Jeffrey Epstein or in the Alternative Modify
                 Subpoena and for a Protective Order. Document filed by Jeffrey Epstein.(Li Wai
                 Suen, Rachel) (Entered: 06/16/2016)
06/16/2016   222 MEMORANDUM OF LAW in Support re: 221 MOTION to Quash Subpoena of
                 Jeffrey Epstein or in the Alternative Modify Subpoena and for a Protective Order. .
                 Document filed by Jeffrey Epstein. (Li Wai Suen, Rachel) (Entered: 06/16/2016)
06/16/2016   223 DECLARATION of Gregory L. Poe in Support re: 221 MOTION to Quash Subpoena
                 of Jeffrey Epstein or in the Alternative Modify Subpoena and for a Protective Order..
                 Document filed by Jeffrey Epstein. (Attachments: # 1 Exhibit 1 to Poe Decl., # 2
                 Exhibit 2 to Poe Decl., # 3 Exhibit 3 to Poe Decl., # 4 Exhibit 4 to Poe Decl., # 5
                 Exhibit 5 to Poe Decl., # 6 Exhibit 6 to Poe Decl., # 7 Exhibit 7 to Poe Decl.)(Li Wai
                 Suen, Rachel) (Entered: 06/16/2016)
06/16/2016         >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                   No. 219 MOTION for Gregory Lawrence Poe to Appear Pro Hac Vice . Filing fee
                   $ 200.00, receipt number 0208−12430113. Motion and supporting papers to be
                   reviewed by Clerk's Office staff.. The document has been reviewed and there are
                   no deficiencies. (bcu) (Entered: 06/16/2016)
06/17/2016         ***DELETED DOCUMENT. Deleted document number 224 Reply. The
                   document was incorrectly filed in this case. (rj) (Entered: 06/17/2016)
06/17/2016   224 REPLY to Response to Motion re: 172 MOTION To Exceed Presumptive Ten
                 Deposition Limit Redacted. AMENDED. Document filed by Virginia L. Giuffre.
                 (Schultz, Meredith) (Entered: 06/17/2016)
06/20/2016   225 ORDER FOR ADMISSION PRO HAC VICE: granting 219 Motion for Gregory
                 Lawrence Poe to Appear Pro Hac Vice. (Signed by Judge Robert W. Sweet on
                 6/20/2016) (ama) (Entered: 06/20/2016)
06/20/2016   226 ORDER: Jeffrey Epstein's motion to quash shall be heard at noon on Thursday June
                 23, 2016 in Courtroom 18C, United States Courthouse, 500 Pearl Street. IT IS SO
                 ORDERED., Set Deadlines/Hearing as to ( Motion Hearing set for 6/23/2016 at 12:00
                 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007 before Judge Robert
                 W. Sweet.) (Signed by Judge Robert W. Sweet on 6/20/2016) (ama) (Entered:
                 06/20/2016)
06/20/2016   227 ORDER: Sharon Churcher' s motion to quash shall be heard at noon on Thursday June
                 23, 2016 in Courtroom 18C, United States Courthouse, 500 Pearl Street. IT IS SO
                 ORDERED., Set Deadlines/Hearing as to ( Motion Hearing set for 6/23/2016 at 12:00
                 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007 before Judge Robert
                 W. Sweet.) (Signed by Judge Robert W. Sweet on 6/20/2016) (ama) (Entered:
                 06/20/2016)
06/20/2016   228 RESPONSE in Opposition to Motion re: 199 MOTION for Extension of Time to
                 Complete Depositions. . Document filed by Ghislaine Maxwell. (Menninger, Laura)
                 (Entered: 06/20/2016)
06/20/2016   229 DECLARATION of Laura A. Menninger in Opposition re: 199 MOTION for
                 Extension of Time to Complete Depositions.. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                 E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N)(Menninger, Laura)
                 (Entered: 06/20/2016)
06/20/2016   230 MOTION to Reopen Deposition of Plaintiff Virginia Giuffre . Document filed by
                 Ghislaine Maxwell.(Menninger, Laura) (Entered: 06/20/2016)
06/20/2016   231 MOTION for Sanctions 37(b) & (c) for Failure to Comply with Court Order and
                 Failure to Comply with Rule 26(a). Document filed by Ghislaine
                 Maxwell.(Menninger, Laura) (Entered: 06/20/2016)
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                                         CMA-025
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06/20/2016   232 DECLARATION of Laura A. Menninger in Support re: 231 MOTION for Sanctions
                 37(b) & (c) for Failure to Comply with Court Order and Failure to Comply with Rule
                 26(a).. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit
                 M, # 14 Exhibit N)(Menninger, Laura) (Entered: 06/20/2016)
06/20/2016   233 RESPONSE in Opposition to Motion re: 221 MOTION to Quash Subpoena of Jeffrey
                 Epstein or in the Alternative Modify Subpoena and for a Protective Order. . Document
                 filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 06/20/2016)
06/20/2016   234 DECLARATION of Sigird S. McCawley in Opposition re: 221 MOTION to Quash
                 Subpoena of Jeffrey Epstein or in the Alternative Modify Subpoena and for a
                 Protective Order.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                 Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4 Exhibit Exhibit 4, # 5
                 Exhibit Exhibit 5 Part 1 of 3, # 6 Exhibit Exhibit 5 Part 2 of 3, # 7 Exhibit Exhibit 5
                 Part 3 of 3)(McCawley, Sigrid) (Entered: 06/20/2016)
06/21/2016   235 DECLARATION of Laura A. Menninger in Support re: 230 MOTION to Reopen
                 Deposition of Plaintiff Virginia Giuffre .. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                 E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit K, # 11
                 Exhibit L, # 12 Exhibit M, # 13 Exhibit N)(Menninger, Laura) (Entered: 06/21/2016)
06/21/2016   236 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 6/20/2016 re: This is a letter motion to file under seal the following Motions, as
                 well as Declarations and certain exhibits thereto, under seal pursuant to this Court's
                 Protective Order (Doc. #62), the documents as further specified and listed in this letter.
                 ENDORSEMENT: So ordered. (Signed by Judge Robert W. Sweet on 6/20/2016)
                 (rjm) (Entered: 06/21/2016)
06/21/2016         Transmission to Sealed Records Clerk. Transmitted re: 236 Endorsed Letter to the
                   Sealed Records Clerk for the sealing or unsealing of document or case. (rjm) (Entered:
                   06/21/2016)
06/21/2016   237 ORDER with respect to 230 Motion to Reopen Plaintiff's deposition; with respect to
                 231 Motion for Sanctions: Defendant's motion to reopen Plaintiff's deposition and
                 motion for sanctions shall be taken on submission returnable Thursday, June 30, 2016
                 in Courtroom 18C, United States Courthouse, 500 Pearl Street. All papers shall be
                 served in accordance with Local Civil Rule 6.1. (Signed by Judge Robert W. Sweet on
                 6/21/2016) (tn) (Entered: 06/21/2016)
06/21/2016   238 REPLY MEMORANDUM OF LAW in Support re: 221 MOTION to Quash Subpoena
                 of Jeffrey Epstein or in the Alternative Modify Subpoena and for a Protective Order. .
                 Document filed by Jeffrey Epstein. (Li Wai Suen, Rachel) (Entered: 06/21/2016)
06/21/2016   239 DECLARATION of Gregory L. Poe (Supplemental Declaration) in Support re: 221
                 MOTION to Quash Subpoena of Jeffrey Epstein or in the Alternative Modify
                 Subpoena and for a Protective Order.. Document filed by Jeffrey Epstein.
                 (Attachments: # 1 Exhibit 1)(Li Wai Suen, Rachel) (Entered: 06/21/2016)
06/22/2016   240 SEALED DOCUMENT placed in vault.(mps) (Entered: 06/22/2016)
06/22/2016   241 SEALED DOCUMENT placed in vault.(rz) (Entered: 06/22/2016)
06/22/2016   242 SEALED DOCUMENT placed in vault.(mps) (Entered: 06/22/2016)
06/22/2016   243 SEALED DOCUMENT placed in vault.(rz) (Entered: 06/22/2016)
06/22/2016   244 SEALED DOCUMENT placed in vault.(rz) (Entered: 06/22/2016)
06/22/2016   245 LETTER MOTION to Seal Document addressed to Judge Robert W. Sweet from
                 Sigrid S. McCawley dated June 22, 2016. Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 06/22/2016)
06/22/2016   246 RESPONSE in Opposition to Motion re: 215 MOTION to Quash subpoena of Sharon
                 Churcher . . Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered:
                 06/22/2016)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page30 of 202
                                         CMA-026
     Case: 1:15-cv-07433-RWS As of: 09/12/2017 04:57 PM EDT 26 of 80
06/22/2016   247 DECLARATION of Laura A. Menninger in Opposition re: 215 MOTION to Quash
                 subpoena of Sharon Churcher .. Document filed by Ghislaine Maxwell. (Attachments:
                 # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Menninger, Laura)
                 (Entered: 06/22/2016)
06/22/2016   248 REPLY MEMORANDUM OF LAW in Support re: 199 MOTION for Extension of
                 Time to Complete Depositions. REDACTED. Document filed by Virginia L. Giuffre.
                 (Schultz, Meredith) (Entered: 06/22/2016)
06/22/2016   249 DECLARATION of Sigrid McCawley in Support re: 199 MOTION for Extension of
                 Time to Complete Depositions.. Document filed by Virginia L. Giuffre. (Attachments:
                 # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit REDACTED, # 5 Exhibit, # 6
                 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit,
                 # 13 Exhibit REDACTED, # 14 Exhibit REDACTED, # 15 Exhibit
                 REDACTED)(Schultz, Meredith) (Entered: 06/22/2016)
06/23/2016   251 ORDER: The Clerk of Court is directed to place the above entitled docket under seal.
                 (Signed by Judge Robert W. Sweet on 6/23/2016) (tro) (Entered: 06/24/2016)
06/23/2016   254 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 6/22/2016 re: This is a letter motion to file under seal the Defendant's Response
                 to Nonparty Sharon Churcher's Motion tn Quash Subpoena, as well as Declaration and
                 certain exhibits thereto, under seal pursuant to this Court's Protective Order (Doc.
                 #62). ENDORSEMENT: So ordered. (Signed by Judge Robert W. Sweet on
                 6/23/2016) (rjm) (Entered: 06/24/2016)
06/23/2016         Transmission to Sealed Records Clerk. Transmitted re: 254 Endorsed Letter to the
                   Sealed Records Clerk for the sealing or unsealing of document or case. (rjm) (Entered:
                   06/24/2016)
06/23/2016         Minute Entry for proceedings held before Judge Robert W. Sweet: Oral Argument held
                   on 6/23/2016 re: 221 MOTION to Quash Subpoena of Jeffrey Epstein or in the
                   Alternative Modify Subpoena and for a Protective Order filed by Jeffrey Epstein, 205
                   MOTION for Protective Order re Subpoena to Apple, Inc. Seeking Production of All
                   of Ms. Giuffre's Sent and Received Emails and Relevant Data filed by Virginia L.
                   Giuffre, 215 MOTION to Quash subpoena of Sharon Churcher filed by Sharon
                   Churcher, 207 MOTION for Protective Order re the Subpoena to Microsoft
                   Corporation Seeking Production of All of Ms. Giuffre's Sent and Received Emails and
                   Related Data filed by Virginia L. Giuffre. Motion to extend: Granted. Counsel is
                   directed to meet and confer on a further schedule.Confidentiality designation : Motion
                   granted, confidentiality will be maintained.Apple Subpoena: Motion to quash
                   granted.Microsoft Subpoena: Motion to quash granted, with leave to renew.Churcher
                   Subpoena: Decision reserved.Epstein Subpoena: Reserved on the bench (order
                   subsequently filed denied the motion to quash). (Court Reporter Vincent Bologna)
                   (Chan, Tsz) (Entered: 06/27/2016)
06/24/2016   250 ORDER, The Court directs the Clerk of Court and Records Department to unseal the
                 docket and seal ECF No. 246. It is so ordered. (Signed by Judge Robert W. Sweet on
                 06/24/2016) (mps) (Entered: 06/24/2016)
06/24/2016   252 MEMO ENDORSEMENT on NOTICE OF MOTION TO QUASH (OR IN THE
                 ALTERNATIVE MODIFY) SUBPOENA AND FOR A PROTECTIVE ORDER.
                 ENDORSEMENT: The motion to quash is denied. So ordered. Denying 221 Motion to
                 Quash. (Signed by Judge Robert W. Sweet on 6/23/2016) (rjm) (Entered: 06/24/2016)
06/24/2016   253 ORDER granting 245 LETTER MOTION to Seal Document addressed to Judge
                 Robert W. Sweet from Sigrid S. McCawley dated June 22, 2016. Document filed by
                 Virginia L. Giuffre. So ordered. (Signed by Judge Robert W. Sweet on 6/23/2016)
                 (rjm) (Entered: 06/24/2016)
06/24/2016         Transmission to Sealed Records Clerk. Transmitted re: 253 Order on Motion to Seal
                   Document to the Sealed Records Clerk for the sealing or unsealing of document or
                   case. (rjm) (Entered: 06/24/2016)
06/28/2016   255 LETTER MOTION to Seal Document Plaintiff's Response in Opposition to
                 Defendant's Motion for Rule 37 Sanctions addressed to Judge Robert W. Sweet from
                 Meredith Schultz dated June 28, 2016. Document filed by Virginia L. Giuffre.(Schultz,
                 Meredith) (Entered: 06/28/2016)
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                                       CMA-027
     Case: 1:15-cv-07433-RWS As of: 09/12/2017 04:57 PM EDT 27 of 80
06/28/2016   256 LETTER MOTION to Seal Document Plaintiff's Response in Opposition to
                 Defendant's Motion to Reopen Plaintiff's Deposition addressed to Judge Robert W.
                 Sweet from Meredith Schultz dated June 28, 2016. Document filed by Virginia L.
                 Giuffre.(Schultz, Meredith) (Entered: 06/28/2016)
06/28/2016   257 RESPONSE in Opposition to Motion re: 231 MOTION for Sanctions 37(b) & (c) for
                 Failure to Comply with Court Order and Failure to Comply with Rule 26(a).
                 REDACTED. Document filed by Virginia L. Giuffre. (Schultz, Meredith) (Entered:
                 06/28/2016)
06/28/2016   258 DECLARATION of Sigrid McCawley in Opposition re: 231 MOTION for Sanctions
                 37(b) & (c) for Failure to Comply with Court Order and Failure to Comply with Rule
                 26(a).. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                 REDACTED, # 2 Exhibit REDACTED, # 3 Exhibit REDACTED, # 4 Exhibit
                 REDACTED, # 5 Exhibit REDACTED, # 6 Exhibit REDACTED, # 7 Exhibit
                 REDACTED, # 8 Exhibit REDACTED, # 9 Exhibit REDACTED, # 10 Errata
                 REDACTED)(Schultz, Meredith) (Entered: 06/28/2016)
06/28/2016   259 RESPONSE in Opposition to Motion re: 230 MOTION to Reopen Deposition of
                 Plaintiff Virginia Giuffre . REDACTED. Document filed by Virginia L. Giuffre.
                 (Schultz, Meredith) (Entered: 06/28/2016)
06/28/2016   260 DECLARATION of Sigrid McCawley in Opposition re: 230 MOTION to Reopen
                 Deposition of Plaintiff Virginia Giuffre .. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit REDACTED, # 2 Exhibit REDACTED)(Schultz, Meredith)
                 (Entered: 06/28/2016)
07/01/2016   261 RESPONSE in Opposition to Motion re: 231 MOTION for Sanctions 37(b) & (c) for
                 Failure to Comply with Court Order and Failure to Comply with Rule 26(a).
                 REDACTED−CORRECTED. Document filed by Virginia L. Giuffre. (Schultz,
                 Meredith) (Entered: 07/01/2016)
07/05/2016   262 LETTER MOTION for Leave to File Reply Brief in Further Support of Motion to
                 Quash addressed to Judge Robert W. Sweet from Eric J. Feder dated July 5, 2016.,
                 LETTER MOTION to Seal Document addressed to Judge Robert W. Sweet from Eric
                 J. Feder dated July 5, 2016. Document filed by Sharon Churcher.(Feder, Eric)
                 (Entered: 07/05/2016)
07/05/2016   263 REPLY MEMORANDUM OF LAW in Support re: 215 MOTION to Quash subpoena
                 of Sharon Churcher . . Document filed by Sharon Churcher. (Feder, Eric) (Entered:
                 07/05/2016)
07/05/2016   264 NOTICE of of FILING REDACTED OPINION. Document filed by Virginia L.
                 Giuffre. (Attachments: # 1 Text of Proposed Order Proposed Redacted
                 Opinion)(Schultz, Meredith) (Entered: 07/05/2016)
07/07/2016   265 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 6/30/2016 re: I write to request a brief 3−day extension of time to file Ms.
                 Maxwell's Reply in Support of her Motions to Re−open Plaintiff's Deposition and for
                 Rule 37(b) and (c) Sanctions until July 8, 2016. ENDORSEMENT: So ordered.
                 (Replies due by 7/8/2016.) (Signed by Judge Robert W. Sweet on 7/5/2016) (rjm)
                 (Entered: 07/07/2016)
07/07/2016   266 ORDER granting 255 LETTER MOTION to Seal Document Plaintiff's Response in
                 Opposition to Defendant's Motion for Rule 37 Sanctions addressed to Judge Robert W.
                 Sweet from Meredith Schultz dated June 28, 2016. Document filed by Virginia L.
                 Giuffre. So ordered. (Signed by Judge Robert W. Sweet on 7/5/2016) (rjm) (Entered:
                 07/07/2016)
07/07/2016        Transmission to Sealed Records Clerk. Transmitted re: 266 Order on Motion to Seal
                  Document to the Sealed Records Clerk for the sealing or unsealing of document or
                  case. (rjm) (Entered: 07/07/2016)
07/08/2016   267 REPLY to Response to Motion re: 230 MOTION to Reopen Deposition of Plaintiff
                 Virginia Giuffre . . Document filed by Ghislaine Maxwell. (Menninger, Laura)
                 (Entered: 07/08/2016)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page32 of 202
                                        CMA-028
     Case: 1:15-cv-07433-RWS As of: 09/12/2017 04:57 PM EDT 28 of 80
07/08/2016   268 DECLARATION of Laura A. Menninger in Support re: 230 MOTION to Reopen
                 Deposition of Plaintiff Virginia Giuffre .. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit O, # 2 Exhibit P)(Menninger, Laura) (Entered: 07/08/2016)
07/08/2016   269 REPLY to Response to Motion re: 231 MOTION for Sanctions 37(b) & (c) for Failure
                 to Comply with Court Order and Failure to Comply with Rule 26(a). . Document filed
                 by Ghislaine Maxwell. (Menninger, Laura) (Entered: 07/08/2016)
07/08/2016   270 DECLARATION of Laura A. Menninger in Support re: 231 MOTION for Sanctions
                 37(b) & (c) for Failure to Comply with Court Order and Failure to Comply with Rule
                 26(a).. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit O, # 2
                 Exhibit P, # 3 Exhibit Q, # 4 Exhibit R, # 5 Exhibit S, # 6 Exhibit T)(Menninger,
                 Laura) (Entered: 07/08/2016)
07/12/2016   271 LETTER MOTION to Seal Document addressed to Judge Robert W. Sweet from
                 Meredith Schultz dated July 12, 2016. Document filed by Virginia L. Giuffre.(Schultz,
                 Meredith) (Entered: 07/12/2016)
07/12/2016   272 LETTER MOTION for Leave to File Sur−Reply addressed to Judge Robert W. Sweet
                 from Sigrid McCawley dated July 12, 2016. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit REDACTED Sur−Reply, # 2 Exhibit REDACTED
                 Declaration, # 3 Exhibit REDACTED Exhibit 1, # 4 Exhibit REDACTED Exhibit 2, #
                 5 Exhibit REDACTED Exhibit 3, # 6 Exhibit REDACTED Exhibit 4, # 7 Exhibit
                 REDACTED Exhibit 5, # 8 Exhibit REDACTED Exhibit 6, # 9 Exhibit REDACTED
                 Exhibit 7, # 10 Exhibit REDACTED Exhibit 8)(Schultz, Meredith) (Entered:
                 07/12/2016)
07/13/2016   273 ORDER granting 256 LETTER MOTION to Seal Document Plaintiff's Response in
                 Opposition to Defendant's Motion to Reopen Plaintiff's Deposition addressed to Judge
                 Robert W. Sweet from Meredith Schultz dated June 28, 2016. Document filed by
                 Virginia L. Giuffre. So ordered. (Signed by Judge Robert W. Sweet on 7/11/2016)
                 (rjm) (Entered: 07/13/2016)
07/13/2016         Transmission to Sealed Records Clerk. Transmitted re: 273 Order on Motion to Seal
                   Document to the Sealed Records Clerk for the sealing or unsealing of document or
                   case. (rjm) (Entered: 07/13/2016)
07/13/2016   274 MEMO ENDORSEMENT on THE PARTIES' AGREED NOTICE OF FILING
                 REDACTED OPINION. ENDORSEMENT: So ordered. re: 264 NOTICE of of
                 FILING REDACTED OPINION. Document filed by Virginia L. Giuffre. (Signed by
                 Judge Robert W. Sweet on 7/11/2016) (rjm) (Entered: 07/13/2016)
07/13/2016         Transmission to Sealed Records Clerk. Transmitted re: 274 Memo Endorsement to the
                   Sealed Records Clerk for the sealing or unsealing of document or case. (rjm) (Entered:
                   07/13/2016)
07/13/2016   275 ORDER granting 262 LETTER MOTION for Leave to File Reply Brief in Further
                 Support of Motion to Quash addressed to Judge Robert W. Sweet from Eric J. Feder
                 dated July 5, 2016. LETTER MOTION to Seal Document addressed to Judge Robert
                 W. Sweet from Eric J. Feder dated July 5, 2016. Document filed by Sharon Churcher.
                 So ordered. (Signed by Judge Robert W. Sweet on 7/11/2016) (rjm) (Entered:
                 07/13/2016)
07/13/2016         Transmission to Sealed Records Clerk. Transmitted re: 275 Order on Motion for Leave
                   to File Document, Order on Motion to Seal Document to the Sealed Records Clerk for
                   the sealing or unsealing of document or case. (rjm) (Entered: 07/13/2016)
07/13/2016   276 TRANSCRIPT of Proceedings re: motion held on 6/23/2016 before Judge Robert W.
                 Sweet. Court Reporter/Transcriber: Vincent Bologna, (212) 805−0300. Transcript may
                 be viewed at the court public terminal or purchased through the Court
                 Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                 that date it may be obtained through PACER. Redaction Request due 8/8/2016.
                 Redacted Transcript Deadline set for 8/18/2016. Release of Transcript Restriction set
                 for 10/14/2016.(McGuirk, Kelly) (Entered: 07/13/2016)
07/13/2016   277 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                 official transcript of a MOTION proceeding held on 6/23/16 has been filed by the
                 court reporter/transcriber in the above−captioned matter. The parties have seven (7)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page33 of 202
                                        CMA-029
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                  calendar days to file with the court a Notice of Intent to Request Redaction of this
                  transcript. If no such Notice is filed, the transcript may be made remotely
                  electronically available to the public without redaction after 90 calendar
                  days...(McGuirk, Kelly) (Entered: 07/13/2016)
07/13/2016   278 LETTER MOTION to Seal Document Plaintiff's Motion for an Adverse Inference
                 Instruction addressed to Judge Robert W. Sweet from Meredith Schultz dated July 13,
                 2016. Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered:
                 07/13/2016)
07/13/2016   279 MOTION for Sanctions Motion for Adverse Inference Instruction REDACTED.
                 Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered: 07/13/2016)
07/13/2016   280 DECLARATION of Meredith Schultz in Support re: 279 MOTION for Sanctions
                 Motion for Adverse Inference Instruction REDACTED.. Document filed by Virginia L.
                 Giuffre. (Attachments: # 1 Exhibit REDACTED, # 2 Exhibit REDACTED, # 3
                 Exhibit)(Schultz, Meredith) (Entered: 07/13/2016)
07/15/2016   281 ORDER granting 271 Motion to Seal Document: So ordered. (Signed by Judge Robert
                 W. Sweet on 7/15/2016) (tn) (Entered: 07/15/2016)
07/15/2016   282 ORDER granting 278 Motion to Seal Document. SO ORDERED.(Signed by Judge
                 Robert W. Sweet on 7/15/2016) (ama) (Entered: 07/15/2016)
07/15/2016   283 ORDER: Cassell's motion to quash shall be taken on submission returnable Thursday,
                 August 4, 2016. All papers shall be served in accordance with Local Civil Rule 6.1.
                 (Signed by Judge Robert W. Sweet on 7/11/2016) (tn) (Entered: 07/15/2016)
07/15/2016   284 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 7/8/2016 re: that the Court permit the filing of Ms. Maxwell's Reply In Support
                 Of Motion for Rule 37(b) & (c) Sanctions For Failure To Comply With Court Order
                 And Failure To Comply With Rule 26(a) in excess of the 10 pages permitted pursuant
                 to this Court's Practice Standard 2D. ENDORSEMENT: So ordered. (Signed by Judge
                 Robert W. Sweet on 7/15/2016) (tn) (Entered: 07/15/2016)
07/15/2016   285 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 7/8/2016 re: Ms. Maxwell therefore requests permission to file the Confidential
                 information under seal. ENDORSEMENT: So ordered. (Signed by Judge Robert W.
                 Sweet on 7/15/2016) (tn) (Entered: 07/15/2016)
07/15/2016   286 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 7/13/2016 re: letter motion to file Ms. Maxwell's Letter Motion requesting the
                 Court to strike and disregard Plaintiff's Sur−Reply in Response to Defendant's Reply
                 in Support of Motion for Sanctions. ENDORSEMENT: So ordered. (Signed by Judge
                 Robert W. Sweet on 7/15/2016) (tn) Modified on 7/15/2016 (tn). (Entered:
                 07/15/2016)
07/15/2016   287 ORDER with respect to 279 Motion for Sanctions: Plaintiff's motion for an adverse
                 inference instruction shall be taken in submission returnable August 11, 2016. All
                 papers shall be served in accordance with Local Civil Rule 6.1 and pursuant to this
                 Court's previous orders. (Signed by Judge Robert W. Sweet on 7/15/2016) (tn)
                 (Entered: 07/15/2016)
07/15/2016   288 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 LETTER MOTION for Discovery to Strike Plaintiff Virginia Giuffre's Motion for an
                 Adverse Inference Instruction Pursuant to Rule 37(b), (e), and (f), Fed.R.Civ.P
                 addressed to Judge Robert W. Sweet from Laura A. Menninger dated June 15, 2016.
                 Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit 1, # 2 Exhibit
                 2)(Menninger, Laura) Modified on 7/22/2016 (db). (Entered: 07/15/2016)
07/18/2016   289 LETTER MOTION to Seal Document Response in Opposition to Defendant's Letter
                 Motion to Strike addressed to Judge Robert W. Sweet from Meredith Schultz dated
                 July 18, 2016. Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered:
                 07/18/2016)
07/18/2016   290 LETTER RESPONSE in Opposition to Motion addressed to Judge Robert W. Sweet
                 from Meredith Schultz dated July 18, 2016 re: 288 LETTER MOTION for Discovery
                 to Strike Plaintiff Virginia Giuffre's Motion for an Adverse Inference Instruction
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page34 of 202
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                   Pursuant to Rule 37(b), (e), and (f), Fed.R.Civ.P addressed to Judge Robert W. Sweet
                   from Laura A. Menninger dated June 15, 201 REDACTED. Document filed by
                   Virginia L. Giuffre. (Schultz, Meredith) (Entered: 07/18/2016)
07/18/2016   291 DECLARATION of Meredith Schultz in Opposition re: 288 LETTER MOTION for
                 Discovery to Strike Plaintiff Virginia Giuffre's Motion for an Adverse Inference
                 Instruction Pursuant to Rule 37(b), (e), and (f), Fed.R.Civ.P addressed to Judge Robert
                 W. Sweet from Laura A. Menninger dated June 15, 201. Document filed by Virginia
                 L. Giuffre. (Attachments: # 1 Exhibit REDACTED, # 2 Exhibit REDACTED, # 3
                 Exhibit REDACTED)(Schultz, Meredith) (Entered: 07/18/2016)
07/19/2016   292 SEALED DOCUMENT placed in vault.(mps) (Entered: 07/19/2016)
07/19/2016   293 SEALED DOCUMENT placed in vault.(mps) (Entered: 07/19/2016)
07/19/2016   294 SEALED DOCUMENT placed in vault.(rz) (Entered: 07/19/2016)
07/19/2016   295 SEALED DOCUMENT placed in vault.(rz) (Entered: 07/19/2016)
07/19/2016   296 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 7/13/2016 re: Defendant Maxwell requests the Court strike and disregard
                 Plaintiff's Sur−Reply in Response to Defendant's Reply in Support of Motion for
                 Sanctions, or in the alternative, permit Ms. Maxwell to file a Sur Sur−Reply
                 responding to both the matters raised therein and new documents disclosed
                 contemporaneously with the Sur−Reply. ENDORSEMENT: Sur sur reply permitted.
                 So ordered. (Signed by Judge Robert W. Sweet on 7/18/2016) (kko) (Entered:
                 07/19/2016)
07/20/2016   297 ORDER granting 289 Motion to Seal Document: So ordered. (Signed by Judge Robert
                 W. Sweet on 7/19/2016) (tn) (Entered: 07/20/2016)
07/20/2016   298 SEALED DOCUMENT placed in vault.(mps) (Entered: 07/20/2016)
07/21/2016   299 SEALED DOCUMENT placed in vault.(rz) (Entered: 07/21/2016)
07/22/2016         ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                   ERROR. Notice to Attorney Laura A. Menninger to RE−FILE Document 288
                   LETTER MOTION for Discovery to Strike Plaintiff Virginia Giuffre's Motion for
                   an Adverse Inference Instruction Pursuant to Rule 37(b), (e), and (f), Fed.R.Civ.P
                   addressed to Judge Robert W. Sweet from Laura A. Menninger dated June 15,
                   201. Use the event type Letter found under the event list Other Documents. (db)
                   (Entered: 07/22/2016)
07/22/2016   300 LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger dated July
                 15, 2016 re: Motion to Strike Plaintiff Virginia Giuffre's Motion for an Adverse
                 Inference Instruction Pursuant to Rule 37(b), (e), and (f), Fed.R.Civ.P. Document filed
                 by Ghislaine Maxwell. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Menninger, Laura)
                 (Entered: 07/22/2016)
07/22/2016   301 ORDER: Defendant's motion to strike Plaintiff's motion for an Adverse Inference
                 Instruction, ECF No. 288 is denied. The parties are directed to submit proposed search
                 terms and any briefs in support for court determination within ten days of the date of
                 filing of this order. The briefing schedule and submission date for Plaintiff's motion for
                 an Adverse Inference Instruction, ECF No. 279, set forth in the Court's July 15, 2016
                 Order, ECF No. 287, is adjourned. A briefing schedule and submission date will be set
                 after search terms are determined. (Signed by Judge Robert W. Sweet on 7/20/2016)
                 (cf) (Entered: 07/22/2016)
07/25/2016   302 JOINT MOTION Proposed Discovery and Case Management Deadlines and Request
                 to Modify Pretrial Scheduling Order re: 13 Scheduling Order, . Document filed by
                 Ghislaine Maxwell.(Menninger, Laura) (Entered: 07/25/2016)
07/25/2016   303 REPLY to Response to Motion re: 272 LETTER MOTION for Leave to File
                 Sur−Reply addressed to Judge Robert W. Sweet from Sigrid McCawley dated July 12,
                 2016. Defendant's Sur Sur−Reply In Support of Motion for Rule 37(b) & (c) Sanctions.
                 Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 07/25/2016)
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                                         CMA-031
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07/25/2016   304 DECLARATION of Laura A. Menninger in Support re: 231 MOTION for Sanctions
                 37(b) & (c) for Failure to Comply with Court Order and Failure to Comply with Rule
                 26(a).. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit U, # 2
                 Exhibit V, # 3 Exhibit W, # 4 Exhibit X)(Menninger, Laura) (Entered: 07/25/2016)
07/25/2016   305 LETTER MOTION to Seal Document Plaintiff's Motion for an Extension of Time to
                 Serve Process Upon and Depose Ross Gow addressed to Judge Robert W. Sweet from
                 Meredith Schultz dated July 25, 2016. Document filed by Virginia L. Giuffre.(Schultz,
                 Meredith) (Entered: 07/25/2016)
07/25/2016   306 MOTION for Extension of Time to Complete Discovery to Serve and Depose Ross
                 Gow. Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered:
                 07/25/2016)
07/25/2016   307 DECLARATION of Meredith Schultz in Support re: 306 MOTION for Extension of
                 Time to Complete Discovery to Serve and Depose Ross Gow.. Document filed by
                 Virginia L. Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, #
                 5 Exhibit, # 6 Exhibit, # 7 Exhibit REDACTED, # 8 Exhibit REDACTED, # 9
                 Exhibit)(Schultz, Meredith) (Entered: 07/25/2016)
07/25/2016   308 MOTION for Sanctions and finding Civil Contempt against Sarah Kellen for Ignoring
                 Subpoena. Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered:
                 07/25/2016)
07/25/2016   309 DECLARATION of Meredith Schultz in Support re: 308 MOTION for Sanctions and
                 finding Civil Contempt against Sarah Kellen for Ignoring Subpoena.. Document filed
                 by Virginia L. Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit,
                 # 5 Exhibit)(Schultz, Meredith) (Entered: 07/25/2016)
07/25/2016   310 MOTION for Sanctions and for Finding of Civil Contempt Against Nadia Marcinkova
                 for Ignoring Subpoena. Document filed by Virginia L. Giuffre.(Schultz, Meredith)
                 (Entered: 07/25/2016)
07/25/2016   311 DECLARATION of Meredith Schultz in Support re: 310 MOTION for Sanctions and
                 for Finding of Civil Contempt Against Nadia Marcinkova for Ignoring Subpoena..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                 Exhibit, # 4 Exhibit, # 5 Exhibit)(Schultz, Meredith) (Entered: 07/25/2016)
07/29/2016   312 LETTER MOTION to Seal Document Notice of Supplemental Authority addressed to
                 Judge Robert W. Sweet from Meredith Schultz dated July 29, 2016. Document filed by
                 Virginia L. Giuffre.(Schultz, Meredith) (Entered: 07/29/2016)
07/29/2016   313 NOTICE of Supplemental Authority re: 257 Response in Opposition to Motion.
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                 REDACTED)(Schultz, Meredith) (Entered: 07/29/2016)
07/29/2016   314 LETTER MOTION to Seal Document Motion to Enforce the Court's Order addressed
                 to Judge Robert W. Sweet from Meredith Schultz dated July 29, 2016. Document filed
                 by Virginia L. Giuffre.(Schultz, Meredith) (Entered: 07/29/2016)
07/29/2016   315 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 MOTION to Compel and Motion to Enforce the Court's Order and Direct Defendant
                 to Answer Deposition Questions. Document filed by Virginia L. Giuffre.(Schultz,
                 Meredith) Modified on 8/10/2016 (db). (Entered: 07/29/2016)
07/29/2016   316 FILING ERROR − DEFICIENT DOCKET ENTRY − DECLARATION of
                 Meredith Schultz in Support re: 315 MOTION to Compel and Motion to Enforce the
                 Court's Order and Direct Defendant to Answer Deposition Questions.. Document filed
                 by Virginia L. Giuffre. (Attachments: # 1 Exhibit REDACTED, # 2 Exhibit
                 REDACTED, # 3 Exhibit REDACTED, # 4 Exhibit REDACTED, # 5 Exhibit
                 REDACTED, # 6 Exhibit REDACTED, # 7 Exhibit REDACTED, # 8 Exhibit
                 REDACTED)(Schultz, Meredith) Modified on 8/10/2016 (db). (Entered: 07/29/2016)
08/01/2016   317 MEMO ENDORSEMENT on PROPOSED DISCOVERY AND CASE
                 MANAGEMENT DEADLINES AND REQUEST TO MODIFY PRETRIAL
                 SCHEDULING ORDER. ENDORSEMENT: So ordered. Granting 302 JOINT
                 MOTION Proposed Discovery and Case Management Deadlines and Request to
                 Modify Pretrial Scheduling Order re: 13 Scheduling Order. Document filed by
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page36 of 202
                                        CMA-032
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                   Ghislaine Maxwell. (Signed by Judge Robert W. Sweet on 7/30/2016) (rjm). (Entered:
                   08/01/2016)
08/01/2016         Set/Reset Deadlines: Deposition due by 10/14/2016. Motions in Limine due by
                   11/21/2016. Pretrial Order due by 11/21/2016. (rjm) (Entered: 08/01/2016)
08/01/2016   318 ORDER: Plaintiff's motions for a finding of civil contempt against Sarah Kellen and
                 Nadia Marcinkova shall be taken on submission returnable August 25, 2016. All
                 papers shall be served in accordance with Local Civil Rule 6.1 and pursuant to this
                 Court's previous orders. (Signed by Judge Robert W. Sweet on 7/30/2016) (cf)
                 (Entered: 08/01/2016)
08/01/2016   319 ORDER granting 305 Motion to Seal Document. So ordered. (Signed by Judge Robert
                 W. Sweet on 7/30/2016) (cf) (Entered: 08/01/2016)
08/01/2016         Transmission to Sealed Records Clerk. Transmitted re: 319 Order to the Sealed
                   Records Clerk for the sealing or unsealing of document or case. (cf) (Entered:
                   08/01/2016)
08/01/2016   320 MOTION Defendant's Submission Regarding "Search Terms" And Notice Of
                 Compliance With Court Order Concerning Forensic Examination Of Devices.
                 Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered: 08/01/2016)
08/01/2016   321 DECLARATION of Laura A. Menninger in Support re: 320 MOTION Defendant's
                 Submission Regarding "Search Terms" And Notice Of Compliance With Court Order
                 Concerning Forensic Examination Of Devices.. Document filed by Ghislaine
                 Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                 Exhibit E, # 6 Exhibit F)(Menninger, Laura) (Entered: 08/01/2016)
08/01/2016   322 LETTER MOTION to Seal Document Plaintiff's Proposed Search Terms addressed to
                 Judge Robert W. Sweet from Meredith Schutlz dated August 1, 2016. Document filed
                 by Virginia L. Giuffre.(Schultz, Meredith) (Entered: 08/01/2016)
08/01/2016   323 NOTICE of of Sumbission of Proposed Search Terms re: 301 Order,,. Document filed
                 by Virginia L. Giuffre. (Schultz, Meredith) (Entered: 08/01/2016)
08/02/2016   324 SEALED DOCUMENT placed in vault.(rz) (Entered: 08/02/2016)
08/02/2016   325 ORDER granting 314 Motion to Seal Document. So ordered. (Signed by Judge Robert
                 W. Sweet on 8/2/2016) (kl) (Entered: 08/02/2016)
08/02/2016         Transmission to Sealed Records Clerk. Transmitted re: 325 Order on Motion to Seal
                   Document, to the Sealed Records Clerk for the sealing or unsealing of document or
                   case. (kl) (Entered: 08/02/2016)
08/02/2016   326 ORDER: Plaintiff's second motion to compel defendant to answer deposition questions
                 shall be taken on submission returnable August 18, 2016. All papers shall be served in
                 accordance with Local Civil Rule 6.1 and pursuant to this Court's previous orders. It is
                 so ordered. (Signed by Judge Robert W. Sweet on 8/2/2016) (kl) (Entered:
                 08/02/2016)
08/02/2016   327 ORDER: Plaintiff's motion for an extension of time to serve process upon and depose
                 Ross Gow shall be taken on submission returnable August 11, 2016. All papers shall
                 be served pursuant to this Court's previous orders. It is so ordered. (Signed by Judge
                 Robert W. Sweet on 8/2/2016) (kl) (Entered: 08/02/2016)
08/02/2016   328 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 7/25/2016 re: This is a letter motion to file Ms. Maxwell's Sur Sur−Reply In
                 Support of Motion for Rule 37(b) & (c) Sanctions exhibits under seal pursuant to this
                 Court's Protective Order (Doc. # 62). ENDORSEMENT: So ordered. (Signed by Judge
                 Robert W. Sweet on 8/2/2016) (kl) (Entered: 08/02/2016)
08/02/2016   329 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 8/1/2016 re: This is a letter motion to file Ms. Maxwell's Submission Regarding
                 "Search Terms" and Notice of Compliance with Court Order Concerning Forensic
                 Examination of Computer Device and supporting exhibits under seal pursuant to this
                 Court's Protective Order (Doc. # 62). ENDORSEMENT: So ordered. (Signed by Judge
                 Robert W. Sweet on 8/2/2016) (kl) (Entered: 08/02/2016)
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                                         CMA-033
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08/03/2016   330 APPLICATION FOR LETTERS ROGATORY by Virginia L. Giuffre. (Schultz,
                 Meredith) (Entered: 08/03/2016)
08/03/2016   331 APPLICATION FOR LETTERS ROGATORY by Virginia L. Giuffre. (Attachments:
                 # 1 Exhibit 1 (Composite), # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, #
                 6 Exhibit 6, # 7 Exhibit 7)(Schultz, Meredith) (Entered: 08/03/2016)
08/04/2016   332 ORDER granting 312 LETTER MOTION to Seal Document Notice of Supplemental
                 Authority addressed to Judge Robert W. Sweet from Meredith Schultz dated July 29,
                 2016. Document filed by Virginia L. Giuffre. So ordered. (Signed by Judge Robert W.
                 Sweet on 8/3/2016) (rjm) (Entered: 08/04/2016)
08/04/2016         Transmission to Sealed Records Clerk. Transmitted re: 332 Order on Motion to Seal
                   Document to the Sealed Records Clerk for the sealing or unsealing of document or
                   case. (rjm) (Entered: 08/04/2016)
08/04/2016   333 RESPONSE in Opposition to Motion re: 306 MOTION for Extension of Time to
                 Complete Discovery to Serve and Depose Ross Gow. . Document filed by Ghislaine
                 Maxwell. (Menninger, Laura) (Entered: 08/04/2016)
08/08/2016   334 LETTER MOTION to Seal Document Motion for Protective Order addressed to Judge
                 Robert W. Sweet from Sigrid McCawley dated August 8, 2016. Document filed by
                 Virginia L. Giuffre.(Schultz, Meredith) (Entered: 08/08/2016)
08/08/2016   335 MOTION for Protective Order and Motion for the Court to Direct Defendant to
                 Disclose All Individuals to whom Defendant has Disseminated Confidential
                 Information. Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered:
                 08/08/2016)
08/08/2016   336 DECLARATION of Sigrid McCawley in Support re: 335 MOTION for Protective
                 Order and Motion for the Court to Direct Defendant to Disclose All Individuals to
                 whom Defendant has Disseminated Confidential Information.. Document filed by
                 Virginia L. Giuffre. (Attachments: # 1 Exhibit REDACTED, # 2 Exhibit REDACTED,
                 # 3 Exhibit REDACTED)(Schultz, Meredith) (Entered: 08/08/2016)
08/08/2016   337 LETTER MOTION to Seal Document Plaintiff's Supplement to Motion for Adverse
                 Inference Instruction Based on New Information addressed to Judge Robert W. Sweet
                 from Meredith Schultz dated August 8, 2016. Document filed by Virginia L.
                 Giuffre.(Schultz, Meredith) (Entered: 08/08/2016)
08/08/2016   338 MEMORANDUM OF LAW in Support re: 279 MOTION for Sanctions Motion for
                 Adverse Inference Instruction REDACTED. Supplement Based on New Information.
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 REDACTED
                 DECLARATION, # 2 Exhibit REDACTED, # 3 Exhibit REDACTED, # 4 Exhibit
                 REDACTED, # 5 Exhibit REDACTED, # 6 Exhibit REDACTED, # 7 Exhibit
                 REDACTED, # 8 Exhibit REDACTED, # 9 Exhibit REDACTED, # 10 Exhibit
                 REDACTED)(Schultz, Meredith) (Entered: 08/08/2016)
08/08/2016   339 RESPONSE in Opposition to Motion re: 315 MOTION to Compel and Motion to
                 Enforce the Court's Order and Direct Defendant to Answer Deposition Questions. .
                 Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 08/08/2016)
08/08/2016   340 DECLARATION of Jeffrey S. Pagliuca in Opposition re: 315 MOTION to Compel
                 and Motion to Enforce the Court's Order and Direct Defendant to Answer Deposition
                 Questions.. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                 Exhibit H, # 9 Exhibit I)(Menninger, Laura) (Entered: 08/08/2016)
08/09/2016   341 SEALED DOCUMENT placed in vault.(mps) (Entered: 08/09/2016)
08/09/2016   342 SEALED DOCUMENT placed in vault.(mps) (Entered: 08/09/2016)
08/09/2016   343 REPLY MEMORANDUM OF LAW in Support re: 306 MOTION for Extension of
                 Time to Complete Discovery to Serve and Depose Ross Gow. . Document filed by
                 Virginia L. Giuffre. (Schultz, Meredith) (Entered: 08/09/2016)
08/09/2016   344 LETTER MOTION to Seal Document Plaintiff's Motion to Compel addressed to Judge
                 Robert W. Sweet from Sigrid McCawley dated August 9, 2016. Document filed by
                 Virginia L. Giuffre.(Schultz, Meredith) (Entered: 08/09/2016)
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                                        CMA-034
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08/09/2016   345 MOTION to Compel Defendant to Produce Documents Subject to Improper Objection
                 and Improper Claim of Privilege. Document filed by Virginia L. Giuffre.(Schultz,
                 Meredith) (Entered: 08/09/2016)
08/09/2016   346 DECLARATION of Meredith Schultz in Support re: 345 MOTION to Compel
                 Defendant to Produce Documents Subject to Improper Objection and Improper Claim
                 of Privilege.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                 REDACTED, # 2 Exhibit REDACTED, # 3 Exhibit REDACTED, # 4 Exhibit
                 REDACTED, # 5 Exhibit REDACTED)(Schultz, Meredith) (Entered: 08/09/2016)
08/09/2016   347 ORDER. Plaintiff's motion for a protective order shall be taken on submission
                 returnable Thursday, September 1, 2016. All papers shall be served pursuant to Local
                 Civil Rule 6.1 and this Court's previous orders. It is so ordered. (Signed by Judge
                 Robert W. Sweet on 8/9/2016) (rjm) (Entered: 08/10/2016)
08/09/2016   348 STANDING ORDER. To reduce unnecessary filings and delay, it is hereby ordered
                 that letter motions to file submissions under seal pursuant to the Court's Protective
                 Order, ECF No. 62, are granted. The Protective Order is amended accordingly such
                 that filing a letter motion seeking sealing for each submission is no longer necessary.
                 A party wishing to challenge the sealing of any particular submission may do so by
                 motion. It is so ordered. Granting 322 LETTER MOTION to Seal Document Plaintiff's
                 Proposed Search Terms addressed to Judge Robert W. Sweet from Meredith Schutlz
                 dated August 1, 2016. Document filed by Virginia L. Giuffre; Granting 334 LETTER
                 MOTION to Seal Document Motion for Protective Order addressed to Judge Robert
                 W. Sweet from Sigrid McCawley dated August 8, 2016. Document filed by Virginia L.
                 Giuffre; Granting 337 LETTER MOTION to Seal Document Plaintiff's Supplement to
                 Motion for Adverse Inference Instruction Based on New Information addressed to
                 Judge Robert W. Sweet from Meredith Schultz dated August 8, 2016. Document filed
                 by Virginia L. Giuffre; Granting 344 LETTER MOTION to Seal Document Plaintiff's
                 Motion to Compel addressed to Judge Robert W. Sweet from Sigrid McCawley dated
                 August 9, 2016. Document filed by Virginia L. Giuffre. (Signed by Judge Robert W.
                 Sweet on 8/9/2016) (rjm) (Entered: 08/10/2016)
08/09/2016        Transmission to Sealed Records Clerk. Transmitted re: 348 Order on Motion to Seal
                  Document to the Sealed Records Clerk for the sealing or unsealing of document or
                  case. (rjm) (Entered: 08/10/2016)
08/09/2016   349 ENDORSED LETTER addressed to Judge Robert W. Sweet from Jeffrey S. Pagliuca
                 dated 8/8/2016 re: This is a letter motion to file Ms. Maxwell's Response in Opposition
                 to Plaintiff's Motion to Enforce the Court's Order and Direct Defendant to Answer
                 Deposition Questions Filed Under Seal and Supporting exhibits under seal pursuant to
                 this Court's Protective Order (Doc. #62). ENDORSEMENT: So ordered. (Signed by
                 Judge Robert W. Sweet on 8/9/2016) (rjm) (Entered: 08/10/2016)
08/09/2016        Transmission to Sealed Records Clerk. Transmitted re: 349 Endorsed Letter to the
                  Sealed Records Clerk for the sealing or unsealing of document or case. (rjm) (Entered:
                  08/10/2016)
08/09/2016   350 MEMO ENDORSEMENT on re: 337 LETTER MOTION to Seal Document Plaintiff's
                 Supplement to Motion for Adverse Inference Instruction Based on New Information
                 addressed to Judge Robert W. Sweet from Meredith Schultz dated August 8, 2016.
                 Document filed by Virginia L. Giuffre. ENDORSEMENT: So ordered. (Signed by
                 Judge Robert W. Sweet on 8/9/2016) (rjm) (Entered: 08/10/2016)
08/09/2016        Transmission to Sealed Records Clerk. Transmitted re: 350 Memo Endorsement to the
                  Sealed Records Clerk for the sealing or unsealing of document or case. (rjm) (Entered:
                  08/10/2016)
08/09/2016   351 MEMO ENDORSEMENT on re: 334 LETTER MOTION to Seal Document Motion
                 for Protective Order addressed to Judge Robert W. Sweet from Sigrid McCawley dated
                 August 8, 2016. Document filed by Virginia L. Giuffre. ENDORSEMENT: So
                 ordered. (Signed by Judge Robert W. Sweet on 8/9/2016) (rjm) (Entered: 08/10/2016)
08/09/2016        Transmission to Sealed Records Clerk. Transmitted re: 351 Memo Endorsement to the
                  Sealed Records Clerk for the sealing or unsealing of document or case. (rjm) (Entered:
                  08/10/2016)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page39 of 202
                                         CMA-035
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08/09/2016   352 ORDER. Defendant will run Plaintiff's Proposed Search Terms as set forth in
                 Plaintiff's August 1, 2016 submission. Defendant will search all text and associated
                 metadata set forth below, and as further specified and set forth in this Order.
                 Terminating 320 MOTION Defendant's Submission Regarding "Search Terms" And
                 Notice Of Compliance With Court Order Concerning Forensic Examination Of
                 Devices. Document filed by Ghislaine Maxwell. (Signed by Judge Robert W. Sweet on
                 8/9/2016) (rjm) (Entered: 08/10/2016)
08/10/2016         ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                   ERROR. Notice to Attorney Meredith L Schultz to RE−FILE Document 315
                   MOTION to Compel and Motion to Enforce the Court's Order and Direct
                   Defendant to Answer Deposition Questions. Use the event type Direct found under
                   the event list Motions. (db) (Entered: 08/10/2016)
08/10/2016         ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − DEFICIENT
                   DOCKET ENTRY ERROR. Notice to Attorney Meredith L Schultz to RE−FILE
                   Document 316 Declaration in Support of Motion. ERROR(S): Document(s)
                   linked to filing error(s). (db) (Entered: 08/10/2016)
08/10/2016   353 MOTION to Strike Document No. [338, and all supporting documents] to Plaintiff's
                 Supplement to Motion for Adverse Inference Instruction Based on New Information.
                 Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered: 08/10/2016)
08/10/2016   354 MOTION to Compel Responses to Defendant's Second Set of Discovery Requests to
                 Plaintiff, and for Sanctions. Document filed by Ghislaine Maxwell.(Menninger, Laura)
                 (Entered: 08/10/2016)
08/10/2016   355 DECLARATION of Laura A. Menninger in Support re: 354 MOTION to Compel
                 Responses to Defendant's Second Set of Discovery Requests to Plaintiff, and for
                 Sanctions.. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B)(Menninger, Laura) (Entered: 08/10/2016)
08/11/2016   356 MOTION to Direct DEFENDANT TO ANSWER DEPOSITION QUESTIONS FILED
                 UNDER SEAL. Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered:
                 08/11/2016)
08/11/2016   357 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 MOTION to Direct DEFENDANT TO ANSWER DEPOSITION QUESTIONS
                 [SCHULTZ DECLARATION ISO_DE 356_MOTION]. Document filed by Virginia L.
                 Giuffre. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2 (Sealed), # 3 Exhibit 3 (Sealed), # 4
                 Exhibit 4 (Sealed), # 5 Exhibit 5 (Sealed), # 6 Exhibit 6 (Sealed), # 7 Exhibit 7
                 (Sealed), # 8 Exhibit 8 (Sealed))(Schultz, Meredith) Modified on 8/12/2016 (db).
                 (Entered: 08/11/2016)
08/11/2016   358 REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE (LETTER
                 ROGATORY). THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
                 DISTRICT OF NEW YORK, presents its compliments to the Foreign and
                 Commonwealth Office, London SW1A 2AL, United Kingdom or other appropriate
                 judicial authority and, pursuant to the Evidence (Proceedings in other Jurisdictions)
                 Act 1975 and Part 34 of the English Civil Procedure Rules, requests international
                 judicial assistance to issue orders of subpoena duces tecum to require a witness to
                 appear for questioning and to produce documents so that evidence may be obtained for
                 a civil proceeding in the above−captioned action which is pending before this Court,
                 and as further specified and set forth in this Request for International Judicial
                 Assistance (Letter Rogatory). (Signed by Judge Robert W. Sweet on 8/11/2016) (rjm)
                 (Entered: 08/11/2016)
08/11/2016         Transmission to Judgments and Orders Clerk. Transmitted re: 358 Order to the
                   Judgments and Orders Clerk. (rjm) (Entered: 08/11/2016)
08/11/2016   359 ORDER. Defendant's motion to strike, motion to compel, and motion for sanctions
                 shall be taken on submission returnable Thursday, September 8, 2016. All papers shall
                 be served pursuant to Local Civil Rule 6.1 and this Court's previous orders. It is so
                 ordered. (Signed by Judge Robert W. Sweet on 8/11/2016) (rjm) (Entered: 08/11/2016)
08/11/2016   360 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 8/10/2016 re: This is a letter motion requesting that the Court permit the filing of
                 Ms. Maxwell's Motion to Compel Responses to Defendant's Second Set of Discovery
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page40 of 202
                                         CMA-036
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                   Requests to Plaintiff, and for Sanctions in excess of the 25 pages permitted pursuant to
                   this Court's Practice Standard 2D. ENDORSEMENT: So ordered. (Signed by Judge
                   Robert W. Sweet on 8/11/2016) (rjm) (Entered: 08/11/2016)
08/11/2016   361 ORDER. Plaintiff's motion to compel shall be taken on submission returnable
                 Thursday, September 1, 2016. All papers shall be served pursuant to Local Civil Rule
                 6.1 and this Court's previous orders. It is so ordered. (Signed by Judge Robert W.
                 Sweet on 8/11/20916) (rjm) (Entered: 08/11/2016)
08/11/2016   362 MOTION to Intervene ., MOTION to Unseal Document or in the Alternative to
                 Modify Protective Order.( Return Date set for 9/8/2016 at 12:00 PM.) Document filed
                 by Alan M. Dershowitz.(Celli, Andrew) (Entered: 08/11/2016)
08/11/2016   363 DECLARATION of Alan M. Dershowitz in Support re: 362 MOTION to Intervene .
                 MOTION to Unseal Document or in the Alternative to Modify Protective Order..
                 Document filed by Alan M. Dershowitz. (Attachments: # 1 Exhibit A, # 2 Exhibit B, #
                 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H,
                 # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14
                 Exhibit N)(Celli, Andrew) (Entered: 08/11/2016)
08/11/2016   364 MEMORANDUM OF LAW in Support re: 362 MOTION to Intervene . MOTION to
                 Unseal Document or in the Alternative to Modify Protective Order. . Document filed
                 by Alan M. Dershowitz. (Celli, Andrew) (Entered: 08/11/2016)
08/11/2016   365 NOTICE OF APPEARANCE by Andrew G. Celli on behalf of Alan M. Dershowitz.
                 (Celli, Andrew) (Entered: 08/11/2016)
08/11/2016   366 NOTICE OF APPEARANCE by David A Lebowitz on behalf of Alan M. Dershowitz.
                 (Lebowitz, David) (Entered: 08/11/2016)
08/12/2016         ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                   ERROR. Notice to Attorney Meredith L Schultz to RE−FILE Document 357
                   MOTION to Direct DEFENDANT TO ANSWER DEPOSITION QUESTIONS
                   [SCHULTZ DECLARATION ISO_DE 356_MOTION]. Use the event type
                   Declaration in Support of Motion found under the event list Replies, Opposition
                   and Supporting Documents. (db) (Entered: 08/12/2016)
08/12/2016   367 DECLARATION of Meredith Schultz in Support re: 357 MOTION to Direct
                 DEFENDANT TO ANSWER DEPOSITION QUESTIONS [SCHULTZ DECLARATION
                 ISO_DE 356_MOTION]., 315 MOTION to Compel and Motion to Enforce the Court's
                 Order and Direct Defendant to Answer Deposition Questions., 356 MOTION to Direct
                 DEFENDANT TO ANSWER DEPOSITION QUESTIONS FILED UNDER SEAL..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit 1 (Sealed), # 2
                 Exhibit 2 (Sealed), # 3 Exhibit 3 (Sealed), # 4 Exhibit 4 (Sealed), # 5 Exhibit 5
                 (Sealed), # 6 Exhibit 6 (Sealed), # 7 Exhibit 7 (Sealed), # 8 Exhibit 8
                 (Sealed))(Schultz, Meredith) (Entered: 08/12/2016)
08/12/2016   368 REPLY MEMORANDUM OF LAW in Support re: 315 MOTION to Compel and
                 Motion to Enforce the Court's Order and Direct Defendant to Answer Deposition
                 Questions., 357 MOTION to Direct DEFENDANT TO ANSWER DEPOSITION
                 QUESTIONS [SCHULTZ DECLARATION ISO_DE 356_MOTION]., 356 MOTION to
                 Direct DEFENDANT TO ANSWER DEPOSITION QUESTIONS FILED UNDER
                 SEAL. . Document filed by Virginia L. Giuffre. (Schultz, Meredith) (Entered:
                 08/12/2016)
08/12/2016   369 DECLARATION of Sigrid McCawley in Support re: 357 MOTION to Direct
                 DEFENDANT TO ANSWER DEPOSITION QUESTIONS [SCHULTZ DECLARATION
                 ISO_DE 356_MOTION].. Document filed by Virginia L. Giuffre. (Attachments: # 1
                 Exhibit REDACTED, # 2 Exhibit REDACTED, # 3 Exhibit REDACTED, # 4 Exhibit
                 REDACTED, # 5 Exhibit REDACTED, # 6 Exhibit REDACTED, # 7 Exhibit
                 REDACTED, # 8 Exhibit REDACTED, # 9 Exhibit REDACTED, # 10 Exhibit
                 REDACTED, # 11 Exhibit REDACTED, # 12 Exhibit REDACTED, # 13 Exhibit
                 REDACTED, # 14 Exhibit REDACTED, # 15 Exhibit REDACTED, # 16 Exhibit
                 REDACTED)(Schultz, Meredith) (Entered: 08/12/2016)
08/12/2016   370 MOTION for Protective Order (REDACTED) Regarding Personal Financial
                 Information. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page41 of 202
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                   Exhibit B, # 3 Exhibit C)(Menninger, Laura) (Entered: 08/12/2016)
08/12/2016   371 DECLARATION of Laura A. Menninger in Support re: 370 MOTION for Protective
                 Order (REDACTED) Regarding Personal Financial Information.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                 C)(Menninger, Laura) (Entered: 08/12/2016)
08/15/2016   372 SEALED DOCUMENT placed in vault.(mps) (Entered: 08/15/2016)
08/15/2016   373 ORDER: Defendant's motion for a protective order shall be taken on submission
                 returnable Thursday, September 8, 2016. All papers shall be served pursuant to Local
                 Civil Rule 6.1 and this Court's previous orders. (Signed by Judge Robert W. Sweet on
                 8/15/2016) (cf) (Entered: 08/15/2016)
08/15/2016   374 ORDER: Proposed Intervenor Alan Dershowitz's motion for permissive intervention
                 and unsealing shall be taken on submission returnable Thursday, September 8, 2016.
                 All papers shall be served pursuant to Local Civil Rule 6.1 and this Court's previous
                 orders. (Signed by Judge Robert W. Sweet on 8/15/2016) (cf) (Entered: 08/15/2016)
08/17/2016   375 RESPONSE in Opposition to Motion re: 353 MOTION to Strike Document No. [338,
                 and all supporting documents] to Plaintiff's Supplement to Motion for Adverse
                 Inference Instruction Based on New Information. . Document filed by Virginia L.
                 Giuffre. (McCawley, Sigrid) (Entered: 08/17/2016)
08/17/2016   376 NOTICE OF WITHDRAWAL AND SUBSTITUTION OF COUNSEL FOR
                 NON−PARTY JEFFREY EPSTEIN: Undersigned counsel and non−party Jeffrey
                 Epstein, through counsel, respectfully submit this notice of withdrawal and
                 substitution of counsel Upon approval of this Court, the Law Offices of Gregory L.
                 Poe PLLC (including Gregory L. Poe and Rachel S. Li Wai Suen) shall withdraw from
                 the representation of Mr. Epstein in connection with this action and Jack Goldberger,
                 Atterbury, Goldberger & Weiss, P.A., 250 N. Australian Avenue #1400, West Palm
                 Beach, Florida 33401, (561) 207−8305, shall enter an appearance on behalf of Mr.
                 Epstein as a non−party in this action. So ordered. Attorney Jack Alan Goldberger for
                 Jeffrey Epstein added. Attorney Rachel S. Li Wai Suen and Gregory L. Poe
                 terminated. (Signed by Judge Robert W. Sweet on 8/17/2016) (rjm) (Entered:
                 08/17/2016)
08/17/2016   377 MOTION for Leave to File Excess Pages for Plaintiff's Response In Opposition to
                 Defendant's Motion to Compel and for Sanctions. Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 08/17/2016)
08/17/2016   378 RESPONSE in Opposition to Motion re: 354 MOTION to Compel Responses to
                 Defendant's Second Set of Discovery Requests to Plaintiff, and for Sanctions. .
                 Document filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 08/17/2016)
08/17/2016   379 DECLARATION of Sigrid McCawley in Opposition re: 354 MOTION to Compel
                 Responses to Defendant's Second Set of Discovery Requests to Plaintiff, and for
                 Sanctions.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                 Redacted, # 2 Exhibit, # 3 Exhibit Redacted, # 4 Exhibit Redacted, # 5 Exhibit
                 Redacted, # 6 Exhibit Redacted)(McCawley, Sigrid) (Entered: 08/17/2016)
08/18/2016   380 RESPONSE in Opposition to Motion re: 335 MOTION for Protective Order and
                 Motion for the Court to Direct Defendant to Disclose All Individuals to whom
                 Defendant has Disseminated Confidential Information. . Document filed by Ghislaine
                 Maxwell. (Menninger, Laura) (Entered: 08/18/2016)
08/18/2016   381 DECLARATION of Laura A. Menninger in Opposition re: 335 MOTION for
                 Protective Order and Motion for the Court to Direct Defendant to Disclose All
                 Individuals to whom Defendant has Disseminated Confidential Information..
                 Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit
                 H)(Menninger, Laura) (Entered: 08/18/2016)
08/19/2016   382 DECLARATION of Alan M. Dershowitz in Support re: 362 MOTION to Intervene .
                 MOTION to Unseal Document or in the Alternative to Modify Protective Order..
                 Document filed by Alan M. Dershowitz. (Lebowitz, David) (Entered: 08/19/2016)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page42 of 202
                                        CMA-038
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08/19/2016   383 RESPONSE in Opposition to Motion re: 345 MOTION to Compel Defendant to
                 Produce Documents Subject to Improper Objection and Improper Claim of Privilege. .
                 Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 08/19/2016)
08/19/2016   384 DECLARATION of Laura A. Menninger in Opposition re: 345 MOTION to Compel
                 Defendant to Produce Documents Subject to Improper Objection and Improper Claim
                 of Privilege.. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C)(Menninger, Laura) (Entered: 08/19/2016)
08/19/2016   385 DECLARATION of REDACTED in Opposition re: 345 MOTION to Compel
                 Defendant to Produce Documents Subject to Improper Objection and Improper Claim
                 of Privilege.. Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered:
                 08/19/2016)
08/19/2016   386 DECLARATION of REDACTED in Opposition re: 345 MOTION to Compel
                 Defendant to Produce Documents Subject to Improper Objection and Improper Claim
                 of Privilege.. Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered:
                 08/19/2016)
08/19/2016   387 DECLARATION of REDACTED in Opposition re: 345 MOTION to Compel
                 Defendant to Produce Documents Subject to Improper Objection and Improper Claim
                 of Privilege.. Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered:
                 08/19/2016)
08/22/2016   388 RESPONSE in Opposition to Motion re: 370 MOTION for Protective Order
                 (REDACTED) Regarding Personal Financial Information. . Document filed by
                 Virginia L. Giuffre. (Schultz, Meredith) (Entered: 08/22/2016)
08/22/2016   389 DECLARATION of Sigrid McCawley in Opposition re: 370 MOTION for Protective
                 Order (REDACTED) Regarding Personal Financial Information.. Document filed by
                 Virginia L. Giuffre. (Attachments: # 1 Exhibit REDACTED, # 2 Exhibit REDACTED,
                 # 3 Exhibit REDACTED, # 4 Exhibit REDACTED, # 5 Exhibit REDACTED, # 6
                 Exhibit REDACTED, # 7 Exhibit REDACTED, # 8 Exhibit REDACTED, # 9 Exhibit
                 REDACTED)(Schultz, Meredith) (Entered: 08/22/2016)
08/22/2016   390 MOTION to Compel Defendant to Produce Financial Information to Plaintiff .
                 Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered: 08/22/2016)
08/23/2016   391 SEALED DOCUMENT placed in vault.(mps) (Entered: 08/23/2016)
08/23/2016   392 REPLY MEMORANDUM OF LAW in Support re: 335 MOTION for Protective
                 Order and Motion for the Court to Direct Defendant to Disclose All Individuals to
                 whom Defendant has Disseminated Confidential Information. . Document filed by
                 Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 08/23/2016)
08/23/2016   393 DECLARATION of Sigrid McCawley in Support re: 335 MOTION for Protective
                 Order and Motion for the Court to Direct Defendant to Disclose All Individuals to
                 whom Defendant has Disseminated Confidential Information.. Document filed by
                 Virginia L. Giuffre. (Attachments: # 1 Exhibit Composite Sealed 1, # 2 Exhibit Sealed
                 2, # 3 Exhibit Sealed 3, # 4 Exhibit Sealed 4)(McCawley, Sigrid) (Entered:
                 08/23/2016)
08/23/2016   394 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 8/22/2016 re: request that Ms. Maxwell be permitted to submit her reply by close
                 of business on August 25. ENDORSEMENT: So ordered. Set Deadlines/Hearing as to
                 354 MOTION to Compel Responses to Defendant's Second Set of Discovery Requests
                 to Plaintiff, and for Sanctions: Replies due by 8/25/2016. (Signed by Judge Robert W.
                 Sweet on 8/23/2016) (tn) (Entered: 08/23/2016)
08/23/2016   395 MEMO ENDORSEMENT granting 377 Letter Motion for Leave to File Excess Pages.
                 ENDORSEMENT: So ordered. (Signed by Judge Robert W. Sweet on 8/23/2016) (tn)
                 (Entered: 08/23/2016)
08/23/2016   396 ORDER with respect to 390 Motion to Compel: Plaintiff's motion to compel defendant
                 to produce financial information, seeking relief oppositional to Defendant's motion for
                 a protective order regarding financial information, shall be taken on submission the
                 same date returnable Thursday, September 8, 2016. (Signed by Judge Robert W. Sweet
                 on 8/23/2016) (tn) (Entered: 08/23/2016)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page43 of 202
                                         CMA-039
     Case: 1:15-cv-07433-RWS As of: 09/12/2017 04:57 PM EDT 39 of 80
08/24/2016   397 REPLY MEMORANDUM OF LAW in Support re: 345 MOTION to Compel
                 Defendant to Produce Documents Subject to Improper Objection and Improper Claim
                 of Privilege. . Document filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered:
                 08/24/2016)
08/24/2016   398 DECLARATION of Sigrid McCawley in Support re: 345 MOTION to Compel
                 Defendant to Produce Documents Subject to Improper Objection and Improper Claim
                 of Privilege.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed
                 Exhibit 1, # 2 Exhibit Sealed Exhibit 2, # 3 Exhibit Sealed Exhibit 3, # 4 Exhibit
                 Sealed Exhibit 4, # 5 Exhibit Sealed Exhibit 5)(McCawley, Sigrid) (Entered:
                 08/24/2016)
08/25/2016   399 SEALED DOCUMENT placed in vault.(rz) (Entered: 08/25/2016)
08/25/2016   400 MOTION for Leave to File A Sur−Reply or, Alternatively, to Strike Plaintiff's
                 Misrepresentations of Fact to the Court . Document filed by Ghislaine
                 Maxwell.(Menninger, Laura) (Entered: 08/25/2016)
08/25/2016   401 DECLARATION of Laura A. Menninger in Support re: 400 MOTION for Leave to
                 File A Sur−Reply or, Alternatively, to Strike Plaintiff's Misrepresentations of Fact to
                 the Court .. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Menninger,
                 Laura) (Entered: 08/25/2016)
08/25/2016   402 REPLY MEMORANDUM OF LAW in Support re: 354 MOTION to Compel
                 Responses to Defendant's Second Set of Discovery Requests to Plaintiff, and for
                 Sanctions. . Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered:
                 08/25/2016)
08/25/2016   403 DECLARATION of Laura A. Menninger in Support re: 354 MOTION to Compel
                 Responses to Defendant's Second Set of Discovery Requests to Plaintiff, and for
                 Sanctions.. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C)(Menninger, Laura) (Entered: 08/25/2016)
08/26/2016         LETTERS ROGATORY ISSUED on August 26, 2016, and picked up by Boies,
                   Schiller & Flexner LLP and to be served in London, Senior Courts of England and
                   Wales Foreign Process Section. (km) (Entered: 08/26/2016)
08/29/2016   404 REPLY to Response to Motion re: 370 MOTION for Protective Order (REDACTED)
                 Regarding Personal Financial Information. . Document filed by Ghislaine Maxwell.
                 (Menninger, Laura) (Entered: 08/29/2016)
08/29/2016   405 DECLARATION of Laura A. Menninger in Support re: 370 MOTION for Protective
                 Order (REDACTED) Regarding Personal Financial Information.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit D)(Menninger, Laura) (Entered:
                 08/29/2016)
08/29/2016   406 RESPONSE in Opposition to Motion re: 362 MOTION to Intervene . MOTION to
                 Unseal Document or in the Alternative to Modify Protective Order. . Document filed
                 by Virginia L. Giuffre. (Schultz, Meredith) (Entered: 08/29/2016)
08/29/2016   407 DECLARATION of Sigrid McCawley in Opposition re: 362 MOTION to Intervene .
                 MOTION to Unseal Document or in the Alternative to Modify Protective Order..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10
                 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16
                 Exhibit, # 17 Exhibit, # 18 Exhibit, # 19 Exhibit, # 20 Exhibit, # 21 Exhibit, # 22
                 Exhibit, # 23 Exhibit)(Schultz, Meredith) (Entered: 08/29/2016)
08/29/2016   408 DECLARATION of Paul Cassell in Opposition re: 362 MOTION to Intervene .
                 MOTION to Unseal Document or in the Alternative to Modify Protective Order..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                 Exhibit, # 4 Exhibit)(Schultz, Meredith) (Entered: 08/29/2016)
08/30/2016   409 MOTION for Jack A. Goldberger to Appear Pro Hac Vice . Filing fee $ 200.00, receipt
                 number 0208−12703881. Motion and supporting papers to be reviewed by Clerk's
                 Office staff. Document filed by Jeffrey Epstein. (Attachments: # 1 Exhibit, # 2 Text of
                 Proposed Order)(Goldberger, Jack) (Entered: 08/30/2016)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page44 of 202
                                        CMA-040
     Case: 1:15-cv-07433-RWS As of: 09/12/2017 04:57 PM EDT 40 of 80
08/30/2016         >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                   No. 409 MOTION for Jack A. Goldberger to Appear Pro Hac Vice . Filing fee $
                   200.00, receipt number 0208−12703881. Motion and supporting papers to be
                   reviewed by Clerk's Office staff.. The document has been reviewed and there are
                   no deficiencies. (wb) (Entered: 08/30/2016)
08/30/2016   410 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 8/29/2016 re: Request that the Court permit the filing of Ms. Maxwell's Reply in
                 Support of Motion for Protective Order Regarding Personal Financial Information in
                 excess of the 10 pages permitted pursuant to this Court's Practice Standard 2D.
                 ENDORSEMENT: So ordered. (Signed by Judge Robert W. Sweet on 8/30/2016)
                 (kko) (Entered: 08/30/2016)
08/30/2016   411 ORDER granting 400 Motion for Leave to File Document. Leave granted to file a sur
                 reply. (Signed by Judge Robert W. Sweet on 8/30/2016) (cf) (Entered: 08/30/2016)
08/30/2016   412 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 8/25/2016 re: This is a letter motion concerns Ms. Maxwell's Reply In Support
                 of her Motion to Compel Responses to Defendant's Second Set of Discovery Requests
                 to Plaintiff, and for Sanctions. We request that the defense be permitted to exceed the
                 10−page limit. ENDORSEMENT: So ordered. (Signed by Judge Robert W. Sweet on
                 8/30/2016) (kko) (Entered: 08/30/2016)
08/31/2016   413 MOTION Modify Scheduling Order re: 317 Order on Motion for Miscellaneous
                 Relief, . Document filed by Virginia L. Giuffre.(Edwards, Bradley) (Entered:
                 08/31/2016)
09/01/2016   414 RESPONSE to Motion re: 390 MOTION to Compel Defendant to Produce Financial
                 Information to Plaintiff . . Document filed by Ghislaine Maxwell. (Menninger, Laura)
                 (Entered: 09/01/2016)
09/01/2016   415 SEALED DOCUMENT placed in vault.(mps) (Entered: 09/01/2016)
09/01/2016   416 SEALED DOCUMENT placed in vault.(mps) (Entered: 09/01/2016)
09/06/2016   417 LETTER MOTION for Leave to File Excess Pages (Reply Brief) addressed to Judge
                 Robert W. Sweet from Sigrid S. McCawley dated 09/06/16. Document filed by
                 Virginia L. Giuffre.(Schultz, Meredith) (Entered: 09/06/2016)
09/06/2016   418 REPLY to Response to Motion re: 390 MOTION to Compel Defendant to Produce
                 Financial Information to Plaintiff . . Document filed by Virginia L. Giuffre. (Schultz,
                 Meredith) (Entered: 09/06/2016)
09/06/2016   419 ORDER FOR ADMISSION PRO HAC VICE granting 409 Motion for Jack A.
                 Goldberger to Appear Pro Hac Vice. (Signed by Judge Robert W. Sweet on 9/1/2016)
                 (rjm) (Entered: 09/06/2016)
09/06/2016   420 MEMO ENDORSEMENT granting 413 MOTION Modify Scheduling Order re: 317
                 Order on Motion for Miscellaneous Relief. ENDORSEMENT: So ordered. (Signed by
                 Judge Robert W. Sweet on 9/6/2016) (kl) (Entered: 09/06/2016)
09/06/2016   421 MEMO ENDORSEMENT on re: 256 LETTER MOTION to Seal Document Plaintiff's
                 Response in Opposition to Defendant's Motion to Reopen Plaintiff's Deposition
                 addressed to Judge Robert W. Sweet from Meredith Schultz dated June 28, 2016, filed
                 by Virginia L. Giuffre. ENDORSEMENT: So ordered. (Signed by Judge Robert W.
                 Sweet on 9/6/2016) (kl) (Entered: 09/06/2016)
09/06/2016         Transmission to Sealed Records Clerk. Transmitted re: 421 Memo Endorsement, to the
                   Sealed Records Clerk for the sealing or unsealing of document or case. (kl) (Entered:
                   09/06/2016)
09/06/2016   422 MOTION to Compel Settlement Agreement (Renewed). Document filed by Ghislaine
                 Maxwell.(Menninger, Laura) (Entered: 09/06/2016)
09/06/2016   423 DECLARATION of Laura A. Menninger in Support re: 422 MOTION to Compel
                 Settlement Agreement (Renewed).. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Menninger,
                 Laura) (Entered: 09/06/2016)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page45 of 202
                                        CMA-041
     Case: 1:15-cv-07433-RWS As of: 09/12/2017 04:57 PM EDT 41 of 80
09/07/2016   424 ORDER. Defendant's renewed motion to compel production of the settlement
                 agreement shall be heard at noon on Thursday, September 22, 2016 in Courtroom 18C,
                 United States Courthouse, 500 Pearl Street. All papers shall be served in accordance
                 with Local Civil Rule 6.1. It is so ordered. (Oral Argument set for 9/22/2016 at 12:00
                 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007 before Judge Robert
                 W. Sweet.) (Signed by Judge Robert W. Sweet on 9/7/2016) (rjm) (Entered:
                 09/07/2016)
09/07/2016   425 ORDER granting 417 LETTER MOTION for Leave to File Excess Pages (Reply
                 Brief) addressed to Judge Robert W. Sweet from Sigrid S. McCawley dated 09/06/16.
                 Document filed by Virginia L. Giuffre. So ordered. (Signed by Judge Robert W. Sweet
                 on 9/7/2016) (rjm) (Entered: 09/07/2016)
09/07/2016   426 LETTER MOTION for Extension of Time to File Response/Reply as to 362 MOTION
                 to Intervene . MOTION to Unseal Document or in the Alternative to Modify Protective
                 Order. addressed to Judge Robert W. Sweet from Andrew G. Celli, Jr. and David A.
                 Lebowitz dated September 7, 2016. Document filed by Alan M.
                 Dershowitz.(Lebowitz, David) (Entered: 09/07/2016)
09/08/2016   427 MOTION for Extension of Time to File Expert Reports (Unopposed). Document filed
                 by Ghislaine Maxwell.(Menninger, Laura) (Entered: 09/08/2016)
09/09/2016   428 SEALED DOCUMENT placed in vault.(rz) (Entered: 09/09/2016)
09/09/2016   429 ORDER granting 426 Letter Motion for Extension of Time to File Response/Reply. So
                 ordered. Replies due by 9/15/2016. (Signed by Judge Robert W. Sweet on 9/8/2016)
                 (kl) (Main Document 429 replaced on 9/13/2016) (kgo). (Main Document 429
                 replaced on 9/13/2016) (kgo). (Entered: 09/09/2016)
09/12/2016   430 MEMO ENDORSEMENT granting 427 Letter Motion for Extension of Time.
                 ENDORSEMENT: So ordered. (Signed by Judge Robert W. Sweet on 9/12/2016)
                 (kgo) (Main Document 430 replaced on 9/13/2016) (kgo). (Entered: 09/12/2016)
09/13/2016   431 SEALED DOCUMENT placed in vault.(mps) (Entered: 09/13/2016)
09/13/2016   432 SEALED DOCUMENT placed in vault.(mps) (Entered: 09/13/2016)
09/15/2016   433 Vacated as to Nadia Marcinkova as per Judge's Order dated 3/20/2017, Doc. #
                 757 ENDORSED LETTER addressed to Judge Robert W. Sweet from Sigrid S.
                 McCawley dated 9/13/2016 re: Ms. Giuffre would respectfully request that the Court
                 Order that (1) that Nadia Marcinkova and Sarah Kellen be directed to appear for
                 deposition (2) that Nadia Marcinkova and Sarah Kellen pay Giuffre's costs and
                 reasonable attorney's fees associated with bringing the motion, and that (3) Nadia
                 Marcinkova and Sarah Kellen be ordered to pay a civil penalty of $200 per day for
                 each day after which they fail to appear at the rescheduled deposition and any other
                 sanction the court believes is just and proper. ENDORSEMENT: So ordered. (Signed
                 by Judge Robert W. Sweet on 9/15/2016) (rjm) Modified on 3/20/2017 (jwh).
                 (Entered: 09/15/2016)
09/15/2016   434 ENDORSED LETTER addressed to Judge Robert W. Sweet from Paul G. Cassell
                 dated 9/13/2016 re: Undersigned counsel sends this letter advising that Cassell
                 believes no redactions are required to the Court's opinion. ENDORSEMENT: So
                 ordered. (Signed by Judge Robert W. Sweet on 9/15/2016) (rjm) (Entered: 09/15/2016)
09/15/2016   435 DECLARATION of Alan M. Dershowitz in Support re: 362 MOTION to Intervene .
                 MOTION to Unseal Document or in the Alternative to Modify Protective Order..
                 Document filed by Alan M. Dershowitz. (Attachments: # 1 Exhibit O, # 2 Exhibit P, #
                 3 Exhibit Q, # 4 Exhibit R, # 5 Exhibit S, # 6 Exhibit T, # 7 Exhibit U, # 8 Exhibit V,
                 # 9 Exhibit W, # 10 Exhibit X)(Celli, Andrew) (Entered: 09/15/2016)
09/15/2016   436 REPLY MEMORANDUM OF LAW in Support re: 362 MOTION to Intervene .
                 MOTION to Unseal Document or in the Alternative to Modify Protective Order. .
                 Document filed by Alan M. Dershowitz. (Celli, Andrew) (Entered: 09/15/2016)
09/16/2016   437 NOTICE of Parties' Joint Stipulation regarding Discovery Motion re: 422 MOTION to
                 Compel Settlement Agreement (Renewed).. Document filed by Virginia L. Giuffre.
                 (Schultz, Meredith) (Entered: 09/16/2016)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page46 of 202
                                        CMA-042
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09/19/2016   438 MEMO ENDORSEMENT on re: 437 NOTICE of Parties' Joint Stipulation regarding
                 Discovery Motion re: 422 MOTION to Compel Settlement Agreement (Renewed).
                 Document filed by Virginia L. Giuffre. ENDORSEMENT: So ordered. The following
                 hearing(s) was terminated: Oral Argument. (Signed by Judge Robert W. Sweet on
                 9/19/2016) (rjm) (Entered: 09/19/2016)
09/20/2016   439 SEALED DOCUMENT placed in vault.(mps) (Entered: 09/20/2016)
09/20/2016   440 NOTICE of Filing Proposed Redacted Opinion. Document filed by Sharon Churcher.
                 (Attachments: # 1 Exhibit Proposed Redacted Opinion)(Feder, Eric) (Entered:
                 09/20/2016)
09/21/2016   441 MOTION for Discovery for Court Approval of Plaintiff's Certification of Production.
                 Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered: 09/21/2016)
09/21/2016   442 DECLARATION of Sigrid McCawley in Support re: 441 MOTION for Discovery for
                 Court Approval of Plaintiff's Certification of Production.. Document filed by Virginia
                 L. Giuffre. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2 Sealed, # 3 Exhibit 3 Sealed, # 4
                 Exhibit 4 Sealed, # 5 Exhibit 5 Sealed)(McCawley, Sigrid) (Entered: 09/21/2016)
09/22/2016   443 NOTICE of Plaintiff Notice of Related Action in the United Kingdom to Obtain the
                 Deposition of Defendant's Press Agent, Ross Gow. Document filed by Virginia L.
                 Giuffre. (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2)(McCawley,
                 Sigrid) (Entered: 09/22/2016)
09/26/2016   444 LETTER MOTION for Leave to File a less−redacted version of Professor Dershowitzs
                 Reply Declaration addressed to Judge Robert W. Sweet from Andrew G. Celli dated
                 9/26/2016. Document filed by Alan M. Dershowitz.(Celli, Andrew) (Entered:
                 09/26/2016)
09/26/2016   445 ORDER: Plaintiff's Motion for Court Approval of Plaintiff's Certification of
                 Production shall be heard at noon on Thursday, October 13, 2016 in Courtroom 18C,
                 United States Courthouse, 500 Pearl Street. All papers shall be served in accordance
                 with Local Civil Rule 6.1 Motion Hearing set for 10/13/2016 at 12:00 PM in
                 Courtroom 18C, 500 Pearl Street, New York, NY 10007 before Judge Robert W.
                 Sweet. (Signed by Judge Robert W. Sweet on 9/23/2016) (cf) (Entered: 09/26/2016)
09/27/2016   446 MEMO ENDORSEMENT: on PLAINTIFF VIRGINIA GIUFFRE'S MOTION FOR
                 AN EXTENSION OF TIME TO SERVE PROCESS UPON AND DEPOSE ROSS
                 GOW. ENDORSEMENT: Motion granted. Time extended 60 days. So ordered.
                 Granting 306 Motion for Extension of Time to Complete Discovery. The following
                 deadline(s) was terminated: Deposition Deadline. (Signed by Judge Robert W. Sweet
                 on 9/27/2016) (rjm) (Entered: 09/27/2016)
09/28/2016   447 LETTER RESPONSE to Motion addressed to Judge Robert W. Sweet from Sigrid S.
                 McCawley dated September 28, 2016 re: 444 LETTER MOTION for Leave to File a
                 less−redacted version of Professor Dershowitzs Reply Declaration addressed to Judge
                 Robert W. Sweet from Andrew G. Celli dated 9/26/2016. . Document filed by Virginia
                 L. Giuffre. (Schultz, Meredith) (Entered: 09/28/2016)
09/29/2016   448 NOTICE of Plaintiff's Notice of English Court's Issuance of Order Commanding Ross
                 Gow to Sit for Deposition. Document filed by Virginia L. Giuffre. (Attachments: # 1
                 Exhibit Composite Exhibit 1)(McCawley, Sigrid) (Entered: 09/29/2016)
09/30/2016   449 MOTION to Compel Testimony of Jeffrey Epstein. Document filed by Ghislaine
                 Maxwell.(Menninger, Laura) (Entered: 09/30/2016)
09/30/2016   450 DECLARATION of Jeffrey S. Pagliuca in Support re: 449 MOTION to Compel
                 Testimony of Jeffrey Epstein.. Document filed by Ghislaine Maxwell. (Attachments: #
                 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit
                 F)(Menninger, Laura) (Entered: 09/30/2016)
09/30/2016   451 JOINT MOTION re: 13 Scheduling Order, Amended Proposed Discovery and Case
                 Management Deadlines and Request to Modify Pretrial Scheduling Order. Document
                 filed by Ghislaine Maxwell.(Menninger, Laura) (Entered: 09/30/2016)
10/03/2016   452 ORDER re: 444 LETTER MOTION for Leave to File a less−redacted version of
                 Professor Dershowitzs Reply Declaration addressed to Judge Robert W. Sweet from
                 Andrew G. Celli dated 9/26/2016. Proposed Intervenor Alan M. Dershowitz's
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page47 of 202
                                       CMA-043
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                  September 26, 2016 letter motion for leave to publicly file a less−redacted version of
                  Dershowitz's Reply Declaration shall be heard at noon on Thursday, October 13, 2016
                  in Courtroom 18C, United States Courthouse, 500 Pearl Street. All papers shall be
                  served in accordance with Local Civil Rule 6.1. Motion Hearing set for 10/13/2016 at
                  12:00 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007 before Judge
                  Robert W. Sweet. (Signed by Judge Robert W. Sweet on 9/30/2016) (cf) (Entered:
                  10/03/2016)
10/03/2016   453 ORDER terminating 441 Letter Motion for Discovery. Hearing vacated as moot. So
                 ordered. (Signed by Judge Robert W. Sweet on 10/3/2016) (cf) (Entered: 10/03/2016)
10/03/2016   454 NOTICE of Withdrawal of Opposition to DE 444 re: 444 LETTER MOTION for
                 Leave to File a less−redacted version of Professor Dershowitzs Reply Declaration
                 addressed to Judge Robert W. Sweet from Andrew G. Celli dated 9/26/2016., 452
                 Order Setting Hearing on Motion,,. Document filed by Virginia L. Giuffre. (Schultz,
                 Meredith) (Entered: 10/03/2016)
10/03/2016   455 ORDER granting 451 Motion. So ordered. (Signed by Judge Robert W. Sweet on
                 10/3/2016) (cf) (Entered: 10/03/2016)
10/03/2016        Set/Reset Deadlines: Deposition due by 11/30/2016. Motions due by 2/24/2017.
                  Pretrial Order due by 2/10/2017. Responses due by 1/31/2017 Replies due by
                  2/10/2017. (cf) (Entered: 10/03/2016)
10/03/2016   456 ORDER: Defendant's motion to compel the testimony of Jeffrey Epstein shall be heard
                 at noon on Thursday, October 20, 2016 in Courtroom 18C, United States Courthouse,
                 500 Pearl Street. All papers shall be served in accordance with Local Civil Rule 6.1.
                 Motion Hearing set for 10/20/2016 at 12:00 PM in Courtroom 18C, 500 Pearl Street,
                 New York, NY 10007 before Judge Robert W. Sweet. (Signed by Judge Robert W.
                 Sweet on 10/3/2016) (cf) (Entered: 10/03/2016)
10/06/2016   457 LETTER addressed to Judge Robert W. Sweet from David A. Lebowitz dated October
                 6, 2016 re: Plaintiff's Proposed Order Granting Leave to File Less Redacted
                 Declaration. Document filed by Alan M. Dershowitz.(Lebowitz, David) (Entered:
                 10/06/2016)
10/07/2016   458 SEALED DOCUMENT placed in vault.(mps) (Entered: 10/07/2016)
10/11/2016   459 LETTER MOTION for Extension of Time to File Response/Reply addressed to Judge
                 Robert W. Sweet from Jack Goldberger dated October 5, 2016. Document filed by
                 Jeffrey Epstein.(Goldberger, Jack) (Entered: 10/11/2016)
10/11/2016   460 JOINT LETTER MOTION to Continue addressed to Judge Robert W. Sweet from
                 Jack Goldberger dated October 11, 2016. Document filed by Jeffrey
                 Epstein.(Goldberger, Jack) (Entered: 10/11/2016)
10/11/2016   461 ORDER GRANTING DERSHOWITZ'S SEPTEMBER 26, 2016, LETTER MOTION
                 TO PUBLICALLY FILE A LESS REDACTED VERSION OF DERSHOWITZ'S
                 REPLY DECLARATION. Proposed Intervenor Alan M. Dershowitz's Motion to
                 re−file Dershowitz's Reply Declaration with all references to paragraphs 20 and 21 of
                 Mr. Cassell's declaration unredacted and not under seal is GRANTED: Proposed
                 Intervenor Alan M. Dershowitz is directed to re−file Dershowitz' s Reply Declaration
                 with all references to paragraphs 20 and 21 of Mr. Cassell' s declaration unredacted
                 and not under seal. The hearing scheduled for Thursday, October 13, 2016, is hereby
                 vacated. It is so ordered. Granting 444 LETTER MOTION for Leave to File a
                 less−redacted version of Professor Dershowitzs Reply Declaration addressed to Judge
                 Robert W. Sweet from Andrew G. Celli dated 9/26/2016. Document filed by Alan M.
                 Dershowitz. (Signed by Judge Robert W. Sweet on 10/6/2016) (rjm) (Entered:
                 10/11/2016)
10/11/2016        Transmission to Sealed Records Clerk. Transmitted re: 461 Order on Motion for Leave
                  to File Document to the Sealed Records Clerk for the sealing or unsealing of document
                  or case. (rjm) (Entered: 10/11/2016)
10/11/2016   462 LETTER MOTION for Extension of Time to File Response/Reply as to 449 MOTION
                 to Compel Testimony of Jeffrey Epstein., 459 LETTER MOTION for Extension of
                 Time to File Response/Reply addressed to Judge Robert W. Sweet from Jack
                 Goldberger dated October 5, 2016. addressed to Judge Robert W. Sweet from Sigrid
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                   McCawley dated October 11, 2016. Document filed by Virginia L.
                   Giuffre.(McCawley, Sigrid) (Entered: 10/11/2016)
10/11/2016   463 ORDER granting 459 Letter Motion for Extension of Time to File Response/Reply re
                 449 MOTION to Compel Testimony of Jeffrey Epstein: So ordered. Responses due by
                 10/17/2016. (Signed by Judge Robert W. Sweet on 10/7/2016) (tn) (Entered:
                 10/11/2016)
10/12/2016   464 ORDER: Defendant's motion to compel the testimony of Jeffrey Epstein previously
                 scheduled for October 20 shall instead be heard at noon on Thursday, November 3,
                 2016 in Courtroom 18C, United States Courthouse, 500 Pearl Street. (Set
                 Deadlines/Hearing as to 449 MOTION to Compel Testimony of Jeffrey Epstein. :
                 Motion Hearing set for 11/3/2016 at 12:00 PM in Courtroom 18C, 500 Pearl Street,
                 New York, NY 10007 before Judge Robert W. Sweet.) (Signed by Judge Robert W.
                 Sweet on 10/12/2016) (cla) (Entered: 10/12/2016)
10/13/2016   465 ORDER granting 462 LETTER MOTION for Extension of Time to File
                 Response/Reply as to 449 MOTION to Compel Testimony of Jeffrey Epstein., 459
                 LETTER MOTION for Extension of Time to File Response/Reply addressed to Judge
                 Robert W. Sweet from Jack Goldberger dated October 5, 2016. addressed to Judge
                 Robert W. Sweet from Sigrid McCawley dated October 11, 2016. Document filed by
                 Virginia L. Giuffre. So ordered. (Signed by Judge Robert W. Sweet on 10/12/2016)
                 (rjm) (Entered: 10/13/2016)
10/14/2016   466 MOTION to Reopen Defendant's Deposition Based on Defendant's Late Production of
                 New, Key Documents. Document filed by Virginia L. Giuffre.(McCawley, Sigrid)
                 (Entered: 10/14/2016)
10/14/2016   467 DECLARATION of Sigrid McCawley in Support re: 466 MOTION to Reopen
                 Defendant's Deposition Based on Defendant's Late Production of New, Key
                 Documents.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed
                 Composite, # 2 Exhibit Sealed Composite, # 3 Exhibit Sealed)(McCawley, Sigrid)
                 (Entered: 10/14/2016)
10/14/2016   468 MOTION to Compel Ghislaine Maxwell to Produce Data from Undisclosed Email
                 Account and for an Adverse Inference Instruction. Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 10/14/2016)
10/14/2016   469 DECLARATION of Sigrid McCawley in Support re: 468 MOTION to Compel
                 Ghislaine Maxwell to Produce Data from Undisclosed Email Account and for an
                 Adverse Inference Instruction.. Document filed by Virginia L. Giuffre. (Attachments:
                 # 1 Exhibit Sealed Exhibit 1, # 2 Exhibit Sealed Composite Exhibit 2, # 3 Exhibit
                 Sealed Exhibit 3)(McCawley, Sigrid) (Entered: 10/14/2016)
10/17/2016   470 RESPONSE to Motion re: 449 MOTION to Compel Testimony of Jeffrey Epstein. .
                 Document filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 10/17/2016)
10/17/2016   471 DECLARATION of Sigrid McCawley in Support re: 449 MOTION to Compel
                 Testimony of Jeffrey Epstein.. Document filed by Virginia L. Giuffre. (Attachments: #
                 1 Exhibit Sealed Composite)(McCawley, Sigrid) (Entered: 10/17/2016)
10/17/2016   472 ORDER: Plaintiff's motion to reopen Defendant's deposition and motion to compel
                 shall be heard at noon on Thursday, November 3, 2016 in Courtroom 18C, United
                 States Courthouse, 500 Pearl Street. All papers shall be served in accordance with
                 Local Civil Rule 6.1. (Set Deadlines/Hearing as to 468 MOTION to Compel Ghislaine
                 Maxwell to Produce Data from Undisclosed Email Account and for an Adverse
                 Inference Instruction., 466 MOTION to Reopen Defendant's Deposition Based on
                 Defendant's Late Production of New, Key Documents. : Motion Hearing set for
                 11/3/2016 at 12:00 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007
                 before Judge Robert W. Sweet.) (Signed by Judge Robert W. Sweet on 10/17/2016)
                 (cla) (Entered: 10/17/2016)
10/17/2016   473 RESPONSE in Opposition to Motion re: 449 MOTION to Compel Testimony of
                 Jeffrey Epstein. . Document filed by Jeffrey Epstein. (Goldberger, Jack) (Entered:
                 10/17/2016)
10/17/2016   474 DECLARATION of Jack Goldberger in Opposition re: 449 MOTION to Compel
                 Testimony of Jeffrey Epstein.. Document filed by Jeffrey Epstein. (Goldberger, Jack)
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                   (Entered: 10/17/2016)
10/20/2016   475 MOTION for Martin G. Weinberg to Appear Pro Hac Vice . Filing fee $ 200.00,
                 receipt number 0208−12896050. Motion and supporting papers to be reviewed by
                 Clerk's Office staff. Document filed by Jeffrey Epstein. (Attachments: # 1 Certificate
                 of Good Standing, # 2 Proposed Order)(Weinberg, Martin) (Entered: 10/20/2016)
10/20/2016         >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                   No. 475 MOTION for Martin G. Weinberg to Appear Pro Hac Vice . Filing fee $
                   200.00, receipt number 0208−12896050. Motion and supporting papers to be
                   reviewed by Clerk's Office staff.. The document has been reviewed and there are
                   no deficiencies. (bcu) (Entered: 10/20/2016)
10/20/2016   476 LETTER addressed to Judge Robert W. Sweet from Eric J. Feder dated 10/20/2016 re:
                 Request to Publish Redacted Opinion (See Dkt 440). Document filed by Sharon
                 Churcher.(Feder, Eric) (Entered: 10/20/2016)
10/21/2016   477 ORDER FOR ADMISSION PRO HAC VICE granting 475 Motion for Martin G.
                 Weinberg to Appear Pro Hac Vice. (Signed by Judge Robert W. Sweet on 10/21/2016)
                 (rjm) (Entered: 10/21/2016)
10/24/2016   478 NOTICE of Plaintiff's Notice of Nadia Marcinkova's Failure to Appear at Her
                 Deposition. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit 1, # 2
                 Exhibit 2, # 3 Exhibit 3)(McCawley, Sigrid) (Entered: 10/24/2016)
10/24/2016   479 RESPONSE in Opposition to Motion re: 468 MOTION to Compel Ghislaine Maxwell
                 to Produce Data from Undisclosed Email Account and for an Adverse Inference
                 Instruction. . Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered:
                 10/24/2016)
10/24/2016   480 DECLARATION of Laura A. Menninger in Opposition re: 468 MOTION to Compel
                 Ghislaine Maxwell to Produce Data from Undisclosed Email Account and for an
                 Adverse Inference Instruction.. Document filed by Ghislaine Maxwell. (Attachments:
                 # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Menninger, Laura)
                 (Entered: 10/24/2016)
10/24/2016   481 RESPONSE in Opposition to Motion re: 466 MOTION to Reopen Defendant's
                 Deposition Based on Defendant's Late Production of New, Key Documents. .
                 Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 10/24/2016)
10/24/2016   482 DECLARATION of Laura A. Menninger in Opposition re: 466 MOTION to Reopen
                 Defendant's Deposition Based on Defendant's Late Production of New, Key
                 Documents.. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Menninger, Laura) (Entered:
                 10/24/2016)
10/24/2016   483 REPLY to Response to Motion re: 449 MOTION to Compel Testimony of Jeffrey
                 Epstein. . Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered:
                 10/24/2016)
10/26/2016   484 ORDER. Non−party Sharon Churcher's request for issuance of the redacted version of
                 the Court's opinion shall be treated as a motion and heard on Thursday, November 3,
                 2016 in Courtroom 18C, United States Courthouse, 500 Pearl Street. All papers shall
                 be served in accordance with Local Civil Rule 6.1. It is so ordered. (Oral Argument set
                 for 11/3/2016 at 12:00 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007
                 before Judge Robert W. Sweet.) (Signed by Judge Robert W. Sweet on 10/25/2016)
                 (rjm) (Entered: 10/26/2016)
10/27/2016   485 ORDER: Defendant's letter dated October 26, 2016 shall be designated as confidential
                 pursuant to the Protective Order. It is so ordered. (Signed by Judge Robert W. Sweet
                 on 10/27/2016) (kl) (Entered: 10/27/2016)
10/27/2016   486 ORDER: Non−party Sharon Churcher's request for issuance of the redacted version of
                 the Court's opinion, previously scheduled to be heard on November 3, shall instead
                 heard at noon on Thursday, November 10, 2016 in Courtroom 18C, United States
                 Courthouse, 500 Pearl Street. It is so ordered. (Oral Argument set for 11/10/2016 at
                 12:00 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007 before Judge
                 Robert W. Sweet.) (Signed by Judge Robert W. Sweet on 10/27/2016) (kl) (Entered:
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                  10/27/2016)
10/27/2016   487 NOTICE OF APPEARANCE by Erica Tamar Dubno on behalf of Nadia Marcinko.
                 (Dubno, Erica) (Entered: 10/27/2016)
10/27/2016   488 ENDORSED LETTER addressed to Judge Robert W. Sweet from Jeffrey S. Pagliuca
                 dated 10/26/2016 re: writing to request the Court continue the hearing currently
                 scheduled on November 3, 2016 to November 10, 2016 because counsel for Ms.
                 Maxwell are unavailable on November 3, 2016. ENDORSEMENT: So ordered.
                 (Signed by Judge Robert W. Sweet on 10/27/2016) (kl) (Entered: 10/27/2016)
10/28/2016   489 SEALED DOCUMENT placed in vault.(rz) (Entered: 10/28/2016)
10/28/2016   490 REPLY to Response to Motion re: 468 MOTION to Compel Ghislaine Maxwell to
                 Produce Data from Undisclosed Email Account and for an Adverse Inference
                 Instruction. REDACTED. Document filed by Virginia L. Giuffre. (Schultz, Meredith)
                 (Entered: 10/28/2016)
10/28/2016   491 DECLARATION of Meredith Schultz in Support re: 468 MOTION to Compel
                 Ghislaine Maxwell to Produce Data from Undisclosed Email Account and for an
                 Adverse Inference Instruction.. Document filed by Virginia L. Giuffre. (Attachments:
                 # 1 Exhibit, # 2 Exhibit REDACTED, # 3 Exhibit REDACTED, # 4 Exhibit
                 REDACTED)(Schultz, Meredith) (Entered: 10/28/2016)
10/28/2016   492 REPLY to Response to Motion re: 466 MOTION to Reopen Defendant's Deposition
                 Based on Defendant's Late Production of New, Key Documents. REDACTED.
                 Document filed by Virginia L. Giuffre. (Schultz, Meredith) (Entered: 10/28/2016)
10/28/2016   493 DECLARATION of Meredith Schultz in Support re: 466 MOTION to Reopen
                 Defendant's Deposition Based on Defendant's Late Production of New, Key
                 Documents.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                 REDACTED)(Schultz, Meredith) (Entered: 10/28/2016)
10/31/2016   494 SEALED DOCUMENT placed in vault.(mps) (Entered: 10/31/2016)
10/31/2016   495 ENDORSED LETTER addressed to Judge Robert W. Sweet from Jeffrey S. Pagliuca
                 dated 10/28/2016 re: I am writing to request the Court continue the deadline to submit
                 one of the defense rebuttal expert opinions by one business day from October 28, 2016
                 to October 31, 2016. ENDORSEMENT: So ordered. (Signed by Judge Robert W.
                 Sweet on 10/31/2016) (rjm) (Entered: 10/31/2016)
11/03/2016   496 SEALED DOCUMENT placed in vault.(mps) (Entered: 11/03/2016)
11/07/2016   497 ORDER: The portions of the November 2, 2016 Opinion pertaining to ECF No. 354
                 were issued in error and are hereby withdrawn. It is so ordered. (Signed by Judge
                 Robert W. Sweet on 11/7/2016) (kl) (Entered: 11/07/2016)
11/10/2016   498 SEALED DOCUMENT placed in vault.(rz) (Entered: 11/10/2016)
11/10/2016        Minute Entry for proceedings held before Judge Robert W. Sweet: Oral Argument held
                  on 11/10/2016 re: 451 JOINT MOTION re: 13 Scheduling Order, Amended Proposed
                  Discovery and Case Management Deadlines and Request to Modify Pretrial
                  Scheduling Order filed by Ghislaine Maxwell, 468 MOTION to Compel Ghislaine
                  Maxwell to Produce Data from Undisclosed Email Accountand for an Adverse
                  Inference Instruction filed by Virginia L. Giuffre, 449 MOTION to CompelTestimony
                  of Jeffrey Epstein. filed by Ghislaine Maxwell, 466 MOTION to Reopen Defendant's
                  Deposition Based on Defendant's Late Production of New, Key Documents filed by
                  Virginia L. Giuffre. (Court Reporter Martha Martin) Motion to compel discovery
                  pending. (Chan, Tsz) (Entered: 11/15/2016)
11/15/2016   499 SEALED DOCUMENT placed in vault.(mps) (Entered: 11/15/2016)
11/16/2016   500 FILING ERROR − NO ORDER SELECTED FOR APPEAL − NOTICE OF
                 INTERLOCUTORY APPEAL. Document filed by Alan M. Dershowitz. Filing fee $
                 505.00, receipt number 0208−12994142. Form C and Form D are due within 14 days
                 to the Court of Appeals, Second Circuit. (Celli, Andrew) Modified on 11/17/2016 (tp).
                 (Entered: 11/16/2016)
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11/17/2016         ***NOTICE TO ATTORNEY REGARDING DEFICIENT APPEAL. Notice to
                   attorney Celli, Andrew to RE−FILE Document No. 500 Notice of Interlocutory
                   Appeal. The filing is deficient for the following reason(s): the order/judgment
                   being appealed was not selected. Re−file the appeal using the event type
                   Corrected Notice of Appeal found under the event list Appeal Documents −
                   attach the correct signed PDF − select the correct named filer/filers − select the
                   correct order/judgment being appealed. (tp) (Entered: 11/17/2016)
11/17/2016   501 ORDER: Defendant's motion for reconsideration of portions of the Court's November
                 2, 2016 opinion shall be heard at noon on Thursday, December 8, 2016 in Courtroom
                 18C, United States Courthouse, 500 Pearl Street. All papers shall be served in
                 accordance with Local Civil Rule 6.1. IT IS SO ORDERED., ( Oral Argument set for
                 12/8/2016 at 12:00 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007
                 before Judge Robert W. Sweet.) (Signed by Judge Robert W. Sweet on 11/17/2016)
                 (ama) (Entered: 11/17/2016)
11/21/2016   502 NOTICE of Filing Under Seal Defendant's Motion for Reconsideration or Clarification
                 of Portions of Court's November 2, 2016 Order. Document filed by Ghislaine
                 Maxwell. (Menninger, Laura) (Entered: 11/21/2016)
11/21/2016   503 [REDACTED] SEALED OPINION # 106882 re: 215 MOTION to Quash subpoena of
                 Sharon Churcher , filed by Sharon Churcher. Upon the conclusions set forth above, the
                 motion of Churcher is granted and the Subpoena is quashed. The parties are directed to
                 jointly file a proposed redacted version of this Opinion consistent with the Protective
                 Order or notify the Court that none are necessary within two weeks of the date of
                 receipt of this Opinion. (Signed by Judge Robert W. Sweet on 9/1/16) (cla) (Entered:
                 11/21/2016)
11/23/2016   504 NOTICE OF APPEAL from 496 Sealed Order. Document filed by Alan M.
                 Dershowitz. Form C and Form D are due within 14 days to the Court of Appeals,
                 Second Circuit. (tp) (Entered: 11/23/2016)
11/23/2016         Appeal Fee Paid electronically via Pay.gov: for 504 Notice of Appeal. Filing fee $
                   505.00. Pay.gov receipt number 0208−12994142, paid on 11/16/2016. (tp) (Entered:
                   11/23/2016)
11/23/2016         Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                   Appeals re: 504 Notice of Appeal. (tp) (Entered: 11/23/2016)
11/23/2016         Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                   Electronic Files for 504 Notice of Appeal filed by Alan M. Dershowitz were
                   transmitted to the U.S. Court of Appeals. (tp) (Entered: 11/23/2016)
11/30/2016   505 ENDORSED LETTER addressed to Judge Robert W. Sweet from Meredith L. Schultz
                 dated 11/28/2016 re: This is an agreed letter motion to extend the time to file the
                 Plaintiff's Response in Opposition to Defendant's Motion for Reconsideration to
                 Monday, December 5, 2016. ENDORSEMENT: So ordered. (Responses due by
                 12/5/2016) (Signed by Judge Robert W. Sweet on 11/29/2016) (rjm) (Entered:
                 11/30/2016)
11/30/2016   506 ORDER. Defendant's motion for reconsideration previously scheduled to be heard on
                 December 8, 2016 shall instead be taken on submission. It is so ordered. The following
                 hearing(s) was terminated: Oral Argument. (Signed by Judge Robert W. Sweet on
                 11/30/2016) (rjm) (Entered: 11/30/2016)
12/05/2016   507 ENDORSED LETTER addressed to Judge Robert W. Sweet from Sigrid S. McCawley
                 dated 11/30/2016 re: We request permission to conclude the Defendant's expert
                 depositions on Friday December 2, 2016. ENDORSEMENT: So ordered. (Signed by
                 Judge Robert W. Sweet on 12/1/2016) (kgo) (Entered: 12/05/2016)
12/08/2016   508 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 12/7/2016 re: agreed letter motion to extend the time to file the Defendant's
                 Reply in Support of her Motion for Reconsideration or Clarification of Portion of
                 Court's November 2, 2016 Order to December 14, 2016. ENDORSEMENT: So
                 ordered. (Replies due by 12/14/2016.) (Signed by Judge Robert W. Sweet on
                 12/8/2016) (cf) (Entered: 12/08/2016)
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12/09/2016   509 MOTION for Sanctions Based on Plaintiff's Intentional Destruction of Evidence.
                 Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered: 12/09/2016)
12/09/2016   510 DECLARATION of Laura A. Menninger in Support re: 509 MOTION for Sanctions
                 Based on Plaintiff's Intentional Destruction of Evidence.. Document filed by Ghislaine
                 Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                 D)(Menninger, Laura) (Entered: 12/09/2016)
12/13/2016   511 SEALED DOCUMENT placed in vault.(mps) (Entered: 12/13/2016)
12/13/2016   512 ORDER: Defendant's motion for sanctions shall be heard at noon on Thursday,
                 January 19, 2017 in Courtroom 18C, United States Courthouse, 500 Pearl Street. All
                 papers shall be served in accordance with Local Civil Rule 6.1., Set Deadlines/Hearing
                 as to 509 MOTION for Sanctions Based on Plaintiff's Intentional Destruction of
                 Evidence. :( Motion Hearing set for 1/19/2017 at 12:00 PM in Courtroom 18C, 500
                 Pearl Street, New York, NY 10007 before Judge Robert W. Sweet.) (Signed by Judge
                 Robert W. Sweet on 12/13/2016) (lmb) (Entered: 12/13/2016)
12/16/2016   513 RESPONSE in Opposition to Motion re: 509 MOTION for Sanctions Based on
                 Plaintiff's Intentional Destruction of Evidence. . Document filed by Virginia L.
                 Giuffre. (McCawley, Sigrid) (Entered: 12/16/2016)
12/16/2016   514 DECLARATION of Meredith Schultz in Opposition re: 509 MOTION for Sanctions
                 Based on Plaintiff's Intentional Destruction of Evidence.. Document filed by Virginia
                 L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3 Exhibit
                 Sealed 3, # 4 Exhibit Sealed 4, # 5 Exhibit Sealed 5, # 6 Exhibit Sealed Composite
                 6)(McCawley, Sigrid) (Entered: 12/16/2016)
12/20/2016   515 REPLY to Response to Motion re: 509 MOTION for Sanctions Based on Plaintiff's
                 Intentional Destruction of Evidence. . Document filed by Ghislaine Maxwell.
                 (Menninger, Laura) (Entered: 12/20/2016)
12/20/2016   516 DECLARATION of Laura A. Menninger in Support re: 509 MOTION for Sanctions
                 Based on Plaintiff's Intentional Destruction of Evidence.. Document filed by Ghislaine
                 Maxwell. (Attachments: # 1 Exhibit E, # 2 Exhibit F, # 3 Exhibit G)(Menninger,
                 Laura) (Entered: 12/20/2016)
12/21/2016   517 SEALED DOCUMENT placed in vault.(mps) (Entered: 12/21/2016)
01/03/2017   518 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 12/19/2016 re: Letter Motion to file the Reply in Support of Defendant's Motion
                 for Sanctions to and including December 20, 2016. ENDORSEMENT: So ordered.
                 (Signed by Judge Robert W. Sweet on 12/24/2016) (cla) (Entered: 01/03/2017)
01/05/2017   519 ENDORSED LETTER addressed to Judge Robert W. Sweet from Jeffrey S. Pagliuca
                 dated 12/29/2016 re: I am writing to request the Court to extend the deposition
                 deadline of Plaintiff's designated expert Dianne Flores from December 29, 2016 to
                 January 5, 2017. ENDORSEMENT: So ordered. (Deposition due by 1/5/2017.)
                 (Signed by Judge Robert W. Sweet on 1/4/2016) (rjm) (Entered: 01/05/2017)
01/05/2017   520 MOTION in Limine To Exclude Expert Testimony and Opinion of Chris Anderson.
                 Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered: 01/05/2017)
01/05/2017   521 DECLARATION of Jeffrey S. Pagliuca in Support re: 520 MOTION in Limine To
                 Exclude Expert Testimony and Opinion of Chris Anderson.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, #
                 10 Exhibit J, # 11 Exhibit K)(Menninger, Laura) (Entered: 01/05/2017)
01/05/2017   522 MOTION in Limine To Exclude Expert Testimony and Opinions of William F.
                 Chandler. Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered:
                 01/05/2017)
01/05/2017   523 DECLARATION of Jeffrey S. Pagliuca in Support re: 522 MOTION in Limine To
                 Exclude Expert Testimony and Opinions of William F. Chandler.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Menninger, Laura)
                 (Entered: 01/05/2017)
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01/05/2017   524 MOTION in Limine To Exclude Expert Testimony and Opinion of Professor Terry
                 Coonan, J.D.. Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered:
                 01/05/2017)
01/05/2017   525 DECLARATION of Jeffrey S. Pagliuca in Support re: 524 MOTION in Limine To
                 Exclude Expert Testimony and Opinion of Professor Terry Coonan, J.D... Document
                 filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Menninger,
                 Laura) (Entered: 01/05/2017)
01/05/2017   526 MOTION in Limine To Exclude Expert Testimony and Opinion of Dianne C. Flores.
                 Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered: 01/05/2017)
01/05/2017   527 DECLARATION of Jeffrey S. Pagliuca in Support re: 526 MOTION in Limine To
                 Exclude Expert Testimony and Opinion of Dianne C. Flores.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit A)(Menninger, Laura) (Entered:
                 01/05/2017)
01/05/2017   528 MOTION in Limine To Exclude Expert Testimony and Opinion of Dr. Bernard
                 Jansen. Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered:
                 01/05/2017)
01/05/2017   529 DECLARATION of Jeffrey S. Pagliuca in Support re: 528 MOTION in Limine To
                 Exclude Expert Testimony and Opinion of Dr. Bernard Jansen.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)(Menninger, Laura) (Entered:
                 01/05/2017)
01/05/2017   530 MOTION in Limine To Exclude Expert Testimony and Opinion of Doctor Gilbert
                 Kliman. Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered:
                 01/05/2017)
01/05/2017   531 DECLARATION of Jeffrey S. Pagliuca in Support re: 530 MOTION in Limine To
                 Exclude Expert Testimony and Opinion of Doctor Gilbert Kliman.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                 C)(Menninger, Laura) (Entered: 01/05/2017)
01/06/2017   532 ORDER. The motion to quash filed by Bradley J. Edwards in the Southern District of
                 Florida under case number 16−mc−61292−JG has been transferred to this Court.
                 Therefore, the motion, which was originally filed June 13, 2016, shall be heard at noon
                 on Thursday, February 2, 2017 in Courtroom 18C, United States Courthouse, 500
                 Pearl Street. All papers shall be served in accordance with Local Civil Rule 6.1. It is so
                 ordered. (Oral Argument set for 2/2/2017 at 12:00 PM in Courtroom 18C, 500 Pearl
                 Street, New York, NY 10007 before Judge Robert W. Sweet.) (Signed by Judge
                 Robert W. Sweet on 1/6/2017) (rjm) (Entered: 01/06/2017)
01/06/2017   533 MOTION in Limine and Incorporated Memorandum of Law. Document filed by
                 Virginia L. Giuffre.(McCawley, Sigrid) (Entered: 01/06/2017)
01/06/2017   534 DECLARATION of Sigrid McCawley in Support re: 533 MOTION in Limine and
                 Incorporated Memorandum of Law.. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3 Exhibit Sealed
                 3)(McCawley, Sigrid) (Entered: 01/06/2017)
01/06/2017   535 MOTION in Limine and Incorporated Memorandum of Law. Document filed by
                 Virginia L. Giuffre.(McCawley, Sigrid) (Entered: 01/06/2017)
01/06/2017   536 DECLARATION of Sigrid McCawley in Support re: 535 MOTION in Limine and
                 Incorporated Memorandum of Law.. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit Redacted 1, # 2 Exhibit Redacted 2, # 3 Exhibit Redacted 3,
                 # 4 Exhibit Redacted 4, # 5 Exhibit Redacted 5)(McCawley, Sigrid) (Entered:
                 01/06/2017)
01/06/2017   537 NOTICE of Motion for Summary Judgment. Document filed by Ghislaine Maxwell.
                 (Menninger, Laura) (Entered: 01/06/2017)
01/06/2017   538 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 MOTION for Summary Judgment . Document filed by Ghislaine
                 Maxwell.(Menninger, Laura) Modified on 1/9/2017 (db). (Entered: 01/06/2017)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page54 of 202
                                        CMA-050
     Case: 1:15-cv-07433-RWS As of: 09/12/2017 04:57 PM EDT 50 of 80
01/06/2017   539 FILING ERROR − DEFICIENT DOCKET ENTRY − DECLARATION of Laura
                 A. Menninger in Support re: 538 MOTION for Summary Judgment .. Document filed
                 by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G−KK, # 8 Exhibit LL, # 9 Exhibit
                 MM)(Menninger, Laura) Modified on 1/9/2017 (db). (Entered: 01/06/2017)
01/09/2017        ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                  ERROR. Notice to Attorney Laura A. Menninger to RE−FILE Document 538
                  MOTION for Summary Judgment . Use the event type Memorandum in Support
                  of Motion found under the event list Replies, Opposition and Supporting
                  Documents. ***REMINDER*** − Refile the 537 Notice AS THE MOTION for
                  Summary Judgment, then file and link any supporting documents. (db) (Entered:
                  01/09/2017)
01/09/2017        ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − DEFICIENT
                  DOCKET ENTRY ERROR. Notice to Attorney Laura A. Menninger to
                  RE−FILE Document 539 Declaration in Support of Motion. ERROR(S):
                  Document(s) linked to filing error. (db) (Entered: 01/09/2017)
01/09/2017   540 MOTION for Summary Judgment . Document filed by Ghislaine
                 Maxwell.(Menninger, Laura) (Entered: 01/09/2017)
01/09/2017   541 MEMORANDUM OF LAW in Support re: 540 MOTION for Summary Judgment . .
                 Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 01/09/2017)
01/09/2017   542 DECLARATION of Laura A. Menninger in Support re: 540 MOTION for Summary
                 Judgment .. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit
                 G−KK, # 8 Exhibit LL, # 9 Exhibit MM)(Menninger, Laura) (Entered: 01/09/2017)
01/12/2017   543 SEALED DOCUMENT placed in vault.(rz) (Entered: 01/12/2017)
01/12/2017   544 ORDER: Defendant's motion for summary judgment shall be heard at noon on
                 Thursday, February 9, 2017 in Courtroom 18C, United States Courthouse, 500 Pearl
                 Street. All papers shall be served in accordance with Local Civil Rule 6.1. (Motion
                 Hearing set for 2/9/2017 at 12:00 PM in Courtroom 18C, 500 Pearl Street, New York,
                 NY 10007 before Judge Robert W. Sweet.) (Signed by Judge Robert W. Sweet on
                 1/11/2017) (cla) (Entered: 01/12/2017)
01/12/2017   545 ORDER: Plaintiff's motions in limine shall be heard at noon on Thursday, February 2,
                 2017 in Courtroom 18C, United States Courthouse, 500 Pearl Street. All papers shall
                 be served in accordance with Local Civil Rule 6.1. (Motion Hearing set for 2/2/2017 at
                 12:00 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007 before Judge
                 Robert W. Sweet.) (Signed by Judge Robert W. Sweet on 1/11/2017) (cla) (Entered:
                 01/12/2017)
01/13/2017   546 SEALED DOCUMENT placed in vault.(mps) (Entered: 01/13/2017)
01/17/2017   547 NOTICE OF APPEARANCE by Alexander Seton Lorenzo on behalf of Sarah
                 Vickers. (Lorenzo, Alexander) (Entered: 01/17/2017)
01/18/2017   548 ORDER: Defendant's motions in limine shall be heard at noon on Thursday, February
                 2, 2017 in Courtroom 18C, United States Courthouse, 500 Pearl Street. All papers
                 shall be served in accordance with Local Civil Rule 6.1. (Motion Hearing set for
                 2/2/2017 at 12:00 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007
                 before Judge Robert W. Sweet.) (Signed by Judge Robert W. Sweet on 1/18/2017)
                 (cla) (Entered: 01/18/2017)
01/19/2017   549 NOTICE OF APPEARANCE by Jay Marshall Wolman on behalf of Michael
                 Cernovich d/b/a Cernovich Media. (Wolman, Jay) (Entered: 01/19/2017)
01/19/2017   550 MOTION to Intervene and Unseal. Document filed by Michael Cernovich d/b/a
                 Cernovich Media.(Wolman, Jay) (Entered: 01/19/2017)
01/19/2017   551 MEMORANDUM OF LAW in Support re: 550 MOTION to Intervene and Unseal. .
                 Document filed by Michael Cernovich d/b/a Cernovich Media. (Wolman, Jay)
                 (Entered: 01/19/2017)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page55 of 202
                                         CMA-051
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01/19/2017   552 DECLARATION of Michael Cernovich in Support re: 550 MOTION to Intervene and
                 Unseal.. Document filed by Michael Cernovich d/b/a Cernovich Media. (Wolman,
                 Jay) (Entered: 01/19/2017)
01/19/2017   553 ORDER: The letters regarding page limits shall be treated as a motion and heard at
                 noon on Thursday, January 26, 2017 in Courtroom 18C, United States Courthouse,
                 500 Pearl Street. All papers shall be served in accordance with Local Civil Rule 6.1.
                 Motion Hearing set for 1/26/2017 at 12:00 AM in Courtroom 18C, 500 Pearl Street,
                 New York, NY 10007 before Judge Robert W. Sweet. (Signed by Judge Robert W.
                 Sweet on 1/18/2017) (kgo) (Entered: 01/19/2017)
01/19/2017   555 MEMO ENDORSEMENT denying 509 Motion for Sanctions. ENDORSEMENT:
                 Spoliation has not been established at the time of the Plaintiff's acts and the motion is
                 denied. (Signed by Judge Robert W. Sweet on 1/19/2017) (kgo) Modified on
                 1/20/2017 (kgo). (Entered: 01/20/2017)
01/19/2017         Minute Entry for proceedings held before Judge Robert W. Sweet: Motion Hearing
                   held on 1/19/2017 re: 509 MOTION for Sanctions Based on Plaintiff's Intentional
                   Destruction of Evidence filed by Ghislaine Maxwell. (Court Reporter Jennifer Thun)
                   (Chan, Tsz) (Entered: 01/23/2017)
01/20/2017   554 MOTION for John E. Stephenson, Jr. to Appear Pro Hac Vice . Filing fee $ 200.00,
                 receipt number 0208−13222415. Motion and supporting papers to be reviewed by
                 Clerk's Office staff. Document filed by Sarah Vickers. (Attachments: # 1 Affidavit of
                 John E. Stephenson, Jr., # 2 Certificate of Good Standing, # 3 Text of Proposed
                 Order)(Stephenson, John) (Entered: 01/20/2017)
01/20/2017         >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                   No. 554 MOTION for John E. Stephenson, Jr. to Appear Pro Hac Vice . Filing fee
                   $ 200.00, receipt number 0208−13222415. Motion and supporting papers to be
                   reviewed by Clerk's Office staff.. The document has been reviewed and there are
                   no deficiencies. (ma) (Entered: 01/20/2017)
01/20/2017   556 ORDER: The arguments for the motion to quash filed by Bradley J. Edwards,
                 Defendant's motions in limine, and Plaintiff's motions in limine, previously scheduled
                 for February 2, and the argument for Defendant's motion for summary judgment,
                 previously scheduled for February 9, shall instead be heard at noon on Thursday,
                 February 16, 2017 in Courtroom 18C, United States Courthouse, 500 Pearl Street. All
                 papers shall be served in accordance with Local Civil Rule 6.1. Motion Hearing set for
                 2/16/2017 at 12:00 PM in Courtroom 18B, 500 Pearl Street, New York, NY 10007
                 before Judge Robert W. Sweet. (Signed by Judge Robert W. Sweet on 1/20/2017)
                 (kgo) (Entered: 01/20/2017)
01/23/2017   557 ORDER FOR ADMISSION PRO HAC VICE granting 554 Motion for John E.
                 Stephenson, Jr. to Appear Pro Hac Vice. (Signed by Judge Robert W. Sweet on
                 1/23/2017) (anc) (Entered: 01/23/2017)
01/23/2017   558 ORDER: The sealed letter motion submitted by Plaintiff on January 20, 2017 shall be
                 heard at noon on Thursday, February 2, 2017 in Courtroom 18C, United States
                 Courthouse, 500 Pearl Street. The motion to intervene filed January 19, 2017 shall be
                 heard at noon on Thursday, February 16, 2017 in Courtroom 18C, United States
                 Courthouse, 500 Pearl Street. All papers shall be served in accordance with Local Civil
                 Rule 6.1. (Motion Hearing set for 2/2/2017 at 12:00 PM in Courtroom 18C, 500 Pearl
                 Street, New York, NY 10007 before Judge Robert W. Sweet. Motion Hearing set for
                 2/16/2017 at 12:00 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007
                 before Judge Robert W. Sweet.) (Signed by Judge Robert W. Sweet on 1/23/2017)
                 (cla) (Entered: 01/23/2017)
01/24/2017   559 ORDER. Per the Agreed Letter Motion filed by the parties, the hearing scheduled to
                 take place on Thursday, January 26, 2017 is hereby vacated. The Plaintiff is granted
                 leave to file a response in opposition to the Defendant's motion for summary judgment
                 that is the same page length as the Defendant's motion on the same. It is so ordered.
                 (Signed by Judge Robert W. Sweet on 1/24/2017) (rjm) (Entered: 01/24/2017)
01/25/2017   560 NOTICE of of Withdrawal. Document filed by Virginia L. Giuffre. (McCawley,
                 Sigrid) (Entered: 01/25/2017)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page56 of 202
                                        CMA-052
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01/27/2017   561 MOTION in Limine to Exclude Defendant's Designations of Deposition Excerpts of
                 Alan Dershowitz. Document filed by Virginia L. Giuffre.(McCawley, Sigrid) (Entered:
                 01/27/2017)
01/27/2017   562 DECLARATION of Sigrid McCawley in Support re: 561 MOTION in Limine to
                 Exclude Defendant's Designations of Deposition Excerpts of Alan Dershowitz..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                 Exhibit Sealed 3, # 4 Exhibit Sealed 4)(McCawley, Sigrid) (Entered: 01/27/2017)
01/27/2017   563 MOTION in Limine to Exclude Defendant's Designations of Deposition Excerpts of
                 Virginia Giuffre in an Unrelated Case. Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 01/27/2017)
01/27/2017   564 DECLARATION of Sigrid McCawley in Support re: 563 MOTION in Limine to
                 Exclude Defendant's Designations of Deposition Excerpts of Virginia Giuffre in an
                 Unrelated Case.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                 Sealed 1)(McCawley, Sigrid) (Entered: 01/27/2017)
01/27/2017   565 NOTICE of Filing Plaintiff's Objections to Defendant's Deposition Designations and
                 Plaintiff's Cross Designations. Document filed by Virginia L. Giuffre. (McCawley,
                 Sigrid) (Entered: 01/27/2017)
01/27/2017   566 Objection to Plaintiff's Deposition Designations. Document filed by Ghislaine
                 Maxwell. (Menninger, Laura) (Entered: 01/27/2017)
01/27/2017   567 MOTION in Limine to Exclude In Toto Certain Depositions Designated By Plaintiff
                 for Use at Trial. Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered:
                 01/27/2017)
01/27/2017   568 DECLARATION of Laura A. Menninger in Support re: 567 MOTION in Limine to
                 Exclude In Toto Certain Depositions Designated By Plaintiff for Use at Trial..
                 Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Menninger, Laura) (Entered: 01/27/2017)
01/30/2017   569 RESPONSE in Opposition to Motion re: 530 MOTION in Limine To Exclude Expert
                 Testimony and Opinion of Doctor Gilbert Kliman. . Document filed by Virginia L.
                 Giuffre. (McCawley, Sigrid) (Entered: 01/30/2017)
01/30/2017   570 DECLARATION of Sigrid McCawley in Opposition re: 530 MOTION in Limine To
                 Exclude Expert Testimony and Opinion of Doctor Gilbert Kliman.. Document filed by
                 Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3
                 Exhibit Sealed 3, # 4 Exhibit Sealed 4, # 5 Exhibit Sealed 5)(McCawley, Sigrid)
                 (Entered: 01/30/2017)
01/30/2017   571 ORDER: Plaintiff's and Defendant's motions in limine filed January 27, 2017, and all
                 issues related to deposition designations, shall be heard at noon on Thursday, February
                 23, 2017 in Courtroom 18C, United States Courthouse, 500 Pearl Street. All papers
                 shall be served in accordance with Local Civil Rule 6.1. (Motion Hearing set for
                 2/23/2017 at 12:00 PM in Courtroom 18C, 500 Pearl Street, New York, NY 10007
                 before Judge Robert W. Sweet.) (Signed by Judge Robert W. Sweet on 1/30/2017)
                 (cla) (Entered: 01/30/2017)
01/30/2017   572 RESPONSE in Opposition to Motion re: 524 MOTION in Limine To Exclude Expert
                 Testimony and Opinion of Professor Terry Coonan, J.D.. . Document filed by Virginia
                 L. Giuffre. (McCawley, Sigrid) (Entered: 01/30/2017)
01/30/2017   573 DECLARATION of Sigrid McCawley in Opposition re: 524 MOTION in Limine To
                 Exclude Expert Testimony and Opinion of Professor Terry Coonan, J.D... Document
                 filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2,
                 # 3 Exhibit Sealed 3, # 4 Exhibit Sealed 4, # 5 Exhibit Sealed 5)(McCawley, Sigrid)
                 (Entered: 01/30/2017)
01/30/2017   574 RESPONSE in Opposition to Motion re: 522 MOTION in Limine To Exclude Expert
                 Testimony and Opinions of William F. Chandler. . Document filed by Virginia L.
                 Giuffre. (McCawley, Sigrid) (Entered: 01/30/2017)
01/30/2017   575 DECLARATION of Sigrid McCawley in Opposition re: 522 MOTION in Limine To
                 Exclude Expert Testimony and Opinions of William F. Chandler.. Document filed by
                 Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page57 of 202
                                        CMA-053
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                  Exhibit Sealed 3)(McCawley, Sigrid) (Entered: 01/30/2017)
01/30/2017   576 NOTICE of Letter Reply in Support of Plaintiff's Letter Motion to Add New Witness
                 re: 558 Order Setting Hearing on Motion,,. Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) (Entered: 01/30/2017)
01/31/2017   577 RESPONSE in Opposition to Motion re: 526 MOTION in Limine To Exclude Expert
                 Testimony and Opinion of Dianne C. Flores. . Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) (Entered: 01/31/2017)
01/31/2017   578 DECLARATION of Sigrid McCawley in Opposition re: 526 MOTION in Limine To
                 Exclude Expert Testimony and Opinion of Dianne C. Flores.. Document filed by
                 Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3
                 Exhibit Sealed 3, # 4 Exhibit Sealed 4, # 5 Exhibit Sealed 5)(McCawley, Sigrid)
                 (Entered: 01/31/2017)
01/31/2017   579 RESPONSE in Opposition to Motion re: 520 MOTION in Limine To Exclude Expert
                 Testimony and Opinion of Chris Anderson. . Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) (Entered: 01/31/2017)
01/31/2017   580 DECLARATION of Sigrid McCawley in Opposition re: 520 MOTION in Limine To
                 Exclude Expert Testimony and Opinion of Chris Anderson.. Document filed by
                 Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3
                 Exhibit Sealed 3, # 4 Exhibit Sealed 4)(McCawley, Sigrid) (Entered: 01/31/2017)
01/31/2017   581 RESPONSE in Opposition to Motion re: 528 MOTION in Limine To Exclude Expert
                 Testimony and Opinion of Dr. Bernard Jansen. . Document filed by Virginia L.
                 Giuffre. (McCawley, Sigrid) (Entered: 01/31/2017)
01/31/2017   582 DECLARATION of Sigrid McCawley in Opposition re: 528 MOTION in Limine To
                 Exclude Expert Testimony and Opinion of Dr. Bernard Jansen.. Document filed by
                 Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed
                 2)(McCawley, Sigrid) (Entered: 01/31/2017)
01/31/2017   583 RESPONSE in Opposition to Motion re: 535 MOTION in Limine and Incorporated
                 Memorandum of Law. Regarding Gregory B. Taylor and Kyle D. Jacobson. Document
                 filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 01/31/2017)
01/31/2017   584 RESPONSE in Opposition to Motion re: 533 MOTION in Limine and Incorporated
                 Memorandum of Law. Regarding Dr. Phillip Esplin. Document filed by Ghislaine
                 Maxwell. (Menninger, Laura) (Entered: 01/31/2017)
01/31/2017   585 DECLARATION of Jeffrey S. Pagliuca in Opposition re: 533 MOTION in Limine and
                 Incorporated Memorandum of Law.. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit A)(Menninger, Laura) (Entered: 01/31/2017)
01/31/2017   586 RESPONSE in Opposition to Motion re: 540 MOTION for Summary Judgment . .
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Appendix Rule 56.1
                 Statement of Facts, # 2 Exhibit Declaration, # 3 Exhibit Redacted 1−50)(McCawley,
                 Sigrid) (Entered: 01/31/2017)
02/02/2017   587 TRANSCRIPT of Proceedings re: ARGUMENT held on 1/19/2017 before Judge
                 Robert W. Sweet. Court Reporter/Transcriber: Jennifer Thun, (212) 805−0300.
                 Transcript may be viewed at the court public terminal or purchased through the Court
                 Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                 that date it may be obtained through PACER. Redaction Request due 2/23/2017.
                 Redacted Transcript Deadline set for 3/6/2017. Release of Transcript Restriction set
                 for 5/3/2017.(McGuirk, Kelly) (Entered: 02/02/2017)
02/02/2017   588 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                 official transcript of a ARGUMENT proceeding held on 1/19/17 has been filed by the
                 court reporter/transcriber in the above−captioned matter. The parties have seven (7)
                 calendar days to file with the court a Notice of Intent to Request Redaction of this
                 transcript. If no such Notice is filed, the transcript may be made remotely
                 electronically available to the public without redaction after 90 calendar
                 days...(McGuirk, Kelly) (Entered: 02/02/2017)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page58 of 202
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02/02/2017   589 RESPONSE in Opposition to Motion re: 550 MOTION to Intervene and Unseal. .
                 Document filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 02/02/2017)
02/02/2017   590 DECLARATION of Sigrid McCawley in Opposition re: 550 MOTION to Intervene
                 and Unseal.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit 1, # 2
                 Exhibit 2)(McCawley, Sigrid) (Entered: 02/02/2017)
02/02/2017        Minute Entry for proceedings held before Judge Robert W. Sweet: Oral Argument held
                  on 2/2/2017 re: 591 LETTER MOTION to Reopen re: 576 Notice (Other), 558 Order
                  Setting Hearing on Motion,, Discovery re New Witness (original filed 1/19/17)
                  addressed to Judge Robert W. Sweet from Sigrid S. McCawley dated 01/19/17. filed
                  by Virginia L. Giuffre. (Court Reporter Khris Sellin)The Court resolved the motion
                  and granted limited discovery as to depose the third person witness. (Chan, Tsz)
                  (Entered: 02/03/2017)
02/03/2017   591 LETTER MOTION to Reopen re: 576 Notice (Other), 558 Order Setting Hearing on
                 Motion,, Discovery re New Witness (original filed 1/19/17) addressed to Judge Robert
                 W. Sweet from Sigrid S. McCawley dated 01/19/17. Document filed by Virginia L.
                 Giuffre.(Schultz, Meredith) (Entered: 02/03/2017)
02/03/2017   592 NOTICE of Filing Defendant's Counter−Designations to Plaintiff's Deposition
                 Designations. Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered:
                 02/03/2017)
02/06/2017   593 SEALED DOCUMENT placed in vault.(mps) (Entered: 02/06/2017)
02/07/2017   594 SEALED DOCUMENT placed in vault.(mps) (Entered: 02/07/2017)
02/07/2017   595 FILING ERROR − DEFICIENT DOCKET ENTRY − MOTION for Ty Gee to
                 Appear Pro Hac Vice . Filing fee $ 200.00, receipt number 0208−13289811. Motion
                 and supporting papers to be reviewed by Clerk's Office staff. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Text of Proposed Order Proposed Order, # 2
                 Exhibit Certificate of Good Standing)(Menninger, Laura) Modified on 2/8/2017 (wb).
                 (Entered: 02/07/2017)
02/07/2017   596 FILING ERROR − DEFICIENT DOCKET ENTRY − DECLARATION of Ty Gee
                 in Support re: 595 MOTION for Ty Gee to Appear Pro Hac Vice . Filing fee $ 200.00,
                 receipt number 0208−13289811. Motion and supporting papers to be reviewed by
                 Clerk's Office staff.. Document filed by Ghislaine Maxwell. (Menninger, Laura)
                 Modified on 2/8/2017 (wb). (Entered: 02/07/2017)
02/08/2017        >>>NOTICE REGARDING DEFICIENT MOTION TO APPEAR PRO HAC
                  VICE. Notice to RE−FILE Document No. 595 MOTION for Ty Gee to Appear
                  Pro Hac Vice . Filing fee $ 200.00, receipt number 0208−13289811. Motion and
                  supporting papers to be reviewed by Clerk's Office staff., 596 Declaration in
                  Support of Motion,.. The filing is deficient for the following reason(s): Pursuant
                  to rule 1.3. please attach and affadavit or Declaration of the Attorney;. Re−file
                  the motion as a Motion to Appear Pro Hac Vice − attach the correct signed PDF −
                  select the correct named filer/filers − attach valid Certificates of Good Standing
                  issued within the past 30 days − attach Proposed Order.. (wb) (Entered:
                  02/08/2017)
02/08/2017   597 MOTION for Ty Gee to Appear Pro Hac Vice . Motion and supporting papers to be
                 reviewed by Clerk's Office staff. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Affidavit Declaration, # 2 Exhibit Certificate of Good Standing, # 3
                 Text of Proposed Order Proposed Order)(Menninger, Laura) (Entered: 02/08/2017)
02/08/2017        >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                  No. 597 MOTION for Ty Gee to Appear Pro Hac Vice . Motion and supporting
                  papers to be reviewed by Clerk's Office staff.. The document has been reviewed
                  and there are no deficiencies. (bcu) (Entered: 02/08/2017)
02/08/2017   598 SEALED DOCUMENT placed in vault.(mps) (Entered: 02/08/2017)
02/09/2017   599 REPLY MEMORANDUM OF LAW in Support re: 535 MOTION in Limine and
                 Incorporated Memorandum of Law. . Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) (Entered: 02/09/2017)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page59 of 202
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02/09/2017   600 DECLARATION of Sigrid McCawley in Support re: 535 MOTION in Limine and
                 Incorporated Memorandum of Law.. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Composite Sealed 2, # 3 Exhibit
                 Sealed 3)(McCawley, Sigrid) (Entered: 02/09/2017)
02/09/2017   601 NOTICE of of Intent to Offer Statements Under, If Necessary, The Residual Hearsay
                 Rule. Document filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered:
                 02/09/2017)
02/09/2017   602 REPLY MEMORANDUM OF LAW in Support re: 533 MOTION in Limine and
                 Incorporated Memorandum of Law. . Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) (Entered: 02/09/2017)
02/09/2017   603 DECLARATION of Sigrid McCawley in Support re: 533 MOTION in Limine and
                 Incorporated Memorandum of Law.. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Composite Sealed 2, # 3 Exhibit
                 Sealed 3)(McCawley, Sigrid) (Entered: 02/09/2017)
02/09/2017   604 REPLY to Response to Motion re: 550 MOTION to Intervene and Unseal. . Document
                 filed by Michael Cernovich d/b/a Cernovich Media. (Wolman, Jay) (Entered:
                 02/09/2017)
02/09/2017   605 DECLARATION of Jay M. Wolman in Support re: 550 MOTION to Intervene and
                 Unseal.. Document filed by Michael Cernovich d/b/a Cernovich Media. (Attachments:
                 # 1 Exhibit 1 − Daily Mail Article, # 2 Exhibit 2 − Palm Beach Daily News Article, #
                 3 Exhibit 3 − Silenced Cast)(Wolman, Jay) (Entered: 02/09/2017)
02/10/2017   606 RESPONSE in Opposition to Motion re: 567 MOTION in Limine to Exclude In Toto
                 Certain Depositions Designated By Plaintiff for Use at Trial. . Document filed by
                 Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 02/10/2017)
02/10/2017   607 DECLARATION of Sigrid McCawley in Opposition re: 567 MOTION in Limine to
                 Exclude In Toto Certain Depositions Designated By Plaintiff for Use at Trial..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit
                 Sealed 2, # 3 Exhibit Sealed 3)(McCawley, Sigrid) (Entered: 02/10/2017)
02/10/2017   608 MOTION in Limine to Present Testimony From Jeffrey Epstein for Purposes of
                 Obtaining an Adverse Inference. Document filed by Virginia L. Giuffre.(McCawley,
                 Sigrid) (Entered: 02/10/2017)
02/10/2017   609 DECLARATION of Sigrid McCawley in Support re: 608 MOTION in Limine to
                 Present Testimony From Jeffrey Epstein for Purposes of Obtaining an Adverse
                 Inference.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed
                 1)(McCawley, Sigrid) (Entered: 02/10/2017)
02/10/2017   610 MEMORANDUM OF LAW in Support re: 550 MOTION to Intervene and Unseal. .
                 Document filed by Alan M. Dershowitz. (Lebowitz, David) (Entered: 02/10/2017)
02/10/2017   611 REPLY to Response to Motion re: 520 MOTION in Limine To Exclude Expert
                 Testimony and Opinion of Chris Anderson. . Document filed by Ghislaine Maxwell.
                 (Menninger, Laura) (Entered: 02/10/2017)
02/10/2017   612 REPLY to Response to Motion re: 522 MOTION in Limine To Exclude Expert
                 Testimony and Opinions of William F. Chandler. . Document filed by Ghislaine
                 Maxwell. (Menninger, Laura) (Entered: 02/10/2017)
02/10/2017   613 REPLY to Response to Motion re: 528 MOTION in Limine To Exclude Expert
                 Testimony and Opinion of Dr. Bernard Jansen. . Document filed by Ghislaine
                 Maxwell. (Menninger, Laura) (Entered: 02/10/2017)
02/10/2017   614 REPLY to Response to Motion re: 524 MOTION in Limine To Exclude Expert
                 Testimony and Opinion of Professor Terry Coonan, J.D.. . Document filed by
                 Ghislaine Maxwell. (Menninger, Laura) (Entered: 02/10/2017)
02/10/2017   615 DECLARATION of Jeffrey S. Pagliuca in Support re: 524 MOTION in Limine To
                 Exclude Expert Testimony and Opinion of Professor Terry Coonan, J.D... Document
                 filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit C, # 2 Exhibit D, # 3 Exhibit
                 E)(Menninger, Laura) (Entered: 02/10/2017)
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02/10/2017   616 REPLY to Response to Motion re: 526 MOTION in Limine To Exclude Expert
                 Testimony and Opinion of Dianne C. Flores. . Document filed by Ghislaine Maxwell.
                 (Menninger, Laura) (Entered: 02/10/2017)
02/10/2017   617 DECLARATION of Jeffrey S. Pagliuca in Support re: 526 MOTION in Limine To
                 Exclude Expert Testimony and Opinion of Dianne C. Flores.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit B)(Menninger, Laura) (Entered:
                 02/10/2017)
02/10/2017   618 REPLY to Response to Motion re: 530 MOTION in Limine To Exclude Expert
                 Testimony and Opinion of Doctor Gilbert Kliman. . Document filed by Ghislaine
                 Maxwell. (Menninger, Laura) (Entered: 02/10/2017)
02/10/2017   619 DECLARATION of Jeffrey S. Pagliuca in Support re: 530 MOTION in Limine To
                 Exclude Expert Testimony and Opinion of Doctor Gilbert Kliman.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit D, # 2 Exhibit E)(Menninger, Laura)
                 (Entered: 02/10/2017)
02/10/2017   620 REPLY to Response to Motion re: 540 MOTION for Summary Judgment . . Document
                 filed by Ghislaine Maxwell. (Attachments: # 1 Appendix Rule 56.1 Statement of
                 Facts)(Menninger, Laura) (Entered: 02/10/2017)
02/10/2017   621 DECLARATION of Laura A. Menninger in Support re: 540 MOTION for Summary
                 Judgment .. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit NN, # 2
                 Exhibit OO, # 3 Exhibit PP, # 4 Exhibit QQ, # 5 Exhibit RR)(Menninger, Laura)
                 (Entered: 02/10/2017)
02/10/2017   622 JOINT PRETRIAL STATEMENT . Document filed by Ghislaine
                 Maxwell.(Menninger, Laura) (Entered: 02/10/2017)
02/13/2017   623 ORDER FOR ADMISSION PRO HAC VICE granting 597 Motion for Ty Gee to
                 Appear Pro Hac Vice. (Signed by Judge Robert W. Sweet on 2/10/2017) (jwh)
                 (Entered: 02/13/2017)
02/14/2017   624 ENDORSED LETTER addressed to Judge Robert W. Sweet from Jeffrey S. Pagliuca
                 dated 2/10/17 re: Counsel writes to request a five day, unopposed, extension of time to
                 respond to Plaintiff's Motions. ENDORSEMENT: So ordered. (Signed by Judge
                 Robert W. Sweet on 2/13/2017) (mro) (Entered: 02/14/2017)
02/14/2017   625 ENDORSED LETTER addressed to Judge Robert W. Sweet from Jeffrey S. Pagluica
                 dated 2/10/2017 re: extension of the page limit for Ms. Maxwell's Reply in Support of
                 Summary Judgment. ENDORSEMENT: So ordered. (Signed by Judge Robert W.
                 Sweet on 2/13/2017) (jwh) (Entered: 02/14/2017)
02/14/2017   626 ORDER: Plaintiff's motion in limine filed February 10, 2017 shall be heard at noon on
                 Thursday, February 23, 2017 in Courtroom 18C, United States Courthouse, 500 Pearl
                 Street. Any opposition shall be filed by February 16, 2017; any reply shall be filed by
                 February 20 2017. ( Oral Argument set for 2/23/2017 at 12:00 PM in Courtroom 18C,
                 500 Pearl Street, New York, NY 10007 before Judge Robert W. Sweet.) (Signed by
                 Judge Robert W. Sweet on 2/13/2017) (mro) (Entered: 02/14/2017)
02/14/2017         Set/Reset Deadlines: Responses due by 2/16/2017 Replies due by 2/20/2017. (mro)
                   (Entered: 02/14/2017)
02/15/2017   627 SEALED DOCUMENT placed in vault.(mps) (Entered: 02/15/2017)
02/15/2017   628 RESPONSE in Opposition to Motion re: 561 MOTION in Limine to Exclude
                 Defendant's Designations of Deposition Excerpts of Alan Dershowitz. . Document
                 filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 02/15/2017)
02/15/2017   629 RESPONSE in Opposition to Motion re: 563 MOTION in Limine to Exclude
                 Defendant's Designations of Deposition Excerpts of Virginia Giuffre in an Unrelated
                 Case. . Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered:
                 02/15/2017)
02/16/2017         Minute Entry for proceedings held before Judge Robert W. Sweet: Oral Argument held
                   on 2/16/2017 re: 524 MOTION in Limine To Exclude Expert Testimony and Opinion
                   of Professor Terry Coonan, J.D. filed by Ghislaine Maxwell, 540 MOTION for
                   Summary Judgment filed by Ghislaine Maxwell, 533 MOTION in Limine and
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                   Incorporated Memorandum of Law filed by Virginia L. Giuffre, 526 MOTION in
                   Limine To Exclude Expert Testimony and Opinion of Dianne C. Flores filed by
                   Ghislaine Maxwell, 522 MOTION in Limine To Exclude Expert Testimony and
                   Opinions of William F. Chandler filed by Ghislaine Maxwell, 550 MOTION to
                   Intervene and Unseal filed by Michael Cernovich d/b/a Cernovich Media, 528
                   MOTION in Limine To Exclude Expert Testimony and Opinion of Dr. Bernard Jansen
                   filed by Ghislaine Maxwell, 535 MOTION in Limine and Incorporated Memorandum
                   of Law filed by Virginia L. Giuffre. (Court Reporter Eve Giniger)Decision reserve on
                   the motion for Summary Judgment and Intervene + Unseal. (Chan, Tsz) (Entered:
                   02/16/2017)
02/17/2017   630 NOTICE of Plaintiff's Objections to Defendant's Counter Designations. Document
                 filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 02/17/2017)
02/17/2017   631 REPLY to Response to Motion re: 567 MOTION in Limine to Exclude In Toto
                 Certain Depositions Designated By Plaintiff for Use at Trial. . Document filed by
                 Ghislaine Maxwell. (Menninger, Laura) (Entered: 02/17/2017)
02/17/2017   632 DECLARATION of Laura A. Menninger in Support re: 567 MOTION in Limine to
                 Exclude In Toto Certain Depositions Designated By Plaintiff for Use at Trial..
                 Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit F)(Menninger,
                 Laura) (Entered: 02/17/2017)
02/17/2017   633 Objection to Plaintiff's Cross Designation of Deposition Testimony. Document filed by
                 Ghislaine Maxwell. (Menninger, Laura) (Entered: 02/17/2017)
02/17/2017   634 TRANSCRIPT of Proceedings re: ARGUMENT held on 2/2/2017 before Judge
                 Robert W. Sweet. Court Reporter/Transcriber: Khristine Sellin, (212) 805−0300.
                 Transcript may be viewed at the court public terminal or purchased through the Court
                 Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                 that date it may be obtained through PACER. Redaction Request due 3/10/2017.
                 Redacted Transcript Deadline set for 3/20/2017. Release of Transcript Restriction set
                 for 5/18/2017.(McGuirk, Kelly) (Entered: 02/17/2017)
02/17/2017   635 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                 official transcript of a ARGUMENT proceeding held on 2/2/17 has been filed by the
                 court reporter/transcriber in the above−captioned matter. The parties have seven (7)
                 calendar days to file with the court a Notice of Intent to Request Redaction of this
                 transcript. If no such Notice is filed, the transcript may be made remotely
                 electronically available to the public without redaction after 90 calendar
                 days...(McGuirk, Kelly) (Entered: 02/17/2017)
02/21/2017   636 ORDER: Plaintiff's motion in limine filed February 10, 2017 and previously scheduled
                 to be heard February 23, 2017 shall instead be heard at noon on Thursday, March 9,
                 2017 in Courtroom 18C, United States Courthouse, 500 Pearl Street. Opposition
                 papers shall be due February 24, 2017 and reply papers shall be due by March 2, 2017.
                 (Oral Argument set for 3/9/2017 at 12:00 PM in Courtroom 18C, 500 Pearl Street,
                 New York, NY 10007 before Judge Robert W. Sweet.) Set Deadlines/Hearing as to
                 608 MOTION in Limine to Present Testimony From Jeffrey Epstein for Purposes of
                 Obtaining an Adverse Inference. (Responses due by 2/24/2017, Replies due by
                 3/2/2017.) (Signed by Judge Robert W. Sweet on 2/21/2017) (jwh) (Entered:
                 02/21/2017)
02/22/2017   637 MOTION to Compel Philip Barden to To Produce All Work Product and Attorney
                 Client Communications . Document filed by Virginia L. Giuffre.(McCawley, Sigrid)
                 (Entered: 02/22/2017)
02/22/2017   638 DECLARATION of Meredith Schultz in Support re: 637 MOTION to Compel Philip
                 Barden to To Produce All Work Product and Attorney Client Communications ..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Composite Exhibit
                 1, # 2 Exhibit Sealed 2, # 3 Exhibit Sealed 3, # 4 Exhibit Sealed 4, # 5 Exhibit Sealed
                 5)(McCawley, Sigrid) (Entered: 02/22/2017)
02/22/2017   639 ENDORSED LETTER addressed to Judge Robert W. Sweet from Jeffrey S. Pagluica
                 dated 2/21/2017 re: requesting that the Court vacate the hearing to rule on deposition
                 objections currently scheduled for Thursday, February 23, 2017. ENDORSEMENT:
                 So ordered. (Signed by Judge Robert W. Sweet on 2/22/2017) (jwh) Modified on
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                   2/28/2017 (jwh). (Entered: 02/22/2017)
02/22/2017   640 MOTION for Protective Order for Non−Party Witness. Document filed by John
                 Stanley Pottinger, Sarah Ransome.(Pottinger, John) (Entered: 02/22/2017)
02/22/2017   641 DECLARATION of John Stanley Pottinger in Support re: 640 MOTION for
                 Protective Order for Non−Party Witness.. Document filed by Sarah Ransome.
                 (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2)(Pottinger, John) (Entered:
                 02/22/2017)
02/23/2017   642 ORDER: Plaintiff's motion to compel and the non−party witness's motion for a
                 protective order, both filed February 22, 2017, shall be heard at noon on Thursday,
                 March 9, 2017 in Courtroom 18C, United States Courthouse, 500 Pearl Street.
                 Opposition papers shall be due March 2, 2017, and reply papers shall be due March 7,
                 2017. (Motion Hearing set for 3/9/2017 at 12:00 PM in Courtroom 18C, 500 Pearl
                 Street, New York, NY 10007 before Judge Robert W. Sweet.), (Responses due by
                 3/2/2017, Replies due by 3/7/2017.) (Signed by Judge Robert W. Sweet on 2/23/2017)
                 (cf) (Entered: 02/23/2017)
02/23/2017   643 JOINT MOTION re: 455 Order on Motion for Miscellaneous Relief, 13 Scheduling
                 Order, Amended Second Proposed Discovery and Case Management Deadlines and
                 Request to Modify Pretrial Scheduling Order. Document filed by Ghislaine
                 Maxwell.(Menninger, Laura) (Entered: 02/23/2017)
02/24/2017   644 RESPONSE in Opposition to Motion re: 608 MOTION in Limine to Present
                 Testimony From Jeffrey Epstein for Purposes of Obtaining an Adverse Inference. .
                 Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 02/24/2017)
02/24/2017   645 DECLARATION of Laura A. Menninger in Opposition re: 608 MOTION in Limine to
                 Present Testimony From Jeffrey Epstein for Purposes of Obtaining an Adverse
                 Inference.. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Menninger, Laura) (Entered: 02/24/2017)
02/24/2017   646 RESPONSE re: 601 Notice (Other) Response to Plaintiffs Notice Of Intent To Offer
                 Statements Under, If Necessary, The Residual Hearsay Rule. Document filed by
                 Ghislaine Maxwell. (Menninger, Laura) (Entered: 02/24/2017)
02/27/2017   647 SEALED DOCUMENT placed in vault.(rz) (Entered: 02/27/2017)
02/27/2017   648 AMENDED SECOND DISCOVERY AND CASE MANAGEMENT DEADLINES
                 AND REQUEST TO MODIFY PRETRIAL SCHEDULING ORDER granting 643
                 Motion: The jury trial scheduled for March 13, 2017 is rescheduled to begin on May
                 15, 2017 and is anticipated to last four weeks; Motions in Limine/other motions shall
                 be filed by March 3, 2017; March 9, 2017, hearing on Plaintiff Giuffre's Motion to
                 Present Testimony from Jeffrey Epstein for Purposes of Obtaining an Adverse
                 Inference, ECF #608, hearing on Plaintiff's Motion to Compel all Work Product and
                 Attorney Client Communications with Philip Barden, ECF #637, hearing on
                 outstanding motions including Motion to Quash Edwards Subpoena, filed in the
                 Southern District of Florida on June 13, 2016 under case number 16−mc−61262, and
                 March 23, 2017, hearing on 702 Motions ECF #520, 522, 524, 526, 528, 530, 533, 535
                 and motions in limine. April 6, 2017, hearing on objections to deposition designations.
                 May 4, 2107, Pre−trial Conference to address any outstanding issues including
                 confidentiality. So ordered. (Signed by Judge Robert W. Sweet on 2/24/2017) (jwh)
                 (Entered: 02/27/2017)
02/27/2017         Set/Reset Deadlines: Motions due by 3/3/2017. (jwh) (Entered: 02/27/2017)
02/27/2017         Set/Reset Deadlines: Revised Joint Pretrial Order due by 4/15/2017. (jwh) (Entered:
                   03/03/2017)
03/02/2017   649 LETTER MOTION for Leave to File Excess Pages addressed to Judge Robert W.
                 Sweet from Sigrid McCawley dated March 2, 2017. Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 03/02/2017)
03/02/2017   650 REPLY MEMORANDUM OF LAW in Support re: 608 MOTION in Limine to
                 Present Testimony From Jeffrey Epstein for Purposes of Obtaining an Adverse
                 Inference. . Document filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered:
                 03/02/2017)
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03/02/2017   651 DECLARATION of Sigrid McCawley in Support re: 608 MOTION in Limine to
                 Present Testimony From Jeffrey Epstein for Purposes of Obtaining an Adverse
                 Inference.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1,
                 # 2 Exhibit Sealed 2)(McCawley, Sigrid) (Entered: 03/02/2017)
03/02/2017   652 SEALED DOCUMENT placed in vault.(mps) (Entered: 03/02/2017)
03/02/2017   653 RESPONSE in Opposition to Motion re: 637 MOTION to Compel Philip Barden to To
                 Produce All Work Product and Attorney Client Communications . . Document filed by
                 Ghislaine Maxwell. (Menninger, Laura) (Entered: 03/02/2017)
03/02/2017   654 DECLARATION of Laura A. Menninger in Opposition re: 637 MOTION to Compel
                 Philip Barden to To Produce All Work Product and Attorney Client Communications ..
                 Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A)(Menninger,
                 Laura) (Entered: 03/02/2017)
03/02/2017   655 MOTION to Compel Non−Party Witness to Produce Documents, Respond to
                 Deposition Questions, and Response to Motion for Protective Order. Document filed
                 by Ghislaine Maxwell.(Menninger, Laura) (Entered: 03/02/2017)
03/02/2017   656 DECLARATION of Laura A. Menninger in Support re: 655 MOTION to Compel
                 Non−Party Witness to Produce Documents, Respond to Deposition Questions, and
                 Response to Motion for Protective Order.. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                 E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I)(Menninger, Laura)
                 (Entered: 03/02/2017)
03/03/2017   657 MOTION to Quash . Document filed by Jeffrey Epstein.(Weinberg, Martin) (Entered:
                 03/03/2017)
03/03/2017   658 ORDER granting 649 Letter Motion for Leave to File Excess Pages: So ordered.
                 (Signed by Judge Robert W. Sweet on 3/3/2017) (jwh) (Entered: 03/03/2017)
03/03/2017   659 SECOND MOTION to Compel Ghislaine Maxwell to Disclose Data from Defendant's
                 Undisclosed Email Account and for An Adverse Inference Instruction . Document
                 filed by Virginia L. Giuffre.(McCawley, Sigrid) (Entered: 03/03/2017)
03/03/2017   660 DECLARATION of Meredith Schultz in Support re: 659 SECOND MOTION to
                 Compel Ghislaine Maxwell to Disclose Data from Defendant's Undisclosed Email
                 Account and for An Adverse Inference Instruction .. Document filed by Virginia L.
                 Giuffre. (Attachments: # 1 Exhibit Composite Exhibit 1, # 2 Exhibit Sealed 2, # 3
                 Exhibit Sealed 3, # 4 Exhibit Sealed 4)(McCawley, Sigrid) (Entered: 03/03/2017)
03/03/2017   661 ORDER: Motions shall be heard on the following dates: Thursday, March 9: Motions
                 corresponding to ECF Nos. 608, 637, 640, and the motion to quash in Bradley v.
                 Maxwell, 17−mc−00025. Thursday, March 23: Motions corresponding to ECF Nos.
                 520, 522, 524, 526, 528, 530, 533, 535, 561, 563, and 567. Thursday, March 30:
                 Defendant's motion to compel filed March 2, 2017 and all motions filed March 3,
                 2017. Wednesday, April 5: Objections to deposition designations. (Signed by Judge
                 Robert W. Sweet on 3/3/2017) (jwh) (Entered: 03/03/2017)
03/03/2017   662 MOTION to Bifurcate Trial Relating to Punitive Damages and Exclusion of any
                 Reference to Defendants Financial Information in the Liability Phase. Document filed
                 by Ghislaine Maxwell.(Menninger, Laura) (Entered: 03/03/2017)
03/03/2017   663 MOTION in Limine to Exclude Complaint and Settlement Agreement in Jane Doe 102
                 v. Jeffrey Epstein. Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered:
                 03/03/2017)
03/03/2017   664 MOTION in Limine to Exclude Late Disclosed Supplemental Report of Dr. James
                 Jansen and Video Trial Exhibit of Dr. Gilbert Kliman. Document filed by Ghislaine
                 Maxwell.(Menninger, Laura) (Entered: 03/03/2017)
03/03/2017   665 MOTION in Limine to Prohibit Questioning Regarding Defendants Adult Consensual
                 Sexual Activities. Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered:
                 03/03/2017)
03/03/2017   666 MOTION in Limine to Exclude Evidence Barred as a Result of Plaintiffs Summary
                 Judgment Concessions. Document filed by Ghislaine Maxwell.(Menninger, Laura)
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                  (Entered: 03/03/2017)
03/03/2017   667 MOTION in Limine to Exclude FBI 302 Statement of Plaintiff. Document filed by
                 Ghislaine Maxwell.(Menninger, Laura) (Entered: 03/03/2017)
03/03/2017   668 DECLARATION of Laura A. Menninger in Support re: 667 MOTION in Limine to
                 Exclude FBI 302 Statement of Plaintiff.. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit A)(Menninger, Laura) (Entered: 03/03/2017)
03/03/2017   669 MOTION in Limine to Exclude References to Crime Victims Rights Act Litigation.
                 Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered: 03/03/2017)
03/03/2017   670 DECLARATION of Laura A. Menninger in Support re: 669 MOTION in Limine to
                 Exclude References to Crime Victims Rights Act Litigation.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit A)(Menninger, Laura) (Entered:
                 03/03/2017)
03/03/2017   671 MOTION in Limine to Exclude Jeffrey Epstein Plea and Non−Prosecution Agreement
                 and Sex Offender Registration. Document filed by Ghislaine Maxwell.(Menninger,
                 Laura) (Entered: 03/03/2017)
03/03/2017   672 DECLARATION of Laura A. Menninger in Support re: 671 MOTION in Limine to
                 Exclude Jeffrey Epstein Plea and Non−Prosecution Agreement and Sex Offender
                 Registration.. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B)(Menninger, Laura) (Entered: 03/03/2017)
03/03/2017   673 MOTION in Limine Exclude Deposition Testimony of Sarah Kellen and Nadia
                 Marcinkova or Any Witness Invoking Their Fifth Amendment Privilege. Document
                 filed by Ghislaine Maxwell.(Menninger, Laura) (Entered: 03/03/2017)
03/03/2017   674 DECLARATION of Laura A. Menninger in Support re: 673 MOTION in Limine
                 Exclude Deposition Testimony of Sarah Kellen and Nadia Marcinkova or Any Witness
                 Invoking Their Fifth Amendment Privilege.. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit A)(Menninger, Laura) (Entered: 03/03/2017)
03/03/2017   675 MOTION in Limine to Permit Questioning Regarding Plaintiffs Sexual History and
                 Reputation. Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered:
                 03/03/2017)
03/03/2017   676 DECLARATION of Laura A. Menninger in Support re: 675 MOTION in Limine to
                 Permit Questioning Regarding Plaintiffs Sexual History and Reputation.. Document
                 filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C,
                 # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Menninger, Laura) (Entered: 03/03/2017)
03/03/2017   677 MOTION in Limine to Exclude Police Reports and Other Inadmissible Hearsay.
                 Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered: 03/03/2017)
03/03/2017   678 DECLARATION of Jeffrey S. Pagliuca in Support re: 677 MOTION in Limine to
                 Exclude Police Reports and Other Inadmissible Hearsay.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                 C)(Menninger, Laura) (Entered: 03/03/2017)
03/03/2017   679 MOTION in Limine to Exclude Unauthenticated Hearsay Document from a Suspect
                 Source. Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered:
                 03/03/2017)
03/03/2017   680 DECLARATION of Jeffrey S. Pagliuca in Support re: 679 MOTION in Limine to
                 Exclude Unauthenticated Hearsay Document from a Suspect Source.. Document filed
                 by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                 C)(Menninger, Laura) (Entered: 03/03/2017)
03/03/2017   681 MOTION in Limine to Exclude Victim Notification Letter. Document filed by
                 Ghislaine Maxwell.(Menninger, Laura) (Entered: 03/03/2017)
03/03/2017   682 DECLARATION of Laura A. Menninger in Support re: 681 MOTION in Limine to
                 Exclude Victim Notification Letter.. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Menninger, Laura)
                 (Entered: 03/03/2017)
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03/03/2017   683 MOTION in Limine PLAINTIFFS MOTION IN LIMINE TO ADMIT THE BLACK
                 BOOK AS EVIDENCE AT TRIAL. Document filed by Virginia L. Giuffre.(Schultz,
                 Meredith) (Entered: 03/03/2017)
03/03/2017   684 DECLARATION of Sigrid S. McCawley in Support re: 683 MOTION in Limine
                 PLAINTIFFS MOTION IN LIMINE TO ADMIT THE BLACK BOOK AS EVIDENCE
                 AT TRIAL.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit 1 (Filed
                 Under Seal), # 2 Exhibit 2 (Filed Under Seal))(Schultz, Meredith) (Entered:
                 03/03/2017)
03/03/2017   685 MOTION in Limine PLAINTIFFS MOTION IN LIMINE TO PRECLUDE
                 DEFENDANT FROM CALLING PLAINTIFFS ATTORNEYS AS WITNESSES AT
                 TRIAL. Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered:
                 03/03/2017)
03/03/2017   686 MOTION in Limine PLAINTIFF MS. GIUFFRES MEMORANDUM OF LAW IN
                 SUPPORT OF HER MOTION IN LIMINE TO PRESENT ALL EVIDENCE OF
                 DEFENDANTS INVOLVEMENT IN EPSTEIN SEXUAL ABUSE AND SEX
                 TRAFFICKING. Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered:
                 03/03/2017)
03/03/2017   687 DECLARATION of Sigrid S. McCawley in Support re: 686 MOTION in Limine
                 PLAINTIFF MS. GIUFFRES MEMORANDUM OF LAW IN SUPPORT OF HER
                 MOTION IN LIMINE TO PRESENT ALL EVIDENCE OF DEFENDANTS
                 INVOLVEMENT IN EPSTEIN SEXUAL ABUSE AND SEX TRAFFICKING..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit 1 (Filed Under
                 Seal))(Schultz, Meredith) (Entered: 03/03/2017)
03/03/2017   688 LETTER MOTION for Leave to File Excess Pages addressed to Judge Robert W.
                 Sweet from Sigrid McCawley dated March 3, 2017. Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 03/03/2017)
03/03/2017   689 MOTION in Limine to Present Testimony for Purpose of Obtaining an Adverse
                 Inference Instruction. Document filed by Virginia L. Giuffre.(McCawley, Sigrid)
                 (Entered: 03/03/2017)
03/03/2017   690 DECLARATION of Sigrid McCawley in Support re: 689 MOTION in Limine to
                 Present Testimony for Purpose of Obtaining an Adverse Inference Instruction..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Composite Exhibit
                 1)(McCawley, Sigrid) (Entered: 03/03/2017)
03/03/2017   691 MOTION in Limine Omnibus. Document filed by Virginia L. Giuffre.(McCawley,
                 Sigrid) (Entered: 03/03/2017)
03/03/2017   692 DECLARATION of Sigrid McCawley in Support re: 691 MOTION in Limine
                 Omnibus.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1,
                 # 2 Exhibit Sealed 2, # 3 Exhibit Sealed 3, # 4 Exhibit Sealed 4, # 5 Exhibit Sealed 5,
                 # 6 Exhibit Sealed 6)(McCawley, Sigrid) (Entered: 03/03/2017)
03/03/2017   693 MOTION to Exclude Evidence Pursuant to Fed. R. Evid. 404(b). Document filed by
                 Ghislaine Maxwell.(Menninger, Laura) (Entered: 03/03/2017)
03/03/2017   694 DECLARATION of Laura A. Menninger in Support re: 693 MOTION to Exclude
                 Evidence Pursuant to Fed. R. Evid. 404(b).. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit
                 E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I)(Menninger, Laura)
                 (Entered: 03/03/2017)
03/06/2017   695 ORDER granting 688 LETTER MOTION for Leave to File Excess Pages addressed to
                 Judge Robert W. Sweet from Sigrid McCawley dated March 3, 2017. Document filed
                 by Virginia L. Giuffre. So ordered. (Signed by Judge Robert W. Sweet on 3/6/2017)
                 (rjm) (Entered: 03/06/2017)
03/06/2017   696 ORDER: An evidentiary hearing to determine the admissibility of the documents
                 relied upon by proposed expert witness Dianne Flores, and to discuss the handling of
                 Protective Order material at trial, shall be held on Thursday, March 16, 2017 at 1:00
                 PM in Courtroom 18C, United States Courthouse, 500 Pearl Street. (Evidentiary
                 Hearing set for 3/16/2017 at 01:00 PM in Courtroom 18C, 500 Pearl Street, New York,
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                   NY 10007 before Judge Robert W. Sweet.) (Signed by Judge Robert W. Sweet on
                   3/6/2017) (jwh) (Entered: 03/06/2017)
03/07/2017   697 REPLY MEMORANDUM OF LAW in Support re: 637 MOTION to Compel Philip
                 Barden to To Produce All Work Product and Attorney Client Communications . .
                 Document filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 03/07/2017)
03/07/2017   698 DECLARATION of Meredith Schultz in Support re: 637 MOTION to Compel Philip
                 Barden to To Produce All Work Product and Attorney Client Communications ..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit
                 Composite Sealed 2)(McCawley, Sigrid) (Entered: 03/07/2017)
03/07/2017   699 LETTER MOTION for Leave to File Excess Pages addressed to Judge Robert W.
                 Sweet from Meredith Schultz dated March 7, 2017. Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 03/07/2017)
03/07/2017   700 ***STRICKEN DOCUMENT. Deleted document number 700 from the case
                 record. The document was stricken from this case pursuant to 718 Order on
                 Motion to Seal Document, . (jwh) REPLY MEMORANDUM OF LAW in Support
                 re: 640 MOTION for Protective Order for Non−Party Witness. and Opposition to [DE
                 655] MOTION to Compel Non−Party Witness to Produce Documents, and Respond to
                 Deposition Questions. Document filed by John Stanley Pottinger. (Pottinger, John)
                 Modified on 3/15/2017 (jwh). (Entered: 03/07/2017)
03/07/2017   701 DECLARATION of J. Stanley Pottinger in Support re: 640 MOTION for Protective
                 Order for Non−Party Witness.. Document filed by John Stanley Pottinger.
                 (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2)(Pottinger, John) (Entered:
                 03/07/2017)
03/08/2017   702 TRANSCRIPT of Proceedings re: CONFERENCE held on 2/16/2017 before Judge
                 Robert W. Sweet. Court Reporter/Transcriber: Eve Giniger, (212) 805−0300.
                 Transcript may be viewed at the court public terminal or purchased through the Court
                 Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                 that date it may be obtained through PACER. Redaction Request due 3/29/2017.
                 Redacted Transcript Deadline set for 4/10/2017. Release of Transcript Restriction set
                 for 6/6/2017.(McGuirk, Kelly) (Entered: 03/08/2017)
03/08/2017   703 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                 official transcript of a CONFERENCE proceeding held on 2/16/17 has been filed by
                 the court reporter/transcriber in the above−captioned matter. The parties have seven
                 (7) calendar days to file with the court a Notice of Intent to Request Redaction of this
                 transcript. If no such Notice is filed, the transcript may be made remotely
                 electronically available to the public without redaction after 90 calendar
                 days...(McGuirk, Kelly) (Entered: 03/08/2017)
03/08/2017   704 ORDER granting 699 LETTER MOTION for Leave to File Excess Pages addressed to
                 Judge Robert W. Sweet from Meredith Schultz dated March 7, 2017. Document filed
                 by Virginia L. Giuffre. So ordered. (Signed by Judge Robert W. Sweet on 3/8/2017)
                 (rjm) (Entered: 03/08/2017)
03/09/2017         Minute Entry for proceedings held before Judge Robert W. Sweet: Oral Argument held
                   on 3/9/2017 re: 640 MOTION for Protective Order for Non−Party Witness filed by
                   John Stanley Pottinger, Sarah Ransome, 655 MOTION to Compel Non−Party Witness
                   to Produce Documents, Respond to Deposition Questions, and Response to Motion for
                   Protective Order filed by Ghislaine Maxwell, 637 MOTION to Compel Philip Barden
                   to To Produce All Work Product and Attorney Client Communications filed by
                   Virginia L. Giuffre, 608 MOTION in Limine to Present Testimony From Jeffrey
                   Epstein for Purposes of Obtaining an Adverse Inference filed by Virginia L. Giuffre.
                   (Court Reporter Kelly Surina)Doc #608 Motion Reserved.Doc #637 Motion
                   Reserved.Doc #655 Motion was on for 3−30−17 is now set for 3−16−17 at 12:00
                   p.m.Motion to quash 17 Mc−00025 will be heard on 3−16−17 (Part).Doc #640 Motion
                   resolved. (Chan, Tsz) (Entered: 03/10/2017)
03/10/2017   705 NOTICE of Reply Notice of Intent to Offer Statements Under, If Necessary, the
                 Residual Hearsay Rule re: 601 Notice (Other). Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) (Entered: 03/10/2017)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page67 of 202
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03/10/2017   706 NOTICE of Sigrid McCawley Declaration in Support of Reply Notice of Intent to
                 Offer Statements Under, If Necessary, the Residual Hearsay Rule re: 705 Notice
                 (Other). Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, #
                 2 Exhibit Sealed 2)(McCawley, Sigrid) (Entered: 03/10/2017)
03/13/2017   707 REPLY MEMORANDUM OF LAW in Support re: 640 MOTION for Protective
                 Order for Non−Party Witness., 655 MOTION to Compel Non−Party Witness to
                 Produce Documents, Respond to Deposition Questions, and Response to Motion for
                 Protective Order. [RE−FILED W/ ADD'L REDACTION/REPLACE DE 700.
                 Document filed by Virginia L. Giuffre. (Schultz, Meredith) (Entered: 03/13/2017)
03/13/2017   708 LETTER MOTION to Seal Document 700 Reply Memorandum of Law in Support of
                 Motion, [Replace DE 700 w/ Redacted DE 707] addressed to Judge Robert W. Sweet
                 from Meredith Schultz dated 03/13/17. Document filed by Virginia L.
                 Giuffre.(Schultz, Meredith) (Entered: 03/13/2017)
03/13/2017   709 REPLY MEMORANDUM OF LAW in Support re: 640 MOTION for Protective
                 Order for Non−Party Witness., 655 MOTION to Compel Non−Party Witness to
                 Produce Documents, Respond to Deposition Questions, and Response to Motion for
                 Protective Order. [RE−FILED W/ADD'L REDACTION/REPLACE DE 700].
                 Document filed by John Stanley Pottinger. (Pottinger, John) (Entered: 03/13/2017)
03/13/2017   710 LETTER MOTION to Seal Document 707 Reply Memorandum of Law in Support of
                 Motion, 708 LETTER MOTION to Seal Document 700 Reply Memorandum of Law
                 in Support of Motion, [Replace DE 700 w/ Redacted DE 707] addressed to Judge
                 Robert W. Sweet from Meredith Schultz dated 03/13/17., 709 Reply Memorandum of
                 Law in Support of Motion, 700 Reply Memorandum of Law in Support of Motion,
                 addressed to Judge Robert W. Sweet from J. Stanley Pottinger dated 3/13/17.
                 Document filed by Sarah Ransome.(Pottinger, John) (Entered: 03/13/2017)
03/14/2017   711 ***STRICKEN DOCUMENT. Deleted document number 711 from the case
                 record. The document was stricken from this case pursuant to 765 Order on
                 Motion to Strike . (jwh) NOTICE of Supplemental Authority. Document filed by
                 Virginia L. Giuffre. (McCawley, Sigrid) Modified on 3/22/2017 (jwh). (Entered:
                 03/14/2017)
03/14/2017   712 RESPONSE in Opposition to Motion re: 657 MOTION to Quash . . Document filed by
                 Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 03/14/2017)
03/14/2017   713 DECLARATION of Sigrid McCawley in Opposition re: 657 MOTION to Quash ..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit
                 Sealed 2)(McCawley, Sigrid) (Entered: 03/14/2017)
03/14/2017   714 REPLY to Response to Motion re: 655 MOTION to Compel Non−Party Witness to
                 Produce Documents, Respond to Deposition Questions, and Response to Motion for
                 Protective Order. . Document filed by Ghislaine Maxwell. (Menninger, Laura)
                 (Entered: 03/14/2017)
03/14/2017   715 DECLARATION of Laura A. Menninger in Support re: 655 MOTION to Compel
                 Non−Party Witness to Produce Documents, Respond to Deposition Questions, and
                 Response to Motion for Protective Order.. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit J, # 2 Exhibit K)(Menninger, Laura) (Entered: 03/14/2017)
03/15/2017   716 RESPONSE in Opposition to Motion re: 679 MOTION in Limine to Exclude
                 Unauthenticated Hearsay Document from a Suspect Source. . Document filed by
                 Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 03/15/2017)
03/15/2017   717 DECLARATION of Sigrid McCawley in Opposition re: 679 MOTION in Limine to
                 Exclude Unauthenticated Hearsay Document from a Suspect Source.. Document filed
                 by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed
                 2)(McCawley, Sigrid) (Entered: 03/15/2017)
03/15/2017   718 ORDER withdrawing 708 Motion to Seal Document ; granting 710 Motion to Seal
                 Document: So ordered. (Signed by Judge Robert W. Sweet on 3/15/2017) (jwh)
                 (Entered: 03/15/2017)
03/15/2017   719 ENDORSED LETTER addressed to Judge Robert W. Sweet from J. Stanley Pottinger
                 dated 3/13/2017 re: request a one−week continuance of the hearing on Defendant's
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page68 of 202
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                   Motion to Compel Non−Party Witness to Produce Documents and Respond to
                   Depositions Questions (Doc. 655 ) and Motion for Protective Order for Non−Party
                   Witness (Doc. 640 ). ENDORSEMENT: So ordered. (Signed by Judge Robert W.
                   Sweet on 3/15/2017) (jwh) (Entered: 03/15/2017)
03/15/2017   720 ENDORSED LETTER re: 659 SECOND MOTION to Compel Ghislaine Maxwell to
                 Disclose Data from Defendant's Undisclosed Email Account and for An Adverse
                 Inference Instruction , addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 3/10/2017 re: a one−week extension of time in which to file a Response to
                 Plaintiff's Renewed Motion to Compel. ENDORSEMENT: So ordered. (Set
                 Deadlines/Hearing as to 659 SECOND MOTION to Compel Ghislaine Maxwell to
                 Disclose Data from Defendant's Undisclosed Email Account and for An Adverse
                 Inference Instruction : Responses due by 3/17/2017) (Signed by Judge Robert W.
                 Sweet on 3/13/2017) (jwh) (Entered: 03/15/2017)
03/15/2017   721 NOTICE of Notice of Intent to Redact Transcript of Proceedings re: 702 Transcript,,.
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Transcript (Filed
                 Under Seal))(Schultz, Meredith) (Entered: 03/15/2017)
03/16/2017         Minute Entry for proceedings held before Judge Robert W. Sweet: Evidentiary
                   Hearing held on 3/16/2017. (Court Reporter Martha Martin)Decision on hearing
                   pending. (Chan, Tsz) (Entered: 03/17/2017)
03/17/2017   722 RESPONSE in Opposition to Motion re: 673 MOTION in Limine Exclude Deposition
                 Testimony of Sarah Kellen and Nadia Marcinkova or Any Witness Invoking Their Fifth
                 Amendment Privilege. . Document filed by Virginia L. Giuffre. (McCawley, Sigrid)
                 (Entered: 03/17/2017)
03/17/2017   723 DECLARATION of Sigrid McCawley in Opposition re: 673 MOTION in Limine
                 Exclude Deposition Testimony of Sarah Kellen and Nadia Marcinkova or Any Witness
                 Invoking Their Fifth Amendment Privilege.. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit Sealed 1)(McCawley, Sigrid) (Entered: 03/17/2017)
03/17/2017   724 RESPONSE in Opposition to Motion re: 663 MOTION in Limine to Exclude
                 Complaint and Settlement Agreement in Jane Doe 102 v. Jeffrey Epstein. . Document
                 filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 03/17/2017)
03/17/2017   725 OPPOSITION BRIEF re: 721 Notice (Other) of Intent to Redact Transcript of
                 Proceedings. Document filed by Michael Cernovich d/b/a Cernovich Media.(Wolman,
                 Jay) (Entered: 03/17/2017)
03/17/2017   726 RESPONSE in Opposition to Motion re: 664 MOTION in Limine to Exclude Late
                 Disclosed Supplemental Report of Dr. James Jansen and Video Trial Exhibit of Dr.
                 Gilbert Kliman. . Document filed by Virginia L. Giuffre. (McCawley, Sigrid)
                 (Entered: 03/17/2017)
03/17/2017   727 DECLARATION of Sigrid McCawley in Opposition re: 664 MOTION in Limine to
                 Exclude Late Disclosed Supplemental Report of Dr. James Jansen and Video Trial
                 Exhibit of Dr. Gilbert Kliman.. Document filed by Virginia L. Giuffre. (Attachments: #
                 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3 Exhibit Sealed 3, # 4 Exhibit Sealed
                 4)(McCawley, Sigrid) (Entered: 03/17/2017)
03/17/2017   728 RESPONSE in Opposition to Motion re: 669 MOTION in Limine to Exclude
                 References to Crime Victims Rights Act Litigation. . Document filed by Virginia L.
                 Giuffre. (Edwards, Bradley) (Entered: 03/17/2017)
03/17/2017   729 DECLARATION of Bradley Edwards in Opposition re: 669 MOTION in Limine to
                 Exclude References to Crime Victims Rights Act Litigation.. Document filed by
                 Virginia L. Giuffre. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, #
                 5 Exhibit, # 6 Exhibit)(Edwards, Bradley) (Entered: 03/17/2017)
03/17/2017   730 RESPONSE in Opposition to Motion re: 667 MOTION in Limine to Exclude FBI 302
                 Statement of Plaintiff. . Document filed by Virginia L. Giuffre. (Edwards, Bradley)
                 (Entered: 03/17/2017)
03/17/2017   731 DECLARATION of Bradley Edwards in Opposition re: 667 MOTION in Limine to
                 Exclude FBI 302 Statement of Plaintiff.. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit)(Edwards, Bradley) (Entered: 03/17/2017)
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03/17/2017   732 RESPONSE in Opposition to Motion re: 681 MOTION in Limine to Exclude Victim
                 Notification Letter. . Document filed by Virginia L. Giuffre. (McCawley, Sigrid)
                 (Entered: 03/17/2017)
03/17/2017   733 DECLARATION of Sigrid McCawley in Opposition re: 681 MOTION in Limine to
                 Exclude Victim Notification Letter.. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3 Exhibit Sealed
                 3)(McCawley, Sigrid) (Entered: 03/17/2017)
03/17/2017   734 FILING ERROR − ELECTRONIC FILING OF NON−ECF DOCUMENT −
                 CONSENT MOTION to Vacate 433 Endorsed Letter,, STIPULATION AND
                 [PROPOSED] ORDER VACATING CIVIL CONTEMPT FINDING AND ORDER AS
                 TO NON−PARTY NADIA MARCINKOVA. Document filed by Nadia
                 Marcinko.(Dubno, Erica) Modified on 3/21/2017 (db). (Entered: 03/17/2017)
03/17/2017   735 RESPONSE in Opposition to Motion re: 693 MOTION to Exclude Evidence Pursuant
                 to Fed. R. Evid. 404(b). . Document filed by Virginia L. Giuffre. (McCawley, Sigrid)
                 (Entered: 03/17/2017)
03/17/2017   736 DECLARATION of Sigrid McCawley in Opposition re: 693 MOTION to Exclude
                 Evidence Pursuant to Fed. R. Evid. 404(b).. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3 Exhibit Sealed
                 3)(McCawley, Sigrid) (Entered: 03/17/2017)
03/17/2017   737 LETTER MOTION for Extension of Time to File Response/Reply addressed to Judge
                 Robert W. Sweet from Sigrid McCawley dated March 17, 2017. Document filed by
                 Virginia L. Giuffre.(McCawley, Sigrid) (Entered: 03/17/2017)
03/17/2017   738 RESPONSE in Opposition to Motion re: 675 MOTION in Limine to Permit
                 Questioning Regarding Plaintiffs Sexual History and Reputation. . Document filed by
                 Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 03/17/2017)
03/17/2017   739 DECLARATION of Meredith Schultz in Opposition re: 675 MOTION in Limine to
                 Permit Questioning Regarding Plaintiffs Sexual History and Reputation.. Document
                 filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2,
                 # 3 Exhibit Sealed 3, # 4 Exhibit Sealed 4)(McCawley, Sigrid) (Entered: 03/17/2017)
03/17/2017   740 RESPONSE in Opposition to Motion re: 671 MOTION in Limine to Exclude Jeffrey
                 Epstein Plea and Non−Prosecution Agreement and Sex Offender Registration. .
                 Document filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 03/17/2017)
03/17/2017   741 DECLARATION of Sigrid McCawley in Opposition re: 671 MOTION in Limine to
                 Exclude Jeffrey Epstein Plea and Non−Prosecution Agreement and Sex Offender
                 Registration.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed
                 1, # 2 Exhibit Sealed 2)(McCawley, Sigrid) (Entered: 03/17/2017)
03/17/2017   742 RESPONSE in Opposition to Motion re: 683 MOTION in Limine PLAINTIFFS
                 MOTION IN LIMINE TO ADMIT THE BLACK BOOK AS EVIDENCE AT TRIAL. .
                 Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 03/17/2017)
03/17/2017   743 DECLARATION of Jeffrey S. Pagliuca in Opposition re: 683 MOTION in Limine
                 PLAINTIFFS MOTION IN LIMINE TO ADMIT THE BLACK BOOK AS EVIDENCE
                 AT TRIAL.. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Menninger,
                 Laura) (Entered: 03/17/2017)
03/17/2017   744 RESPONSE in Opposition to Motion re: 686 MOTION in Limine PLAINTIFF MS.
                 GIUFFRES MEMORANDUM OF LAW IN SUPPORT OF HER MOTION IN LIMINE
                 TO PRESENT ALL EVIDENCE OF DEFENDANTS INVOLVEMENT IN EPSTEIN
                 SEXUAL ABUSE AND SEX TRAFFICKING. . Document filed by Ghislaine Maxwell.
                 (Menninger, Laura) (Entered: 03/17/2017)
03/17/2017   745 DECLARATION of Laura A. Menninger in Opposition re: 686 MOTION in Limine
                 PLAINTIFF MS. GIUFFRES MEMORANDUM OF LAW IN SUPPORT OF HER
                 MOTION IN LIMINE TO PRESENT ALL EVIDENCE OF DEFENDANTS
                 INVOLVEMENT IN EPSTEIN SEXUAL ABUSE AND SEX TRAFFICKING..
                 Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Menninger, Laura) (Entered: 03/17/2017)
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03/17/2017   746 RESPONSE in Opposition to Motion re: 689 MOTION in Limine to Present
                 Testimony for Purpose of Obtaining an Adverse Inference Instruction. . Document
                 filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 03/17/2017)
03/17/2017   747 RESPONSE in Opposition to Motion re: 677 MOTION in Limine to Exclude Police
                 Reports and Other Inadmissible Hearsay. . Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) (Entered: 03/17/2017)
03/17/2017   748 DECLARATION of Laura A. Menninger in Opposition re: 689 MOTION in Limine to
                 Present Testimony for Purpose of Obtaining an Adverse Inference Instruction..
                 Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Menninger, Laura) (Entered: 03/17/2017)
03/17/2017   749 RESPONSE in Opposition to Motion re: 691 MOTION in Limine Omnibus. .
                 Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 03/17/2017)
03/17/2017   750 DECLARATION of Meredith Schultz in Opposition re: 677 MOTION in Limine to
                 Exclude Police Reports and Other Inadmissible Hearsay.. Document filed by Virginia
                 L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2, # 3 Exhibit
                 Sealed 3, # 4 Exhibit Composite Sealed 4, # 5 Exhibit Sealed 5, # 6 Exhibit Sealed 6, #
                 7 Exhibit Sealed 7, # 8 Exhibit Composite Sealed 8, # 9 Exhibit Sealed 9)(McCawley,
                 Sigrid) (Entered: 03/17/2017)
03/17/2017   751 DECLARATION of Laura A. Menninger in Opposition re: 691 MOTION in Limine
                 Omnibus.. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit
                 M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, #
                 19 Exhibit S)(Menninger, Laura) (Entered: 03/17/2017)
03/17/2017   752 MOTION to Strike Document No. 711 Plaintiff's Supplemental Authority. Document
                 filed by Ghislaine Maxwell.(Menninger, Laura) (Entered: 03/17/2017)
03/17/2017   753 DECLARATION of Laura A. Menninger in Support re: 752 MOTION to Strike
                 Document No. 711 Plaintiff's Supplemental Authority.. Document filed by Ghislaine
                 Maxwell. (Attachments: # 1 Exhibit A)(Menninger, Laura) (Entered: 03/17/2017)
03/17/2017   754 REPLY MEMORANDUM OF LAW in Opposition re: 637 MOTION to Compel
                 Philip Barden to To Produce All Work Product and Attorney Client Communications .
                 Defendant's Surreply. Document filed by Ghislaine Maxwell. (Menninger, Laura)
                 (Entered: 03/17/2017)
03/20/2017   755 TRANSCRIPT of Proceedings re: CONFERENCE held on 3/9/2017 before Judge
                 Robert W. Sweet. Court Reporter/Transcriber: Kelly Surina, (212) 805−0300.
                 Transcript may be viewed at the court public terminal or purchased through the Court
                 Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                 that date it may be obtained through PACER. Redaction Request due 4/10/2017.
                 Redacted Transcript Deadline set for 4/20/2017. Release of Transcript Restriction set
                 for 6/19/2017.(McGuirk, Kelly) (Entered: 03/20/2017)
03/20/2017   756 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                 official transcript of a CONFERENCE proceeding held on 3/9/17 has been filed by the
                 court reporter/transcriber in the above−captioned matter. The parties have seven (7)
                 calendar days to file with the court a Notice of Intent to Request Redaction of this
                 transcript. If no such Notice is filed, the transcript may be made remotely
                 electronically available to the public without redaction after 90 calendar
                 days...(McGuirk, Kelly) (Entered: 03/20/2017)
03/20/2017   757 STIPULATION AND ORDER VACATING CIVIL CONTEMPT FINDING AND
                 ORDER AS TO NADIA MARCINKOVA: THEREFORE, IT IS HEREBY
                 STIPULATED AND AGREED, by and among the parties through their undersigned
                 counsel, that the Plaintiff's Motion for a Finding of Civil Contempt against Nadia
                 Marcinkova shall be withdrawn without costs to any party; and IT IS FURTHER
                 STIPULATED AND AGREED, by and among the parties, subject to the Order of the
                 Court, that the Order dated September 15, 2016 [Docket No. 433], as to Nadia
                 Marcinkova shall be vacated in its entirety. (Signed by Judge Robert W. Sweet on
                 3/20/2017) (jwh) (Entered: 03/20/2017)
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page71 of 202
                                        CMA-067
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03/20/2017   758 ENDORSED LETTER: addressed to Judge Robert W. Sweet from Laura A.
                 Menninger dated March 17, 2017 re: To exceed page limit. ENDORSEMENT: So
                 ordered. (Signed by Judge Robert W. Sweet on 3/20/2017) (ap) (Entered: 03/20/2017)
03/20/2017   759 ENDORSED LETTER re: 659 SECOND MOTION to Compel, 685 MOTION in
                 Limine; addressed to Judge Robert W. Sweet from Jeffrey S. Pagliuca dated 3/17/2017
                 re: a one week extension to file responses to Docket Entry # 659 and Docket Entry #
                 685 . ENDORSEMENT: So ordered. (Set Deadlines/Hearing as to 659 SECOND
                 MOTION to Compel Ghislaine Maxwell to Disclose Data , 685 MOTION in Limine
                 PLAINTIFFS MOTION IN LIMINE TO PRECLUDE DEFENDANT FROM CALLING
                 PLAINTIFFS ATTORNEYS AS WITNESSES AT TRIAL : Responses due by 3/23/2017)
                 (Signed by Judge Robert W. Sweet on 3/20/2017) (jwh) (Entered: 03/20/2017)
03/20/2017   760 ORDER granting 737 Letter Motion for Extension of Time to File Response/Reply re
                 666 MOTION in Limine to Exclude Evidence Barred as a Result of Plaintiffs
                 Summary Judgment Concessions, 665 MOTION in Limine to Prohibit Questioning
                 Regarding Defendants Adult Consensual Sexual Activities, 662 MOTION to Bifurcate
                 Trial Relating to Punitive Damages and Exclusion of any Reference to Defendants
                 Financial Information in the Liability Phase. So ordered Responses due by 3/22/2017.
                 (Signed by Judge Robert W. Sweet on 3/20/2017) (jwh) (Entered: 03/20/2017)
03/21/2017   761 REPLY to Response to Motion re: 657 MOTION to Quash . . Document filed by
                 Jeffrey Epstein. (Weinberg, Martin) (Entered: 03/21/2017)
03/21/2017   762 LETTER MOTION for Extension of Time addressed to Judge Robert W. Sweet from
                 Sigrid McCawley dated March 21, 2017. Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 03/21/2017)
03/21/2017   763 MOTION to Strike Document No. 725 . Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 03/21/2017)
03/21/2017   764 RESPONSE in Opposition to Motion re: 666 MOTION in Limine to Exclude Evidence
                 Barred as a Result of Plaintiffs Summary Judgment Concessions. . Document filed by
                 Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 03/21/2017)
03/22/2017   765 ORDER granting 752 Motion to Strike Document No. 711 : The Defendant's motion to
                 strike the Plaintiff's Notice of Supplemental Authority, ECF No. 711, is granted. The
                 cited authority is inadmissible, and has been submitted previously in connection with
                 Plaintiff's motion seeking financial information from the Defendant. (Signed by Judge
                 Robert W. Sweet on 3/22/2017) (jwh) (Entered: 03/22/2017)
03/22/2017   766 RESPONSE in Opposition to Motion re: 662 MOTION to Bifurcate Trial Relating to
                 Punitive Damages and Exclusion of any Reference to Defendants Financial
                 Information in the Liability Phase. . Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) (Entered: 03/22/2017)
03/22/2017   767 ORDER granting 762 Letter Motion for Extension of Time. SO ORDERED. (Signed
                 by Judge Robert W. Sweet on 3/22/2017) (ras) (Entered: 03/22/2017)
03/22/2017   768 RESPONSE in Opposition to Motion re: 665 MOTION in Limine to Prohibit
                 Questioning Regarding Defendants Adult Consensual Sexual Activities. . Document
                 filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 03/22/2017)
03/22/2017   769 DECLARATION of Sigrid McCawley in Opposition re: 665 MOTION in Limine to
                 Prohibit Questioning Regarding Defendants Adult Consensual Sexual Activities..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit
                 Sealed 2)(McCawley, Sigrid) (Entered: 03/22/2017)
03/23/2017   770 REPLY to Response to Motion re: 689 MOTION in Limine to Present Testimony for
                 Purpose of Obtaining an Adverse Inference Instruction. [Re Kellen/Marcinkova].
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Comp 1 (Sealed), #
                 2 Exhibit 2 (Sealed))(Schultz, Meredith) (Entered: 03/23/2017)
03/23/2017        Minute Entry for proceedings held before Judge Robert W. Sweet: Oral Argument held
                  on 3/23/2017 re: 524 MOTION in Limine To Exclude Expert Testimony and Opinion
                  of Professor Terry Coonan, J.D. filed by Ghislaine Maxwell, 561 MOTION in Limine
                  to Exclude Defendant's Designations of Deposition Excerpts of Alan Dershowitz filed
                  by Virginia L. Giuffre, 533 MOTION in Limine and Incorporated Memorandum of
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                  Law filed by Virginia L. Giuffre, 520 MOTION in Limine To Exclude Expert
                  Testimony and Opinion of Chris Anderson filed by Ghislaine Maxwell, 526 MOTION
                  in Limine To Exclude Expert Testimony and Opinion of Dianne C. Flores filed by
                  Ghislaine Maxwell, 567 MOTION in Limine to Exclude In Toto Certain Depositions
                  Designated By Plaintiff for Use at Trial filed by Ghislaine Maxwell, 522 MOTION in
                  Limine To Exclude Expert Testimony and Opinions of William F. Chandler filed by
                  Ghislaine Maxwell, 563 MOTION in Limine to Exclude Defendant's Designations of
                  Deposition Excerpts of Virginia Giuffre in an Unrelated Case filed by Virginia L.
                  Giuffre, 528 MOTION in Limine To Exclude Expert Testimony and Opinion of Dr.
                  Bernard Jansen filed by Ghislaine Maxwell, 530 MOTION in Limine To Exclude
                  Expert Testimony and Opinion of Doctor Gilbert Kliman filed by Ghislaine Maxwell,
                  535 MOTION in Limine and Incorporated Memorandum of Law filed by Virginia L.
                  Giuffre. (Court Reporter Lisa Fellis) Documents #520,522,524,526,528,530,533,and
                  535 are taken on submission. Document #563 The Court will deal with this on trial.
                  Document #567 Will be heard on April 5, 2017 at 12:00 p.m. Document #640, 655
                  Resolved in open court, partially granted and partially denied.(Chan, Tsz) (Entered:
                  03/23/2017)
03/23/2017   771 DECLARATION of Sigrid S. McCawley in Support re: 689 MOTION in Limine to
                 Present Testimony for Purpose of Obtaining an Adverse Inference Instruction..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Composite 1
                 (Sealed), # 2 Exhibit 2 (Sealed))(Schultz, Meredith) (Entered: 03/23/2017)
03/23/2017   772 RESPONSE in Opposition to Motion re: 685 MOTION in Limine PLAINTIFFS
                 MOTION IN LIMINE TO PRECLUDE DEFENDANT FROM CALLING PLAINTIFFS
                 ATTORNEYS AS WITNESSES AT TRIAL. . Document filed by Ghislaine Maxwell.
                 (Menninger, Laura) (Entered: 03/23/2017)
03/23/2017   773 DECLARATION of Jeffrey S. Pagliuca in Opposition re: 685 MOTION in Limine
                 PLAINTIFFS MOTION IN LIMINE TO PRECLUDE DEFENDANT FROM CALLING
                 PLAINTIFFS ATTORNEYS AS WITNESSES AT TRIAL.. Document filed by Ghislaine
                 Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit
                 J)(Menninger, Laura) (Entered: 03/23/2017)
03/24/2017   774 REPLY MEMORANDUM OF LAW in Support re: 683 MOTION in Limine
                 PLAINTIFFS MOTION IN LIMINE TO ADMIT THE BLACK BOOK AS EVIDENCE
                 AT TRIAL. . Document filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered:
                 03/24/2017)
03/24/2017   775 DECLARATION of Sigrid McCawley in Support re: 683 MOTION in Limine
                 PLAINTIFFS MOTION IN LIMINE TO ADMIT THE BLACK BOOK AS EVIDENCE
                 AT TRIAL.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                 Composite Sealed 1)(McCawley, Sigrid) (Entered: 03/24/2017)
03/24/2017   776 ENDORSED LETTER addressed to Judge Robert W. Sweet from Jeffrey S. Pagliuca
                 dated 3/22/17 re: Ms. Maxwell respectfully requests that she be permitted to submit
                 her reply by March 31, 2017. ENDORSEMENT: Extension to 3/30 is granted. So
                 ordered. ( Replies due by 3/30/2017.) (Signed by Judge Robert W. Sweet on
                 3/24/2017) (mro) (Entered: 03/24/2017)
03/24/2017   777 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 3/23/17 re: This Court issued a sealed opinion today, March 23, 2017, that
                 ordered additional briefing and a hearing on the issues related to the search of any
                 email accounts, on dates to be decided by the parties. In light of this Court's Order,
                 defendant requests that any response be combined in the upcoming briefing schedule.
                 ENDORSEMENT: So ordered. (Signed by Judge Robert W. Sweet on 3/24/2017)
                 (mro) (Entered: 03/24/2017)
03/24/2017   778 SEALED DOCUMENT placed in vault.(mps) (Entered: 03/24/2017)
03/24/2017   779 SEALED DOCUMENT placed in vault.(mps) (Entered: 03/24/2017)
03/24/2017   780 LETTER MOTION for Leave to File Excess Pages addressed to Judge Robert W.
                 Sweet from Sigrid McCawley dated March 24, 2017. Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 03/24/2017)
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03/24/2017   781 REPLY MEMORANDUM OF LAW in Support re: 686 MOTION in Limine
                 PLAINTIFF MS. GIUFFRES MEMORANDUM OF LAW IN SUPPORT OF HER
                 MOTION IN LIMINE TO PRESENT ALL EVIDENCE OF DEFENDANTS
                 INVOLVEMENT IN EPSTEIN SEXUAL ABUSE AND SEX TRAFFICKING. .
                 Document filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 03/24/2017)
03/24/2017   782 DECLARATION of Sigrid McCawley in Support re: 686 MOTION in Limine
                 PLAINTIFF MS. GIUFFRES MEMORANDUM OF LAW IN SUPPORT OF HER
                 MOTION IN LIMINE TO PRESENT ALL EVIDENCE OF DEFENDANTS
                 INVOLVEMENT IN EPSTEIN SEXUAL ABUSE AND SEX TRAFFICKING..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit
                 Composite Sealed 2, # 3 Exhibit Sealed 3, # 4 Exhibit Sealed 4)(McCawley, Sigrid)
                 (Entered: 03/24/2017)
03/24/2017   783 REPLY to Response to Motion re: 667 MOTION in Limine to Exclude FBI 302
                 Statement of Plaintiff. . Document filed by Ghislaine Maxwell. (Menninger, Laura)
                 (Entered: 03/24/2017)
03/24/2017   784 REPLY to Response to Motion re: 669 MOTION in Limine to Exclude References to
                 Crime Victims Rights Act Litigation. . Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Appendix A, # 2 Appendix B)(Menninger, Laura) (Entered:
                 03/24/2017)
03/24/2017   785 DECLARATION of Laura A. Menninger in Support re: 669 MOTION in Limine to
                 Exclude References to Crime Victims Rights Act Litigation.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit B, # 2 Exhibit C)(Menninger, Laura)
                 (Entered: 03/24/2017)
03/24/2017   786 REPLY to Response to Motion re: 664 MOTION in Limine to Exclude Late Disclosed
                 Supplemental Report of Dr. James Jansen and Video Trial Exhibit of Dr. Gilbert
                 Kliman. . Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered:
                 03/24/2017)
03/24/2017   787 DECLARATION of Laura A. Menninger in Support re: 664 MOTION in Limine to
                 Exclude Late Disclosed Supplemental Report of Dr. James Jansen and Video Trial
                 Exhibit of Dr. Gilbert Kliman.. Document filed by Ghislaine Maxwell. (Attachments: #
                 1 Exhibit A)(Menninger, Laura) (Entered: 03/24/2017)
03/24/2017   788 REPLY to Response to Motion re: 671 MOTION in Limine to Exclude Jeffrey Epstein
                 Plea and Non−Prosecution Agreement and Sex Offender Registration. . Document
                 filed by Ghislaine Maxwell. (Menninger, Laura) (Entered: 03/24/2017)
03/24/2017   789 DECLARATION of Laura A. Menninger in Support re: 671 MOTION in Limine to
                 Exclude Jeffrey Epstein Plea and Non−Prosecution Agreement and Sex Offender
                 Registration.. Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit C, # 2
                 Exhibit D)(Menninger, Laura) (Entered: 03/24/2017)
03/24/2017   790 REPLY to Response to Motion re: 675 MOTION in Limine to Permit Questioning
                 Regarding Plaintiffs Sexual History and Reputation. . Document filed by Ghislaine
                 Maxwell. (Menninger, Laura) (Entered: 03/24/2017)
03/24/2017   791 REPLY to Response to Motion re: 681 MOTION in Limine to Exclude Victim
                 Notification Letter. . Document filed by Ghislaine Maxwell. (Menninger, Laura)
                 (Entered: 03/24/2017)
03/24/2017   792 DECLARATION of Laura A. Menninger in Support re: 681 MOTION in Limine to
                 Exclude Victim Notification Letter.. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit D)(Menninger, Laura) (Entered: 03/24/2017)
03/27/2017   793 LETTER MOTION to Seal Document Portions of February 16, 2017 Hearing
                 Transcript addressed to Judge Robert W. Sweet from Meredith Schultz dated March
                 27, 2017. Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered:
                 03/27/2017)
03/27/2017   794 MOTION Plaintiffs Motion for Leave to Bring Personal Electronic Device and
                 General Purpose Computing Devices to the Courthouse . Document filed by Virginia
                 L. Giuffre. (Attachments: # 1 Text of Proposed Order Plaintiffs Motion for Leave to
                 Bring Personal Electronic Device and General Purpose Computing Devices to the
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                  Courthouse)(McCawley, Sigrid) (Entered: 03/27/2017)
03/27/2017   795 LETTER MOTION for Oral Argument for March 31st Hearing to Start at 10:00am
                 addressed to Judge Robert W. Sweet from Meredith Schultz dated March 27, 2017.
                 Document filed by Virginia L. Giuffre.(Schultz, Meredith) (Entered: 03/27/2017)
03/27/2017   796 NOTICE of Notice of Intent to Redact 03/09/17 Transcript of Proceedings [DE 756]
                 re: 756 Notice of Filing Transcript,,. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit 1 (Filed Under Seal))(Schultz, Meredith) (Entered:
                 03/27/2017)
03/27/2017   797 LETTER MOTION for Leave to File Excess Pages addressed to Judge Robert W.
                 Sweet from Sigrid McCawley. Document filed by Virginia L. Giuffre.(McCawley,
                 Sigrid) (Entered: 03/27/2017)
03/27/2017   798 REPLY MEMORANDUM OF LAW in Support re: 691 MOTION in Limine
                 Omnibus. . Document filed by Virginia L. Giuffre. (McCawley, Sigrid) (Entered:
                 03/27/2017)
03/27/2017   799 DECLARATION of Sigrid McCawley in Support re: 691 MOTION in Limine
                 Omnibus.. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                 Composite Sealed 1, # 2 Exhibit Sealed 2, # 3 Exhibit Sealed 3)(McCawley, Sigrid)
                 (Entered: 03/27/2017)
03/28/2017   800 AMENDED MOTION Motion leave to bring Personal Electronic Devices and General
                 Purpose Computing Device into the Courthouse re: 794 MOTION Plaintiffs Motion
                 for Leave to Bring Personal Electronic Device and General Purpose Computing
                 Devices to the Courthouse . . Document filed by Virginia L. Giuffre. (Attachments: # 1
                 Text of Proposed Order STANDING ORDER M10−468, AS REVISED)(McCawley,
                 Sigrid) (Entered: 03/28/2017)
03/28/2017   801 ORDER granting 780 Letter Motion for Leave to File Excess Pages: So ordered.
                 (Signed by Judge Robert W. Sweet on 3/28/2017) (jwh) (Entered: 03/28/2017)
03/28/2017   802 NOTICE of Filing Plaintiff's Responses to Defendant's Objections to Plaintiff's
                 Deposition Designations. Document filed by Virginia L. Giuffre. (McCawley, Sigrid)
                 (Entered: 03/28/2017)
03/28/2017   803 NOTICE of of Filing Typographical Errors Relating to Plaintiff's Deposition
                 Designations for Use at Trial. Document filed by Virginia L. Giuffre. (McCawley,
                 Sigrid) (Entered: 03/28/2017)
03/28/2017   804 MOTION Requesting Rulings on Her Outstanding Motions. Document filed by
                 Ghislaine Maxwell.(Menninger, Laura) (Entered: 03/28/2017)
03/28/2017   805 MOTION for Leave to Bring Personal Electronic Devices and General Purpose
                 Computing Devices Into the Courthouse. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit A)(Menninger, Laura) (Entered: 03/28/2017)
03/28/2017   806 Objection to Production of (Blank) Submitted for in Camera Review. Document filed
                 by Ghislaine Maxwell. (Menninger, Laura) (Entered: 03/28/2017)
03/28/2017   807 REPLY to Response to Motion re: 666 MOTION in Limine to Exclude Evidence
                 Barred as a Result of Plaintiffs Summary Judgment Concessions. . Document filed by
                 Ghislaine Maxwell. (Menninger, Laura) (Entered: 03/28/2017)
03/29/2017   808 SEALED DOCUMENT placed in vault.(mps) (Entered: 03/29/2017)
03/29/2017   809 ENDORSED LETTER re: 673 MOTION in Limine, 663 MOTION in Limine, 693
                 MOTION to Exclude Evidence Pursuant to Fed. R. Evid. 404(b), 677 MOTION in
                 Limine, addressed to Judge Robert W. Sweet from Jeffrey S. Pagliuca dated 3/24/2017
                 re: an extension to file replies to Motions at Dockets 663 , 673 , 677 , and 693 .
                 ENDORSEMENT: So ordered. (Set Deadlines/Hearing as to 673 MOTION in Limine
                 Exclude Deposition Testimony of Sarah Kellen and Nadia Marcinkova or Any Witness
                 Invoking Their Fifth Amendment Privilege, 663 MOTION in Limine to Exclude
                 Complaint and Settlement Agreement in Jane Doe 102 v. Jeffrey Epstein, 693
                 MOTION to Exclude Evidence Pursuant to Fed. R. Evid. 404(b), 677 MOTION in
                 Limine to Exclude Police Reports and Other Inadmissible Hearsay: Replies due by
                 3/30/2017.) (Signed by Judge Robert W. Sweet on 3/28/2017) (jwh) (Entered:
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                  03/29/2017)
03/29/2017   810 MEMORANDUM OF LAW in Opposition re: 763 MOTION to Strike Document No.
                 725 . . Document filed by Michael Cernovich d/b/a Cernovich Media. (Wolman, Jay)
                 (Entered: 03/29/2017)
03/29/2017   811 LETTER RESPONSE in Opposition to Motion addressed to Judge Robert W. Sweet
                 from Movant−Intervenor Michael Cernovich d/b/a Cernovich Media dated March 29,
                 2017 re: 793 LETTER MOTION to Seal Document Portions of February 16, 2017
                 Hearing Transcript addressed to Judge Robert W. Sweet from Meredith Schultz dated
                 March 27, 2017. . Document filed by Michael Cernovich d/b/a Cernovich Media.
                 (Wolman, Jay) (Entered: 03/29/2017)
03/29/2017   812 REPLY to Response to Motion re: 665 MOTION in Limine to Prohibit Questioning
                 Regarding Defendants Adult Consensual Sexual Activities. . Document filed by
                 Ghislaine Maxwell. (Menninger, Laura) (Entered: 03/29/2017)
03/29/2017   813 NOTICE of of Plaintiff's Proposed Redactions to This Court's Order Denying
                 Summary Judgment. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit
                 Sealed 1)(McCawley, Sigrid) (Entered: 03/29/2017)
03/30/2017   814 LETTER MOTION to Continue addressed to Judge Robert W. Sweet from Martin G.
                 Weinberg dated 3/30/17. Document filed by Jeffrey Epstein.(Weinberg, Martin)
                 (Entered: 03/30/2017)
03/30/2017   815 REPLY to Response to Motion re: 677 MOTION in Limine to Exclude Police Reports
                 and Other Inadmissible Hearsay. . Document filed by Ghislaine Maxwell.
                 (Menninger, Laura) (Entered: 03/30/2017)
03/30/2017   816 DECLARATION of Jeffrey S. Pagliuca in Support re: 677 MOTION in Limine to
                 Exclude Police Reports and Other Inadmissible Hearsay.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit D, # 2 Exhibit E, # 3 Exhibit F, # 4
                 Exhibit G)(Menninger, Laura) (Entered: 03/30/2017)
03/30/2017   817 REPLY to Response to Motion re: 673 MOTION in Limine Exclude Deposition
                 Testimony of Sarah Kellen and Nadia Marcinkova or Any Witness Invoking Their Fifth
                 Amendment Privilege. . Document filed by Ghislaine Maxwell. (Menninger, Laura)
                 (Entered: 03/30/2017)
03/30/2017   818 REPLY to Response to Motion re: 663 MOTION in Limine to Exclude Complaint and
                 Settlement Agreement in Jane Doe 102 v. Jeffrey Epstein. . Document filed by
                 Ghislaine Maxwell. (Menninger, Laura) (Entered: 03/30/2017)
03/30/2017   819 DECLARATION of Laura A. Menninger in Support re: 663 MOTION in Limine to
                 Exclude Complaint and Settlement Agreement in Jane Doe 102 v. Jeffrey Epstein..
                 Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit
                 B)(Menninger, Laura) (Entered: 03/30/2017)
03/30/2017   820 REPLY to Response to Motion re: 693 MOTION to Exclude Evidence Pursuant to
                 Fed. R. Evid. 404(b). . Document filed by Ghislaine Maxwell. (Menninger, Laura)
                 (Entered: 03/30/2017)
03/30/2017   821 DECLARATION of Laura A. Menninger in Support re: 693 MOTION to Exclude
                 Evidence Pursuant to Fed. R. Evid. 404(b).. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit J, # 2 Exhibit K, # 3 Exhibit L)(Menninger, Laura) (Entered:
                 03/30/2017)
03/30/2017   822 REPLY to Response to Motion re: 662 MOTION to Bifurcate Trial Relating to
                 Punitive Damages and Exclusion of any Reference to Defendants Financial
                 Information in the Liability Phase. . Document filed by Ghislaine Maxwell.
                 (Menninger, Laura) (Entered: 03/30/2017)
03/30/2017   823 NOTICE of of Intent to Request Redaction of Sealed Opinion. Document filed by
                 Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1)(McCawley, Sigrid) (Entered:
                 03/30/2017)
03/30/2017        Minute Entry for proceedings held before Judge Robert W. Sweet: Oral Argument held
                  on 3/30/2017 re: 671 MOTION in Limine to Exclude Jeffrey Epstein Plea and
                  Non−Prosecution Agreement and Sex Offender Registration filed by Ghislaine
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                   Maxwell, [667 MOTION in Limine to Exclude FBI 302 Statement of Plaintiff filed by
                   Ghislaine Maxwell, 675 MOTION in Limine to Permit Questioning Regarding
                   Plaintiffs Sexual History and Reputation filed by Ghislaine Maxwell, 681 MOTION in
                   Limine to Exclude Victim Notification Letter filed by Ghislaine Maxwell, 664
                   MOTION in Limine to Exclude Late Disclosed Supplemental Report of Dr. James
                   Jansen and Video Trial Exhibit of Dr. Gilbert Kliman filed by Ghislaine Maxwell, 669
                   MOTION in Limine to Exclude References to Crime Victims Rights Act Litigation
                   filed by Ghislaine Maxwell. (Court Reporter Khris Sellin)Motion pending. (Chan, Tsz)
                   (Entered: 04/03/2017)
03/31/2017         Minute Entry for proceedings held before Judge Robert W. Sweet: Oral Argument held
                   on 3/31/2017 re: 677 MOTION in Limine to Exclude Police Reports and Other
                   Inadmissible Hearsay filed by Ghislaine Maxwell, 673 MOTION in Limine Exclude
                   Deposition Testimony of Sarah Kellen and Nadia Marcinkova or Any Witness
                   Invoking Their Fifth Amendment Privilege filed by Ghislaine Maxwell, 662 MOTION
                   to Bifurcate Trial Relating to Punitive Damages and Exclusion of any Reference to
                   Defendants Financial Information in the Liability Phase filed by Ghislaine Maxwell,
                   691 MOTION in Limine Omnibus filed by Virginia L. Giuffre, 689 MOTION in
                   Limine to Present Testimony for Purpose of Obtaining an Adverse Inference
                   Instruction filed by Virginia L. Giuffre, 666 MOTION in Limine to Exclude Evidence
                   Barred as a Result of Plaintiffs Summary Judgment Concessions filed by Ghislaine
                   Maxwell. (Court Reporter Ellen Simone and Khris Sellin)Motion pending. (Chan, Tsz)
                   (Entered: 04/03/2017)
04/03/2017   824 TRANSCRIPT of Proceedings re: Conference held on 3/16/2017 before Judge Robert
                 W. Sweet. Court Reporter/Transcriber: Martha Martin, (212) 805−0300. Transcript
                 may be viewed at the court public terminal or purchased through the Court
                 Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                 that date it may be obtained through PACER. Redaction Request due 4/24/2017.
                 Redacted Transcript Deadline set for 5/4/2017. Release of Transcript Restriction set
                 for 7/3/2017.(Siwik, Christine) (Entered: 04/03/2017)
04/03/2017   825 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                 official transcript of a Conference proceeding held on 3/16/17 has been filed by the
                 court reporter/transcriber in the above−captioned matter. The parties have seven (7)
                 calendar days to file with the court a Notice of Intent to Request Redaction of this
                 transcript. If no such Notice is filed, the transcript may be made remotely
                 electronically available to the public without redaction after 90 calendar days...(Siwik,
                 Christine) (Entered: 04/03/2017)
04/03/2017   826 Objection to Plaintiff's Deposition Designations (AMENDED). Document filed by
                 Ghislaine Maxwell. (Menninger, Laura) (Entered: 04/03/2017)
04/03/2017   827 REPLY MEMORANDUM OF LAW in Support re: 685 MOTION in Limine
                 PLAINTIFFS MOTION IN LIMINE TO PRECLUDE DEFENDANT FROM CALLING
                 PLAINTIFFS ATTORNEYS AS WITNESSES AT TRIAL. . Document filed by Virginia
                 L. Giuffre. (McCawley, Sigrid) (Entered: 04/03/2017)
04/03/2017   828 DECLARATION of Sigrid McCawley in Support re: 685 MOTION in Limine
                 PLAINTIFFS MOTION IN LIMINE TO PRECLUDE DEFENDANT FROM CALLING
                 PLAINTIFFS ATTORNEYS AS WITNESSES AT TRIAL.. Document filed by Virginia
                 L. Giuffre. (Attachments: # 1 Exhibit Sealed Exhibit 1, # 2 Exhibit Sealed Exhibit 2, #
                 3 Exhibit Sealed Exhibit 3)(McCawley, Sigrid) (Entered: 04/03/2017)
04/03/2017   829 LETTER RESPONSE to Motion addressed to Judge Robert W. Sweet from Ty Gee
                 dated April 3, 2017 re: 793 LETTER MOTION to Seal Document Portions of
                 February 16, 2017 Hearing Transcript addressed to Judge Robert W. Sweet from
                 Meredith Schultz dated March 27, 2017. . Document filed by Ghislaine Maxwell.
                 (Menninger, Laura) (Entered: 04/03/2017)
04/04/2017   830 OPPOSITION BRIEF re: 806 Objection (non−motion) and Second Motion to Compel
                 Defendant to Produce Documents. Document filed by Virginia L. Giuffre.(McCawley,
                 Sigrid) (Entered: 04/04/2017)
04/05/2017   831 TRANSCRIPT of Proceedings re: Conference held on 3/23/2017 before Judge Robert
                 W. Sweet. Court Reporter/Transcriber: Lisa Picciano Fellis, (212) 805−0300.
                 Transcript may be viewed at the court public terminal or purchased through the Court
    Case 16-3945, Document 109, 09/25/2017, 2133027, Page77 of 202
                                         CMA-073
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                   Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                   that date it may be obtained through PACER. Redaction Request due 4/26/2017.
                   Redacted Transcript Deadline set for 5/8/2017. Release of Transcript Restriction set
                   for 7/5/2017.(Siwik, Christine) (Entered: 04/05/2017)
04/05/2017   832 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                 official transcript of a Conference proceeding held on 3/23/17 has been filed by the
                 court reporter/transcriber in the above−captioned matter. The parties have seven (7)
                 calendar days to file with the court a Notice of Intent to Request Redaction of this
                 transcript. If no such Notice is filed, the transcript may be made remotely
                 electronically available to the public without redaction after 90 calendar days...(Siwik,
                 Christine) (Entered: 04/05/2017)
04/05/2017   833 OPPOSITION BRIEF re: 813 Notice (Other) . Document filed by Michael Cernovich
                 d/b/a Cernovich Media.(Wolman, Jay) (Entered: 04/05/2017)
04/05/2017   834 ORDER: A hearing on ECF No. 806 shall be held on Thursday, April 13, 2017 at noon
                 in Courtroom 18C, United States Courthouse, 500 Pearl Street. Defendant's reply
                 papers shall be due April 11, 2017. ( Status Conference set for 4/13/2017 at 12:00 PM
                 in Courtroom 18C, 500 Pearl Street, New York, NY 10007 before Judge Robert W.
                 Sweet.) (Signed by Judge Robert W. Sweet on 4/5/2017) (mro) (Entered: 04/05/2017)
04/05/2017         Minute Entry for proceedings held before Judge Robert W. Sweet: Oral Argument held
                   on 4/5/2017 re: 685 MOTION in Limine PLAINTIFFS MOTION IN LIMINE TO
                   PRECLUDE DEFENDANT FROM CALLING PLAINTIFFS ATTORNEYS AS
                   WITNESSES AT TRIAL filed by Virginia L. Giuffre, 567 MOTION in Limine to
                   Exclude In Toto Certain Depositions Designated By Plaintiff for Use at Trial filed by
                   Ghislaine Maxwell, 657 MOTION to Quash filed by Jeffrey Epstein. (Court Reporter
                   Paula Speer and Sonia Ketter)Deposition designations take on submission.ECF No.
                   567 Partially resolved.ECF No. 657 Granted.ECF No. 685 Decision Reserved. (Chan,
                   Tsz) (Entered: 04/07/2017)
04/05/2017         Set/Reset Deadlines: Replies due by 4/11/2017. (mro) (Entered: 04/11/2017)
04/06/2017   835 SEALED DOCUMENT placed in vault.(mps) (Entered: 04/06/2017)
04/06/2017   836 SEALED DOCUMENT placed in vault.(mps) (Entered: 04/06/2017)
04/07/2017   837 ORDER denying as moot 804 Motion for request for the Court to Rule on outstanding
                 motions: The Defendant's motion for the Court to rule on outstanding motions, ECF
                 No. 804, is denied as moot. ECF No. 231 was resolved by sealed opinion dated August
                 30, 2016, and ECF No. 354 was resolved by sealed opinion sent to the parties April 4,
                 2017. (Signed by Judge Robert W. Sweet on 4/7/2017) (jwh) (Entered: 04/07/2017)
04/07/2017   838 NOTICE of Plaintiff's Briefing on an Adverse Inference Instruction Regarding
                 Defendant's Failure to Comply with This Court's Order to Produce Her Electronic
                 Documents and Communications. Document filed by Virginia L. Giuffre. (McCawley,
                 Sigrid) (Entered: 04/07/2017)
04/07/2017   839 NOTICE of Declaration in Support of Plaintiff's Briefing on an Adverse Inference
                 Instruction Regarding Defendant's Failure to Comply with This Courts Orders to
                 Produce Her Electronic Documents and Communications re: 838 Notice (Other),.
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit
                 Sealed 2, # 3 Exhibit Sealed 3, # 4 Exhibit Sealed 4, # 5 Exhibit Sealed 5, # 6 Exhibit
                 Sealed Composite 6)(McCawley, Sigrid) (Entered: 04/07/2017)
04/10/2017   840 NOTICE of of Intent to Request Redactions to the March 16, 2017 Transcript.
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed
                 1)(McCawley, Sigrid) (Entered: 04/10/2017)
04/11/2017   841 REPLY re: 806 Objection (non−motion) to Production of (Blank) Submitted for in
                 Camera Review. Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered:
                 04/11/2017)
04/11/2017   842 DECLARATION of Jeffrey S. Pagliuca in Support re: 806 Objection (non−motion).
                 Document filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A)(Menninger,
                 Laura) (Entered: 04/11/2017)
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04/11/2017   843 NOTICE of Plaintiff's Proposed Redactions to This Court's April 4, 2017 Order
                 Denying Defendant's Motion to Compel and Motion for Sanctions. Document filed by
                 Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1)(McCawley, Sigrid) (Entered:
                 04/11/2017)
04/11/2017   844 MOTION for Reconsideration re; 837 Order on Motion for Miscellaneous Relief,
                 Defendant's Motion Requesting Ruling on Her Outstanding Motions. Document filed
                 by Ghislaine Maxwell. (Attachments: # 1 Appendix A, # 2 Appendix B)(Menninger,
                 Laura) (Entered: 04/11/2017)
04/11/2017   845 MOTION to Appoint Special Master to Preside Over Third Deposition of Defendant.
                 Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered: 04/11/2017)
04/11/2017   846 DECLARATION of Laura A. Menninger in Support re: 845 MOTION to Appoint
                 Special Master to Preside Over Third Deposition of Defendant.. Document filed by
                 Ghislaine Maxwell. (Attachments: # 1 Exhibit A)(Menninger, Laura) (Entered:
                 04/11/2017)
04/12/2017   847 TRANSCRIPT of Proceedings re: argument held on 3/31/2017 before Judge Robert
                 W. Sweet. Court Reporter/Transcriber: Khristine Sellin, (212) 805−0300. Transcript
                 may be viewed at the court public terminal or purchased through the Court
                 Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                 that date it may be obtained through PACER. Redaction Request due 5/3/2017.
                 Redacted Transcript Deadline set for 5/15/2017. Release of Transcript Restriction set
                 for 7/11/2017.(Siwik, Christine) (Entered: 04/12/2017)
04/12/2017   848 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                 official transcript of a argument proceeding held on 3/31/17 has been filed by the court
                 reporter/transcriber in the above−captioned matter. The parties have seven (7) calendar
                 days to file with the court a Notice of Intent to Request Redaction of this transcript. If
                 no such Notice is filed, the transcript may be made remotely electronically available to
                 the public without redaction after 90 calendar days...(Siwik, Christine) (Entered:
                 04/12/2017)
04/12/2017   849 TRANSCRIPT of Proceedings re: argument held on 3/30/2017 before Judge Robert
                 W. Sweet. Court Reporter/Transcriber: Khristine Sellin, (212) 805−0300. Transcript
                 may be viewed at the court public terminal or purchased through the Court
                 Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                 that date it may be obtained through PACER. Redaction Request due 5/3/2017.
                 Redacted Transcript Deadline set for 5/15/2017. Release of Transcript Restriction set
                 for 7/11/2017.(Siwik, Christine) (Entered: 04/12/2017)
04/12/2017   850 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                 official transcript of a argument proceeding held on 3/30/17 has been filed by the court
                 reporter/transcriber in the above−captioned matter. The parties have seven (7) calendar
                 days to file with the court a Notice of Intent to Request Redaction of this transcript. If
                 no such Notice is filed, the transcript may be made remotely electronically available to
                 the public without redaction after 90 calendar days...(Siwik, Christine) (Entered:
                 04/12/2017)
04/12/2017   851 TRANSCRIPT of Proceedings re: motion held on 3/31/2017 before Judge Robert W.
                 Sweet. Court Reporter/Transcriber: Ellen Simone, (212) 805−0300. Transcript may be
                 viewed at the court public terminal or purchased through the Court
                 Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                 that date it may be obtained through PACER. Redaction Request due 5/3/2017.
                 Redacted Transcript Deadline set for 5/15/2017. Release of Transcript Restriction set
                 for 7/11/2017.(Siwik, Christine) (Entered: 04/12/2017)
04/12/2017   852 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                 official transcript of a motion proceeding held on 3/31/17 has been filed by the court
                 reporter/transcriber in the above−captioned matter. The parties have seven (7) calendar
                 days to file with the court a Notice of Intent to Request Redaction of this transcript. If
                 no such Notice is filed, the transcript may be made remotely electronically available to
                 the public without redaction after 90 calendar days...(Siwik, Christine) (Entered:
                 04/12/2017)
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04/12/2017   853 ORDER denying 844 Motion for Reconsideration; terminating 230 Motion for Reopen
                 Deposition of Plaintiff Virginia Giuffre: The Defendant's motion for reconsideration,
                 ECF No. 844, is denied. The sealed opinion dated August 30, 2016 resolving ECF No.
                 230 also resolved ECF No. 231. ECF No. 231, the Defendant's motion for sanctions,
                 was denied. (Signed by Judge Robert W. Sweet on 4/12/2017) (jwh) Modified on
                 4/27/2017 (jwh). (Entered: 04/12/2017)
04/13/2017        Minute Entry for proceedings held before Judge Robert W. Sweet: Oral Argument held
                  on 4/13/2017 re: 659 SECOND MOTION to Compel Ghislaine Maxwell to Disclose
                  Data from Defendant's Undisclosed Email Account and for An Adverse Inference
                  Instruction filed by Virginia L. Giuffre, 806 Objection (non−motion) filed by
                  Ghislaine Maxwell. (Court Reporter Karen Gorlaski and Steve Griffing)Decision
                  Reserved. (Chan, Tsz) (Entered: 04/14/2017)
04/14/2017   854 NOTICE of Filing Under Seal The Declaration of Experts K.Gus Dimitrelos and
                 Steven A. Williams re: 838 Notice (Other),. Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) (Entered: 04/14/2017)
04/17/2017   855 LETTER MOTION for Extension of Time to Exchange Exhibit List and Submit the
                 Revised Joint Pre−Trial Order addressed to Judge Robert W. Sweet from Sigrid
                 McCawley dated April 17, 2017. Document filed by Virginia L. Giuffre.(McCawley,
                 Sigrid) (Entered: 04/17/2017)
04/18/2017   856 RESPONSE in Opposition to Motion re: 845 MOTION to Appoint Special Master to
                 Preside Over Third Deposition of Defendant. . Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) (Entered: 04/18/2017)
04/18/2017   857 ORDER granting 855 Letter Motion for Extension of Time: So ordered. (Pretrial Order
                 due by 4/18/2017.) (Signed by Judge Robert W. Sweet on 4/18/2017) (jwh) (Entered:
                 04/18/2017)
04/18/2017   858 NOTICE of Filing Response to Proposed Intervenor Michael Cernovich Opposition to
                 Notice of Plaintiff's Proposed Redactions to This Court's Order Denying Summary
                 Judgment re: 833 Opposition Brief. Document filed by Virginia L. Giuffre.
                 (McCawley, Sigrid) (Entered: 04/18/2017)
04/18/2017   859 JOINT PRETRIAL STATEMENT . Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 04/18/2017)
04/18/2017   860 NOTICE of Plaintiff's Proposed Redactions to This Court's April 4, 2017 Order
                 Denying Bradley edwards Motion to Quash. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit Sealed 1)(McCawley, Sigrid) (Entered: 04/18/2017)
04/18/2017   861 ORDER of USCA (Certified Copy) as to 504 Notice of Appeal filed by Alan M.
                 Dershowitz. USCA Case Number 16−3945. The parties in the above−referenced case
                 have filed a stipulation withdrawing this appeal pursuant to Local Rule 42.1. The
                 stipulation is hereby "So Ordered". Catherine O'Hagan Wolfe, Clerk USCA for the
                 Second Circuit. Certified: 04/18/2017. (nd) (Entered: 04/19/2017)
04/19/2017   862 SEALED DOCUMENT placed in vault.(mps) (Entered: 04/19/2017)
04/20/2017   863 REPLY to Response to Motion re: 845 MOTION to Appoint Special Master to Preside
                 Over Third Deposition of Defendant. . Document filed by Ghislaine Maxwell.
                 (Menninger, Laura) (Entered: 04/20/2017)
04/20/2017   864 FILING ERROR − DEFICIENT DOCKET ENTRY − MOTION to Compel
                 Non−Party Witness to Produce Documents and Respond to Deposition Questions and
                 to Complete Search of ESI. Document filed by Ghislaine Maxwell. (Attachments: # 1
                 Declaration of Laura Menninger, # 2 Exhibits A−F)(Menninger, Laura) Modified on
                 5/2/2017 (db). (Entered: 04/20/2017)
04/24/2017   865 SEALED DOCUMENT placed in vault.(mps) (Entered: 04/24/2017)
04/24/2017   866 JOINT LETTER MOTION for Extension of Time addressed to Judge Robert W.
                 Sweet from Sigrid McCawley dated April 24, 2017. Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 04/24/2017)
04/25/2017   867 ORDER: granting 866 Letter Motion for Extension of Time. So ordered. (Signed by
                 Judge Robert W. Sweet on 4/25/2017) (ap) (Entered: 04/25/2017)
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     Case: 1:15-cv-07433-RWS As of: 09/12/2017 04:57 PM EDT 76 of 80
04/25/2017   868 SEALED DOCUMENT placed in vault.(mps) (Entered: 04/26/2017)
04/26/2017   869 ORDER denying 845 Motion to Appoint Special Master to Preside Over Third
                 Deposition of Defendant. The defendant Ghislaine Maxwell ("Maxwell" or the
                 "Defendant") has moved for the appointment of a special master to preside over her
                 final deposition. The motion is denied. The final deposition of Maxwell will be limited
                 to three (3) hours and will be held in Courtroom 18C at 500 Pearl Street, on a date and
                 time on which the parties and the Court agree. The deposition will be supervised by
                 the Court. (Signed by Judge Robert W. Sweet on 4/24/2017) (mro) (Entered:
                 04/26/2017)
04/26/2017   870 ORDER: The motion to compel filed April 20, 2017 shall be heard on Wednesday,
                 May 3, 2017 at 11:00 AM in Courtroom 18C, United States Courthouse, 500 Pearl
                 Street. All papers shall be served in accordance with Local Civil Rule 6.1. ( Oral
                 Argument set for 5/3/2017 at 11:00 AM in Courtroom 18C, 500 Pearl Street, New
                 York, NY 10007 before Judge Robert W. Sweet.) (Signed by Judge Robert W. Sweet
                 on 4/24/2017) (mro) (Entered: 04/26/2017)
04/26/2017   871 RESPONSE in Opposition to Motion re: 864 MOTION to Compel Non−Party Witness
                 to Produce Documents and Respond to Deposition Questions and to Complete Search
                 of ESI. . Document filed by John Stanley Pottinger. (Pottinger, John) (Entered:
                 04/26/2017)
04/27/2017   872 OPINION: Because of the existence of triable issues of material fact rather than
                 opinion and because the pre−litigation privilege is inapplicable, the motion for
                 summary judgment is denied. For the reasons set forth above, the motion for summary
                 judgment is denied. The parties are directed to jointly file a proposed redacted version
                 of this Opinion consistent with the Protective Order or notify the Court that none are
                 necessary within one week of the date of receipt of this Opinion. Motions terminated:
                 denying 540 MOTION for Summary Judgment, filed by Ghislaine Maxwell. (Signed
                 by Judge Robert W. Sweet on 4/27/2017) (ap) Modified on 4/28/2017 (ap). (Entered:
                 04/27/2017)
04/28/2017   873 NOTICE of Errata. Document filed by Jeffrey Epstein. (Goldberger, Jack) (Entered:
                 04/28/2017)
04/28/2017   874 REDACTION Declaration by Jeffrey Epstein(Goldberger, Jack) (Entered:
                 04/28/2017)
04/28/2017   875 NOTICE of Pursuant to Rule 415 Of Similiar Acts Evidence. Document filed by
                 Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 04/28/2017)
04/28/2017   876 REPLY to Response to Motion re: 864 MOTION to Compel Non−Party Witness to
                 Produce Documents and Respond to Deposition Questions and to Complete Search of
                 ESI. . Document filed by Ghislaine Maxwell. (Menninger, Laura) (Entered:
                 04/28/2017)
04/28/2017   877 DECLARATION of Laura A. Menninger in Support re: 864 MOTION to Compel
                 Non−Party Witness to Produce Documents and Respond to Deposition Questions and
                 to Complete Search of ESI.. Document filed by Ghislaine Maxwell. (Attachments: # 1
                 Exhibit F)(Menninger, Laura) (Entered: 04/28/2017)
04/28/2017   878 MOTION to Exclude Undisclosed Witnesses and Exhibits Pursuant to Fed. R. Civ. P.
                 37(c) . Document filed by Ghislaine Maxwell.(Menninger, Laura) (Entered:
                 04/28/2017)
04/28/2017   879 DECLARATION of Laura A. Menninger in Support re: 878 MOTION to Exclude
                 Undisclosed Witnesses and Exhibits Pursuant to Fed. R. Civ. P. 37(c) .. Document
                 filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C,
                 # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)(Menninger, Laura)
                 (Entered: 04/28/2017)
04/28/2017   880 PROPOSED JURY INSTRUCTIONS. Document filed by Ghislaine
                 Maxwell.(Menninger, Laura) (Entered: 04/28/2017)
05/01/2017   881 PROPOSED VOIR DIRE QUESTIONS. Document filed by Virginia L.
                 Giuffre.(Edwards, Bradley) (Entered: 05/01/2017)
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05/01/2017   882 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 MOTION in Limine to Exclude Philip Barden. Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) Modified on 5/2/2017 (db). (Entered: 05/01/2017)
05/01/2017   883 FILING ERROR − DEFICIENT DOCKET ENTRY − DECLARATION of Sigrid
                 McCawley in Support re: 882 MOTION in Limine to Exclude Philip Barden..
                 Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit
                 Sealed Composite 2, # 3 Exhibit Sealed 3)(McCawley, Sigrid) Modified on 5/2/2017
                 (db). (Entered: 05/01/2017)
05/01/2017   884 PROPOSED VOIR DIRE QUESTIONS. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Appendix Defendant's Proposed Jury Questionnaire)(Menninger,
                 Laura) (Entered: 05/01/2017)
05/02/2017        ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                  ERROR. Notice to Attorney Sigrid S. McCawley to RE−FILE Document 882
                  MOTION in Limine to Exclude Philip Barden. Use the event type Miscellaneous
                  Relief found under the event list Motion(s). (db) (Entered: 05/02/2017)
05/02/2017        ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − DEFICIENT
                  DOCKET ENTRY ERROR. Notice to Attorney Sigrid S. McCawley to RE−FILE
                  Document 883 Declaration in Support of Motion. ERROR(S): Document(s)
                  linked to filing error. (db) (Entered: 05/02/2017)
05/02/2017   885 MOTION to Exclude Philip Barden from Testifying at Trial, to Exclude Defenses
                 Based Upon Certain Documents and for Adverse Inference Jury Instruction .
                 Document filed by Virginia L. Giuffre.(McCawley, Sigrid) (Entered: 05/02/2017)
05/02/2017   886 DECLARATION of Sigrid McCawley in Support re: 885 MOTION to Exclude Philip
                 Barden from Testifying at Trial, to Exclude Defenses Based Upon Certain Documents
                 and for Adverse Inference Jury Instruction .. Document filed by Virginia L. Giuffre.
                 (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Composite Sealed 2, # 3 Exhibit
                 Sealed 3)(McCawley, Sigrid) (Entered: 05/02/2017)
05/02/2017   887 NOTICE OF APPEARANCE by Paul G Cassell on behalf of Sarah Ransome.
                 (Cassell, Paul) (Entered: 05/02/2017)
05/02/2017   888 REDACTION Declaration of Jack Goldberger by Jeffrey Epstein(Goldberger, Jack)
                 (Entered: 05/02/2017)
05/02/2017   889 ORDER: The Defendant's motion filed April 28, 2017 shall be heard on Wednesday,
                 May 10, 2017 at 11:00 AM in Courtroom 18C, united States Courthouse, 500 Pearl
                 Street, All papers shall be served in accordance with Local Civil Rule 6.1. (Oral
                 Argument set for 5/10/2017 at 11:00 AM in Courtroom 18C, 500 Pearl Street, New
                 York, NY 10007 before Judge Robert W. Sweet.) (Signed by Judge Robert W. Sweet
                 on 5/2/2017) (ap) (Entered: 05/02/2017)
05/02/2017   890 ENDORSED LETTER addressed to Judge Robert W. Sweet from Laura A. Menninger
                 dated 5/1/2017 re: request for a one−day extension of time to submit Ms. Maxwell's
                 financial affidavit. ENDORSEMENT: So ordered. (Signed by Judge Robert W. Sweet
                 on 5/2/2017) (jwh) (Entered: 05/02/2017)
05/02/2017   891 ORDER: The Plaintiff's motion in limine filed May 1, 2017 shall be heard on
                 Wednesday, May 10, 2017 at 11:00 AM in Courtroom 18C, United States Courthouse,
                 500 Pearl Street. All papers shall be served in accordance with Local Civil Rule 6.1.
                 (Set Deadlines/Hearing as to 885 MOTION to Exclude Philip Barden from Testifying
                 at Trial, to Exclude Defenses Based Upon Certain Documents and for Adverse
                 Inference Jury Instruction : Motion Hearing set for 5/10/2017 at 11:00 AM in
                 Courtroom 18C, 500 Pearl Street, New York, NY 10007 before Judge Robert W.
                 Sweet.) (Signed by Judge Robert W. Sweet on 5/2/2017) (jwh) (Entered: 05/02/2017)
05/03/2017   892 OPINION re: 793 LETTER MOTION to Seal Document Portions of February 16,
                 2017 Hearing Transcript addressed to Judge Robert W. Sweet from Meredith Schultz
                 dated March 27, 2017 filed by Virginia L. Giuffre, 763 MOTION to Strike Document
                 No. 725 filed by Virginia L. Giuffre, 550 MOTION to Intervene and Unseal filed by
                 Michael Cernovich d/b/a Cernovich Media: This opinion resolves ECF Nos. 550, 763,
                 and 793. The motion of the Intervenor to intervene is granted. The motion to modify
                 the Protective Order is denied. (Signed by Judge Robert W. Sweet on 5/2/2017) (jwh)
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                  (Entered: 05/03/2017)
05/03/2017   893 RESPONSE re: 875 Notice (Other) in Opposition to Plaintiffs Notice Pursuant to Rule
                 415 of Similar Acts Evidence. Document filed by Ghislaine Maxwell. (Menninger,
                 Laura) (Entered: 05/03/2017)
05/03/2017   894 NOTICE of of Intent to Request Redactions to March 30 & 31, 2017 Hearing
                 Transcripts. Document filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed
                 1)(McCawley, Sigrid) (Entered: 05/03/2017)
05/03/2017   895 DECLARATION of Laura A. Menninger in Support re: 893 Response. Document
                 filed by Ghislaine Maxwell. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C,
                 # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)(Menninger, Laura)
                 (Entered: 05/03/2017)
05/04/2017        Set/Reset Hearings: Oral Argument set for 5/10/2017 at 12:00 PM before Judge Robert
                  W. Sweet. Pretrial Conference set for 5/10/2017 at 12:00 PM before Judge Robert W.
                  Sweet.(As per chambers the hearings have been rescheduled) (lb) (Entered:
                  05/04/2017)
05/04/2017        Set/Reset Deadlines as to 885 MOTION to Exclude Philip Barden from Testifying at
                  Trial, to Exclude Defenses Based Upon Certain Documents and for Adverse Inference
                  Jury Instruction . Motion Hearing set for 5/10/2017 at 12:00 PM before Judge Robert
                  W. Sweet. (lb) (Entered: 05/04/2017)
05/04/2017        Set/Reset Deadlines as to 878 MOTION to Exclude Undisclosed Witnesses and
                  Exhibits Pursuant to Fed. R. Civ. P. 37(c) .. Motion Hearing set for 5/10/2017 at 12:00
                  PM before Judge Robert W. Sweet. (lb) (Entered: 05/04/2017)
05/04/2017   896 MOTION to Compel Non−Party Witness to Produce Documents and Respond to
                 Deposition Questions and to Complete Search of ESI (Refiled). Document filed by
                 Ghislaine Maxwell.(Menninger, Laura) (Entered: 05/04/2017)
05/04/2017   897 DECLARATION of Laura A. Menninger in Support re: 896 MOTION to Compel
                 Non−Party Witness to Produce Documents and Respond to Deposition Questions and
                 to Complete Search of ESI (Refiled).. Document filed by Ghislaine Maxwell.
                 (Attachments: # 1 Exhibit A−F)(Menninger, Laura) (Entered: 05/04/2017)
05/04/2017   898 LETTER addressed to Judge Robert W. Sweet from Eric J. Feder dated 5/4/2017 re:
                 Public Access to Judicial Proceedings. Document filed by NYP Holdings, Inc.,, Daily
                 News, L.P..(Feder, Eric) (Entered: 05/04/2017)
05/04/2017   899 LETTER addressed to Judge Robert W. Sweet from Jay M. Wolman dated 5/4/17 re:
                 Joinder to Request of NYP Holdings, Inc., and Daily News, L.P. 898 . Document filed
                 by Michael Cernovich d/b/a Cernovich Media.(Wolman, Jay) (Entered: 05/04/2017)
05/05/2017   900 MOTION for Order to Show Cause and to Enforce Court's March 22, 2017 Order.
                 Document filed by Virginia L. Giuffre.(McCawley, Sigrid) (Entered: 05/05/2017)
05/05/2017   901 DECLARATION of Meredith Schultz in Support re: 900 MOTION for Order to Show
                 Cause and to Enforce Court's March 22, 2017 Order.. Document filed by Virginia L.
                 Giuffre. (Attachments: # 1 Exhibit Sealed 1)(McCawley, Sigrid) (Entered: 05/05/2017)
05/05/2017   902 MOTION Plaintiff's Motion for LEave to Permit Magna Legal Services to Bring
                 Personal Electronic Devices and Video Equipment to Courthouse . Document filed by
                 Virginia L. Giuffre. (Attachments: # 1 Exhibit Exhibit 1)(McCawley, Sigrid) (Entered:
                 05/05/2017)
05/05/2017   903 TRANSCRIPT of Proceedings re: CONFERENCE held on 4/5/2017 before Judge
                 Robert W. Sweet. Court Reporter/Transcriber: Sonya Ketter Huggins, (212)
                 805−0300. Transcript may be viewed at the court public terminal or purchased through
                 the Court Reporter/Transcriber before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER. Redaction Request due
                 5/26/2017. Redacted Transcript Deadline set for 6/5/2017. Release of Transcript
                 Restriction set for 8/3/2017.(McGuirk, Kelly) (Entered: 05/05/2017)
05/05/2017   904 NOTICE OF FILING OF OFFICIAL TRANSCRIPT Notice is hereby given that an
                 official transcript of a CONFERENCE proceeding held on 4/5/17 has been filed by the
                 court reporter/transcriber in the above−captioned matter. The parties have seven (7)
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                   calendar days to file with the court a Notice of Intent to Request Redaction of this
                   transcript. If no such Notice is filed, the transcript may be made remotely
                   electronically available to the public without redaction after 90 calendar
                   days...(McGuirk, Kelly) (Entered: 05/05/2017)
05/05/2017   905 LETTER MOTION for Leave to File Excess Pages addressed to Judge Robert W.
                 Sweet from Meredith Schultz dated May 5, 2017. Document filed by Virginia L.
                 Giuffre.(McCawley, Sigrid) (Entered: 05/05/2017)
05/05/2017   906 RESPONSE in Opposition to Motion re: 878 MOTION to Exclude Undisclosed
                 Witnesses and Exhibits Pursuant to Fed. R. Civ. P. 37(c) . . Document filed by
                 Virginia L. Giuffre. (McCawley, Sigrid) (Entered: 05/05/2017)
05/05/2017   907 DECLARATION of Sigrid McCawley in Opposition re: 878 MOTION to Exclude
                 Undisclosed Witnesses and Exhibits Pursuant to Fed. R. Civ. P. 37(c) .. Document
                 filed by Virginia L. Giuffre. (Attachments: # 1 Exhibit Sealed 1, # 2 Exhibit Sealed 2,
                 # 3 Exhibit Sealed 3, # 4 Exhibit Sealed 4, # 5 Exhibit Sealed 5, # 6 Exhibit Sealed 6,
                 # 7 Exhibit Sealed 7, # 8 Exhibit Sealed 8, # 9 Exhibit Sealed 9, # 10 Exhibit Sealed
                 10, # 11 Exhibit Sealed 11)(McCawley, Sigrid) (Entered: 05/05/2017)
05/05/2017   908 MOTION for Order Directing the FBI to Produce Photographs to the Court .
                 Document filed by Virginia L. Giuffre.(Edwards, Bradley) (Entered: 05/05/2017)
05/05/2017   909 DECLARATION of Bradley Edwards in Support re: 908 MOTION for Order
                 Directing the FBI to Produce Photographs to the Court .. Document filed by Virginia
                 L. Giuffre. (Attachments: # 1 Exhibit Sealed A, # 2 Exhibit Sealed B)(Edwards,
                 Bradley) (Entered: 05/05/2017)
05/08/2017   910 JOINT LETTER MOTION to Adjourn Conference addressed to Judge Robert W.
                 Sweet from Sigrid McCawley and Jeff Pagliuca dated May 8, 2017. Document filed by
                 Virginia L. Giuffre.(McCawley, Sigrid) (Entered: 05/08/2017)
05/08/2017   911 ORDER granting 905 Letter Motion for Leave to File Excess Pages: So ordered.
                 (Signed by Judge Robert W. Sweet on 5/8/2017) (jwh) (Entered: 05/08/2017)
05/09/2017   912 ORDER granting 910 Letter Motion to Adjourn Conference: So ordered. (Oral
                 Argument set for 5/25/2017 at 12:00 PM before Judge Robert W. Sweet. Pretrial
                 Conference set for 5/25/2017 at 12:00 PM before Judge Robert W. Sweet.) (Signed by
                 Judge Robert W. Sweet on 5/9/2017) (jwh) (Entered: 05/09/2017)
05/09/2017         Set/Reset Deadlines as to 885 MOTION to Exclude Philip Barden from Testifying at
                   Trial, to Exclude Defenses Based Upon Certain Documents and for Adverse Inference
                   Jury Instruction ; 878 MOTION to Exclude Undisclosed Witnesses and Exhibits
                   Pursuant to Fed. R. Civ. P. 37(c): Motion Hearing set for 5/25/2017 at 12:00 PM
                   before Judge Robert W. Sweet. (jwh) (Entered: 05/09/2017)
05/10/2017   913 JOINT LETTER MOTION to Adjourn Conference addressed to Judge Robert W.
                 Sweet from Sigrid McCawley and Jeff Pagliuca dated May 10, 2017. Document filed
                 by Virginia L. Giuffre.(McCawley, Sigrid) (Entered: 05/10/2017)
05/11/2017   914 ORDER granting 913 Letter Motion to Adjourn Conference: So ordered. (Signed by
                 Judge Robert W. Sweet on 5/11/2017) (jwh) (Entered: 05/11/2017)
05/19/2017   915 NOTICE OF INTERLOCUTORY APPEAL from 892 Memorandum & Opinion,,.
                 Document filed by Alan M. Dershowitz. Form C and Form D are due within 14 days
                 to the Court of Appeals, Second Circuit. (Lebowitz, David) (Entered: 05/19/2017)
05/19/2017         Appeal Fee Due: for 915 Notice of Interlocutory Appeal. $505.00 Appeal fee due by
                   6/2/2017. (nd) (Entered: 05/19/2017)
05/19/2017         Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                   Appeals re: 915 Notice of Interlocutory Appeal. (nd) (Entered: 05/19/2017)
05/19/2017         Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                   Electronic Files for 915 Notice of Interlocutory Appeal filed by Alan M. Dershowitz
                   were transmitted to the U.S. Court of Appeals. (nd) (Entered: 05/19/2017)
05/24/2017   916 STIPULATION OF VOLUNTARY DISMISSAL It is hereby stipulated and agreed by
                 and between the parties and/or their respective counsel(s) that the above−captioned
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                   action is voluntarily dismissed, with prejudice against the defendant(s) Ghislaine
                   Maxwell and without costs to either party pursuant to Rule 41(a)(1)(A)(ii) of the
                   Federal Rules of Civil Procedure. Document filed by Virginia L. Giuffre.(Edwards,
                   Bradley) (Main Document 916 replaced on 5/25/2017) (ama). (Main Document 916
                   replaced on 5/26/2017) (tn). (Main Document 916 replaced on 5/30/2017) (tn).
                   (Entered: 05/24/2017)
05/25/2017         USCA Case Number 17−1625 from the U.S. Court of Appeals, Second Circuit
                   assigned to 915 Notice of Interlocutory Appeal filed by Alan M. Dershowitz. (nd)
                   (Entered: 05/25/2017)
05/25/2017         Terminate Transcript Deadlines (jwh) (Entered: 05/25/2017)
05/25/2017   918 LETTER addressed to Judge Robert W. Sweet from Andrew G. Celli, Jr. dated May
                 25, 2017 re: Request for Leave to File a Letter Under Seal. Document filed by Alan M.
                 Dershowitz.(Celli, Andrew) (Entered: 05/25/2017)
05/25/2017         ***DELETED DOCUMENT. Deleted document number 917 Joint Stipulation
                   for Voluntary Dismissal. The document was incorrectly filed in this case. (tn)
                   (Entered: 05/26/2017)
05/25/2017   919 JOINT STIPULATION FOR DISMISSAL: that this action shall be DISMISSED
                 WITH PREJUDICE, with each party to bear its own attorneys' fees and costs.
                 Ghislaine Maxwell terminated. (Signed by Judge Robert W. Sweet on 5/25/2017) (tn)
                 (tn). Modified on 5/30/2017 (tn). (Entered: 05/30/2017)
05/31/2017   920 NOTICE OF APPEAL from 892 Memorandum & Opinion,,. Document filed by
                 Michael Cernovich d/b/a Cernovich Media. Filing fee $ 505.00, receipt number
                 0208−13725473. Form C and Form D are due within 14 days to the Court of Appeals,
                 Second Circuit. (Wolman, Jay) (Entered: 05/31/2017)
05/31/2017         Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                   Appeals re: 920 Notice of Appeal. (tp) (Entered: 05/31/2017)
05/31/2017         Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                   Electronic Files for 920 Notice of Appeal, filed by Michael Cernovich d/b/a Cernovich
                   Media were transmitted to the U.S. Court of Appeals. (tp) (Entered: 05/31/2017)
06/06/2017         Appeal Fee Paid electronically via Pay.gov: for 915 Notice of Interlocutory Appeal.
                   Filing fee $ 505.00. Pay.gov receipt number 0208−13685185, paid on 05/19/2017.
                   [USCA Case Number 17−1625]. (nd) (Entered: 06/06/2017)
06/14/2017   921 SEALED DOCUMENT placed in vault.(rz) (Entered: 06/14/2017)
06/21/2017   922 LETTER addressed to Judge Robert W. Sweet from Andrew G. Celli. Jr. dated June
                 21, 2017 re: Confidentiality Designations. Document filed by Alan M. Dershowitz.
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, #
                 6 Exhibit 6)(Celli, Andrew) (Entered: 06/21/2017)
06/22/2017   923 SEALED DOCUMENT placed in vault.(mps) (Entered: 06/22/2017)
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

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                                              ..
                                              .............................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                     15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X



                     Memorandum of Law in Support of Defendant’s
                           Motion for Summary Judgment




                                                                                              Laura A. Menninger
                                                                                              Jeffrey S. Pagliuca
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      A.            Summary judgment is warranted to the extent plaintiff seeks to impose liability on
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                    for republication of the January 2015 statement would violate the First
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            2.                  Plaintiff voluntarily injected herself into public controversies related to the
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            4.                  Plaintiff has maintained regular and continuing access to the media. ...... 54

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            1.                  The January 2015 statement accurately denied that Ms. Maxwell met
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January 6, 2017.

                               Respectfully submitted,



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                               CERTIFICATE OF SERVICE

      I certify that on January 6, 2017, I electronically served this Memorandum in Support of
Defendant’s Motion for Summary Judgment via ECF on the following:

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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VIRGINIA L. GUIFFRE,                                      :
                                                          :
                           Plaintiff,                     :   Case No.: 15-cv-7433 (RWS)
                                                          :
         -against-                                        :
                                                          :
GHISLAINE MAXWELL,                                        :
                                                          :
                           Defendant.                     :
                                                          :
----------------------------------------------------------x


                   MEMORANDUM OF LAW IN SUPPORT OF PROPOSED
         INTERVENOR MICHAEL CERNOVICH D/B/A CERNOVICH MEDIA’S

                             MOTION TO INTERVENE AND UNSEAL
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                                  MEMORANDUM OF LAW
       Michael Cernovich (“Cernovich”) d/b/a Cernovich Media (“Movant” or “Intervenor”) is a
lawyer, author, documentary filmmaker, author, and host of the Mike Cernovich Podcast.
See Declaration of Michael Cernovich (“Declaration”) at ¶ 3. His broadcasts on Periscope have

over 63,000 subscribers and 13 million “likes”, and are watched by tens-of-thousands of people

per episode.1 See id. at ¶ 4. His Twitter account, in which he reports on news and provides opinion,

has nearly 200,000 followers and reaches millions monthly. See id. at ¶ 8.
       Part of Cernovich Media’s mission is conducting investigative journalism in pursuit of an

open government.       Maxwell’s currently sealed pleadings, and anticipated future related
documents, prevents the public from learning about wrongdoing by high level government

officials, media moguls and high profile business people. Cernovich Media is an organization
whose mission is to use and promote investigative journalism as a tool to expose corruption and

abuse of public power by promoting transparency, accountability, and public awareness, by

involving private citizens in the discussion of these problems. Cernovich Media cannot conduct
its Forth Estate function if this Court allows the Parties to conduct their dispute outside of the
normal sunlight of transparency and accessibility. The public has a right to see Maxwell’s Motion
for Summary Judgment and the press is here to show it to them.
       Movant takes no position with respect to the relative merits of the Parties’ arguments in

this litigation. However, Movant takes the absolute position that all Parties to this litigation have
committed a transgression in that they have sought to shield from scrutiny that which rightfully

should be exposed to sunlight. The courts do not belong to the parties – they belong to the people.
Craig v. Harney, 331 U.S. 367, 374 (1947) (“what transpires in the court room is public property”).

Although the Court originally ordered that the Parties had to seek leave to file under seal (ECF

No. 62), it subsequently amended that Order to permit the Parties to substitute their judgment for
the Court’s and seal any document they chose. See Order of August 8, 2016, ECF No. 348.

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    His Periscope coverage of the Republican National Convention and Democrat National
Convention was featured on Periscope’s main page and served as one of the only real-time sources
of information from those conventions. See Cernovich Declaration at ¶ 4.


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The Parties have abused this rare privilege and the August 8 Order should be vacated. If the Parties

wished to litigate in private, then they should have chosen to arbitrate this matter privately.
Now that the Parties have used the public’s courts, the Parties must have their dispute in full view.

As such, Movant is entitled to access and publish judicial documents currently sealed and those
that would improperly be sealed in the future.

1.0     Cernovich Media May Properly Intervene

        Under Rule 24(b)(2), “[o]n timely motion, the court may permit anyone to intervene who
is given a conditional right to intervene by a federal statute or has a claim or defense that shares

with the main action a common question of law or fact.” Fed. R. Civ. P. 24(b)(2) (colons and
alphanumerals omitted). Permissive intervention is permitted where, as here, a member of the
public seeks intervention to modify a protective order and inspect court documents. AT & T Corp.
v. Sprint Corp., 407 F.3d 560, 562 (2d Cir. 2005) (“[P]ermissive intervention is the proper method

for a nonparty to seek a modification of a protective order.”); see also E.E.O.C. v. Nat’l Children’s
Ctr., Inc., 146 F.3d 1042, 1045 (D.C. Cir. 1998) (collecting cases and stated that “despite the lack

of a clear fit with the literal terms of Rule 24(b), every circuit court that has considered the question
has come to the conclusion that nonparties may permissively intervene for the purpose of

challenging confidentiality orders.”). Here, Movant is seeking access to this Court’s records,
specifically Ghislaine Maxwell’s (hereinafter “Maxwell”) currently sealed Memorandum of Law
in Support of Defendant’s Motion for Summary Judgment (ECF No. 541), Declaration of Laura

A. Menninger in Support of Defendant’s Motion for Summary Judgment (ECF No. 542) and all
exhibits annexed thereto, and any and all other notices, pleadings, memoranda, declarations,

exhibits, orders, and other documents filed or to be filed under seal in relation to Defendant’s
Notice of Motion for Summary Judgment (ECF No. 540).

        The motion is timely. “When a member of the public moves to intervene to unseal judicial

records, the motion to intervene is timely as long as the documents remain under seal because
sealing places the public’s interest in open access in controversy.” NML Capital, Ltd. v. Republic

of Arg., No. 2:14-cv-492-RFB-VCF, 2014 U.S. Dist. LEXIS 173780, at *11 (D. Nev. Dec. 12,


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2014). Here, Maxwell filed her Motion for Summary Judgment and related documents on January

9, 2017. (ECF No. 541). Movant has a significantly protectable interest in this case, as members
of Cernovich Media, particularly Cernovich, have been following and reporting on the issues in

this case, and have contributed to providing the public with information regarding this case.
See Declaration at ¶¶ 9-10. “[I]ntervention by the press – a step preliminary to determining

whether any sealed documents should be disclosed – should be granted absent some compelling

justification for a contrary result.” In re Pineapple Antitrust Litig., 2015 U.S. Dist. LEXIS 122438,
at 5 (S.D.N.Y. Aug. 7, 2015); see also Schiller v. City of N.Y., 2006 U.S. Dist. LEXIS 70479, at 5

(S.D.N.Y. Sep. 27, 2006) (noting that: “The Times may well have an absolute right of intervention
in the circumstances of this case”); In re NASDAQ Mkt.-Makers Antitrust Litig., 164 F.R.D. 346,
351 (S.D.N.Y. 1996) (granting intervention as of right to newspaper to seek modification of
protective order and access to documents in judicial proceeding); and see Kelly v. City of New

York, 2003 U.S. Dist. LEXIS 2553, 2003 WL 548400, *3 (S.D.N.Y. Feb. 24, 2003) (newspaper
intervention granted so that it may “articulate the public interest in access to the records at issue”).

Movant’s intervention is appropriate to protect not only its own interest in covering this case, but
also to protect the interests of the public at large.

2.0     Analysis
        As discussed herein, there is no proper basis to deny Movant access to the Summary
Judgment documents at issue. There are both common law and First Amendment rights of access.

The Parties have not provided any compelling reason why those rights should be abridged.
        2.1     Historical and Constitutional Presumptions

        There is both a First Amendment and common law right of access to court records.
Both remind us that there is a strong presumption of openness in the judicial branch.

That presumption should not be laid aside lightly.




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               2.1.1   Common Law Right to Access
       The common law right to access is long-established.                 See Nixon v. Warner
Communications, 435 U.S. 589, 597 (1978). In Nixon, the Supreme Court recognized the federal
common law right “to inspect and copy public records and documents.” Id. This right extends to

motions filed in civil cases. “[H]istorically both civil and criminal trials have been presumptively

open.” E*Trade Fin. Corp. v. Deutsche Bank AG, 582 F. Supp. 2d 528, 531 (S.D.N.Y. 2008)

(citing Richmond Newspapers v. Virginia, 448 U.S. 555, 580 n.17 (1980)); see also id. at 599
(Stewart, J., concurring); and see Maryland v. Baltimore Radio Show, Inc., 338 U.S. 912, 920

(1950) (“one of the demands of a democratic society is that the public should know what goes on
in courts”).

        Courts have consistently noted that access to courts and court records is important for
public education, public trust, and the integrity of the court system. “[A] trial courtroom also is a

public place where the people generally and representatives of the media have a right to be present,

and where their presence historically has been through to enhance the integrity and quality of what
takes place.” Richmond Newspapers, 448 U.S. at 587 (1980). The press play a vital role in
ensuring that the public can view the workings of the judicial process. “What better way to
demonstrate to the public that its courts are fair and just than to say to the public, ‘come and view
the proceedings yourself and judge for yourself?” Suen v. Las Vegas Sands, Inc., District Court,

Clark County, Nevada, Case No. A493744-C at 8 (Apr. 16, 2013). Here, access to the court
records, especially Maxwell’s Motion for Summary Judgment, are particularly important because

this case involves claims of public concern. Adjudicating this case in secret would cast doubt on
the system and the people will be left wondering if another politician, celebrity, or business person

has been tied to any of the already public, and quite disturbing, allegations.

        The Second Circuit reinforced the common law presumption in Bernstein v. Bernstein
Litowitz Berger & Grossmann LLP, 814 F.3d 132, 142 (2d Cir. 2016) (“The courts have long

recognized the “general right to inspect and copy public records and documents, including judicial
records and documents.”) (citing Nixon, 435 U.S. at 597, 598 & n.7). “This right is said to predate



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the Constitution.” Bernstein 814 F.3d at 142 (citing United States v. Amodeo II, 71 F.3d 1044,

1048 (2d Cir. 1995)) (internal quotation marks omitted).

               2.1.2   The First Amendment Compels Access
       The First Amendment requires public access to court proceedings. See Press-Enter. Co. v.
Superior Court, 478 U.S. 1, 10 (1986);2 Hartford Courant Co. v. Pellegrino, 380 F.3d 83, 91 (2d

Cir. 2004) (the public and the press have a “qualified First Amendment right to attend judicial

proceedings and to access certain judicial documents.”). This is long unquestioned in the criminal

context, but the Supreme Court has made it clear that this extends to civil cases. Richmond
Newspapers, 448 U.S. at 580 n.7. “[T]he First and Fourteenth Amendments clearly give the press

and the public a right of access to trials themselves, civil as well as criminal.” Id. at 599 (Stewart,
J. concurring). “[T]he First Amendment guarantees a qualified right of access not only to criminal
but also to civil trials and to their related proceedings and records. N.Y. Civ. Liberties Union v.

N.Y.C. Transit Auth., 684 F.3d 286, 298 (2d Cir. 2011) (citing Westmoreland v. Columbia Broad.
Sys., Inc., 752 F.2d 16, 22 (2d Cir. 1984)); see also Hartford Courant, 380 F.3d at 93 (2d Cir.
2004) (finding a right to civil and criminal docket sheets).

       Notably, every circuit that has considered whether the First Amendment requires public
access in civil cases has concluded it does. See, e.g., Rushford v. New Yorker Magazine, Inc., 846
F.2d 249, 253-54 (4th Cir. 1988); In re Continental Ill. Secs. Litig., 732 F.2d 1302, 1308 (7th Cir.
1984); Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1070 (3d Cir. 1984); In re Iowa Freedom

of Info. Council, 724 F.2d 658, 661 (8th Cir. 1983); Newman v. Graddick, 696 F.2d 796, 801 (11th

Cir. 1983). “The First Amendment requires that court proceedings be open to the public, and by
extension the news media, absent the most clearly articulated and compelling reason for closing

them in a particular circumstance.” Katzman v. Victoria’s Secret Catalogue, 923 F. Supp. 580,

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    Historically, the Supreme Court noted: “Long ago in the celebrated trial of Aaron Burr for
treason, for example, with Chief Justice Marshall sitting as trial judge, the probable-cause hearing
was held in the Hall of the House of Delegates in Virginia, the courtroom being too small to
accommodate the crush of interested citizens.” Id. citing to United States v. Burr, 25 F. Cas. 1
(No. 14,692) (CC Va. 1807).


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588 (S.D.N.Y. 1996). The First Amendment, “protects the public’s right to have access to judicial

documents [and] has been understood to be stronger than its common law ancestor and
counterpart.” United States v. Erie Cty., 763 F.3d 235, 236 (2d Cir. 2014). No compelling reason

for secrecy exists here. The Parties are trying to have this Court to themselves, without allowing
the public and the media to observe how they use it. This defies the constitutional mandate that

legal proceedings are inherently public affairs. Richmond Newspapers, 448 U.S. at 580; Globe

Newspaper Co. v. Superior Court, 457 U.S. 596, 605 (1982).

        2.2     Standard for Sealing a Court Record
        The Court should begin from a strong presumption in favor of access and, “[i]n most cases,

a judge must carefully and skeptically review sealing requests to insure that there really is an
extraordinary circumstance or compelling need.” In re Orion Pictures Corp., 21 F.3d 24, 27 (2d
Cir. 1994) (emphasis added); see also SEC v. TheStreet.com, 273 F.3d 222, 232 (2d Cir. 2001);

Hartford Courant Co. v. Pellegrino, 380 F.3d 83, 91(2d Cir. 2004) (“The Supreme Court [has]
recognized that the First Amendment grants both the public and the press a qualified right of
access” to judicial proceedings.); Westmoreland v. CBS, Inc., 752 F.2d 16, 22 (2d Cir. 1984)

(“There is, to be sure, an abundance of support in the cases for a constitutionally grounded public
right of access to the courtroom.”); United States v. Myers (In re in re Nat’l Broad. Co.), 635 F.2d
945 (2d Cir. 1980) (finding that there is an especially strong presumption requiring extraordinary
circumstances to justify restrictions). “Once a First Amendment right of access to judicial

documents is found, the documents may be sealed only if specific, on the record findings are made

demonstrating that closure is essential to preserve higher values and is narrowly tailored to serve
that interest. And, broad and general findings by the trial court are not sufficient to justify closure.”

United States v. Erie Cty., 763 F.3d 235, 236 (2d Cir. 2014).

        The starting point is to determine whether the documents at issue are “judicial documents”
for which a presumption of access applies. See SEC v. TheStreet.Com, 273 F.3d 222, 231 (2d Cir.

2001) (“[A] subspecies of sealed documents in civil cases—so-called ‘judicial documents’—




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deserve a presumption in favor of access.” When evidence is used in a dispositive motion or its

opposition, there must be a compelling reason to shield it from public view. Generally, a “[f]inding
that a document is a “judicial document” triggers a presumption of public access.” Newsday LLC

v. Cty. of Nassau, 730 F.3d 156, 167 n.15 (2d Cir. 2013). Documents that directly affect
adjudication or are used, “to determine litigants’ substantive legal rights, the presumption of access

is at its zenith…and thus can be overcome only by extraordinary circumstances.” Bernstein v.

Bernstein Litowitz Berger & Grossmann LLP, 814 F.3d 132, 142 (2d Cir. 2016) (citing Lugosch
v. Pyramid Co., 435 F.3d 110, 121 (2d Cir. 2006) and United States v. Amodeo II, 71 F.3d 1044

(2d Cir. 1995)) (internal quotation marks omitted). The locus of the inquiry is whether the
document “is presented to the court to invoke its powers or affect its decisions.” Bernstein, 814
F.3d at 142.

               2.2.1 The Compelling Reason Standard Applies to the Documents at Issue
       As dispositive judicial documents, there must be compelling reasons to seal the documents
at issue. “Since such a document is the basis for the adjudication, only the most compelling reasons
can justify sealing.” Bernstein v. Bernstein Litowitz Berger & Grossmann LLP, 814 F.3d 132, 136

(2d Cir. 2016). Here, Maxwell’s Motion for Summary Judgment and related filings, including
responsive and related documents to be filed, asks for a final adjudication of the case.
The Bernstein Court noted, the Second Circuit has specifically held that not only are motions for
summary judgment dispositive, but even, “report[s] submitted in connection with a summary

judgment motion [are] entitled to a strong presumption of access.” Bernstein, 814 F.3d at 142

(citing Joy v. North, 692 F.2d 880, 894 (2d Cir. 1982)).
       A dispositive motion is one that relates to the settlement of an issue in a case and in this

case a motion for summary judgment is dispositive as it seeks to settle the entire case. The claimed

compelling reasons must be supported by specific factual findings. United States v. Erie Cty., 763
F.3d 235, 236 (2d Cir. 2014). The compelling reason and facts must show more than mere

conjecture, and more than embarrassment, incrimination, or wider exposure of the facts to the




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public. Bernstein, 814 F.3d at 144 (finding that information that was embarrassing or suggested

the party was complicit in a kickback scheme fell, “woefully short of the kind of showing which
raises even an arguable issue as to whether it may be kept under seal”) (internal citation omitted).

Maxwell’s Summary Judgment pleadings have been improperly sealed, as “privacy concerns”
alone cannot be a compelling reason to hide a final adjudication from the public. Anything in the

Motion for Summary Judgment that Maxwell considers embarrassing or raises a concern of

incrimination cannot be held back from the public for those reasons, as the press has the right to
report on the happenings of the judiciary. For a party to prevail on a showing of a compelling

reason to seal a court record, that party must present specific factual findings sufficient to
overcome the presumption that court records will be open to the public. The Parties have failed to
provide a compelling reason to seal the record.

               2.2.2   The Parties Have Provided Neither a “Compelling Reason” nor “Good
                       Cause” to Seal the Summary Judgment Documents
       The Court must apply the stringent compelling reason standard because Maxwell has filed
a motion for summary judgment which could lead to the adjudication of this case. Due to all the

redactions in the record, even the reasons for the Protective Order are hidden from the public.

(ECF No. 39-1). Movant recognizes that this Court entered an order stating that “[a]llegations
implicating absent third parties… implicate and potentially irreparably intrude on the privacy of
individuals not present before this Court.) (ECF No. 250). Preliminary, the Parties do not have
standing to raise absent third party privacy concerns. More importantly, even if they did, the

concerns raised are insufficient when contrasted with the rights of the people to have open courts,
an issue that it appears the Parties did not raise with the Court. If the “absent third parties” are

public figures, then this would be a matter of great public interest. Here, Movant has no way of

knowing. Ultimately, mere privacy concerns are insufficient to warrant sealing of records.
The Parties have presented neither a compelling reason nor good cause as to why Maxwell’s

Motion for Summary Judgment should be sealed.            Moreover, ECF No. 250 only address

“the names and identifying information of individuals”, yet the Summary Judgment documents


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redact well in excess of that limited matter. No matter what standard the Court applies, Maxwell’s

Motion for Summary Judgment must be unsealed because Maxwell has not put forth any
compelling reason or any particularized showing of good cause as to why the Motion for Summary

Judgment has been sealed, other than that the Parties desire privacy.3

               2.2.3   Movant’s Motion is Distinct from Prof. Dershowitz’s
       Movant is aware that Prof. Alan M. Dershowitz filed a Motion to Intervene (ECF No. 362),

which appears to have been denied (ECF No. 496). The denial is for unknown reasons, as the

Order denying the Motion is itself sealed. Such is only identifiable on the docket by virtue of Prof.
Dershowitz’s notice of appeal (ECF No. 504).

       The only opposition to Prof. Dershowitz’s Motion was filed by Defendant. See ECF
No. 406. Plaintiff challenged the motion on three primary bases: (1) documents relating to
discovery were sought; (2) Prof. Dershowitz was pursuing only his personal interest; and (3) Prof.

Dershowitz had agreed to be bound by the protective order. See id. None of those bases are present
here. Movant recognizes that “documents such as those passed between the parties in discovery
often play no role in the performance of U.S. Const. Art. III functions [ ]”. Bernstein, 814 F.3d

at 136. Movant is not presently seeking access to such documents, but rather to those specifically
playing a role in the adjudication of the merits of the action. Although Prof. Dershowitz may have




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    Although the Second Circuit demands a strong presumption for judicial documents, the Parties
could not, hypothetically even meet a lower “good cause” standard, as none has been articulated.
See, e.g., United States v. Amodeo II, 71 F.3d 1044, 1048 (2d Cir. 1995); see also Bernstein, 814
F.3d at 142 (“By contrast, documents ‘such as those passed between the parties in discovery’ often
play ‘no role in the performance of Article III functions’ and so the presumption of access to these
records is low.”) (citing Amodeo II, 71 F.3d at 1050). Defendant must articulate specific reasons
as to why the Court must seal the Motion for Summary Judgment. Here, there is a Protective Order
that states that there are privacy interests at stake (ECF No. 39-1), but Maxwell has not articulated
any reasons as to why the specific sealed matters relating to the Motion for Summary Judgment,
which asks for final adjudication of this case, should be hidden from public view. Thus, the press,
including Movant, has the right to intervene to unseal the documents.



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had private interests motivating his motion, Movant’s motivation is grounded solely in the public

interest.4 Finally, Movant has never agreed to be bound by the Protective Order.
        Plaintiff’s sole articulation of a reason to deny access appeared redacted in one sentence of

her opposition, and citing to Louis Vuitton Malletier, S.A. v. My Other Bag, Inc., 156 F.Supp.3d
425, 445 n.7 (S.D.N.Y. 2016). See ECF No. 406 at p. 17. There is nothing in the public record

that would allow Movant to evaluate (a) the specific privacy interest at issue; or even (b) whether

that issue relates to Summary Judgment, as opposed to just the discovery exhibits sought by
Prof. Dershowitz. Movant has not even been given an inkling as to what the privacy interests are,

especially as much of Plaintiff’s claims of a sexual nature are already matters of public record.
Moreover, in Louis Vuitton Malletier, the court did not rely upon the sealed matters; in contrast,
Maxwell’s entire argument, pages 1-68 of ECF No. 541, the memorandum in support of summary
judgment, was redacted. The Court must necessarily rely upon such matters to adjudicate the case.

Plaintiff’s single sentence is unlikely to constitute all 68 pages of Defendant’s argument.
Therefore, the Order as to Prof. Dershowitz does not adjudicate the instant motion.

3.0     Conclusion
        Both parties are public figures and the case has been covered by multiple state and national

media outlets. The media has a vested interest in these and all court proceedings, and the public
in the United States and beyond have a strong interest in how these courts are being used in this
dispute. If Cernovich Media is not permitted to intervene and view court records, it will suffer

great impairment, as it cannot perform their Fourth Estate function without access to public
documents. By extension, the public will be harmed because it will be deprived of its right to

know.
...

...

...

4
   Movant assumes arguendo that this public/private is relevant. But see Amodeo II, 71 F.3d at
1050.


                                                 10
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       Based on the foregoing, Cernovich Media respectfully requests that this Court unseal

Maxwell’s summary judgment pleadings and preclude automatic sealing of future related
documents, allowing the public and media access to these necessary and important judicial

documents.

Dated: January 19, 2017.                         Respectfully Submitted,

                                                 /s/ Jay M. Wolman
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                                                 Cernovich Media




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 19, 2017, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. I further certify that a true and correct copy

of the foregoing document being served via transmission of Notices of Electronic Filing generated
by CM/ECF.

                                            Respectfully submitted,

                                            /s/ Jay M. Wolman
                                            Jay M. Wolman




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                             United States District Court
                            Southern District of New York

Virginia L. Giuffre,

               Plaintiff,              Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/




                        PLAINTIFFS’ RESPONSE TO DEFENDANT’S
                          MOTION FOR SUMMARY JUDGMENT




                                 [REDACTED]




                                          i
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                             United States District Court
                            Southern District of New York

Virginia L. Giuffre,

               Plaintiff,              Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/


          SOUTHERN DISTRICT OF NEW YORK LOCAL RULE 56.1 PLAINTIFF’S
     STATEMENT OF CONTESTED FACTS AND PLAINTIFF’S UNDISPUTED FACTS




                                      [REDACTED]




                                         1
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                             United States District Court
                            Southern District of New York
Virginia L. Giuffre,

               Plaintiff,              Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

               Defendant.

____________________________/


            DECLARATION OF SIGRID MCCAWLEY IN SUPPORT OF
       PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY
                    JUDGMENT AND UNDISPUTED FACTS


                                 [REDACTED]
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                             United States District Court
                            Southern District of New York


Virginia L. Giuffre,

               Plaintiff,              Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/




         RESPONSE IN OPPOSITION TO MOTION TO INTERVENE (DE 550)




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I.      PRELIMINARY STATEMENT

        On the heels of this Court denying Alan Dershowitz’s request to publish selections of

Defendant’s filed documents in his motion to intervene, Dershowitz’s close associate has filed

another motion to intervene, seeking substantially the same relief.

        Proposed Intervenor and purported “journalist” Michael Cernovich requests that this

Court grant him intervenor status for the purpose of unsealing and publishing a single filing from

the above-captioned case: Defendant’s Motion for Summary Judgment, along with its nearly 700

pages of exhibits. He claims that “[t]he public has a right to see Maxwell’s Motion for Summary

Judgment and the press is here to show it to them.” Mot. at 1. Curiously, Mr. Cernovich does not

request to see any other sealed portion of the extensive record in this case (now spanning 586

docket entries). Nor does he seek access to Ms. Giuffre’s Response in Opposition to Defendant’s

Motion for Summary Judgment. Indeed, his cherry-picking of just one filing by Defendant to

publicize belies his stated position that “all Parties to this litigation have committed a

transgression” by filing documents under seal purusant to this Court’s Orders.

        Cernovich also claims that his motion for unsealing is somehow “distinct from Professor

Dershowitz’s” motion . Mot. at 9. Yet, Cernovich’s motion clearly echoes the motion to

intervene brought by Alan Dershowitz.1 Indeed, one of the documents Dershowitz sought to

publicize is attached, in full, to Defendant’s motion for summary judgment, and the other

documents Dershowitz sought to publicize are described in detail by deposition testimony

attached to Defendant’s motion for summary judgment. In truth, both motions seek the same

relief – to selectively publish certain documents supporting Defendant’s position in this

litigation.
1
 Dershowitz has since appealed this Court’s ruling on his motion to intervene to publish select
documents filed by Defendant, which is currently pending in the Second Circuit. It is our
understanding that Dershowitz will shortly be moving to dismiss his appeal.
                                                  1
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       This seeming “concidence” is less remarkable given the strong ties shared by Dershowitz

and Cernovich. Cernovich, pictured below, is the executive producer of a film starring2 none

other than Alan Dershowitz3:




Online film promotions claim the following:




Indeed, a clip of Dershowitz’s starring role in the film is featured by its promotional website:4




2
  See http://www.silencedmovie.com/ (highlighting added).
3
  http://www.imdb.com/title/tt6282878/.
4
  Id.
                                                 2
      Case 16-3945, Document 109, 09/25/2017, 2133027, Page123 of 202
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Cernovich has not be shy about broadcasting his relationship with, and influence by, Alan

Dershowitz, and last summer tweeted:




Cernovich also attributes his inspriation to attend law school to Dershowitz:5




       As the Court is aware, (and as, no doubt, Cernovich is aware from reviewing the

Complaint), this is a case that involves the Defendant’s sexual abuse and trafficking of Ms.

5
 https://www.dangerandplay.com/2016/12/01/who-is-in-silenced-the-best-documentary-on-free-
speech-ever/ (highlighting added).
                                                3
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Giuffre while she was a minor child. As the Court is also aware, evidence relating to the sexual

abuse and trafficking of minors and other young women is contained in many of the documents

in this case. This Court’s Protective Order (DE 62) protects both the identities and the

cirucmstances surrounding victims of sexual abuse. The Court has already ruled that the

Protective Order should not be disturbed by an intervenor seeking to publish self-selected parts

of the record, and nothing in the instant motion should lead to a different conclusion.

          Additionally, Cernovich’s previous statements regarding sexual assault belie his

professed purpose of promoting “openness in the judicial branch,” (Mot. at 3), and instead point

to an illegitimate and improper purpose for seeking to publish these documents-a personal

vendetta, that is wholly divorced from anything related to the public right of access to the

Courts.

          Cernovich appears to have a personal interest (to use his words) in “slut sham[ing]”

women. Multiple websites, including Wikipedia.com, captured various tweets issued by

Cernovich.6 Cernovich’s tweets show that his interest in sexual assault is not simply journalistic,

as he claims, but instead betrays a purient interest to fetishize rape:




          Another tweet he issued expressed an opinion that “[d]ate rape does not exist,” indicating

that he does not believe someone can be raped by an acquaintance:




6
 http://www.mediaite.com/online/fox-news-under-fire-after-inviting-rape-apologist-on-as-guest/
http://www.thedailybeast.com/articles/2016/08/09/why-did-fox-news-welcome-date-rape-
apologist-mike-Cernovich.html.
                                                   4
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Needless to say, the girls and young women who have provided testimony or other information

for this case discussed sexual abuse. Based on Cernovich’s published comments, it is likely that

he will not only expose details relating to sexual assault of Ms. Giuffre, but to improperly expose

identities of other victims merely to satisfy his personal interest in such matters. Indeed, it

appears that Cernovich harbors a special antipathy for victims of sexual assault, saying “why

should I care when women are raped?”




According to The New Yorker, Cernovich “was accused of raping a woman he knew; the charge

was later dropped, but a judge ordered him to do community service for midemeanor battery.”7

         Cernovich also published his ideas on the importance of “slut sham[ing]” women,

particularly in relation to women of a certain race:




7
    http://www.newyorker.com/magazine/2016/10/31/trolls-for-trump.
                                                  5
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AIDS is not the only deadly disease he has used to attack women in relation to sexual activity

and rape. He has also tweeted, “Who cares about breast cancer and rape? Not me.”8

          Far from being a legitimate “journalist” reporting on news, Cernovich simply uses

electronic media to engage in his own personal vendetta:




          Due to the sensitive nature of the subject matter of this litigation – including but not

limited to the sexual assault of numerous minors – this Court entered a Protected Order as

stipulated by the Parties (DE 62). It is wholly inappropriate for an individual with the personal

vendettas discussed above, not to mention close ties with the previous proposed intervenor, to be

able to intervene in this case to obtain access to sensitive materials relating to child sexual assault

and sex trafficking.




II.       BACKGROUND

          This is a case concerning sex abuse of minors, brought by a woman who was herself a

minor victim of sex abuse. Accordingly, this Court has recognized from the outset the paramount

importance of a protective order in this case, announcing at one of the first hearings in the case

that “of course there should be a protective order in this case.” Thereafter, on March 18, 2016,

“[u]pon a showing of good cause,” the Protective Order was entered (DE 62 at p.1). In reliance



8
    Id.
                                                    6
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on these rulings, both parties have now designated hundreds of pages of materials confidential

under the Court’s Order.

III.   LEGAL ARGUMENT

       A.      This Court Can Deny the Motion Before Reaching the Merits

       The Court may deny Cernovich’s motion without reaching the merits based on its

discretion. Fed. R. Civ. P. 24(b)(3); See, e.g., Liz Claiborne, Inc. v. Mademoiselle Knitwear, Inc.,

1996 WL 346352, at *4 (S.D.N.Y. June 26, 1996) (Sweet, J.) (denying leave to intervene); Levin

v. U.S., 633 Fed. Appx. 69, 70 (2nd Cir. 2016) (affirming district court’s denial of motion to

intervene, explaining “[b]ecause of the fact-intensive nature of an intervention decision, we

review for ‘abuse of discretion’ a district court's order denying intervention . . . by permission.”).

As the documents Cernovich seeks to publish are substantively the same as those Dershowitz

sought to publish, this Court can deny Cernovich’s motion on the grounds that publishing the

documents he seeks would prejudice Ms. Giuffre. Indeed, (as explained in her previous briefing)

it would be extremely prejudicial to Ms. Giuffre should the Court allow Cernovich to publish–

out of the hundreds of documents filed under seal in this case –Defendant’s motion for summary

judgment and exhibits alone, not simply because such a publication wouuld be grossly one-sided,

but also because Defendant’s Motion for Summary Judgment and Rule 56.1 Statement of Fact is

rife with misstatments and falsehoods.

       B.      Cernovich’s Attempt to Distinguish his Motion from Dershowitz’s Fails:
               Cernovich Acts as Dershowitz’s Proxy and Dershowitz’s Illegitimate Purpose
               is Imputed to Cernovich (and Cernovich has an Illegitimate Purpose of His
               Own)

       “A litigant's purpose in seeking modification of an existing protective order is also

relevant for determining whether to grant a modification.” Dorsett v. County of Nassau, 289

F.R.D. 54, 65 (E.D.N.Y. 2012). Dershowitz’s failed attempt to publicize the same documents


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admitted his illegitimate purpose behind his motion: “My goal is to bring charges against the

client and require her to speak in court.” See McCawley Dec. at Exhibit 1, Australian

Broadcasting System (ABC), January 6, 2015.

        Indeed, in over fifty statements to the press, he has explained to the world (if not this

Court) his reasons for maintaining his attacks on Ms. Giuffre in the media, in which he has

publicly called her a “prostitute” and a “bad mother” to her three minor children. See McCawley

Dec. at Exhibit 2, Local 10 News, January 22, 2015. By his own words, Dershowitz wanted to

intimidate and harass Ms. Giuffre with the specter of his sending her “to jail.”

        Aligned in purpose, Cernovich and Dershowitz’s motivations are equally illegitimate.

Here Cernovich is someone who is a “rape apologist”9 and advocates “slut shaming”10. The

Court should not provide him access to sensitive materials describing the sexual assault of

minors and women identifying those victims.

        Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978), explained that “[i]It is

uncontested that the right to . . . copy judicial records is not absolute . . . access has been denied

where court files might have become a vehicle for improper purposes.” Nixon instructed that

lower courts should “exercise an informed discretion as to the release” of materials, because,

“[o]therwise, there would exhibit a danger that the court could become a partner in the use of the

subpoenaed material to gratify private spite or promote public scandal, with no corresponding

assurance of public benefit.” Nixon v. Warner Communications, Inc., 435 U.S. at 603 (internal

citations and quotations omitted).


9
 http://www.thedailybeast.com/article/2016/08/09/why-did-fox-news-welcome-date-rape-apologist-micke-
Cernovich.html
10

http://www.mediaite.com/online/fox-news-under-fire-after-inviting-rape-apologist-on-as-guest/
http://www.thedailybeast.com/articles/2016/08/09/why-did-fox-news-welcome-date-rape-
apologist-mike-Cernovich.html.
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       Under Nixon, this Court should not allow itself to be Cernovich’s partner in gratifying his

“private spite” for victims of sexual by giving him depictions of sexual assault to read and

publish. Nor should the Court gratify Dershowitz’s private spite for Ms. Giuffre by allowing

Cernovich to act as his proxy. This Court’s refusal to allow Dershowitz to publish materials due

to his illegitimate purpose also should bar Cernovich’s motion to publish the same and similar

materials for his own personal illegitimate purposes.

       Moreover, Cernovich’s public statements already generally besmirch rape victims. The

Second Circuit does not allow a court to unseal private and otherwise protected material to

enable a non-party to conduct a public smear campaign. U.S. v. Amodeo ("Amodeo II"), 71 F.3d

at 1044, 1051 (“The nature and degree of injury must also be weighed. This will entail

consideration not only of the sensitivity of the information and the subject but also of how the

person seeking access intends to use the information…personal vendettas…need not be aided.”)

(Emphasis added).

       Cernovich’s apparent personal vendetta against victims of sexual assault and Cernovich’s

personal relationship with Dershowitz (who has a personal vendetta against Ms. Giuffre)

constitute prima facie evidence that he seeks the revelation of these materials for an improper

personal vendetta. Therefore in accordance with governing law, this Court should hold that the

privacy interests in the materials Cernovich (and Dershowitz) seek outweigh any weak

presumption of access.

       C.      The (One-Sided) Materials Cernovich Seeks to Publish are Exactly the Type
               of Materials that are Appropriate for a Protective Order

       Cernovich’s motion also fails because the common law presumption of access is easily

overcome here by countervailing factors, namely that the materials at issue contain sensitive

information regarding the sexual assault of minors. Lugosch v. Pyramid Co. of Onondaga, 435


                                                 9
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F.3d 110, 119–20 (2d Cir. 2006) (noting that if a court finds documents to be judicial, it must

then assess the weight of the presumed access and determine if countervailing factors override

the presumption). And in this case, where so much of the evidence relates to sexual assault, and

sexual assault of minors, there are great countervailing factors to maintain this Court’s Protective

Order. Cernovich’s brief is entirely silent on the fact that the sealed documents in this case relate

to the sexual assault of minors (a fact he is no doubt aware of by his admitted reading Plaintiff’s

response in opposition to Dershowitz’s motion to intervene).11 His brief fails to make a showing

to the Court (or, indeed, offer any explanation at all) as to why some unspecified interested in

publicly revealing documents concerning the sexual assault of minors should take precedence

over the well-reasoned Protective Order this Court not only entered but repeatedly reaffirmed.

        D.      Cernovich’s Attempt to Make a Distinction About Summary Judgment
                Materials Also Fails

        Courts routinely maintain the seal over materials for which confidentiality is important,

including summary judgment materials. See Louis Vuitton Malletier, S.A. v. My Other Bag, Inc.,

156 F. Supp. 3d 425, 445 N7 (S.D.N.Y. 2016) (“As for competing considerations that counsel in

favor of allowing the parties to file their briefs under seal, the privacy interests of the parties in

preventing the public disclosure of private business figures and communications are not

insignificant. The Court therefore concludes that the balance of interests is in favor of allowing

the parties' [summary judgment] briefs to be filed under seal.”). This ruling is in-line with the

Second Circuit’s directive regarding how to assess the weight of the presumption of access. “The

presumption of access must be governed by the role of the material at issue in the exercise of

Article III judicial power and the resultant value of such information to those monitoring the


11
   “This is a case concerning sex abuse of minors, brought by a woman who was herself a minor
victim of sex abuse.” Ms. Giuffre Response in Opposition to Dershowitz’s Motion to Intervene
at 9.
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federal courts. Generally, the information will fall somewhere on a continuum from matters that

directly affect an adjudication to matters that come within a court's purview solely to insure their

irrelevance.” Amodeo II, 71 F.3d at 1049.

        Cernovich fails to make a showing that the documents he seeks – including the nearly

700 pages of exhibits - directly affect adjudication of this case. Briefing on summary judgment

has not yet closed. Indeed, Ms. Giuffre only filed her Response in Opposition to Defendant’s

Motion for Summary Judgment two days ago. It is unclear whether the Court will rely upon

Defendant’s voluminous exhibits to her Motion for Summary Judgment, as Defendant’s Motion

for Summary Judgment is wholly without merit, and should be summarily denied. If the motion

is denied, then there will be no “adjudication” as a result of the motion- the jury will make the

adjudication at trial- a trial that will be open to the public.

        “Where testimony or documents play only a negligible role in the performance of Article

III duties, the weight of the presumption is low and amounts to little more than a prediction of

public access absent a countervailing reason.” Amodeo II, 71 F.3d at 1050. The pages and pages

of exhibits (for example) attached to Defendant’s summary judgment will play, at best, a neglible

role in resolving this lawsuit. Accordingly, the documents sought by Cernovich (and Deshowitz)

are not unlikely to play any significant role in this case and access should be denied.

        E.      The Second Circuit Has a Presumption Against Modifying Protective Orders
                Upon Which Parties Reasonably Relied

        The Second Circuit has expressly acknowledged that its protective order modification test

has, as a general matter, a “strong presumption against the modification of a protective order, and

orders should not be modified absent a showing of improvidence in the grant of the order or

some extraordinary circumstance or compelling need.” In re Teligent, Inc., 640 F.3d 53, 59 (2d

Cir. 2011) (affirming denial of motion to lift confidentiality provisions of the protective order).


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       Indeed, “once a discovery protective order is in place, the applicable standard requires

party seeking to modify the order to show improvidence in the grant of the protective order or

some extraordinary circumstance or compelling need.” In re September 11 Litigation, 262 F.R.D.

274 (S.D. N.Y. 2009). Cernovich does not come close to making that demanding showing.

       Cernovich’s failure to make that showing stands out in sharp relief when he argues that

the “privacy concerns” of third-parties who are protected by the Court’s Protective Order – third

parties who only agreed to testify under auspices of the Protective Order, and who testified about

highly sensitive information concerning their own sexual assault – are “insufficient when

contrasted with the rights of the people to have open courts.” Mot. at 8. Unsurprisingly,

Cernovich cites no case in any jurisdiction to support such a fantastical claim. Cernovich’s

comes to this Court to argue that it should not protect testimony and evidence about sexual

assault and the sexual assault of minors with absolutely no authority supporting his position. For

that reason alone, this Court should deny this baseless motion.

               1.      The Record in This Case Shows That the Protective Order Was Not
                       Improvidently Granted.

       Despite Cernovich’s argument, the Protective Order, entered “[u]pon a showing of good

cause,” was not improvidently granted. (DE 62 at p. 1). “I want to be sure that we can enforce

the confidential aspect of that agreement, and I think that could be critical down the line.”

Indeed, it is well-settled that “once a discovery protective order is in place” modification is only

justified where the party seeking access can “show improvidence in the grant of the protective

order or some extraordinary circumstance or compelling need.” In re September 11 Litigation,

262 F.R.D. 274 (S.D. N.Y. 2009). Cernovich’s attempts to claim improvidence, carelessness, or

shortsightedness of this Court in granting the Protective Order are unavailing. To the contrary,

this Court has, twice, found the case warrants a stringent Protective Order, and has specifically


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expressed concern for its ongoing efficacy. Indeed, with jury selection in this case right around

the corner, releasing these materials now could taint the jury pool. Cernovich offers no sound

reason for modifying the order.

               2.      Both the Parties and Deponents in This Case Have Reasonably Relied
                       Upon the Protective Order

       The Second Circuit has been hesitant to permit modifications that might “unfairly disturb

the legitimate expectations of the parties or deponents.” Dorsett v. County of Nassau, 289 F.R.D.

54, 64 (E.D.N.Y. 2012). Indeed, “[i]t is presumptively unfair for courts to modify protective

orders which assure confidentiality and upon which the parties have reasonably relied.” 289

F.R.D. at 64 (E.D.N.Y. 2012) (internal citations and quotations omitted) (denying motion to lift

confidentiality of report of policing failures surrounding the murder of a young mother).

“Consequently, in a major decision in this field, Martindell v. International Telephone &

Telegraph Corp., 594 F.2d 291 (2d Cir.1979), the Second Circuit determined that ‘absent a

showing of improvidence in the grant of a Rule 26(c) protective order or some extraordinary y

circumstance or compelling need ... a witness should be entitled to rely upon the enforceability of

a protective order against any third parties.’” Id., quoting Martindell v. International Telephone

& Telegraph Corp., 594 F.2d at 296 (denying governmental access for criminal investigative

purposes civil deposition transcripts taken under a protective order).

       In this case, Ms. Giuffre - and multiple other deponents - reasonably relied on this

Court’s Protective Order in giving testimony and producing documents. Indeed, Ms. Giuffre has

given testimony about being sexually assaulted furnished personal medical records, and

produced personal emails with close family members in reasonable reliance upon of the

Protective Order. Medical Diagnostic Imaging, PLLC v. Carecore Nat., LLC, 2009 WL

2135294, at *4 (S.D.N.Y. 2009) (denying motion to modify protective order because parties and


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third parties have reasonably relied upon the terms of the protective order). Third-party witnesses

have done the same. Under Martindell, this Court cannot take away those protections after the

fact.

               3.      Cernovich Fails to Overcome the Presumption to Maintain the Protective
                       Order

        Tellingly, Cernovich cites no civil case in which a court modified a protective order to

give an intervener access to information about the sexual assault of a minor (when the intervener

was not the handicapped victim’s mother). Instead, Cernovich cites authority that is inapposite

and self-evidently distinguishable.

        For example, in many of the cases Cernovich cited the court denied the motion. See AT &

T Corp.v. Sprint Corp., 407 F.3d 560, 562 (2d Cir. 2005) (the court denied the motion for

intervention for failure to show “the Protective Order was improvidently granted or that either

extraordinary circumstances or a compelling need exist”); In re Iowa Freedom of Info. Council,

724 F.2d 658, 661 (8th Cir. 1983); In re Orion Pictures Corp., 21 F.3d 24, 27 (2d Cir. 1994).

        In E.E.O.C. v. Nat’l Children’s Ctr., Inc., 146 F.3d 1042, 1045 (D.C. Cir. 1998), where

the motion was granted, the intervener was mother of a handicapped sexual assault victim –

someone with a completely legitimate interest in the case, unlike the instant filer. In In re

Pineapple Antitrust Litig., 2015 U.S. Dist. LEXIS 122438, at 5 (S.D.N.Y. Aug. 7, 2015), the

motion was granted because it as a “long-closed civil lawsuit…,” not an ongoing litigation as is

the case here. Schiller v. City of N.Y., 2006 U.S. Dist. LEXIS 70479, at 5 (S.D.N.Y. Sep. 27,

2006) is also readily distinguishable. When the motion was brought by a legitimate news media

company – the New York Times – the Court found that intervention “for the limited purpose of

challenging strictures on the dissemination of information should not impede the progress of the

litigation.” (Emphasis added). There is no such limited purpose here, and any release of


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confidential material prior to the trial would most certainly impede the progress of the litigation,

as it would likely be used as a tool to intimidate witnesses expected to be called at trial and to

taint the jury pool.

        Further, Cernovich cites a Nevada case involving Dershowitz, and quotes from what

appears to be a statement made by one of the attorneys in the case. See Suen v. Las Vegas Sands,

Inc., District Court, Clark County, Nevada, Case No. A493744-C at 8 (Apr. 16, 2013).

Additionally, in Bernstein v. Bernstein Litowitz Berger & Grossmann LLP, 814 F.3d 132, 142

(2d Cir. 2016) the Court only allowed intervention “[a]fter parties settled the action” – not one

month prior to the commencement of trial.

        To continue, Press-Enter. Co. v. Superior Court, 478 U.S. 1, 10 (1986); Richmond

Newspapers v. Virginia, 448 U.S. 555, 580 n.17 (1980); Globe Newspaper Co. v. Superior

Court, 457 U.S. 596, 605 (1982); and United States v. Myers (In re in re Nat’l Broad. Co.), 635

F.2d 945 (2d Cir. 1980) are inapposite because they involved criminal proceedings. Hartford

Courant Co. v. Pellegrino, 380 F.3d 83, 91 (2d Cir. 2004) in inapposite because it involved the

right of access to docket sheets (something Cernovich already has).United States v. Erie Cty.,

763 F.3d 235, 236 (2d Cir. 2014) is inapposite because the intervention took place after the

settlement agreement.

        N.Y. Civ. Liberties Union v. N.Y.C. Transit Auth., 684 F.3d 286, 298 (2d Cir. 2011) cuts

against Cernovich’s argument as the Court stated: “Accordingly, we have recognized that “a

person's physical safety” as well as “the privacy interests of individuals” such as witnesses, third

parties, and those investigated in connection with a legal violation, may “warrant closure.””

Here, privacy interests of both parties and third parties warrant closure, which also makes




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inapposite the holding in United States v. Erie Cty., 763 F.3d 235, 236 (2d Cir. 2014) (Sealing

did not invoke “privacy concerns.”).

       Cernovich then cites to a series of cases, many of which are out-of-circuit, that are also

inapposite:

              o Rushford v. New Yorker Magazine, Inc., 846 F.2d 249, 253-54 (4th Cir. 1988)

                         “In the absence of some overriding interest in favor of keeping
                         discovery documents under seal, once documents are submitted in
                         support of motion for summary judgment, they should be unsealed…”

                         “It appears from the record that the Order was entered to facilitate pre-
                         trial discovery.” Here there is an overriding interest in favor of keeping
                         the Protective Order, as explained above.

              o In re Continental Ill. Secs. Litig., 732 F.2d 1302, 1308 (7th Cir. 1984)

                         Only reasons given for maintaining confidentiality: attorney-client
                         privilege, work product immunity and effective functioning of special
                         litigation committees. By contrast, protecting minor victims of sexual
                         assault is at stake with this case.

              o Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1070 (3d Cir. 1984) - Factually
                different – it involved the transcript of hearing ruling on confidential information,
                but also involved another other motion.

              o Newman v. Graddick, 696 F.2d 796, 801 (11th Cir. 1983) - District court gave no
                reason for limiting press access.

              o In re Orion Pictures Corp., 21 F.3d 24, 27 (2d Cir. 1994) - Bankruptcy,
                confidentiality upheld

              o Westmoreland v. CBS, Inc., 752 F.2d 16, 22 (2d Cir. 1984) - Televised coverage
                not allowed


In addition, Cernovich cites cases concerning cameras in the courtroom – cases which have

absolutely no bearing on the issue at hand. See Katzman v. Victoria’s Secret Catalogue, 923 F.

Supp. 580, 588 (S.D.N.Y. 1996); E*Trade Fin. Corp. v. Deutsche Bank AG, 582 F. Supp. 2d

528, 531 (S.D.N.Y. 2008).



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       Finally, it is worth noting that this case is set for trial March 13. Accordingly, the public’s

interest in learning about many other matters in this case will be fully satisfied in the very near

future. Cernovich offers no reason why the court cannot delay exposure of the materials in

question for another few weeks.

       Cernovich has wholly failed to make any showing to justify disturbing this Court’s

Protective Order, entered for good cause. To the contrary, his comes to the Court with strong

indicia of truly improper purposes of unsealing such sensitive material.

                                          CONCLUSION

       Based on the foregoing, the Court should deny Cernovich’s motion in its entirety.




Dated: February 2, 2017

                                               Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 2, 2017, I electronically filed the foregoing

document with the Clerk of Court by using the CM/ECF system. I also certify that the foregoing

document is being served to all parties of record via transmission of the Electronic Court Filing

System generated by CM/ECF.

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
VIRGINIA L. GUIFFRE,                                      :
                                                          :
                                Plaintiff,                :
                                                          :    Case No.: 15-cv-7433 (RWS)
              -against-                                   :
                                                          :
GHISLAINE MAXWELL,                                        :     REPLY TO PLAINTIFF’S
                                                          :   OPPOSITION TO MOTION TO
                                Defendant.                :    INTERVENE AND UNSEAL
                                                          :
----------------------------------------------------------x

        Movant Mike Cernovich hereby files his reply to Plaintiff’s Response in Opposition to
Motion to Intervene (Docket No. 589) (hereinafter the “Opposition”).

        Plaintiff Virginia L. Giuffre (“Plaintiff” or “Giuffre”) responds to Mr. Cernovich’s
Motion to Intervene and Unseal with invective and wild accusations, but presents no legal reason

for the Court to set aside the First Amendment’s mandate that court proceedings, at this stage, be

open to the public. In fact, Giuffre has not even provided a basis to overcome the common law
presumption of openness in judicial proceedings. Giuffre, instead of making a convincing
argument about the law or the facts, has unfortunately chosen to concoct a wild tale of
conspiracy theories, ulterior motives, and personal vendettas.          Plaintiff’s arguments are
unsupported by law or fact.

        One week after Cernovich sought to intervene and unseal the summary judgment
pleadings, counsel for Plaintiff filed yet another action in this District against Defendant

Ghislaine Maxwell (“Maxwell”), as well as Jeffrey Epstein, based on allegations similar to those

in this case. See Jane Doe 43 v. Jeffrey Epstein, et al., Case No. 1:17-cv-00616-JGK (S.D.N.Y.
Jan. 26, 2017) (complaint). Maxwell has now been accused of running or being involved in a

child sex trafficking ring in multiple lawsuits. Maxwell’s involvement in sex trafficking is

newsworthy on its face. Indeed, the Daily Mail published an article about the most-recent
lawsuit. See Gould, Martin, “EXCLUSIVE: Pedophile Jeffrey Epstein is accused of luring an



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underage girl into his elaborate sex trafficking enterprise under the guise of using his wealth and

connections to get her into a prestige NYC college”, Daily Mail (Jan. 27, 2017).1 If it was not
newsworthy, it would not have been leaked to the press.

        Mr. Cernovich understands the sensitivity of these issues; he has no personal interest in
learning about or exposing what happened to Giuffre or publishing any of the intimate facts

involving her victimization (in fact, he would not ordinarily oppose her redacting the details of

her abuse – however, he is not in a position to stipulate to this Court suspending the First
Amendment right of access). Mr. Cernovich’s journalistic focus is on Maxwell and in reporting

on Jeffrey Epstein’s accusations.2 In fact, in the 2016 presidential election, Epstein’s activities
were the focus of political attacks on Democrats and Republicans alike. There can be little more
newsworthy than the story here – being played out in the people’s courtroom.
1.0     Half-Baked Conspiracy Theories

        It is unfortunate that Giuffre has opposed Mr. Cernovich’s efforts report on Maxwell and,
by extension, Epstein.3 It appears that Plaintiff’s Opposition is rooted in fabricated tales about

Mr. Cernovich’s relationship with Prof. Alan Dershowitz. Giuffre correctly identifies Prof.
Dershowitz as but one of at least fifty people interviewed for the movie Silenced: Our War on

Free Speech (Danger & Play Prods. 2016).4 Silenced included interviews with rabbis, Imams,
priests, social media personalities, comedians, computer hackers, lawyers, college students,
musicians, and even so-called “online trolls.” Silenced was a look at what free speech meant in


1
     Available at <http://www.dailymail.co.uk/news/article-4164082/Pedophile-Jeffrey-Epstein-accused-new-sex-
traffick-case.html> and attached the Declaration of Jay M. Wolman, filed herewith, as Exhibit 1 (last accessed
February 9, 2017).
2
     Epstein pleaded guilty to prostituting a minor under Fla. Stat. § 796.03, a crime punishable by up to fifteen
years’ imprisonment. See Fla. Stat. § 775.082(3)(c); State of Fla. v. Jeffrey E. Epstein, Case No. 0809381 (Palm
Beach, Fla. Jun. 30, 2008). In what appears to have been a sweetheart deal, Epstein was only given an 18-month
sentence and served but 13 months. See “High-profile cases: Crimes that shook Palm Beach through the decades”,
Palm Beach Daily News (Feb. 2, 2017), available at <http://www.palmbeachdailynews.com/news/local/high-profile-
cases-crimes-that-shook-palm-beach-through-the-decades/9B1wc5GHCMqHHUOeFotwBI/> and attached to the
Declaration of Jay M. Wolman, filed herewith, as Exhibit 2 (last accessed February 9, 2017).
3
     Maxwell did not oppose the relief sought by Mr. Cernovich.
4
     The full cast list is available at <http://www.silencedmovie.com>, and attached to the Declaration of Jay M.
Wolman, filed herewith, as Exhibit 3. Plaintiff’s Opposition truncates the list.


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America in 2016, and documented such issues as cyber-bullying, online shaming, and self-

censorship. Ironically, Giuffre now seeks to hold a documentary about the First Amendment
against the journalist who produced the documentary, now that he also seeks to speak up for his,

and truly everyone’s, First Amendment rights. Giuffre correctly observes that in promoting the
film on Twitter, Cernovich promoted the fact that Prof. Dershowitz’s appeared in it.5 The fact

that Cernovich’s previous journalistic endeavors like Silenced focused on a player in this case

only strengthens his journalistic interest in the case, it does not diminish his credibility.
        Finally, Giuffre accurately quoted Cernovich’s inspiration by Prof. Dershowitz’s legal

writing.    He is a best-selling author who was involved in numerous high-profile cases.
The Court would be hard pressed to find a lawyer who was not affected by Prof. Dershowitz.
More important, the Court would be hard pressed to see how these allegations mean anything
close to what Plaintiff asserts or bar the First Amendment right of access.

        To suggest that Mr. Cernovich is somehow acting for Prof. Dershowitz is simply false,
and the allegations and suppositions in the Opposition are meritless. Mr. Dershowitz is one of

the greatest litigators in history. He hardly needs to enlist the assistance of a proxy to litigate his
interests. Mr. Cernovich is not a shadowy co-conspirator of Prof. Dershowitz simply because he

interviewed Prof. Dershowitz in a movie about the First Amendment. Otherwise, Plaintiff’s
counsel should be considered a double agent – after all, Prof. Dershowitz’s wrote of “Supreme
Injustice: How the High Court Highjacked Election 2000” (Oxford Univ. Press 2001).6 Plaintiff

provides nothing more than shameful and unprofessional table-pounding for their argument that
Mr. Cernovich and Prof. Dershowitz are in cahoots, and the Court should not give this theory

any credence. Whatever interests Prof. Dershowitz may have, they are separate and apart from
Mr. Cernovich’s First Amendment oriented goals.




5
    The still image of the video clip on page 7 of the Opposition shows Prof. Dershowitz in the same outfit as the
one in the Twitter image on page 8. This is because, as the tweet itself indicates, it was from that very day.
6
    Mr. Boies argued for Vice President Gore in Bush v. Gore, 531 U.S. 98 (2000).


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          Mr. Cernovich does not seek to “besmirch” Plaintiff and there is no “illegitimate

purpose” behind his Motion. Plaintiff attempts to throw mud at Mr. Cernovich to support this
argument, but none of the “evidence” she provides establishes anything of relevance. None of

the quotes attributed to Mr. Cernovich in any way suggest he supports sex trafficking or the
abuse of minors, and her suggestion that Mr. Cernovich will expose the identities of other

victims is, to put it generously, ethereal. But even if her arguments were supportable, the First

Amendment is not governed by a journalist’s biases; otherwise the Daily News could not publish
positive stories about the Mets.               As the Second Circuit explained, “consideration of the

[journalist’s] ultimate interest in the case should not affect the weight of the presumption [of
access].” Lugosch v. Pyramid Co., 435 F.3d 110, 123 (2d Cir. 2006). There is no legitimate
dispute that Mr. Cernovich is a member of the media and there is no question that this case is a
matter of public interest. Plaintiff appears to think that only members of the media who seek to

promote her personal agenda have a valid interest in reporting on this case. Fortunately for the
public, this is not law.7

2.0       The Public’s First Amendment Rights Must Not be Denied
          In misunderstanding Mr. Cernovich’s motives and conflating him with Prof. Dershowitz,

Plaintiff mischaracterizes the substance of the motion. Mr. Cernovich is not seeking to modify
the Protective Order (Docket No. 62). He seeks to restore it.
          2.1       The Protective Order Contemplates Confidential Materials Not Being Sealed

          The Court originally entered a protective order that permitted review of requests to seal
under the requirements of the Second Circuit. In the interest of judicial economy, however, that

order was modified without either party briefing the governing law. The discovery Protective
Order, as originally entered, states:
          Whenever a party seeks to file any document or material containing
          CONFIDENTIAL INFORMATION with the Court in this matter, it shall be
          accompanied by a Motion to Seal pursuant to Section 6.2 of the Electronic Case
          Filing Rules & Instructions for the Southern District of New York.

7
      Ironically, if Cernovich has a bias, it would be in favor of Giuffre’s positions.


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See Protective Order (Docket No. 62), March 17, 2016, at p. 4. Mr. Cernovich’s motion

addresses the Order of June 24, 2016 (Docket No. 250) setting forth how the parties are to file
unredacted documents under seal, and the Standing Order of August 9, 2016 (Docket No. 348).

These orders abrogated the requirements of Section 6.2 of the Electronic Case Filing Rules &
Instructions for the Southern District of New York. The August 9, 2016, Standing Order notably

stated that “[a] party wishing to challenge the sealing of any particular submission may do so by

motion.” (Docket No. 348). Thus, Mr. Cernovich is doing precisely what this Court requires.
His challenge would not modify any order, rendering irrelevant Plaintiff’s arguments related to

the standard for modifying a Rule 26(c) protective order. To the extent the motion is construed
as one seeking to modify the June 24 and August 9, 2016 order, there is good cause to do so.
       2.2     The Summary Judgment Pleadings Must Be Unsealed
       Although it is more efficient to permit the parties to freely file matters under seal, that

efficiency must give way to First Amendment and common law rights of access.
Under established Second Circuit precedent:
       Proceedings may be closed and, by analogy, documents may be sealed if specific,
       on the record findings are made demonstrating that closure is essential to preserve
       higher values and is narrowly tailored to serve that interest. Such findings may be
       entered under seal, if appropriate. Broad and general findings by the trial court,
       however, are not sufficient to justify closure.
In re N.Y. Times Co., 828 F.2d 110, 116 (2d Cir. 1987) (internal citations and quotation marks
omitted). The record does not reflect any such specific, on the record findings; there are only

broad and general findings.

       The parties have well exceeded any basis for sealing. In reaffirming In re N.Y. Times
Co., the Second Circuit recently observed that “[t]o overcome the First Amendment right of

access, the proponent of sealing must ‘demonstrat[e] that closure is essential to preserve higher
values and is narrowly tailored to serve that interest.’” Bernstein v. Bernstein Litowitz Berger &

Grossmann LLP, 814 F.3d 132, 144 (2d Cir. 2016) quoting In re N.Y. Times Co., supra.




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        Here, neither Maxwell nor Giuffre have put forth any reason for the broad redactions and

sealing appearing first in Maxwell’s summary judgment filings and subsequently in Giuffre’s
Opposition thereto. Specifically, no reasons were put forth to seal or redact (a) all 68 pages of

the Memorandum of Law in Support of Defendant’s Motion for Summary Judgment (Docket No.
541); (b) Exhibits D, G-Z, AA-CC, EE-KK & MM (32 of 38 exhibits) (Docket No. 542);8

(c) a Rule 56.1 Statement of Fact referenced by Plaintiff at p. 12 of her Opposition, but not even

identifiable on the docket; (d) all of the pages (total unknown) of “Plaintiffs’ [sic] Response to
Defendant’s Motion for Summary Judgment” (Docket No. 586); (e) all of the pages (total

unknown) of Plaintiff’s Statement of Contested Facts and Plaintiff’s Undisputed Facts (Docket
No. 586-1); (f) all of the Declaration of Sigrid McCawley (total pages unknown) (Docket No.
586-2); and (g) all of Plaintiff’s Exhibits 1-50 (Docket No. 586-3).9 Rather, Giuffre thinks that
Mr. Cernovich must show why it was inappropriate to file these documents under seal. That is

not how this works.
        Plaintiff cites to Martindell v. Int’l Tel. & Tel. Corp., 594 F.2d 291 (2d Cir. 1979) for the

proposition that a protective order should not be set aside absent improvidence or a compelling
need, but it is inapposite here. See Opposition at p. 18. In Martindell, the issue was direct access

to deposition transcripts unrelated to adjudication of the merits of the case. See 594 F.2d at 292.
Here, in contrast, the parties procured discovery under a protective order that “by its very terms
was applicable solely to the pretrial stages of the litigation,” such that sealing was not automatic

under Docket Entry No. 62, even as modified. In re “Agent Orange” Prod. Liab. Litig., 821
F.2d 139, 147 (2d Cir. 1987) (distinguishing Martindell), certiorari denied 484 U.S. 953 (1987).

Thus, any “reliance on such a sweeping, temporary protective order simply was misplaced.” Id.;
see also SEC v. TheStreet.com, 273 F.3d 222, 231 (2d Cir. 2001) (observing the presumption

against access to documents produced pursuant to a protective order where there was reasonable


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    Plaintiff appears to have tallied these as “nearly 700 pages of exhibits”. Opposition at p. 16.
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    Mr. Cernovich presumes Defendant will file her reply brief under seal as well, similarly without making the
requisite demonstration.


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reliance, per Martindell, does not withstand the presumption in favor of access to judicial

documents). Giuffre’s only argument for maintaining the seal on these records is reliance on an
order that did not automatically seal the documents in question, where no one has attempted to

justify the seal. This does not trump Mr. Cernovich’s First Amendment rights or the rights of the
general public.
                  2.2.1   Summary judgment pleadings are judicial documents which are
                          presumptively accessible to the public
       Contrary to Plaintiff’s false assertion, Mr. Cernovich is not seeking a “one-sided”

unsealing (Opposition at p. 12). He expressly sought to unseal all documents “filed or to be filed
under seal in relation to” the summary judgment motion. See Notice of Motion (Docket No.

550) (emphasis added).       At the time the motion was filed, Giuffre had not yet filed her
opposition, but, by its terms, that opposition and all other filings are encompassed in the relief
requested. Mr. Cernovich may or may not seek to unseal the documents that “are substantially
the same as those Dershowitz sought to publish” (Opposition at p. 12); he has no way of
knowing what Prof. Dershowitz sought, nor is it of any event to him.                   Nonetheless,

Prof. Dershowitz sought to unseal documents during the course of discovery, and appears to have
a personal interest in it (which is not to delegitimize his right to access either). This is entirely

different from Mr. Cernovich only seeking to unseal the documents made part of the summary
judgment pleadings.

       Plaintiff argues that the sealed documents do not “directly affect adjudication of this

case” (Opposition at p. 16) based on her assertion that she will defeat summary judgment.
This is internally inconsistent. If she defeats summary judgment, that most certainly directly

affects adjudication of the case. The summary judgment documents will, in whole or in part,

contribute to the Court’s disposition of the summary judgment motion. Moreover, materials
submitted in connection with motions for summary judgment, regardless of their merit or the

ultimate disposition, are precisely those documents to which the right of public access attaches.
See Lugosch v. Pyramid Co., 435 F.3d 110, 122-23 (2d Cir. 2006) (“As a matter of law, then, we



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hold that the contested documents – by virtue of having been submitted to the court as supporting

material in connection with a motion for summary judgment – are unquestionably judicial
documents under the common law.”)10

                  2.2.2    Plaintiff has not met her burden of showing a seal is appropriate
         Although Plaintiff suggests that Mr. Cernovich has the burden of making a showing to

unseal (Opposition at pp. 17-20), the burden actually lies with the party seeking to deny public

access. See In re Terrorist Attacks on September 11, 2001, 454 F. Supp. 2d 220, 222-23
(S.D.N.Y. 2006) (“a party seeking a protective order sealing trial, other court hearings, or

motions and accompanying exhibits filed with the court must satisfy a more demanding standard
of good cause”). Plaintiff has failed to demonstrate good cause.
         In this Circuit, a party wishing to foreclose the First Amendment right of access must:
         [1] “advance an overriding interest that is likely to be prejudiced, [2] the closure
         must be no broader than necessary to protect that interest, [3] the trial court must
         consider reasonable alternatives to closing the proceeding, and [4] it must make
         findings adequate to support the closure.”
N.Y. Civ. Liberties Union v. N.Y.C. Transit Auth., 684 F.3d 286, 304 (2d Cir. 2011). Plaintiff has

not met these factors.
         As to the first factor, Plaintiff seems to proffer the following reasons the documents
should be sealed: the protection of minor victims of sex crimes from further trauma and

embarrassment; and the encouragement of such victims to come forward and testify in a truthful
and credible manner. Even these noble reasons were found insufficient by the Supreme Court to
deny journalists’ First Amendment right of access. See Globe Newspaper Co. v. Superior Court,

457 U.S. 596, 607, 102 S. Ct. 2613, 2620 (1982); accord N.Y. Civ. Liberties Union, 684 F.3d at

303-06 (observing that Globe Newspaper barred automatic closure whenever minors testified,

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      Curiously, Plaintiff implies that she will not seek to seal the courtroom for trial should she successfully oppose
summary judgment. Opposition at p. 22. Presumably, the parties would submit the same evidence and testimony at
trial as they do for summary judgment, as a jury would need to weigh the disputed evidence and the credibility of
the witnesses. This is precisely what makes summary judgment pleadings judicial documents, for the very same
evidence and testimony may be what the Court uses to award judgment to Defendant when there is no genuine issue
of material fact in dispute. If Plaintiff would have the trial open, she undermines her entire opposition to
Mr. Cernovich’s motion, as she evidently has no problem with this information being a matter of public record.


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but rather required a case-by-case determination).                        Furthermore, Plaintiff provides no

explanation as to how this interest would actually be implicated by unsealing the documents.
          With respect to the second factor, as stated above, Mr. Cernovich does not wish to expose

Plaintiff to further trauma or embarrassment. Upon review of the documents, Mr. Cernovich
may well decide not to publish some of the materials.11 The First Amendment right of access,

however, is paramount. The existing sealing order, which permitted the parties to file all of the

material under seal at their own, not the Court’s, discretion, is overbroad.
          With respect to the third factor, previous alternatives were in place, where the parties

could propose narrowly tailored redactions. The parties have since disregarded this approach
and decided to seal entire pleadings without explanation or justification. And, as noted, there
have been no specific findings by the Court, susceptible to appellate review, as to particular
sealed material, as required by the fourth factor.

3.0       Conclusion
          Mr. Cernovich is sympathetic to Plaintiff’s plight. However, when the Article III power

of the Court is invoked, “access to testimony and documents” makes monitoring necessary to
instill in the public “confidence in the conscientiousness, reasonableness, or honesty of judicial

proceedings.” United States v. Amodeo, 71 F.3d 1044, 1048 (2d Cir. 1995). Mr. Cernovich is
certainly supportive of gaining this access without causing further trauma to Plaintiff.
Regardless of Plaintiff’s purported interest in confidentiality, however, the public is entitled to

know what the Court is adjudicating especially where, as here, the allegations are part of a matter
of great public concern.




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      In fact, he considers the sordid details of Ms. Giuffre’s abuse to be the least newsworthy elements in this story.


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Dated: February 9, 2017.                  Respectfully submitted,

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                                                                 CASE NO. 15-cv-7433 (RWS)

                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 9th day of February 2017, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify that a true and
correct copy of the foregoing document is being served via transmission of Notices of Electronic

Filing generated by CM/ECF.

                                                   Respectfully submitted,

                                                   /s/ Jay M. Wolman
                                                   Jay M. Wolman




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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

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                                              ..
                                              .............................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                     15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


--------------------------------------------------X



                           Reply Brief in Support of Defendant’s
                             Motion for Summary Judgment




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                                                                                              Ty Gee
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                                Respectfully submitted,



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                                CERTIFICATE OF SERVICE

      I certify that on February 10, 2017, I electronically served this Reply Brief in Support of
Defendant’s Motion for Summary Judgment via ECF on the following:

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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

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                                              ..
                                              .............................................
VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                        15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.

--------------------------------------------------X



                         Defendant’s Reply to Plaintiff’s Statement of
                       Contested Facts and Plaintiff’s “Undisputed Facts”
                               Pursuant to Local Civil Rule 56.1




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Dated: February 10, 2017

                                       Respectfully submitted,



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                               CERTIFICATE OF SERVICE

        I certify that on February 10, 2017, I electronically served this Defendant’s Reply to
Plaintiff’s Statement of Contested Facts and Plaintiff’s “Undisputed Facts” Pursuant to Local
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                               United States District Court
                              Southern District of New York

Virginia L. Giuffre,

               Plaintiff,                      Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

                  NOTICE OF INTENT TO REQUEST REDACTION OF
                    FEBRUARY 16, 2017 HEARING TRANSCRIPT

       Petitioner, Virginia Giuffre, hereby files this Notice of Intent to Request Redaction of the

February 16, 2017 transcript of proceedings pursuant to this Court’s Protective Order. See

Plaintiff’s redactions attached hereto as Sealed Exhibit 1.




Dated: March 15, 2017


                                               Respectfully Submitted,

                                               /s Meredith Schultz
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1
  This daytime business address is provided for identification and correspondence purposes only and is not intended
to imply institutional endorsement by the University of Utah for this private representation.

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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 15th day of March, 2017, I served the attached document
via CM/ECF and e-mail to the following counsel of record.

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                                           /s Meredith Schultz
                                     By:
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
                                                          :
VIRGINIA L. GUIFFRE,                                      :      Case No.: 15-cv-7433 (RWS)
                                                          :
                           Plaintiff,                     :
                                                          : PROPOSED INTERVENOR MICHAEL
         -against-                                        :   CERNOVICH D/B/A CERNOVICH
                                                          : MEDIA’S OPPOSITION TO NOTICE
GHISLAINE MAXWELL,                                        :     OF INTENT TO REQUEST
                                                          : REDACTION OF FEBRUARY 16, 2017
                           Defendant.                     :      HEARING TRANSCRIPT
                                                          :
----------------------------------------------------------x
       Michael Cernovich (“Cernovich”) d/b/a Cernovich Media (“Movant” or “Intervenor”)
moved to intervene in this action to unseal the pending summary judgment motion (Doc. No. 540)
and all related proceedings, including the then-anticipated opposition, reply, and hearing. Doc.

No. 550. Argument on that motion was heard on February 16, 2017, along with argument on the
summary judgment motion itself. Such argument occurred in open court, with counsel for Movant
present throughout the entirety of the arguments, as well as the subsequent conference regarding

case logistics. Notably, immediately prior to the beginning of his argument on summary judgment,
counsel for Defendant intimated that the courtroom might need to be sealed, but the Court deemed

it unnecessary. Plaintiff lodged no contemporaneous objection to the open courtroom or to the

presence of counsel for Movant.
       Now, Plaintiff has filed a Notice of Intent to Request Redaction of the February 16, 2017
transcript. Doc. No. 721. Movant does not know what is sought to be redacted or why, as such

was itself sealed. Id. As set forth in his motion, reply, and at argument, summary judgment
proceedings involve judicial documents to which a First Amendment right of access attaches,

whether or not the summary judgment motion is allowed. The transcript is one of those documents.

Moreover, because the courtroom was not sealed, and the Court indicated that closing the
courtroom was not appropriate, despite the presence of counsel for Movant, redaction of the

transcript is impermissible. See Newsday LLC v. Cty. of Nassau, 730 F.3d 156, 165 (2d Cir. 2013)


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(“The transcript of a proceeding is so closely related to the ability to attend the proceeding itself

that maintaining secrecy is appropriate only if closing the courtroom was appropriate.”)
       As this Court has observed, “[t]he First Amendment requires that court proceedings be

open to the public, and by extension the news media, absent the most clearly articulated and
compelling reasons for closing them in a particular circumstance.” Katzman v. Victoria’s Secret

Catalogue (In re Courtroom TV Network), 923 F. Supp. 580, 588 (S.D.N.Y. 1996) (Sweet,

U.S.D.J.). There are no such compelling reasons. Movant cannot guess what Plaintiff seeks to
redact, but none of the bits of information revealed during the hearing raised any significant

confidentiality concerns that warranted sealing the courtroom or transcript. See Newsday at 165-
166. The First Amendment right of access is paramount. See id. at 166.
       WHEREFORE Intervenor respectfully requests this Honorable Court deny Plaintiff’s
request to redact the February 16, 2017 transcript.

Dated: March 17, 2017.                                Respectfully Submitted,

                                                      /s/ Jay M. Wolman
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                                                      Cernovich Media




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        Case 1:15-cv-07433-RWS Document 725 Filed 03/17/17 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 17, 2017, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. I further certify that a true and correct copy

of the foregoing document being served via transmission of Notices of Electronic Filing generated
by CM/ECF.

                                            Respectfully submitted,

                                            /s/ Jay M. Wolman
                                            Jay M. Wolman




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
                                                          :
VIRGINIA L. GUIFFRE,                                      :      Case No.: 15-cv-7433 (RWS)
                                                          :
                           Plaintiff,                     :
                                                          : PROPOSED INTERVENOR MICHAEL
         -against-                                        :   CERNOVICH D/B/A CERNOVICH
                                                          : MEDIA’S OPPOSITION TO MOTION
GHISLAINE MAXWELL,                                        :             TO STRIKE
                                                          :
                           Defendant.                     :
                                                          :
----------------------------------------------------------x
        Michael Cernovich (“Cernovich”) d/b/a Cernovich Media (“Movant” or “Intervenor”)
hereby opposes Plaintiff’s Motion to Exclude his Opposition [DE 763] to Plaintiff’s ongoing
efforts to shield judicial documents from media and public scrutiny. 1 Her latest argument is that

Intervenor lacks standing to object to the redaction of a transcript of open-court proceedings in

which his counsel participated, even sitting at counsels’ table the entire time without objection. 2
        Plaintiff’s citation to Esther Sadowsky Testamentary Tr. v. Fed. Hous. Fin. Agency, 412 F.

App'x 361 (2d Cir. 2011) is inapposite. In that matter, the motion to intervene had been denied,

so the putative intervenor had no standing to contest collateral orders. Here, Intervenor’s motion


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  It must also be noted that there is no basis in the Federal Rules of Civil Procedure to “exclude” a
filing. The motion was, however, docketed as a “motion to strike”, though internally named a
motion to “exclude”. The closest applicable rule, Fed. R. Civ. P. 12(f), only applies to striking
pleadings, not other filings, and it does not include lack of standing as a basis to strike. See Colony
Ins. Co. v. Jack A. Halprin, Inc., No. 3:10 - CV - 1059 (CSH), 2012 U.S. Dist. LEXIS 95982, at
*10-12 (D. Conn. July 11, 2012). Neither is Intervenor’s objection an evidentiary document to
which exclusion under the Federal Rules of Evidence might apply.
2 Plaintiff has not otherwise suggested that Intervenor is incorrect on the merits of his objection.

As a result, it appears Plaintiff is seeking to redact matters beyond the personal identifiers listed in
Fed. R. Civ. P. 5.2(a). Further, per Fed. R. Civ. P. 5.2(e), additional redactions are only to be made
upon order of the Court. All requests for a court order must be made by motion. See Fed. R. Civ.
P. 7(b)(1); accord Notice to the Bar, Electronic Availability of Civil Transcripts of Proceedings
Before U.S. District and Magistrate Judges (“If a party wants to redact information in
addition…the party must make the appropriate application to the assigned judicial officer”). Thus,
as there is no motion for further redaction pending, there is no proper request for such redaction
before this Court.


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has neither been denied nor is Plaintiff’s redaction request collateral to his involvement in the case.
       Although Plaintiff’s citation only actually addresses standing to appeal, the law of standing

also shows that non-party standing to appeal has been “long allowed…when the nonparty has an
interest that is affected by the trial court's judgment.” Rothstein v. Am. Int'l Grp., Inc., 837 F.3d

195, 204 (2d Cir. 2016)(internal citation and quotations marks omitted). Thus, by the same token,

Intervenor has a demonstrable interest in the non-redaction a transcript of open-court proceedings

in which his counsel participated, which interest would be adversely affected were the Court to
allow whatever the undisclosed redaction request entails.



Dated: March 29, 2017.                                 Respectfully Submitted,

                                                       /s/ Jay M. Wolman
                                                       Jay M. Wolman (JW0600)
                                                       RANDAZZA LEGAL GROUP, PLLC
                                                       100 Pearl Street, 14th Floor
                                                       Hartford, CT 06103
                                                       Tele: 702-420-2001
                                                       Fax: 305-437-7662
                                                       Email: ecf@randazza.com

                                                       Attorneys for Movant/Putative Intervenor,
                                                       Cernovich Media




                                                  2
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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on March 29, 2017, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I further certify that a true and correct copy
of the foregoing document being served via transmission of Notices of Electronic Filing generated

by CM/ECF.

                                            Respectfully submitted,

                                            /s/ Jay M. Wolman
                                            Jay M. Wolman




                                               3
   Case 16-3945, Document 109, 09/25/2017, 2133027, Page171 of 202
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                                                                          Jay Marshall Wolman, JD
                                                                       Licensed in CT, MA, NY, DC




                                                                                29 March 2017

Via ECF

Honorable Judge Robert W. Sweet
District Court Judge
United States District Court
500 Pearl Street
New York, NY 10007

       Re:      Giuffre v. Maxwell | Case No.: 15-cv-07433-RWS

Dear Judge Sweet:

Movant-Intervenor Michael Cernovich d/b/a Cernovich Media was previously unable to
divine from the publicly available portions of Plaintiff’s Notice of Intent to Request
Redaction (Doc No. 721) what redactions were sought, thus limiting his ability to file his
opposition thereto (Doc. No. 725). Plaintiff’s March 27, 2017 letter (Doc. No. 793) has
finally revealed what portion of the February 16, 2017, transcript she is seeking to redact:
the entire portion that is the summary judgment argument. Movant hereby responds to
Plaintiff’s letter.

It appears now that Defendant, at least, recognizes the fundamental problem under the
common law right of access and the First Amendment in sealing any portion of the
summary judgment argument. And, Plaintiff has now revealed in her letter that the oral
argument “hewed so closely to the content of the sealed brief that much of the hearing
transcript consists of him simply reading portions of those briefs aloud”. If this is the case,
then it is even more apparent there is no basis for sealing the summary judgment
pleadings, let alone the transcript.

Undersigned counsel was present at the proceedings. Defendant’s counsel invited the
Court to seal the courtroom in advance of his argument, but the Court indicated such
would be unnecessary. The Court was correct and, though at any time Plaintiff could
have asked for a seal mid-argument, none was sought. Now, Plaintiff is trying to close
the proverbial barn door after the horses have escaped.

Not only is redaction frivolous, as it would only limit public access to verbatim arguments,
rather than the substance of the arguments themselves, but there are no other good
grounds. The law of republication and how it applies in this case has nothing to do with
Plaintiff’s or anyone else’s alleged abuse, but rather Defendant’s and her alleged
agents’ dealings with the media. Neither do the issues involving the pre-litigation
privilege. Or whether the alleged defamatory publication is an assertion of opinion or
fact, where truthfulness of the alleged factual statements is not necessary to determine
the question or otherwise involve reference to third-party, publicly available publications.




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                            jmw@randazza.com | 702.420.2001
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Opposition to Dkt. No. 793
Page 2 of 2




Although Plaintiff’s counsel, in her arguments, made reference to allegedly confidential
evidence of sexual trafficking, she knowingly did so in the presence of undersigned
counsel. Moreover, her arguments were sufficiently vague in detail as to merely
referencing flight logs, house staff witnesses, pictures, hospital records, time & travel
records, victim notification letters, and a black book. This reference to evidence is
otherwise discussed in publicly available articles and even the public docket entries in
this case.

Similarly, her arguments over the press release language itself, to whom it was directed,
and the meaning of “malice” are issues of law, not of fact. As stated by Defendant’s
counsel, this is not a sexual abuse case, it is about defamation; he even noted that were
abuse conceded, summary judgment in favor of Defendant would be appropriate as a
matter of law. Though Movant takes no position on whether Defendant is entitled to
judgment as a matter of law, he agrees that the issues at summary judgment, in the
transcript and, apparently, in the briefing, do not raise any basis for the wholesale sealing
of legal argument.

Whether or not the Court previously denied Defendant’s ability to publicize protected
materials, the case is now in a different posture. Summary judgment proceedings are
undeniably judicial documents to which there is a strong presumption of access.
Nothing in Plaintiff’s letter suggests any reason for the particularized findings the Court
would be required to make why the press and the public at large should be denied the
freedom to exercise their First Amendment and common law rights. Movant, therefore,
reiterates his position that the summary judgment briefs should be unsealed and the
transcript should not be redacted.

                                              Sincerely,




                                              Jay Marshall Wolman
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                              United States District Court
                             Southern District of New York

Virginia L. Giuffre,

               Plaintiff,                    Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

 NOTICE OF PLAINTIFF’S PROPOSED REDACTIONS TO THIS COURT’S ORDER
                   DENYING SUMMARY JUDGMENT

       Plaintiff, Virginia Giuffre, hereby files this proposed redactions of the Order Denying

Defendant’s Motion for Summary Judgment. See Plaintiff’s proposed redactions attached hereto

as Sealed Exhibit 1.


Dated: March 29, 2017


                                             Respectfully Submitted,


                                        By: /s Sigrid McCawley
                                             Boies Schiller Flexner LLP
                                             401 E. Las Olas Blvd., Suite 1200
                                             Ft. Lauderdale, FL 33301
                                             (954) 356-0011




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       Case 16-3945, Document 109, 09/25/2017, 2133027, Page174 of 202
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          Case 1:15-cv-07433-RWS Document 813 Filed 03/29/17 Page 2 of 3



                                                      By: /s Sigrid McCawley
                                                      Sigrid McCawley (Admitted Pro Hac Vice)
                                                      Meredith Schultz (Admitted Pro Hac Vice)
                                                      Boies Schiller Flexner LLP
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  This daytime business address is provided for identification and correspondence purposes only and is not intended
to imply institutional endorsement by the University of Utah for this private representation.

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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 29th day of March, 2017, I served the attached document
via CM/ECF and e-mail to the following counsel of record.

      Laura A. Menninger, Esq.
      Jeffrey Pagliuca, Esq.
      HADDON, MORGAN & FOREMAN, P.C.
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      Denver, Colorado 80203
      Tel: (303) 831-7364
      Fax: (303) 832-2628
      Email: lmenninger@hmflaw.com
              jpagliuca@hmflaw.com
              tgee@hmflaw.com



                                     By: /s Sigrid McCawley
                                          Sigrid McCawley (Admitted Pro Hac Vice)
                                          Boies Schiller Flexner LLP
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                  EXHIBIT 1
     (FILE UNDER SEAL)
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                                                        Haddon, Morgan and Foreman, P.C.
                                                                                Ty Gee

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                                                                           www.hmflaw.com
                                                                          tgee@hmflaw.com




   April 3, 2017

   The Honorable Robert W. Sweet
   District Judge
   United States District Court for the Southern District of New York
   500 Pearl Street
   New York, NY 10007
   Via ECF

   Re: Plaintiff’s Letter Motion to Redact the Transcript of the Summary-
       Judgment Hearing on February 16, 2017
       Giuffre v. Maxwell, No. 15-cv-07433-RWS (S.D.N.Y.)

   Dear Judge Sweet:

   The Court should deny plaintiff’s request filed indiscriminately and without
   good cause to redact parts of the summary-judgment arguments of the parties
   held in open court on February 16, 2017.

   The Protective Order (Doc.062) provides a mechanism by which the parties
   may designate as “confidential” documents that would warrant protection
   under Federal Rule of Civil Procedure 26(c). The designation is important,
   since it confers upon the document the Court’s imprimatur that, in fact, the
   document meets the criteria for a protective order, e.g., confidentiality is
   needed to protect a party or person “from annoyance, embarrassment,
   oppression, or undue burden or expense,” Fed. R. Civ. P. 26(c)(1).

   Because it carries the Court’s imprimatur, the Protective Order provides that
   the lawyer making the designation certifies (a) she has “reviewed” the
   document, (b) “there is a valid and good faith basis for such designation,” and
   (c) disclosure of the information in the document to non-parties “would cause a
   privacy harm to the designating party.” Doc.062 ¶ 8. If a non-designating party
   disagrees with a “confidential” designation, it is entitled under the Protective
   Order to object, giving notice identifying the information subject to the
   objection. Id. ¶ 11.
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   Judge Sweet
   April 3, 2017
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   In her letter motion Ms. Schultz complains we “g[ave] no reason” for objecting
   to her “confidentiality” designation and “[t]his is the second time” we have
   objected. That is incorrect. Our objection said, “No portions of the transcript
   plaintiff has designated are confidential under the Protective Order.” If no
   portion of the transcript is confidential, a fortiori Ms. Schultz’s designation of
   the vast majority of it as confidential is objectionable under Paragraph 11 of
   the Protective Order.

   Two things are missing from the letter motion. Ms. Schultz fails to explain
   how her designation—her certification—was based on a “valid and good faith
   basis,” Prot. Ord. ¶ 8. The second thing missing is a discussion acknowledging,
   let alone establishing, she has “good cause,” Fed. R. Civ. P. 26(c)(1), for an
   order to be entered protecting the transcript of the summary-judgment
   arguments of counsel. She cannot obtain a protective order by ignoring these
   two things. And she cannot carry her burden by complaining we have
   “entangle[d]” her in “unnecessary motion practice.”

   We suggest the letter motion’s red herrings are intended to distract from the
   obvious problem with Ms. Schultz’s “confidentiality” designation: there was
   no legal basis for it. She says the transcript should be subject to a protective
   order because the briefs were. That is an unserious argument. One, the briefs
   referenced “confidential”-designated materials and the parties’ summary-
   judgment oral argument on February 16 did not. Two, as proposed Intervenor
   Cernovich Media pointed out (Docs.810 at 1), the Court did not close the
   courtroom on February 16. Indeed, it explicitly denied a request to close the
   courtroom. Media representatives, if not also members of the general public,
   were present in the courtroom and heard every word of the argument.
   Ms. Schultz certainly knew this. She was opposite Cernovich Media’s counsel
   Jay Wolman, who argued Cernovich Media’s motion to intervene in this action
   to object to “confidentiality” designations. As Mr. Wolman pointedly notes,
   during the Giuffre v. Maxwell summary-judgment oral argument he was
   “sitting at counsels’ table the entire time without objection.” Doc.810 at 1. At
   least one print reporter was seated in the gallery. As this Court has made clear,
   when a reporter is present during a public hearing, there is no “confidentiality”
   accorded to what is said at the hearing. See 3/9/17 Tr. 7 (agreeing that names
   of individuals identified in open court are “already a matter of public record”
   and “I do think what’s done is done”).

   Ms. Schultz conspicuously fails to make any effort to show why any sentence,
   let alone the entire transcript, of the summary-judgment argument should be
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   designated “confidential.” That is a failure at liftoff. See Vazquez v. City of
   N.Y., 2014 WL 11510954, at *1 (S.D.N.Y. May 2, 2014) (denying motion to
   designate as confidential all videotaped depositions and other recordings, and
   noting that Rule 26(c) standard of good cause “ordinarily requires a party to
   show that disclosure will result in a clearly defined, specific and serious injury.
   Broad allegations of harm, unsubstantiated by specific examples or articulated
   reasoning, do not satisfy the Rule 26(c) test. Moreover, the harm must be
   significant, not a mere trifle.”); see id. (denying protective order as to specific
   videotape because it “is already in the hands of the media—which is to say, the
   proverbial cat is already out of the bag”).

   The motion for protective order should be denied.

   Very truly yours,


   s/ Ty Gee

   Ty Gee
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   Judge Sweet
   April 3, 2017
   Page 4

                              CERTIFICATE OF SERVICE

         I certify that on April 3, 2017, I electronically served this Letter Motion
   Regarding Plaintiff’s Letter Motion to Redact the Transcript of the Summary-
   Judgment Hearing on February 16, 2017 via ECF on the following:

   Sigrid S. McCawley                                 Paul G. Cassell
   Meredith Schultz                                   383 S. University Street
   BOIES, SCHILLER & FLEXNER, LLP                     Salt Lake City, UT 84112
   401 East Las Olas Boulevard, Ste. 1200             cassellp@law.utah.edu
   Ft. Lauderdale, FL 33301
   smccawley@bsfllp.com
   mschultz@bsfllp.com
                                                      J. Stanley Pottinger
   Bradley J. Edwards                                 49 Twin Lakes Rd.
   FARMER, JAFFE, WEISSING,                           South Salem, NY 10590
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   brad@pathtojustice.com
                                                      /s/ Nicole Simmons
                                                      Nicole Simmons
       Case 16-3945, Document 109, 09/25/2017, 2133027, Page181 of 202
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
VIRGINIA L. GUIFFRE,                                      :
                                                          :           Case No.: 15-cv-7433 (RWS)
                                Plaintiff,                :
                                                          :   PROPOSED INTERVENOR MICHAEL
              -against-                                   :     CERNOVICH D/B/A CERNOVICH
                                                          :    MEDIA’S OPPOSITION TO NOTICE
GHISLAINE MAXWELL,                                        :      OF PLAINTIFF’S PROPOSED
                                                          :    REDACTIONS TO THIS COURT’[S
                                Defendant.                :      ORDER DENYING SUMMARY
                                                          :             JUDGMENT
----------------------------------------------------------x

        Michael Cernovich (“Cernovich”) d/b/a Cernovich Media (“Movant” or “Intervenor”)
moved to intervene in this action to unseal the pending summary judgment motion (Doc. No.
540) and all related proceedings, including the then-anticipated opposition, reply, hearing, and

disposition thereof. Doc. No. 550. Argument on that motion was heard on February 16, 2017,

along with argument on the summary judgment motion itself. Such argument occurred in open
court, with counsel for Movant present throughout the entirety of the arguments, as well as the

subsequent conference regarding case logistics. Notably, immediately prior to the beginning of

his argument on summary judgment, counsel for Defendant intimated that the courtroom might

need to be sealed, but the Court deemed it unnecessary. Plaintiff lodged no contemporaneous
objection to the open courtroom or to the presence of counsel for Movant.

        Now, Plaintiff has filed a Notice of Proposed Redactions to This Court’s Order Denying

Summary Judgment. Doc. No. 813. Movant does not know what is sought to be redacted or
why, as such was itself sealed. 1 Id. As set forth in his motion, reply, and at argument, summary

judgment proceedings involve judicial documents to which a First Amendment right of access
attaches, whether or not the summary judgment motion is allowed.                          The Order Denying

Summary Judgment is necessarily one of those judicial documents as it is the disposition itself.


1
  On March 30, 2017, Plaintiff also filed a Notice of Intent to Request Redaction of March 23, 2017 Sealed Opinion.
Doc. No. 823. To the extent the unidentified Sealed Opinion relates to summary judgment proceedings, Movant
similarly opposes redaction as otherwise set forth herein.


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It is unclear if the Court has already issued a sealed order denying summary judgment or whether
this is wishful thinking on the part of Plaintiff, as the docket is silent as to any adjudication of the

summary judgment motion.
        As this Court has observed, “[t]he First Amendment requires that court proceedings be

open to the public, and by extension the news media, absent the most clearly articulated and

compelling reasons for closing them in a particular circumstance.” Katzman v. Victoria’s Secret

Catalogue (In re Courtroom TV Network), 923 F. Supp. 580, 588 (S.D.N.Y. 1996) (Sweet,
U.S.D.J.). There are no such compelling reasons. Movant cannot guess what Plaintiff seeks to

redact, but none of the bits of information revealed during the hearing raised any significant
confidentiality concerns that warranted sealing the courtroom or the order. See Newsday LLC v.

Cty. of Nassau, 730 F.3d 156, 165-166 (2d Cir. 2013). The First Amendment right of access is
paramount. See id. at 166.

        To the extent oral argument revealed the issues decided, there is no basis for redaction or
another form of seal. The law of republication and how it applies in this case has nothing to do
with Plaintiff’s or anyone else’s alleged abuse, but rather Defendant’s and her alleged agents’

dealings with the media. Neither do the issues involving the pre-litigation privilege. Or whether
the alleged defamatory publication is an assertion of opinion or fact, where truthfulness of the
alleged factual statements is not necessary to determine the question or otherwise involve

reference to third-party, publicly available publications.
        Although Plaintiff’s counsel, in her arguments, made reference to allegedly confidential

evidence of sexual trafficking, she knowingly did so in the presence of undersigned counsel.
Moreover, her arguments were sufficiently vague in detail as to merely referencing flight logs,

house staff witnesses, pictures, hospital records, time & travel records, victim notification letters,

and a black book. This reference to evidence is otherwise discussed in publicly available articles

and even the public docket entries in this case.




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       Similarly, her arguments over the press release language itself, to whom it was directed,
and the meaning of “malice” are issues of law, not of fact. As stated by Defendant’s counsel, this

is not a sexual abuse case, it is about defamation; he even noted that were abuse conceded,
summary judgment in favor of Defendant would be appropriate as a matter of law. Though

Movant takes no position on whether Defendant is entitled to judgment as a matter of law, he

agrees that the issues at summary judgment, in the transcript and, apparently, in the briefing, do

not raise any basis for the wholesale sealing of legal argument, let alone any portion of the
Court’s Order.

       WHEREFORE Intervenor respectfully requests this Honorable Court deny Plaintiff’s
request to redact the Court’s Order Denying Summary Judgment.



Dated: April 5, 2017.                               Respectfully submitted,

                                                    /s/ Jay M. Wolman
                                                    Jay M. Wolman (JW0600)
                                                    RANDAZZA LEGAL GROUP, PLLC
                                                    100 Pearl Street, 14th Floor
                                                    Hartford, CT 06103
                                                    Tele: 702-420-2001
                                                    Fax: 305-437-7662
                                                    Email: ecf@randazza.com

                                                    Attorneys for Proposed Intervenor,
                                                    Michael Cernovich d/b/a Cernovich Media




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        Case 1:15-cv-07433-RWS Document 833 Filed 04/05/17 Page 4 of 4




                                                                 CASE NO. 15-cv-7433 (RWS)
                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 5th day of April 2017, I electronically filed the
foregoing document with the Clerk of the Court using CM/ECF. I also certify that a true and

correct copy of the foregoing document is being served via transmission of Notices of Electronic

Filing generated by CM/ECF.

                                                   Respectfully submitted,

                                                   /s/ Jay M. Wolman
                                                   Jay M. Wolman




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



VIRGINIA GIUFFRE ,

                      Plaintiff ,                                                      15 Civ . 7433

     -against-

                                                                                   OPIN I ON
GHISLAINE MAXWELL,

                      Defendant .

------------ - ---------------------------x
A P P E A R A N C E S:

          Counsel for Virginia Giuffre

          BOIES, SCHILLER & FLEXNER LLP
          401 East Las Olas Boulevard, Suite 1200
          Fort Lauderdale, FL 33301
          By :  Sigrid S . Mccawley , Esq .
                Meredith L . Schultz , Esq.

          Counsel for Ghislaine Maxwell
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                                                      i_.,.  _ ..
          By :  Laura A. Menninger , Esq .                                                                              .- .                            '
                Jeffrey S . Pagliuca, Esq.

          Counsel for Michael Cernovich

          RANDAZZA LE GAL GROUP PLLC
          1 00 Pearl Street, 14th Floor
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          By:   Jay M. Wo l man , Esq.




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Sweet, D . J .



             Michael Cernovich ("Cernovich" or the "Intervenor")

has moved under Rule 24(b) to intervene in this action and to

modify the protective order entered in this action in order to

unseal particular documents submitted in connection with the

motion of defendant Ghislaine Maxwell (" Maxwell " or the

"Defendant") for summary judgment to dismiss the complaint of

plaintiff Virginia L . Giuffre ("Giuffre" or the "P l aintiff").

Based upon the conclusions set forth below , the motion to

intervene is granted , and the motion to modify the protect i ve

order is denied.



I .   Prior Proceedings



             This defamation action was commenced on September 21 ,

2015 and has been intensely l i t i gated as reflected by over 880

docket entries as of this date . Famil i ar i ty with the prior

opinions is assumed . See Giuffre v . Maxwell , No . 15 Civ . 7433

(RWS), 2016 WL 831949 (S.D . N.Y . Feb. 29 , 2016) ; Giuffre v .

Maxwell , No . 15 CIV. 7433 (RWS) , 2016 WL 254932     (S . D.N . Y. Jan .

20 , 2016); Giuffre v. Maxwell , No. 15 Civ . 7433 (RWS)       (S.D.N . Y.

May 2 , 2016) ; see also March 22 , 2017 Redacted Opinion on

Defendant ' s Motion for Summary Judgment , ECF No. 872 .

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              At issue is the truth or falsity of statements made by

  the Plaintiff which have been character i zed as lies by the

  Defendant , giving rise to this defamation action . Among the

  statements at issue are a l legations of sexua l abuse of minors .

  Discovery has proceeded i nvolving these issues and those persons

  alleged l y involved .



 II .   The Protective Order



              The Protect i ve Order was entered on March 17 , 2016 and

  provided confidentiality for documents , mater i als and/or

  information so designated by the parties , together with

  procedures relating to the designations and any challenges to

  the designations among other provisions . I t also prov i ded that

  the Protective Order would not affect the use of confidential

  information at trial .



III .   The Motion to Intervene is Granted



              Based upon the conclusions reached in the November 2 ,

  2016 order granting intervent i on to Al an Dershow i tz , the motion




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of Cernovich to intervene to modify the Protective Order is

granted . 1



IV.   The Motion to Modify the Protective Order is Denied



              The Protective Order provided confidentiality for

information the parties determine would "improperly annoy ,

embarrass or oppress any party , witness or person providing

discovery in this case ." Protective Order, ECF No . 62 , p . 1 .

Intensive discovery has proceeded without challenge to a

significant number of designations , principally by the

Pl aint i ff . The Intervenor seeks to unsea l the materials

submitted in connection with the Defendant's motion for summary

judgment. The opinion denying that motion for summary judgment

has been filed under seal , and includes a direction , in

accordance with the agreed - upon procedure, that the parties

submi t an opinion that redacts any information that is subject

to the Protective Order . That opinion , containing uncontested

redactions , has been filed , ECF No. 872. The redactions to the




1The Plaintiff had moved to strike Cernovich's opposition to her
notice of intent to request certa i n redactions on the basis that
Cernovich had not been granted standing as an Intervenor . That
motion , ECF No. 763 , is now denied as moot.
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opinion omit only the confidential fact contentions of the

parties resulting from the discovery . 2



              In the Second Circuit , there is a "strong presumpti on

against the modification of a protective order , and orders

should n ot be modified absent a showing of improvidence in the

grant of the o rder or s ome extraordinary circumstance or

compelling need . " In re Teligent, Inc. , 640 F.3d 53, 59 (2d Cir.

2011)    (affirming denial of motion to lift confidentiality

provisions of the protective order) . Indeed, "once a discovery

protecti ve order is in place, the applicab l e standard required

plaintiff seeking to modify the order to show improvidence in

the grant of the protective order or some extraordinary

circumstance or compelling need." In re September 11 Litigati on ,

262 F . R.D. 274    (S . D. N. Y. 2009) . This Court has , three times,

found the issues presented in the action warrant a Protective

Order , and has specifically expressed concern for its ongoing

efficacy .



             The Second Circuit has been hesitant to permit

modifications that might "unfairly disturb the legitimate



2
 The argument with respect to the summary judgment was held in
open court without objection , see Transcript of February 16 ,
2017 Hearing , ECF No . 702, at p. 16 . The Plaintiff ' s request for
redaction , ECF No. 721 and 793 , is denied .
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expectations of the parties or deponents ." Dorsett v. County of

Nassau , 289 F.R . D. 54 , 65 (E .D. N. Y. 2012)    (internal citations

and quota t ions omitted)   (denying motion to lift confidentiality

of report of polic in g failures surrounding the murder of a young

mother) . "It is presumptively unfair for courts to modify

protecti v e orders which assure confidentiality and upon which

the parties have reasonably relied." Id .          (internal citations and

quotations omitted) . Consequently , "the Second Circuit

determined that ' absent a showing of improvidence in the grant

of a Rule 26(c) protective order or some extraordinary

circumstance or compelling need .           . a witness should be

entitled to rely upon the enforceab ili ty of a protective order

against any third parties. '" Id.        (quoting Martindell v . Int ' l

Tel . & Tel . Corp ., 594 F.2d 291 , 296 (2d Cir. 1979)       (denying

g o vernmental access for criminal investigative purposes civil

deposition transcripts taken under a protective order).



           In this case , the parties and multiple deponents have

reasonably relied on the Protective Order in giving testimony

and producing documents including evidence of assault , medical

records , and emails . See Med . Diagnostic Imaging, PLLC v .

Carecore Nat ., LLC, 2009 WL 2 1 35294 , at *4      (S . D.N.Y. 2009)

(denying motion to modify protective order because parties and




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third parties reasonably relied upon the terms of the protective

order). Third-party witnesses have done the same.



             Cernovich cites no civil case in which a court

modified a protective order to give an intervenor access to

discovery information about the sexual assault of a minor,

except for a case when the intervenor was the handicapped

victim's mother. Instead, Cernovich cites authority that is

inapposite and self-evidently distinguishable.



             In In re Pineapple Antitrust Litig., No. 04 MD. 1628

RMB MHD, 2015 WL 5439090 (S.D.N.Y. Aug. 10, 2015), cited by

Cernovich, the motion was granted because it was a "long-closed

civil lawsuit," not an ongoing litigation, as is the case here.

Similarly, in Bernstein v. Bernstein Litowitz Berger & Grossmann

LLP, 814 F.3d 132, 142 (2d Cir. 2016), the Court only allowed

intervention "[after parties settled the action" - not one month

prior to the commencement of trial. This action is currently

scheduled for trial in mid-May and a release of contested

confidential discovery materials could conceivably taint the

jury pool.



             Further, there was "no viable basis to deny the

motion" offered in In re Pineapple, 2015 WL 5439090, at *l,

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whereas h ere , the Plaintiff has provided in oppos iti on

sufficient basis to deny the motion, including the case's status

as ongoing and near trial, and the nature of the documents

requested as sensitive, regarding sexual assault of a minor at

issue. In N . Y . Civ . Liberties Union v . N.Y.C.   Transit Auth.,    685

F.3d 286, 298     (2d Cir . 2011), the Court stated: "Accordingly, we

have recognized that ' a person's physical safety' as well as

'the privacy interests of individuals' such as witnesses, third

parties, and those investigated in connection with a legal

vio lation, may 'warrant closure.'" Here, privacy interests of

both parties and third parties warrant closure with respect to

discovery materials. In Schiller v . City of N .Y., No. 04 CIV .

7921(KMK), 2006 WL 2788256 (S.D .N.Y. Sept. 27 , 2006) , the motion

was brought by the New York Times and the Court granted the

motion while noting that the intervention "for the limited

purpose of challenging strictures on the dissemination of

information should not impede the progress of the litigation."

Id. at *3. There is no such limited purpose here.



           Another case cited by Cernovich , Hartford Courant Co .

v . Pellegrino,   380 F.3d 83 ,   91 (2d Cir. 2004), is inapposite

because it involved the right of access to docket sheets wh i ch

Cernovich already has.




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             The Court recognizes that there is generally a

presumption of public access to judicial documents . The Second

Circuit has noted that where , as here, "a district court           ' denied

the summary judgment motion, essentially postponing a final

determination of substantive legal rights, '        the public interest

in access     ' is not as pressing. '" United States v . Amodeo , 7 1

F . 3d 1044 , 1049 (2d Cir . 1995)    (quoting In re Reporters Comm .

for Freedom of the Press , 773 F . 2d 1325, 1342 n . 3 (D . C . Cir .

1985)    (Wright , J ., concurring in part and dissenting in part))

Because of the sensitive nature of the materials designated as

confidential , involving allegations of sexual abuse and

trafficking of minors, and because we are mere weeks from

assembling a jury for trial , the importance of leaving these

materials protected by the Protect i ve Order outweighs any public

interest in their publication at this time .



             The Intervenor seeks to modify the Protective Order

with respect to documents produced in discovery and referred to

in the parties' factual statements . Protection of confidential

discovery in this case is appropriate . See, e.g. , Doe v . City of

San Diego, No . 12-CV-689-MMA-DHB , 2014 WL 1921742 , at *5 (S . D.

Cal . May 14 , 2014)    (denying in part a request to unseal where

the court found the information to be of the kind that would

"gratify private spite , promote public scandal, circulate

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libelous statements , or release trade secrets " )     (internal

quotation marks and citation omitted) . To the extent that the

summary judgment decision of March 22, 2017 relied upon the

confidential fact submissions , that re l iance was set forth .



           The Intervenor has not established a compelling need

for the documents obtained in discovery which undergird the

summary judgment decision.



           The motion of the Intervenor to modify the Protective

Order to obtain discovery materials deemed conf i dential by the

parties is denied.



V.   Conclusion



           This opinion resolves ECF Nos. 550 , 763 , and 793 .



           The mot i on of the Intervenor to intervene is granted.

The motion to modify the Protective Order is denied.




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                   It is so ordered.



        New York, NY
        May V, 2017



                                                    ERT W. SWEET
                                                     U.S.D.J.




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                                                                        Jay Marshall Wolman, JD
                                                                     Licensed in CT, MA, NY, DC




                                                                                 4 May 2017

Via CM/ECF
Honorable Judge Robert W. Sweet
District Court Judge
United States District Court
500 Pearl Street
New York, NY 10007

        Re:    Giuffre v. Maxwell | Case No.: 15-cv-07433-RWS | Joinder to ECF No. 898

Dear Judge Sweet:

       As your Honor is aware, I represent Intervenor Michael Cernovich d/b/a
Cernovich Media. I am writing on behalf of Intervenor to join the request of non-parties
NYP Holdings, Inc., and Daily News, L.P., by letter of today (ECF No. 898) and adopt the
reasoning set forth therein by reference.

        Although Intervenor appreciates the issues raised by the Court in its May 3, 2017,
order on Intervenor’s motion to unseal (ECF No. 892), Intervenor is particularly concerned
that the Court did not unseal any portion of the statement of facts and that it unsealed
no portion of the memoranda by the parties in support or in opposition to summary
judgment. As the newspapers suggest, it is unlikely that the entirety of these documents
should properly be sealed, especially where none of the witnesses are minors. Moreover,
the Court seems to have misunderstood Intervenor’s motion to unseal. Intervenor did not
seek to modify a discovery protective order under Fed.R.Civ.P. 26(c) or unseal discovery
documents; intervenor sought to modify a blanket sealing order under Fed.R.Civ.P. 5.2(d)
and unseal material evidentiary documents submitted in connection with a dispositive
motion. Should one or more of the parties attempt to seal such evidence at trial,
Intervenor may need to renew and reargue his motion.

       Thus, Intervenor similarly requests sufficient notice sufficiently in advance of any
closure to afford him the opportunity to assert common law and First Amendment right of
access.

                                             Sincerely,




                                             Jay Marshall Wolman

cc:     All Counsel of Record (via CM/ECF)




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                               United States District Court
                              Southern District of New York

VIRGINIA GIUFFRE,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

GHISLAINE MAXWELL,

            Defendant.
________________________________/

                            JOINT STIPULATION FOR DISMISSAL

       Plaintiff, VIRGINIA GIUFFRE, and Defendant, GHISLAINE MAXWELL, by and

through their undersigned counsel, hereby stipulate and agree that pursuant to the Settlement

Agreement entered into between the parties and Fed. R. Civ. P. 41(a)(1)(A)(ii), this action shall be

DISMISSED WITH PREJUDICE, with each party to bear its own attorneys' fees and costs.


Dated: May 24, 2016                           Respectfully Submitted,
                                              FARMER, JAFFE, WEISSING
                                              EDWARDS, FISTOS & LEHRMAN, P.L.

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        I HEREBY CERTIFY that on the 24th day of May, 2017, I electronically filed the

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                                               United States District Court
                                              Southern District of New York

            VIRGINIA GIUFFRE,

                             Plaintiff,

            v.                                                                   usuc .
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            GHISLAINE MAXWELL,                                                                           .
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                                                                                I DOC # : _   ._..d14-ie+..,.,-r
                             Defendant.
                                                                                  DATE FILED.

                                           JOINT STIPULATION FOR DISMISSAL

                    Plaintiff, VIRGINIA GIUFFRE, and Defendant, GHISLAINE MAXWELL, by and

           through their undersigned counsel, hereby stipulate and agree that pursuant to the Settlement

           Agreement entered into between the parties and Fed. R. Civ. P. 4l(a)(l)(A)(ii), this action shall be

           DISMISSED WITH PREJUDICE, with each party to bear its own attorneys' fees and costs.


           Dated: May 24, 2016                           Respectfully Submitted,
                                                         FARMER, JAFFE, WEIS SING
                                                         EDWARDS, FISTOS & LEHRMAN, P.L.

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                                                      Armonk, NY 10504

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
VIRGINIA L. GUIFFRE,                                      :
                                                          :
                                Plaintiff,                :
                                                          :          Case No.: 15-cv-7433 (RWS)
              -against-                                   :
                                                          :
GHISLAINE MAXWELL,                                        :            NOTICE OF APPEAL
                                                          :
                                Defendant.                :
                                                          :
----------------------------------------------------------x
        Notice is hereby given that Intervenor Michael Cernovich d/b/a Cernovich Media

(“Cernovich Media”) appeals to the United States Court of Appeals for the Second Circuit from

the Order dated May 2, 2017 and filed on May 3, 2017 (ECF No. 892), which construed
Cernovich Media’s Motion to Unseal (ECF No. 550) as a motion to modify the protective order
and, so construed, denied the motion, and from each and every part thereof denying the said
motion. Cernovich Media further appeals the implicit order pursuant to which the Opinion (ECF
No. 872) setting forth the denial of summary judgment was filed in redacted form on April 27,

2017, implicitly denying Cernovich Media’s Opposition to Notice of Plaintiff’s Proposed
Redactions to this Court’s Order Denying Summary Judgment (ECF No. 833).


Dated: May 31, 2017.                                          Respectfully submitted,

                                                              /s/ Jay M. Wolman
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                                                              100 Pearl Street, 14th Floor
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                                                              Email: ecf@randazza.com

                                                              Attorneys for Intervenor,
                                                              Michael Cernovich d/b/a Cernovich Media



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                                                                 CASE NO. 15-cv-7433 (RWS)

                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 31st day of May 2017, I electronically filed the

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                                                   Respectfully submitted,

                                                   /s/ Jay M. Wolman
                                                   Jay M. Wolman




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